                    Case 23-12083            Doc 1       Filed 09/12/23 Entered 09/12/23 17:45:54                              Desc Main
                                                          Document     Page 1 of 104

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Belmont Trading Co., Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  555 Huehl Rd.
                                  Northbrook, IL 60062
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.belmont-trading.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Belmont Trading Co., Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5065

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Belmont Trading Co., Inc.                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Belmont Trading Co., Inc.                                                    Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Belmont Trading Co., Inc.                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 12, 2023
                                                  MM / DD / YYYY


                             X /s/ Igor Boguslavsky                                                       Igor Boguslavsky
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ O. Allan Fridman                                                        Date September 12, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 O. Allan Fridman 6274954
                                 Printed name

                                 Law Office of Allan Fridman
                                 Firm name

                                 555 Skokie Blvd 500
                                 Northbrook, IL 60062
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     847-412-0788                  Email address      allan@fridlg.com

                                 6274954 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Belmont Trading Co., Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 12, 2023              X /s/ Igor Boguslavsky
                                                           Signature of individual signing on behalf of debtor

                                                            Igor Boguslavsky
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Belmont Trading Co., Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Credit Card                                                                                               $115,541.55
 P.O. Box 981537       623-444-3001
 El Paso, TX 79998
 BT Recycling                                        Raw materials                                                                                             $532,451.05
 Solutions S de RL
 deCV                 ConsueloV@belmo
 Paseo del Valle      nt-trading.com
 4915, Parque Ind.
 Guadalajara
 Technology Park
 45010
 Zapopan, Jalisco,
 Mexico, MX
 Coherent Solutions                                  Consulting                                                                                                $192,300.00
 1600 Utica Ave S Ste                                services for
 120,                 DanSchneider@co                Belmont Russia
 Minneapolis, MN      herentsolutions.co             Operations
 55416                m
 Commnet Telecom                                     Loan for purchase                                                                                         $432,930.38
 Ltd                  Elvin Young                    of materials
 9 Hung To Rd         elvin@commnet-cn
 Kwun Tong, Kwun      .com
 Tong District
 Hong Kong
 Eastlink Intl                                       Loan for material                                                                                         $597,686.70
 Industrial Ltd.      Candy Hung                     purchases
 Unit 803-04, 8/F     candy@eastlinkiil.c
 Nanyang Plaza        om
 Hung To Rd,
 Kwun Tong, Hong
 Kong
 Ericsson AB EUR                                     Amounts owed                                                                                              $153,580.93
 Torshamnsgatan 21 Jens Lundstedt                    from processing
 164 83 Stockholm     jens.lundstedt@eri             materials
 164 83 Stockholm,    csson.com
 Sweeden



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Belmont Trading Co., Inc.                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 EWASTE+                               Amounts owed                                                                                                              $56,246.25
 7318 Victor Mendon                    from processing
 Rd                  zwhyte@ewaste.co materials
 Victor, NY 14564    m
 FGMK, LLC                             Prepare                                                                                                                 $105,550.00
 2801 Lakeside Dr    David Imler       International
 Deerfield, IL 60015 dimler@fgmk.com Taxes Inc., Tax
                                       Planning and
                                       Projection Income
                                       Tax Planning ,
                                       Prep of Income
                                       Tax Return 2021,
                                       Preparation of
                                       Income Tax
                                       Returns
 GameStop, Inc.      Clarissa Nelson   proceeds from                                                                                                           $259,850.13
 625 Westport Pkwy.                    equipment
 Grapevine, TX 76051 ClarissaNelson@g processing
                     amestop.com
 Jacob Kassel LLC                      Loan for purchase                                                                                                       $105,250.00
 1060 Brickell Ave.                    of materials
 Miami, FL 33131     sree@rothreddy.co
                     m
 KASSEL              sree@rothreddy.co All tangible and                                                 $3,453,702.14             $2,679,853.31                $773,848.83
 FINANCING LLC       m                 intangible
 C/O ALHADEFF &                        personal property,
 ROUSSO LAW, P.A.                      including, but not
 11900 BISCAYNE                        limited to: (a)
 BLVD 289                              inventory, (b)
 Miami, FL 33181                       equipment, (c)
                                       instruments,
                                       including
                                       promissory not
 Microsoft                                                                                                                                                       $57,205.04
 Corporation
 One Microsoft Way
 Redmond, WA
 98052
 Piceasoft Ltd                         Software for                                                                                                              $56,840.71
 Polttimonkatu 3,    Mikko Pyykkö      trading business
 33210                                 for foreign
 Tampere Finland     mikko.pyykko@pic subsidiary
                     easoft.com



 SCT Alternative, Inc.                               software company                                                                                          $515,939.50
 1655 Barclay Blvd     Vadim Katsman
 Buffalo Grove, IL
 60089                 vadimk@sctalt.co
                       m



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Belmont Trading Co., Inc.                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Shmouel Yaari                                       Shareholder Loan                                                                                        $1,000,000.00
 252 E 57th St 42D
 New York, NY 10022 samyaari@gmail.c
                      om
 Sikich LLP                                          Business                                                                                                    $61,625.00
 1415 W Diehl Rd      fax number                     consulting
 STE 400              630-566-8401
 Naperville, IL 60563
 Sipi Metals Corp                                    Processing of                                                                                             $550,490.75
 1720 N Elston Ave    Arlene McKitterick             Materials
 Chicago, IL 60642
                      amckitterick@sipi-
                      metals.com

 T-Mobile USA, Inc                                   amounts due from                                                                                        $6,592,434.66
 12920 Se 38th St.                                   refurbishing
 Bellevue, WA 98006                                  phones for resale
 U.S. Small                                          All tangible and                                      $350,000.00            $2,679,853.31                $350,000.00
 Business                  David.DeCelles@u          intangible
 Administration            sdoj.gov                  personal property,
 2 North Street Suite                                including, but not
 320                                                 limited to: (a)
 Birmingham, AL                                      inventory, (b)
 35203                                               equipment, (c)
                                                     instruments,
                                                     including
                                                     promissory not
 Veridic                                             technology                                                                                                $222,387.00
 Technologies PVT.         Ankur Thakur              consultant
 LTD                       ankur.thakur@veri
 2 Broadwater Way,         dic.com
 Worthing,
 West Sussex BN
 BN149LP




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Fill in this information to identify the case:

 Debtor name            Belmont Trading Co., Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,575,764.77

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,575,764.77


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,803,702.14


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            26,011.13

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       11,943,391.62


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         15,773,104.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name       Belmont Trading Co., Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                                      $376.61



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.    PNC Bank                                       Checking                        7799                                     $6,798.38




          3.2.    PNC- Operating Account                         Checking                        7801                                       $786.16




          3.3.    PNC                                            Checking                        6031                                         $57.07


                  BT Recycling Solutions Mexico- Co
                  owner. Created so BT could have a US
                  account to allow BT Recycling
                  Solutions Mexico could receive US
          3.4.    Based Wire.                                    Checking                                                                   $297.91




          3.5.    Byline Operating Account                       Checking                        7162                                     $1,038.26




Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                                page 1
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Debtor           Belmont Trading Co., Inc.                                                Case number (If known)
                 Name




          3.6.     Byline Bank                                       Checking                              0239                  $74.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                $37,999.11
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Elan Financial Services - Credit Card pre paid credit card                                                  $2,631.85



                   Enterprise Law Group, LLP, Two Northfield Plaza, Suite 201, Northfield, IL 60093
          7.2.     advanced payment retainer for legal services.                                                               $2,281.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Symantec Endpoint Antivirus 11/11/22 - 11/10/23                                                              $198.00




          8.2.     Veritas Essential Server Backup 11/11/22 - 11/10/23                                                          $445.00




          8.3.     Barracuda Email Security 09/28/22 - 09/28/23                                                                 $288.00




          8.4.     Beyond Trust Remote Support 12/01/22 - 11/30/23                                                              $345.00




          8.5.     ILG Logistics prepaid freight                                                                               $1,000.00




          8.6.     CW Worldwide prepaid freight                                                                                $1,000.00




          8.7.     DSS Logistics prepaid freight                                                                               $4,000.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                               page 2
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Debtor           Belmont Trading Co., Inc.                                                Case number (If known)
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          8.8.     Kuehne + Nagel prepaid freight                                                                                      $11,300.00




          8.9.     Adriana de Vazquez prepaid freight                                                                                     $700.00



          8.10
          .    Comimtel Sociedad prepaid freight                                                                                        $2,000.00



          8.11
          .    Valu-Trade Prepaid Service Cost ERI                                                                                      $8,000.00



          8.12
          .    Comimtel Sociedad Prepaid Service Cost ERI - Aug - Vendors:                                                              $2,000.00



          8.13
          .    Prepaid Scrap Cost ERI - Aug - Erricsson                                                                                 $2,000.00




9.        Total of Part 2.                                                                                                         $38,188.85
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   317,134.37       -                                 0.00 = ....                  $317,134.37
                                       face amount                          doubtful or uncollectible accounts




          11b. Over 90 days old:                        15,596.00      -                                0.00 =....                     $15,596.00
                                       face amount                          doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                        $332,730.37
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                   Valuation method used     Current value of
                                                                                                   for current value         debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

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15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership
                  Belmont IP Holding- set up to hold
                  intellectual property. Shell company
          15.1.   dormant.                                               100           %   Liquidation                                 $0.00


                  Belmont European Holdings Limited United
                  Kingdom- Holding Company for european
                  entities. Valued at loss of $450,000. Due to
                  various subsidiaries dealing with
                  liquidation, stoppage due to war in the
          15.2.   Ukraine and liquidation.                               100           %                                               $0.00


                  BT Recycling Solutions
                  S. de R.L. de C.V.
          15.3.   (Mexico)                                               100           %   Liquidation                         $500,000.00


                  Northwell Limited (Hong Kong SAR)-
                  Holding Company for Dubai operation. Not
                  active at the current time. The company
          15.4.   expired. $1,000,000 loss.                              100           %   Liquidation                                 $0.00



                  Belmont Renew Corporation- is a holding
          15.5.   company is a Delaware Corporation.                     48            %   Liquidation                         $839,071.44



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                $1,339,071.44
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last       Net book value of       Valuation method used      Current value of
                                            physical inventory     debtor's interest       for current value          debtor's interest
                                                                   (Where available)

19.       Raw materials

20.       Work in progress
          Accessories 5 units
          located at Amazon                                                      $0.00                                               $120.00



21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          See Attached Exhibit A                                                 $0.00     Recent cost                          $61,655.00




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          Consignment goods-
          See Attached Exhibits B
          and C. Payment to
          vendor depends on
          market value at time of
          sale. The amount paid to
          Vendor is based on
          agreement. See
          Attached Exhibits. The
          Debtor does not claim
          ownership in the
          consigned goods and is
          listed here for
          information purposes.
          The owner of the
          consigned goods is
          listed in the statement of
          financial affairs.                                                  Unknown                                                    $0.00




23.       Total of Part 5.                                                                                                     $61,775.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
              No
              Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                            Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                       Net book value of          Valuation method used     Current value of
                                                                    debtor's interest          for current value         debtor's interest
                                                                    (Where available)

39.       Office furniture
          see attached exhibit                                                     $0.00                                           $20,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Software                                                                 $0.00                                          $245,000.00


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              Name



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Corporate Art and posters                                                 $0.00     Liquidation                          $1,000.00



43.        Total of Part 7.                                                                                                            $266,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
           Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                  (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See Exhibit D attached assets on fixed assets                                   $0.00                                        $300,000.00



51.        Total of Part 8.                                                                                                         $300,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

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       No. Go to Part 11.
       Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           https://www.belmont-trading.com/                                              $0.00     Expert                               Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           List of customers in the ERI software.                                        $0.00                                          Unknown



64.        Other intangibles, or intellectual property
           Custom software for equipment grading                                         $0.00     Liquidation                        $200,000.00



65.        Goodwill

66.        Total of Part 10.                                                                                                       $200,000.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           Operating loss the exact amount is unknown at this
           time investigation continues.                                                     Tax year 2022                              Unknown



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 7
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         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Loans to shareholders the nature and amount is
         currently unknown as the Debtor's CPA has not
         released the 2022 tax return due to a balance owed. The
         Debtor's tax returns are complex due to multinational
         subsidiaries and foreign taxes. Investigation continues
         as to the nature and amount of the balance.                                                                     Unknown




78.      Total of Part 11.                                                                                                $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
           Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                        page 8
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Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $37,999.11

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $38,188.85

82. Accounts receivable. Copy line 12, Part 3.                                                                   $332,730.37

83. Investments. Copy line 17, Part 4.                                                                         $1,339,071.44

84. Inventory. Copy line 23, Part 5.                                                                               $61,775.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $266,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $300,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $200,000.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $2,575,764.77            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,575,764.77




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 9
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                                  Inventory Valuation
                                      By Vendor

 Vendor   Quantity    Cost                   Vendor Name
BST001       2,640 $ 59,277.28 B‐Stock Solutions, Inc.
DIR002            2 $    12.00 Direct Liquidation LLP
ESC001            3 $    31.84 eSCO Processing and Recycling, LLC
HEW003          32 $ 2,188.00 Hewlett Packard Enterprise Company
SEC003            1 $      ‐   Secured Tech Solutions, LLC
USC003          32 $    145.88 U.S. Cellular

                    $ 61,655.00
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                           Inventory Valuation                           Report As of Date 08/31/23
                     By Lot, Product Family, Location                         Report Date 9/11/2023 3:38:42 PM

 Vendor     Lot No         Product Family   Quantity      Cost              AMAZON             BG          BTW       DELL       DUBAI     EBAY       ELT        HOLD       HP    MEXICO   MOBILITY        NB         NOSELL   NS‐SERVICE       OEM       PB      PENDING     RMA    SCOTLAND       SCSI       SIPI       TEST
BST001    17515      LCD SCREEN                     2 $        ‐     $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    17516      LCD SCREEN                     1 $      20.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    20.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    17528      LCD SCREEN                     3 $        ‐     $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    17588      LCD SCREEN                     1 $      20.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    20.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    17604      LCD SCREEN                     1 $      30.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    30.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18000      POWER ADAPTER                  2 $       2.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $    2.00   $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18186      POWER ADAPTER                  1 $       5.00   $               ‐     $    5.00   $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18341      POWER ADAPTER                17 $       75.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      75.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18342      LCD MONITORS                   1 $      36.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    36.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18376      POWER ADAPTER                15 $       45.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    12.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      33.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18387      POWER ADAPTER                24 $       72.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      72.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18405      POWER ADAPTER                13 $       39.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      39.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18406      POWER ADAPTER                25 $       75.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      75.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18419      POWER ADAPTER                  9 $      27.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      27.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18420      POWER ADAPTER                20 $       60.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      60.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18470      POWER ADAPTER                15 $       45.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $     3.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      42.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18511      POWER ADAPTER                28 $       84.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      84.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18512      POWER ADAPTER                28 $       84.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    12.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      72.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18523      POWER ADAPTER                17 $       51.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      51.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18524      POWER ADAPTER                21 $       63.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      63.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18525      POWER ADAPTER                  1 $       3.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $       3.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    18526      POWER ADAPTER                20 $       60.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    18.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      42.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19213      SECURITY SYSTEM                1 $      20.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    20.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19215      SECURITY CAMERA                1 $       5.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $   5.00 $     ‐    $      ‐   $      ‐   $      ‐
BST001    19246      NETWORKING                     1 $      10.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      10.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19246      SECURITY SYSTEM                2 $      30.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    30.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19293      MISC.ITEMS                     1 $      10.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    10.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19296      LCD MONITORS                   2 $      40.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      40.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19296      POWER ADAPTER                  2 $       6.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $       6.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19315      ACCESSORIES                    1 $      10.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      10.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19316      NETWORKING                     1 $       5.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $       5.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19360      ACCESSORIES                    2 $        ‐     $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19360      MISC.ITEMS                     2 $        ‐     $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19360      SECURITY CAMERA              32 $      270.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $   170.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     100.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19360      SECURITY SYSTEM                4 $        ‐     $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19380      SECURITY CAMERA              10 $      100.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $   100.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19380      SECURITY SYSTEM                5 $      90.00   $             10.00   $     ‐     $     ‐   $      ‐   $      ‐    $    30.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      50.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19392      ACCESSORIES                    6 $      32.88   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      32.88   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19392      NETWORKING                     4 $      21.92   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $     5.48 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      16.44   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19392      SECURITY CAMERA             220 $    1,867.16   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    52.88 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   1,814.28   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19392      SECURITY SYSTEM              30 $      164.40   $             21.92   $     ‐     $     ‐   $      ‐   $      ‐    $    21.92 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     120.56   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19404      ACCESSORIES                    2 $       6.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $       6.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19404      NETWORKING                     3 $      30.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      30.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19404      SECURITY CAMERA             170 $      850.00   $             20.00   $     ‐     $     ‐   $      ‐   $      ‐    $    55.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     775.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19404      SECURITY SYSTEM              49 $    1,684.13   $            103.11   $     ‐     $     ‐   $      ‐   $      ‐    $   206.22 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   1,374.80   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19405      ACCESSORIES                  10 $       50.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      50.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19405      NETWORKING                   14 $      308.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    66.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     242.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19405      SECURITY CAMERA             226 $    2,138.00   $             38.00   $     ‐     $     ‐   $      ‐   $      ‐    $   219.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   1,881.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19405      SECURITY SYSTEM              60 $    1,553.00   $             78.00   $     ‐     $     ‐   $      ‐   $      ‐    $   282.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   1,193.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19451      ACCESSORIES                  23 $    2,008.67   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   2,008.67   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19451      KEYBOARD                       2 $     269.33   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     269.33   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19451      LAPTOP                         8 $   5,706.21   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   5,706.21   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19451      PHONE ACCESSORIES            28 $    2,049.62   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $ 1,830.50 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $ 219.12 $     ‐    $      ‐   $      ‐   $      ‐
BST001    19453      SMARTWATCHES                   2 $     199.94   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $ 199.94   $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19463      ACCESSORIES                    3 $        ‐     $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19463      NETWORKING                     8 $      39.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $    15.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      24.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19463      SECURITY CAMERA             278 $    3,146.00   $            284.00   $     ‐     $     ‐   $      ‐   $      ‐    $   390.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   2,472.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19463      SECURITY SYSTEM                7 $     188.10   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $   136.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      52.10   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19464      ACCESSORIES                  55 $      165.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     165.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19464      CHARGER                        3 $       9.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $       9.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19474      HARD DRIVE                     9 $     110.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $   110.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19474      KEYBOARD                       4 $      80.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      80.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19474      MOTHERBOARD                    9 $        ‐     $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $        ‐     $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19474      NETWORK INTERFACE CA           9 $      45.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      45.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19474      POWER ADAPTER                  7 $      60.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      60.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19474      SYSTEM                         2 $   2,917.50   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $   2,917.50   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      FAN                            4 $      12.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      12.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      GAMING CONSOLE               27 $    1,011.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $   180.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     831.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      HARD DRIVE                   28 $      606.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     606.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      HEAT SINK                      1 $      80.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      80.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      LAPTOP                       13 $    2,600.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $ 2,000.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     600.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      LCD SCREEN                   11 $    1,060.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $   200.00 $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     860.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      MOTHERBOARD                  12 $      860.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     860.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      NETWORK INTERFACE CA         13 $       39.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $      39.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
BST001    19481      NETWORKING                     3 $     180.00   $               ‐     $     ‐     $     ‐   $      ‐   $      ‐    $      ‐   $    ‐   $      ‐   $     ‐   $   ‐    $    ‐     $     180.00   $   ‐     $      ‐     $     ‐   $     ‐     $    ‐    $    ‐   $     ‐    $      ‐   $      ‐   $      ‐
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BST001   19481   POWER SUPPLY            1 $      30.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $      30.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19481   SYSTEM                  1 $   7,687.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $   7,687.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19489   NETWORKING             13 $     141.70   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $   130.80 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $      10.90   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19489   SECURITY CAMERA       446 $   4,582.80   $    20.00   $    ‐     $    ‐   $   ‐   $    ‐   $   732.80 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $   3,830.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19489   SECURITY SYSTEM         2 $      20.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $      20.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19504   LAPTOP                  6 $   3,588.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $   3,588.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19504   SYSTEM                  2 $   1,117.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $   208.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $     909.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19510   ACCESSORIES             9 $      55.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $    55.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19510   CAMERA                  5 $     500.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $   500.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19510   HARD DRIVE              1 $       5.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $       5.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19510   NETWORKING              9 $     110.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $    70.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $      40.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19510   SECURITY CAMERA       382 $   3,410.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $ 2,970.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $     440.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19510   SECURITY SYSTEM        62 $   1,672.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $ 1,672.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
BST001   19543   SYSTEM                  6 $   2,058.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $   2,058.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
DIR002   18038   POWER SUPPLY            1 $        ‐     $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
DIR002   18099   POWER SUPPLY            1 $      12.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $ 12.00 $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
ESC001   19222   CELL PHONE              1 $      11.84   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $   11.84   $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
ESC001   19230   HARD DRIVE              2 $      20.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $    20.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
HEW003   19414   HD CONTROLLER CARDS     8 $     520.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $      65.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $ 455.00 $     ‐   $   ‐   $   ‐   $   ‐
HEW003   19455   HARD DRIVE              7 $     818.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $   706.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $     112.00   $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
HEW003   19455   HD CONTROLLER CARDS    17 $     850.00   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $   850.00 $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
SEC003   19285   MISC. SCRAP             1 $        ‐     $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $   ‐   $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
USC003   17431   FAN                     7 $      52.10   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $ 52.10 $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐
USC003   17431   NETWORKING             25 $      93.78   $      ‐     $    ‐     $    ‐   $   ‐   $    ‐   $      ‐   $      ‐   $   ‐   $   ‐   $   ‐   $     ‐     $        ‐     $   ‐   $   ‐   $   ‐   $ 93.78 $      ‐   $    ‐   $     ‐   $   ‐   $   ‐   $   ‐

                                           $ 60,993.08    $   575.03   $   5.00   $    ‐   $   ‐   $    ‐   $ 14,195.60   $   ‐   $   ‐   $   ‐   $   ‐   $ 211.78    $ 45,166.67    $   ‐   $   ‐   $   ‐   $ 159.88   $   ‐   $ 679.12   $   ‐   $   ‐   $   ‐   $   ‐
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                                      DocumentB‐ TO SCHEDULE
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                                                               Line22‐
                                                                  104
                                      Items received but not yet processed
Vendor No   Vendor Name                   Lot No Description                 Weight, Lbs
SIP001      Sipi Metals Corporation       B630 Server Boards L‐Socket                 278
SIP001      Sipi Metals Corporation       B630 Server Boards Non‐Socket             1,334
SIP001      Sipi Metals Corporation       B631 PCI Cards                              717
SIP001      Sipi Metals Corporation       B631 Server Boards L‐Socket               2,016
SIP001      Sipi Metals Corporation       B631 Server Boards Non‐Socket             2,399
SIP001      Sipi Metals Corporation       B633 Server Boards                          492
SIP001      Sipi Metals Corporation       B633 Server Boards L‐Socket                 168
SIP001      Sipi Metals Corporation       B634 PC P3                                1,015
SIP001      Sipi Metals Corporation       B635 Telecom Boards                       1,528
SIP001      Sipi Metals Corporation       B637 Cables                               4,959
SIP001      Sipi Metals Corporation       B638 Laptops                              3,443
SIP001      Sipi Metals Corporation       B639 CPUs                                 1,155
SIP001      Sipi Metals Corporation       B640 Laptops                              2,128
SIP001      Sipi Metals Corporation       B641 RAM                                    772
SIP001      Sipi Metals Corporation       B642 Server Boards                          982
SIP001      Sipi Metals Corporation       B643 PCI Cards                              906
SIP001      Sipi Metals Corporation       B646 Telecom Boards                       2,059
SIP001      Sipi Metals Corporation       B647 Server Boards                        1,722
SIP001      Sipi Metals Corporation       B648 CD/DVD Boards                        1,668
SIP001      Sipi Metals Corporation       B649 Modem Boards                         4,503
SIP001      Sipi Metals Corporation       B650 LCD Back Plane Boards                2,643
SIP001      Sipi Metals Corporation       B651 PCI Cards                              528
SIP001      Sipi Metals Corporation       B652 Cut Server Boards                  42,698
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Vendor No Vendor Name                Lot No      Description                    Quantity
BTR001    BT Recycling Solutions     M1500‐M1506 Misc material for processing        26,927
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Vendor No   Vendor Name                              Lot No Description                              Quantity     Weight, Lbs.
SAK001      Sakon/Amedisys                           19448 Cell phones for processing                         1
SAK001      Sakon/Amedisys                           19552 Cell phones for processing                        42
SAK001      Sakon/Amedisys                           19552 Tablets for processing                           102
SEC004      SecondLifeMac                            19247 Tablets for processing                             6
SEC004      SecondLifeMac                            19430 Tablets for processing                            20
SEC004      SecondLifeMac                            19450 Tablets for processing                             1
SEC004      SecondLifeMac                            19452 Tablets for processing                             1
SEC004      SecondLifeMac                            19454 Tablets for processing                             1
SEC004      SecondLifeMac                            19480 MacBook for processing                             1
SEC004      SecondLifeMac                            19486 MacMini for processing                             1
SEC004      SecondLifeMac                            19513 Tablets for processing                             1
SEC004      SecondLifeMac                            19525 Tablets for processing                            31
SEC004      SecondLifeMac                            19551 Tablets for processing                          1323
SEC004      SecondLifeMac                            19556 MacMini for processing                             5
EAS002      Eastlink International Industrial Ltd.   E854 Phones for processing                             311
EAS002      Eastlink International Industrial Ltd.   E856 Phones for processing                            1219
EAS002      Eastlink International Industrial Ltd.   E857 Phones for processing                             703
EAS002      Eastlink International Industrial Ltd.   E859 Phones for processing                            1085
DAT010      Datamax Services, Inc.                   19417 Misc material for sorting and recycling                        2,500
DAT010      Datamax Services, Inc.                   19432 Misc material for sorting and recycling                          715
DAT010      Datamax Services, Inc.                   19433 Misc material for sorting and recycling                        2,226
DAT010      Datamax Services, Inc.                   19457 Misc material for sorting and recycling                          249
DAT010      Datamax Services, Inc.                   19458 Misc material for sorting and recycling                          373
DAT010      Datamax Services, Inc.                   19483 Misc material for sorting and recycling                        1,991
DAT010      Datamax Services, Inc.                   19484 Misc material for sorting and recycling                        1,136
DAT010      Datamax Services, Inc.                   19491 Misc material for sorting and recycling                        1,300
DAT010      Datamax Services, Inc.                   19505 Misc material for sorting and recycling                        1,696
DAT010      Datamax Services, Inc.                   19506 Misc material for sorting and recycling                          482
DAT010      Datamax Services, Inc.                   19508 Misc material for sorting and recycling                          361
DAT010      Datamax Services, Inc.                   19515 Misc material for sorting and recycling                          485
DAT010      Datamax Services, Inc.                   19516 Misc material for sorting and recycling                          500
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Vendor No   Vendor Name                 Lot No   Description                                   Weight, Lbs.
SCH003      Schupan Asset Management    19386    Misc material for processing                            900
ERI002      Ericsson, Inc.              19511    Misc material for sorting and recycling               7,907
ERI002      Ericsson, Inc.              19550    Misc material for sorting and recycling             48,762
ERI002      Ericsson, Inc.              19545    Misc material for sorting and recycling               1,108
ERI002      Ericsson, Inc.              BZ1946   Misc material for sorting and recycling               3,690
EWA001      EWASTE+                     19490    LCDs                                                    463
BRI008      Bristol Electronics         19546    Misc material for processing                          8,000
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Vendor No_   Vendor Nam         Item No_            Location Code   Quantity_Ile     Quantity_Reserved     Lot No_   Product Family      Form Factor   Interface   Manufacturer         Mfg Part No_           Condition   Storage Capacity
AUG001       Augmedics Inc. DOCKING STATION‐0010    AMAZON                      31                    ‐    19345     DOCKING STATION                               TEGUAR               AIMVSD02001‐T          NEW
AUG001       Augmedics Inc. LAPTOP‐0005             AMAZON                       2                    ‐    19345     LAPTOP                                        TEGUAR               TMT‐4391‐08            NEW
BRI008       Bristol Electronic MISC IC             NB                       2,700                    ‐    19323     MISC IC                                       ON SEMICOND.         MMBT3904LT1            UN
BRI008       Bristol Electronic MISC IC             NB                       2,000                    ‐    19323     MISC IC                                       PHILIPS              BAS70‐06               UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,700                    ‐    19323     MISC PASSIVE COMP                             AMP                  607758‐8               UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         800                    ‐    19323     MISC PASSIVE COMP                             JACKCON CAPAC.       LKP681M100V2230        UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,500                    ‐    19323     MISC PASSIVE COMP                             MURATA               CSA3.58MGU300AB‐TF     UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         500                    ‐    19323     MISC PASSIVE COMP                             NICHICON             UUX1C101MNT1GS         UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         450                    ‐    19323     MISC PASSIVE COMP                             SEIKO/EPSON CORP.    MA‐506 14.31818MHZ     UN
BRI008       Bristol Electronic MISC IC             NB                       1,280                    ‐    19323     MISC IC                                       JSMC                 HBR10100S              UN
BRI008       Bristol Electronic MISC IC             NB                       2,000                    ‐    19323     MISC IC                                       PHILIPS              PMBZ5240B              UN
BRI008       Bristol Electronic MISC IC             NB                         200                    ‐    19323     MISC IC                                       PULSE                PE‐68050L              UN
BRI008       Bristol Electronic MISC IC             NB                       2,700                    ‐    19323     MISC IC                                       ROHM                 DTC143ZE‐TL            UN
BRI008       Bristol Electronic MISC IC             NB                       2,700                    ‐    19323     MISC IC                                       ROHM                 DTD113ZK               UN
BRI008       Bristol Electronic MISC IC             NB                       1,200                    ‐    19323     MISC IC                                       SEMIC                CS3815E0               UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       2,000                    ‐    19323     MISC PASSIVE COMP                             MOTOROLA             MMSZ5245BT1            UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       5,000                    ‐    19323     MISC PASSIVE COMP                             ROHM                 1N5254B                UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         700                    ‐    19323     MISC PASSIVE COMP                             TEAPO ELECTRONIC     VEV156M035SOANC01K     UN
BRI008       Bristol Electronic MISC IC             NB                       5,800                    ‐    19323     MISC IC                                       DIODES INCORP.       BZX84C2V7R‐DK          UN
BRI008       Bristol Electronic MISC IC             NB                         300                    ‐    19323     MISC IC                                       FAIRCHILD SEMICON.   4N35S                  UN
BRI008       Bristol Electronic MISC IC             NB                       2,700                    ‐    19323     MISC IC                                       ON SEMICOND.         BC856ALT1              UN
BRI008       Bristol Electronic MISC IC             NB                       3,000                    ‐    19323     MISC IC                                       ON SEMICOND.         MUN2132T1              UN
BRI008       Bristol Electronic MISC IC             NB                       1,900                    ‐    19323     MISC IC                                       PHILIPS              BAT54S                 UN
BRI008       Bristol Electronic MISC IC             NB                       2,900                    ‐    19323     MISC IC                                       VISHAY               BZX84C27‐GS08 77       UN
BRI008       Bristol Electronic MISC IC             NB                       3,000                    ‐    19323     MISC IC                                       ROHM                 SST3906                UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       4,000                    ‐    19323     MISC PASSIVE COMP                             MOTOROLA             1N4001RL               UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       2,400                    ‐    19323     MISC PASSIVE COMP                             MOTOROLA             MMBT3904WT1            UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       2,000                    ‐    19323     MISC PASSIVE COMP                             MOTOROLA             MMBT4403T1             UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,500                    ‐    19323     MISC PASSIVE COMP                             MOTOROLA             MMSZ5221BT1            UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,500                    ‐    19323     MISC PASSIVE COMP                             MURATA               DE0705‐996R471K1KV     UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       2,000                    ‐    19323     MISC PASSIVE COMP                             MURATA               RGLD3Y561G‐T21         UN
BRI008       Bristol Electronic MISC IC             NB                       2,500                    ‐    19323     MISC IC                                       DIODES INCORP.       BZX84C15R‐DK           UN
BRI008       Bristol Electronic MISC IC             NB                       3,000                    ‐    19323     MISC IC                                       NXP SEMICONDUCTOR    BZX84‐C3V6             UN
BRI008       Bristol Electronic MISC IC             NB                         500                    ‐    19323     MISC IC                                       ON SEMICOND.         NC7S00M5X              UN
BRI008       Bristol Electronic MISC IC             NB                       3,000                    ‐    19323     MISC IC                                       ROHM                 MMST3906               UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,000                    ‐    19323     MISC PASSIVE COMP                             DIAMOND ELECTR.      004.009.0000013        UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         370                    ‐    19323     MISC PASSIVE COMP                             FAIRCHILD SEMICOND   MB6S                   UN
BRI008       Bristol Electronic MISC IC             NB                       1,900                    ‐    19323     MISC IC                                       NXP SEMICONDUCTOR    BZX84‐C4V3             UN
BRI008       Bristol Electronic MISC IC             NB                       2,400                    ‐    19323     MISC IC                                       ON SEMICOND.         BC847BLT1              UN
BRI008       Bristol Electronic MISC IC             NB                       2,800                    ‐    19323     MISC IC                                       ON SEMICOND.         MMBT3904WT1            UN
BRI008       Bristol Electronic MISC IC             NB                       2,500                    ‐    19323     MISC IC                                       PHILIPS              PMBZ5231B              UN
BRI008       Bristol Electronic MISC IC             NB                         500                    ‐    19323     MISC IC                                       PHILIPS              BCX55‐16               UN
BRI008       Bristol Electronic MISC IC             NB                       1,000                    ‐    19323     MISC IC                                       PHILIPS              BF998                  UN
BRI008       Bristol Electronic MISC IC             NB                       2,900                    ‐    19323     MISC IC                                       VISHAY               2N7002E‐T1‐E3          UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         380                    ‐    19323     MISC PASSIVE COMP                             BEAU INTERCON.       8705‐1201‐010A         UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         210                    ‐    19323     MISC PASSIVE COMP                             MURATA               PLH11A8002R2P01B       UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       4,000                    ‐    19323     MISC PASSIVE COMP                             TDK                  SPT0203A‐220K‐7        UN
BRI008       Bristol Electronic MISC IC             NB                       2,500                    ‐    19323     MISC IC                                       DIODES INCORP.       MMBT2222AR‐DK          UN
BRI008       Bristol Electronic MISC IC             NB                       2,000                    ‐    19323     MISC IC                                       MOTOROLA             MMBZ5246BLT1           UN
BRI008       Bristol Electronic MISC IC             NB                       1,600                    ‐    19323     MISC IC                                       NXP SEMICONDUCTOR    BZX84‐C10,215          UN
BRI008       Bristol Electronic MISC IC             NB                       5,500                    ‐    19323     MISC IC                                       VISHAY               BAV70‐7‐DK             UN
BRI008       Bristol Electronic MISC IC             NB                       1,500                    ‐    19323     MISC IC                                       ROHM                 DTC143TU T106          UN
BRI008       Bristol Electronic MISC IC             NB                         500                    ‐    19323     MISC IC                                       TEMIC                BZM55C7V5‐TR           UN
BRI008       Bristol Electronic MISC IC             NB                         900                    ‐    19323     MISC IC                                       VISHAY               BAV99‐7‐DK             UN
BRI008       Bristol Electronic MISC IC             NB                       3,000                    ‐    19323     MISC IC                                       DIODES INCORP.       MMBT3906R‐DK           UN
BRI008       Bristol Electronic MISC IC             NB                       2,400                    ‐    19323     MISC IC                                       FAIRCHILD SEMICON.   MMBT2222A              UN
BRI008       Bristol Electronic MISC IC             NB                       1,400                    ‐    19323     MISC IC                                       MOTOROLA             MMBZ5230BLT1           UN
BRI008       Bristol Electronic MISC IC             NB                       2,900                    ‐    19323     MISC IC                                       DIODES INCORP.       BZX84C5V6R‐DK          UN
BRI008       Bristol Electronic MISC IC             NB                       2,500                    ‐    19323     MISC IC                                       ROHM                 DTA144EK‐T96           UN
BRI008       Bristol Electronic MISC IC             NB                         800                   (800) 19323     MISC IC                                       ON SEMICOND.         MMBT3904LT1G           UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                      40,000                    ‐    19323     MISC PASSIVE COMP                             ITT SEMICOND.        1N5256B                UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       2,600                    ‐    19323     MISC PASSIVE COMP                             LELON                REA220M1ESA‐0511       UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,500                    ‐    19323     MISC PASSIVE COMP                             MURATA               DE0405‐979SL220J2K     UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                         500                    ‐    19323     MISC PASSIVE COMP                             RUBYCON              VNC1H‐P422162CFDJX00   UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,250                    ‐    19323     MISC PASSIVE COMP                             TAITRON              1N5820                 UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,000                    ‐    19323     MISC PASSIVE COMP                             KEMET                C0402C101J3GAC7867     UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       4,500                    ‐    19323     MISC PASSIVE COMP                             MOTOROLA             1N5821RL               UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       5,000                    ‐    19323     MISC PASSIVE COMP                             MURATA               DE0707‐486R221K1K      UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       1,000                    ‐    19323     MISC PASSIVE COMP                             MURATA               RGLD4Y271G‐T21         UN
BRI008       Bristol Electronic MISC PASSIVE COMP   NB                       2,000                    ‐    19323     MISC PASSIVE COMP                             MURATA               RGLD7X471J‐T21         UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,000        ‐   19323   MISC PASSIVE COMP          PLETRONICS           SM42BH‐18‐22.1184M    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        32,000        ‐   19323   MISC PASSIVE COMP          TDK                  EL0606RA‐100K         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           130        ‐   19323   MISC PASSIVE COMP          KNOWLES SYFER        0805Y0500104KXT       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           200        ‐   19323   MISC PASSIVE COMP          LELON                OVK271M1DTR‐0812      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N758ARL              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000        ‐   19323   MISC PASSIVE COMP          MURATA               DD09‐959B22K500       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        14,000        ‐   19323   MISC PASSIVE COMP          MURATA               DD350‐999BC103M50     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,800        ‐   19323   MISC PASSIVE COMP          NIPPON CHEMI‐CON     KME25VB331M10X12.5    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           500        ‐   19323   MISC PASSIVE COMP          RUBYCON              50YXF220MEFCT810X16   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,700        ‐   19323   MISC PASSIVE COMP          GSI                  1N6288A 1.5KE51A      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000        ‐   19323   MISC PASSIVE COMP          KSS                  CX‐5F‐20400KHZ        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,700        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N5230BRL             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N5234BRL             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000        ‐   19323   MISC PASSIVE COMP          MURATA               RGLD4X223J‐T21        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           800        ‐   19323   MISC PASSIVE COMP          SURGE                YP0AC102K080DAFD7B    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        18,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N5228ARL             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            48        ‐   19323   MISC PASSIVE COMP          RENCO                RLTI‐1115             UN
BRI008   Bristol Electronic MISC IC               NB         1,500        ‐   19323   MISC IC                    ON SEMICOND.         BCW32                 UN
BRI008   Bristol Electronic MISC IC               NB         2,200        ‐   19323   MISC IC                    TOSHIBA              TC7W32FK              UN
BRI008   Bristol Electronic MISC IC               NB         1,000        ‐   19323   MISC IC                    TXC CORPORATION      9C14700086            UN
BRI008   Bristol Electronic MISC IC               NB         2,900        ‐   19323   MISC IC                    VISHAY               BAT54 E9              UN
BRI008   Bristol Electronic MISC IC               NB         1,000        ‐   19323   MISC IC                    VISHAY               BZX84C51 E9           UN
BRI008   Bristol Electronic MISC IC               NB         1,500        ‐   19323   MISC IC                    FAIRCHILD SEMICON.   MMBT2907A             UN
BRI008   Bristol Electronic MISC IC               NB         2,400        ‐   19323   MISC IC                    MOTOROLA             MMBZ5232BLT1          UN
BRI008   Bristol Electronic MISC IC               NB         5,000        ‐   19323   MISC IC                    ROHM                 DAN202K               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            50        ‐   19323   MISC PASSIVE COMP          AMP                  503948‐5 00           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,200        ‐   19323   MISC PASSIVE COMP          BIVAR.INC.           SM1204SBWC            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           975        ‐   19323   MISC PASSIVE COMP          ISI                  DR2‐152K‐F            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,000        ‐   19323   MISC PASSIVE COMP          MURATA               RGLD5X472G‐032‐T21    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000        ‐   19323   MISC PASSIVE COMP          NICHICON             URY2C330MHR1TI        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            80        ‐   19323   MISC PASSIVE COMP          BEAU INTERCON.       946806                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         7,927        ‐   19323   MISC PASSIVE COMP          BEL FUSE             S553‐2940‐09          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000        ‐   19323   MISC PASSIVE COMP          DIODES INCORP.       LL4148                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000        ‐   19323   MISC PASSIVE COMP          MURATA               RGLD8X223J‐T21        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000        ‐   19323   MISC PASSIVE COMP          NICHICON             UVX1C101MPA1TA        UN
BRI008   Bristol Electronic MISC IC               NB         3,070        ‐   19323   MISC IC                    FLOETH               D14ACT‐X4090          UN
BRI008   Bristol Electronic MISC IC               NB         1,600        ‐   19323   MISC IC                    KEC                  KTC3876S‐Y‐RTK        UN
BRI008   Bristol Electronic MISC IC               NB         4,600        ‐   19323   MISC IC                    ON SEMICOND.         BZX84C68              UN
BRI008   Bristol Electronic MISC IC               NB         2,000        ‐   19323   MISC IC                    ROHM                 RB715FT106            UN
BRI008   Bristol Electronic MISC IC               NB           370        ‐   19323   MISC IC                    VALOR ELECTR.        SF1043                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N4934                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,800        ‐   19323   MISC PASSIVE COMP          MOTOROLA             MMBZ5L32BLT1          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         8,000        ‐   19323   MISC PASSIVE COMP          NICHICON             UVX1C101MEA1TA        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000        ‐   19323   MISC PASSIVE COMP          PHILIPS              CPC‐C1‐100V‐N15       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,900        ‐   19323   MISC PASSIVE COMP          VISHAY               SOMC‐1601 4.7K        UN
BRI008   Bristol Electronic MISC IC               NB         1,000        ‐   19323   MISC IC                    PHILIPS              PMBTA14               UN
BRI008   Bristol Electronic MISC IC               NB           400        ‐   19323   MISC IC                    PHILIPS              PZT3904               UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐   19323   MISC IC                    MOTOROLA             MMSZ4685T1            UN
BRI008   Bristol Electronic MISC IC               NB         2,800        ‐   19323   MISC IC                    ROHM                 DTA114EK‐WT‐T147      UN
BRI008   Bristol Electronic MISC IC               NB         8,190        ‐   19323   MISC IC                    VALOR ELECTR.        PT3817                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000        ‐   19323   MISC PASSIVE COMP          DIODES INCORP.       ZMM5227B              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        14,800        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N5818RL              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N6282 1.5KE30        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA             BZX55C5V6RL           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,000        ‐   19323   MISC PASSIVE COMP          MURATA               RGLD9X152J‐T21        UN
BRI008   Bristol Electronic MISC IC               NB         1,000        ‐   19323   MISC IC                    MICROSEMI CORP.      MMBD7000‐T            UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐   19323   MISC IC                    ON SEMICOND.         MMBT4403LT3           UN
BRI008   Bristol Electronic MISC IC               NB         2,500        ‐   19323   MISC IC                    PHILIPS              PMBF4392              UN
BRI008   Bristol Electronic MISC IC               NB         3,600        ‐   19323   MISC IC                    ROHM                 LB‐602VAGI            UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐   19323   MISC IC                    SIEMENS              BAS 70‐04 E‐6327      UN
BRI008   Bristol Electronic MISC IC               NB         1,500        ‐   19323   MISC IC                    VISHAY               BZX84C2V7 E9          UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐   19323   MISC IC                    DIODES INCORP.       BAV99‐7‐F             UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐   19323   MISC IC                    PANASONIC            DMC266010R            UN
BRI008   Bristol Electronic MISC IC               NB         1,200        ‐   19323   MISC IC                    ROHM                 RSZ5235B              UN
BRI008   Bristol Electronic MISC IC               NB           800        ‐   19323   MISC IC                    VISHAY               2N7002K               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000        ‐   19323   MISC PASSIVE COMP          KINSEKI              CX‐5F 4147. 2 KHZ     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            24        ‐   19323   MISC PASSIVE COMP          RENCO                RLTI‐1108             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,175        ‐   19323   MISC PASSIVE COMP          VISHAY               TCX0355               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           160        ‐   19323   MISC PASSIVE COMP          BEAU INTERCON.       9468‐0601‐0000        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,500        ‐   19323   MISC PASSIVE COMP          EPCOS                B37987‐M1473‐K 54     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,300        ‐   19323   MISC PASSIVE COMP          MOTOROLA             1N4933RL              UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA              MMSZ5246BT1            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          7,500        ‐   19323   MISC PASSIVE COMP          MURATA                CSAC2.09MGCM‐TC        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000        ‐   19323   MISC PASSIVE COMP          TOYOCOM               197S0122               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,000        ‐   19323   MISC PASSIVE COMP          VISHAY                1N4148‐T               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19323   MISC PASSIVE COMP          VISHAY                1N5392                 UN
BRI008   Bristol Electronic MISC IC               NB          1,500        ‐   19323   MISC IC                    DIODES INCORP.        BZX84C30R‐DK           UN
BRI008   Bristol Electronic MISC IC               NB          5,300        ‐   19323   MISC IC                    NXP SEMICONDUCTOR     BZX84‐C3V0             UN
BRI008   Bristol Electronic MISC IC               NB          5,500        ‐   19323   MISC IC                    NXP SEMICONDUCTOR     BZX84‐C8V2             UN
BRI008   Bristol Electronic MISC IC               NB          2,000        ‐   19323   MISC IC                    ON SEMICOND.          SMBD1022LT1            UN
BRI008   Bristol Electronic MISC IC               NB          1,000        ‐   19323   MISC IC                    STM                   MMBTA42                UN
BRI008   Bristol Electronic MISC IC               NB          4,000        ‐   19323   MISC IC                    DIODES INCORP.        BZX84C8V2R‐DK          UN
BRI008   Bristol Electronic MISC IC               NB          1,500        ‐   19323   MISC IC                    FAIRCHILD SEMICOND    BAS16                  UN
BRI008   Bristol Electronic MISC IC               NB          3,000        ‐   19323   MISC IC                    FAIRCHILD SEMICOND    BAV74                  UN
BRI008   Bristol Electronic MISC IC               NB          1,000        ‐   19323   MISC IC                    CENTRAL SEMICON       CMPSH‐3                UN
BRI008   Bristol Electronic MISC IC               NB          1,970        ‐   19323   MISC IC                    FLOETH                D14T‐X3090             UN
BRI008   Bristol Electronic MISC IC               NB          3,000        ‐   19323   MISC IC                    ON SEMICOND.          BZX84C13LT1            UN
BRI008   Bristol Electronic MISC IC               NB          1,500        ‐   19323   MISC IC                    ON SEMICOND.          MMBD914LT1             UN
BRI008   Bristol Electronic MISC IC               NB          2,400        ‐   19323   MISC IC                    ROHM                  DTA143EKAL T146        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            400        ‐   19323   MISC PASSIVE COMP          DIODES INCORP.        6A2‐B                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         19,800        ‐   19323   MISC PASSIVE COMP          KYOCERA               KBR‐480YTR             UN
BRI008   Bristol Electronic MISC IC               NB          2,000        ‐   19323   MISC IC                    EM MICROELECTRONIC    EM6352XSP5B‐1.3        UN
BRI008   Bristol Electronic MISC IC               NB          4,000        ‐   19323   MISC IC                    ON SEMICOND.          MMBT3906LT1            UN
BRI008   Bristol Electronic MISC IC               NB          2,500        ‐   19323   MISC IC                    VISHAY                BZX84C39N E9           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,800        ‐   19323   MISC PASSIVE COMP          FAIRCHILD SEMICOND    FDLL4148               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA              1N5257BRL              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19323   MISC PASSIVE COMP          ROHM                  1N5235B                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,950        ‐   19323   MISC PASSIVE COMP          PANASONIC             ECC‐R1H101KC5          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            700        ‐   19323   MISC PASSIVE COMP          PANASONIC             ECRJA020E11X           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,800        ‐   19323   MISC PASSIVE COMP          LELON                 REA470M1ESA‐0511       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,100        ‐   19323   MISC PASSIVE COMP          LELON                 VEJ221M0JTR‐0607S      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,700        ‐   19323   MISC PASSIVE COMP          MOTOROLA              BZX84C9V1LT1           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            900        ‐   19323   MISC PASSIVE COMP          VISHAY                SOMC‐1601              UN
BRI008   Bristol Electronic MISC IC               NB          2,700        ‐   19323   MISC IC                    DIODES INCORP.        BAS16 E9               UN
BRI008   Bristol Electronic MISC IC               NB          3,000        ‐   19323   MISC IC                    DIODES INCORP.        BAT54S‐7               UN
BRI008   Bristol Electronic MISC IC               NB          2,000        ‐   19323   MISC IC                    DIODES INCORP.        BZX84C45R‐DK           UN
BRI008   Bristol Electronic MISC IC               NB          2,500        ‐   19323   MISC IC                    ON SEMICOND.          MC74VHC1G66            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            900        ‐   19323   MISC PASSIVE COMP          DIOTEC SEMICOND.      SK33                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,900        ‐   19323   MISC PASSIVE COMP          NIPPON CHEMI‐CON      SME50VB2R2M5X11FT      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,500        ‐   19323   MISC PASSIVE COMP          NIPPON INDUSTR.CO.,   NACE220M16V5X5.5TR13   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐   19323   MISC PASSIVE COMP          AVX                   SA102A330JAA           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            500        ‐   19323   MISC PASSIVE COMP          EPSON                 MA‐505 25.000000 MHZ   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000        ‐   19323   MISC PASSIVE COMP          MURATA                DE1205‐979B472K1K      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,800        ‐   19323   MISC PASSIVE COMP          ON SEMICOND.          MMSZ52                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         15,000        ‐   19323   MISC PASSIVE COMP          COSFREQUANCY          NB43‐388‐A9M6.0L16     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,500        ‐   19323   MISC PASSIVE COMP          ITT SEMICOND.         ZMM5231BTR             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         80,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA              1N5235BRL              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000        ‐   19323   MISC PASSIVE COMP          PHILIPS               1N4148                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          7,000        ‐   19323   MISC PASSIVE COMP          TOYOCOM               NPS25085‐80            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐   19323   MISC PASSIVE COMP          EIC                   1N5398                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐   19323   MISC PASSIVE COMP          MCC                   MBR0540‐TP             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,800        ‐   19323   MISC PASSIVE COMP          MCC                   MBRX0560‐TP            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐   19323   MISC PASSIVE COMP          TOYOCOM               197S0127               UN
BRI008   Bristol Electronic MISC IC               NB            700        ‐   19323   MISC IC                    PHILIPS               74ABT245D              UN
BRI008   Bristol Electronic MISC IC               NB            980        ‐   19323   MISC IC                    TI                    L324A                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,700        ‐   19323   MISC PASSIVE COMP          COMCHIP               CDSW4148               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,000        ‐   19323   MISC PASSIVE COMP          KINSEKI               CX‐5F 16800.000 KHZ    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            600        ‐   19323   MISC PASSIVE COMP          MURATA                DE0610‐487B331K3K      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,500        ‐   19323   MISC PASSIVE COMP          MURATA                DE0705‐959R221K1K      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,200        ‐   19323   MISC PASSIVE COMP          E‐SWITCH              EG1206A                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            300        ‐   19323   MISC PASSIVE COMP          HOSONIC ELECTR.       ESB14.3181F18D35F      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         53,000        ‐   19323   MISC PASSIVE COMP          KSS                   CX‐5F‐18000.000KHZ     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19323   MISC PASSIVE COMP          MOTOROLA              1N5244BRL              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐   19323   MISC PASSIVE COMP          TDK                   EL0909RR‐332J‐2        UN
BRI008   Bristol Electronic MISC IC               NB         11,700        ‐   19371   MISC IC                    S PLUS M COMPONENTS   B39700‐X6994‐T901      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            440        ‐   19371   MISC PASSIVE COMP          GE                    27L5524RC              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,200        ‐   19371   MISC PASSIVE COMP          MURATA                DE1010‐487B221KACT4K   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        180,000        ‐   19371   MISC PASSIVE COMP          MURATA                DEBB33A152KN2A         UN
BRI008   Bristol Electronic MISC IC               NB        300,000        ‐   19371   MISC IC                    PANASONIC             XP03311001MT           UN
BRI008   Bristol Electronic MISC IC               NB        372,000        ‐   19371   MISC IC                    ON SEMICOND.          SMBD1099T              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         29,500        ‐   19371   MISC PASSIVE COMP          NICHICON              UPW0J681MPH1TD         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         17,600        ‐   19371   MISC PASSIVE COMP          ROEDERSTEIN           MKT1813522014‐3        UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB            500        ‐   19371   MISC PASSIVE COMP          TECATE INDSTR          MXZZ‐035/221M8X10TR13F    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          7,700        ‐   19371   MISC PASSIVE COMP          VALOR ELECTR.          SF4230‐R                  UN
BRI008   Bristol Electronic MISC IC               NB        900,000        ‐   19371   MISC IC                    PANASONIC              UNR9214J01MT              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐   19371   MISC PASSIVE COMP          RUBYCON                CAP‐476‐029               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,680        ‐   19371   MISC PASSIVE COMP          CMC                    MPP1406370J               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,000        ‐   19371   MISC PASSIVE COMP          CHILISIN ELECTRONICS   SSL1306T‐102M‐S           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,574        ‐   19371   MISC PASSIVE COMP          GE                     97F6557RC                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         15,600        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECQ‐E6184B293             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         30,000        ‐   19371   MISC PASSIVE COMP          TDK                    EL0405RA‐2R2J‐3           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         42,300        ‐   19371   MISC PASSIVE COMP          MURATA                 CFW455F8                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         46,500        ‐   19371   MISC PASSIVE COMP          MURATA                 DE506979C471K500          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐   19371   MISC PASSIVE COMP          RUBYCON                25PK47KEFCT15X11          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         60,500        ‐   19371   MISC PASSIVE COMP          FRONTIER ELECTRONICS   CSN084B‐4R7M              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         48,000        ‐   19371   MISC PASSIVE COMP          MURATA                 CFU455F8                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,760        ‐   19371   MISC PASSIVE COMP          UNITED CHEMI‐CON       673D                      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          8,500        ‐   19371   MISC PASSIVE COMP          FRONTIER ELECTRONICS   CSN0810B‐471M             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19371   MISC PASSIVE COMP          FRONTIER ELECTRONICS   CSN084B‐150M              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,600        ‐   19371   MISC PASSIVE COMP          MURATA                 DE1010‐487B221KACT4K‐KD   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         27,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECA1VFQ681B               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         80,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ELJRE8N2JG2               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         40,000        ‐   19371   MISC PASSIVE COMP          TDK                    SLF12575T‐150M4R7         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         78,000        ‐   19371   MISC PASSIVE COMP          TDK                    SPT0203‐100J‐7            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECA1EXJ152SB              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,500        ‐   19371   MISC PASSIVE COMP          HALO ELECTR.           TG110‐S456NXTR            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000        ‐   19371   MISC PASSIVE COMP          MURATA                 CFU455D2P14               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,250        ‐   19371   MISC PASSIVE COMP          AVX CORPORATION        SA105C103KAA              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,500        ‐   19371   MISC PASSIVE COMP          FRONTIER ELECTRONICS   CSN084B‐101M              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐   19371   MISC PASSIVE COMP          MURATA                 DSS306‐92FZ103N100        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        188,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECA1VFQ221BJ              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECA‐1VFQ221BJ             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         40,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECA1VGE221B               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        134,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECEV0J220WR               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         64,000        ‐   19371   MISC PASSIVE COMP          TDK                    SLF10145T‐331MR54         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000        ‐   19371   MISC PASSIVE COMP          MURATA                 SL101A151JAA              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        248,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECEV0JS220WR              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         15,000        ‐   19371   MISC PASSIVE COMP          TDK                    EL0405RA‐4R7K‐2           UN
BRI008   Bristol Electronic MISC IC               NB         19,580        ‐   19371   MISC IC                    FUJI                   2SK1007‐01                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECEA1CU471XB              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECKD3F101KBP              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         23,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECQ‐P6153N263             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,500        ‐   19371   MISC PASSIVE COMP          EPCOS                  B41858A7227M              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19371   MISC PASSIVE COMP          MMD COMPONENTS         D20BA1‐11.0592MHZ TR      UN
BRI008   Bristol Electronic MISC IC               NB         18,000        ‐   19371   MISC IC                    JUNWELL ELECTR.        3DD13002B1H               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19371   MISC PASSIVE COMP          MATSUSHITA             ETQAF1R3EFK               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐   19371   MISC PASSIVE COMP          MURATA                 RSL10Y104G‐T21            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         21,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECGC0JB100R               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         17,500        ‐   19371   MISC PASSIVE COMP          CHILISIN ELECTRONICS   SSL0804T‐331M             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         19,600        ‐   19371   MISC PASSIVE COMP          CHILISIN ELECTRONICS   SSL0804T‐680M‐S           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,600        ‐   19371   MISC PASSIVE COMP          CHILISIN ELECTRONICS   SSL0810T‐331M‐S           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐   19371   MISC PASSIVE COMP          NICHICON               UET1H330MPH1TD            NEW
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         11,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              6103RKF                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,000        ‐   19371   MISC PASSIVE COMP          MURATA                 PQVPSFE107R1              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         30,500        ‐   19371   MISC PASSIVE COMP          MURATA                 RGLD4Y274G‐032            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         54,000        ‐   19371   MISC PASSIVE COMP          TDK                    EL0405RA‐2R2J             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         75,000        ‐   19371   MISC PASSIVE COMP          MURATA                 CSA3.58MGU300FGA‐TF01     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         34,000        ‐   19371   MISC PASSIVE COMP          TDK                    EL0606RA‐330J             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000        ‐   19371   MISC PASSIVE COMP          XICON                  8GSKJU                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         24,000        ‐   19371   MISC PASSIVE COMP          INTRA                  WP90680                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        617,500        ‐   19371   MISC PASSIVE COMP          ON SEMICOND.           SURS5630‐2T3              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         12,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECEA1CU471XB              NEW
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,100        ‐   19371   MISC PASSIVE COMP          CHILISIN ELECTRONICS   SSL0804T‐101M‐S           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,100        ‐   19371   MISC PASSIVE COMP          CHILISIN ELECTRONICS   SSL0804T‐4R7M‐S           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐   19371   MISC PASSIVE COMP          EPCOS                  B41859F5107M              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            648        ‐   19371   MISC PASSIVE COMP          GE                     97F9675                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         24,000        ‐   19371   MISC PASSIVE COMP          MURATA                 CFU455E2YP14              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000        ‐   19371   MISC PASSIVE COMP          MURATA                 RCLD4Y332G‐T21            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,000        ‐   19371   MISC PASSIVE COMP          TDK                    SL1215‐330K2R3            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,800        ‐   19371   MISC PASSIVE COMP          FRONTIER ELECTRONICS   CSN084B‐680M              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000        ‐   19371   MISC PASSIVE COMP          MURATA                 DSS306‐91Y5S330           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         88,000        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECEA1EKA220B              NEW
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,000        ‐   19371   MISC PASSIVE COMP          SURGE COMPONENTS       16CAE470AX                UN
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BRI008   Bristol Electronic MISC IC               NB         11,530        ‐   19371   MISC IC                    DELTA ELECTRONICS      DT50584                      UN
BRI008   Bristol Electronic MISC IC               NB         57,000        ‐   19371   MISC IC                    KINGBRIGHT             AA3022SGC‐4.5SF              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         60,000        ‐   19371   MISC PASSIVE COMP          MURATA                 CST2.50MGWA071P‐TF01         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,200        ‐   19371   MISC PASSIVE COMP          MURATA                 DSS310‐92Y5S223S50ATL4‐133   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,700        ‐   19371   MISC PASSIVE COMP          CHILISIN ELECTRONICS   SSL0810T‐102M‐S              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000        ‐   19371   MISC PASSIVE COMP          MURATA                 DD380959BC473M125            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,400        ‐   19371   MISC PASSIVE COMP          PANASONIC              ECW‐H8273RJT                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         36,000        ‐   19371   MISC PASSIVE COMP          TDK                    SLF10145T‐5R6M3R2            UN
BRI008   Bristol Electronic MISC IC               NB             60        ‐   19462   MISC IC                    TDK                    CXA‐2037                     UN
BRI008   Bristol Electronic MISC IC               NB             75        ‐   19462   MISC IC                    COILCRAFT              MLC1260‐172ML                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,520        ‐   19462   MISC PASSIVE COMP          MOLEX                  443001030                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         94,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              EEUFA1H821L                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         29,500        ‐   19462   MISC PASSIVE COMP          TDK                    CD85‐E2GA102MYVS             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         13,200        ‐   19462   MISC PASSIVE COMP          TDK                    HCF0091                      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            800        ‐   19462   MISC PASSIVE COMP          ELECTROCUBE            223A1B155K                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         35,000        ‐   19462   MISC PASSIVE COMP          ELNA                   DZ‐2R5D475N                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECQ‐E2185JFC                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19462   MISC PASSIVE COMP          XICON                  271‐470K/REEL‐RC             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐   19462   MISC PASSIVE COMP          BCCOMPONENTS           MKT 0.068 MF                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,536        ‐   19462   MISC PASSIVE COMP          GENERAL ELEC.          97F9675                      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          8,000        ‐   19462   MISC PASSIVE COMP          ROEDERSTEIN            KP1838210162.5               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         58,000        ‐   19462   MISC PASSIVE COMP          RUBYCON                100F2C103MTR                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        180,000        ‐   19462   MISC PASSIVE COMP          TDK                    EL0606RA‐R56K                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         49,000        ‐   19462   MISC PASSIVE COMP          TDK                    NSL0808RA‐221KR54            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        258,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECA1HHG470B                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,450        ‐   19462   MISC PASSIVE COMP          PULSE                  B2168T                       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000        ‐   19462   MISC PASSIVE COMP          TECATE                 914‐100/105K15               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         30,000        ‐   19462   MISC PASSIVE COMP          YAGEO                  CF114PD                      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,400        ‐   19462   MISC PASSIVE COMP          IC ILLINOIS CAP.       474MWR250K                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECQ‐E6563B293                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         40,000        ‐   19462   MISC PASSIVE COMP          TDK                    EL0607RA‐181K                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          8,000        ‐   19462   MISC PASSIVE COMP          BISHOP ELECTRONICS     C11C473J                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,800        ‐   19462   MISC PASSIVE COMP          MURATA                 DE1007‐467BN681K2K           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          7,000        ‐   19462   MISC PASSIVE COMP          SBE                    716P153910KA3                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         28,000        ‐   19462   MISC PASSIVE COMP          TAIYO YUDEN            U10Z5V473ZAL66AE             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         72,000        ‐   19462   MISC PASSIVE COMP          TDK                    E3SF14B093AA                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐   19462   MISC PASSIVE COMP          THOMSON                EMD250P22M03A                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         14,500        ‐   19462   MISC PASSIVE COMP          ARCO ELECT.            TCO‐104Z                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         89,000        ‐   19462   MISC PASSIVE COMP          LUMEX                  SSF‐LX3P74GD‐TR24            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,800        ‐   19462   MISC PASSIVE COMP          MATSUSHITA             ECW‐H8273RJT                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐   19462   MISC PASSIVE COMP          NICHICON               LLU2E331MHLZ                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000        ‐   19462   MISC PASSIVE COMP          NICHICON               QAF2E565KRP                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECQ‐M1H1153KZ3               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        680,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              EVQ‐PF1 04R                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         18,240        ‐   19462   MISC PASSIVE COMP          STEWARD                MP0760‐100                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,000        ‐   19462   MISC PASSIVE COMP          JINGYUAN ELECTR.       HC‐49US‐SMD                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         40,000        ‐   19462   MISC PASSIVE COMP          MURATA                 DE1E3KX102MA5B               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            200        ‐   19462   MISC PASSIVE COMP          MURATA                 PTH451A100BG5R0M140A         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         29,000        ‐   19462   MISC PASSIVE COMP          NICHICON               QYA2A152JTP                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         22,500        ‐   19462   MISC PASSIVE COMP          SPRAGUE ELECTRIC       561CP3KBA102EG820J           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         40,000        ‐   19462   MISC PASSIVE COMP          TDK                    EL0606RA‐4R7J                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,500        ‐   19462   MISC PASSIVE COMP          NIC COMP. CORP.        NCD102M3KVZ5UTR              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         60,000        ‐   19462   MISC PASSIVE COMP          NIC COMP. CORP.        NCD221K50VY5F                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         29,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              08L01084S00                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         72,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECEV1EA221P                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECQ‐P1H561GZ3                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          8,100        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECW‐H8273RJT                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              EVU‐F0LFL414Y                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,600        ‐   19462   MISC PASSIVE COMP          SAMHWA COPAC.          6PX2GRB302J                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         14,400        ‐   19462   MISC PASSIVE COMP          T&T                    MW‐510M12C                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            500        ‐   19462   MISC PASSIVE COMP          ARCOTRONICS            CG4AFUC4500AA1J              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         23,700        ‐   19462   MISC PASSIVE COMP          BH                     470 MFD 25V                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,300        ‐   19462   MISC PASSIVE COMP          MARCON                 JAD2B334K                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000        ‐   19462   MISC PASSIVE COMP          NIPPON CHEMI‐CON       APSC160ETD271MHB51           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         24,000        ‐   19462   MISC PASSIVE COMP          PANASONIC              ECKANA471MB                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         12,000        ‐   19462   MISC PASSIVE COMP          THOMSON                5NS210MNACM                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐   19462   MISC PASSIVE COMP          THOMSON                GAY611FBAC3                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         12,000        ‐   19462   MISC PASSIVE COMP          ARCO ELECT.            CCD‐510                      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐   19462   MISC PASSIVE COMP          MOTOR START CAP.       105‐126 MFD 250V AC          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000        ‐   19462   MISC PASSIVE COMP          MURATA                 DD380‐959BC473M25            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            195        ‐   19462   MISC PASSIVE COMP          MURATA                 PLAB6020R8R01B1              UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,500           ‐    19462   MISC PASSIVE COMP       PANASONIC              ECES1CU223T                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            155           ‐    19462   MISC PASSIVE COMP       CLAROSTAT              VK‐100‐NA 500 OHM           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        212,800           ‐    19462   MISC PASSIVE COMP       ELNA                   RVJ‐35V330MG68Z‐RRD         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB             60           ‐    19462   MISC PASSIVE COMP       TDK                    CXA‐2037                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          8,000           ‐    19462   MISC PASSIVE COMP       THOMSON                5SS347MBHCA                 UN
BRI008   Bristol Electronic MISC IC               NB             36           ‐    19462   MISC IC                 LUCENT                 915A                        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         34,000           ‐    19462   MISC PASSIVE COMP       ARCO ELECT.            TCD‐253Z                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000           ‐    19462   MISC PASSIVE COMP       PANASONIC              ECW‐F2564N480               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         45,000           ‐    19462   MISC PASSIVE COMP       PHILIPS                U104Z29Y5VE52H5H            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,600           ‐    19462   MISC PASSIVE COMP       RUBYCON                CE 360V 240MF               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,200           ‐    19462   MISC PASSIVE COMP       RUBYCON                CE 360V FKX 120MF J MDT     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            340           ‐    19462   MISC PASSIVE COMP       EBY                    EB251‐04‐A1439              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,300           ‐    19462   MISC PASSIVE COMP       EBY                    EB3516‐02‐9‐TR              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         54,000           ‐    19462   MISC PASSIVE COMP       EPCOS                  B32612‐J1472‐J020           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         21,000           ‐    19462   MISC PASSIVE COMP       PANASONIC              ECQ‐E2684B293               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         50,000           ‐    19462   MISC PASSIVE COMP       TDK                    CC45CH1H390JYR              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000           ‐    19462   MISC PASSIVE COMP       TDK                    CK45ZP1H222KYP              UN
BRI008   Bristol Electronic MISC IC               NB            384           ‐    19462   MISC IC                 LUCENT                 LW015A81                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         13,000           ‐    19462   MISC PASSIVE COMP       AVX                    620102MQECL                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         25,000           ‐    19462   MISC PASSIVE COMP       NICHICON               UUR1H330MBR1GS              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000           ‐    19462   MISC PASSIVE COMP       PANASONIC              ECQ‐F6392N181               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        192,500           ‐    19462   MISC PASSIVE COMP       PANASONIC              EEFCD0K330R                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            253           ‐    19462   MISC PASSIVE COMP       POWERDSINE             PD‐NPM‐0306                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         40,000           ‐    19462   MISC PASSIVE COMP       TDK                    CK45‐B1H472KYP              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000           ‐    19462   MISC PASSIVE COMP       TDK                    CK45‐B2H102KYR              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         28,000           ‐    19462   MISC PASSIVE COMP       TDK                    CK45UJIH221JYP              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         43,000           ‐    19462   MISC PASSIVE COMP       TDK                    CK45YP2H681K                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,560           ‐    19462   MISC PASSIVE COMP       TDK                    CXA‐L0612‐VJI               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000           ‐    19462   MISC PASSIVE COMP       AVX                    67S103MCLCP                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,600           ‐    19462   MISC PASSIVE COMP       BEL FUSE               S560‐6600‐F5                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            720           ‐    19462   MISC PASSIVE COMP       CORNELL DUBILIER EL.   381LXE1429                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         60,000           ‐    19462   MISC PASSIVE COMP       NICHICON               UUTC470MCR1MS               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         37,600           ‐    19462   MISC PASSIVE COMP       NIPPON CHEMI‐CON       KMH1K152M35G1               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            337           ‐    19462   MISC PASSIVE COMP       SPRAGUE ELECTRIC       36DE1959                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,000           ‐    19462   MISC PASSIVE COMP       TDK                    CK45‐B3AD471KYVN            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000           ‐    19462   MISC PASSIVE COMP       AVX                    5SQ102MOAAM                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            154           ‐    19462   MISC PASSIVE COMP       CLAROSTAT              VK‐100‐NA 1500 KOHM         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         11,000           ‐    19462   MISC PASSIVE COMP       EPCOS                  B32613A3334J                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000           ‐    19462   MISC PASSIVE COMP       NICHICON               QAS2E564KTP                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          7,500           ‐    19462   MISC PASSIVE COMP       PANASONIC              ECQ‐E2474B293               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,200           ‐    19462   MISC PASSIVE COMP       SEACOR                 105T69                      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        210,000           ‐    19462   MISC PASSIVE COMP       TDK                    CK45‐B1H271KYR              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            500           ‐    19462   MISC PASSIVE COMP       MATSUSHITA             ECQ‐E2684B293               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000           ‐    19462   MISC PASSIVE COMP       PANASONIC              ECQ‐F6152JZ3                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         27,000           ‐    19462   MISC PASSIVE COMP       ROEDERSTEIN            KP1834247062.5              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        155,000           ‐    19462   MISC PASSIVE COMP       TDK                    CC473SLH010YY               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000           ‐    19462   MISC PASSIVE COMP       COILS & TRANSFORMERS   ELXTV103EA                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            800           ‐    19462   MISC PASSIVE COMP       EBY                    PS523‐11‐011‐G              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         15,000           ‐    19462   MISC PASSIVE COMP       MURATA                 DE0805‐979B152K1KMSS3C100   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         54,000           ‐    19462   MISC PASSIVE COMP       NISSEI ELEOTRICCO      MMT105J50                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          9,000           ‐    19462   MISC PASSIVE COMP       PANASONIC              08L01125S39                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         36,000           ‐    19462   MISC PASSIVE COMP       PANASONIC              EEUFC1A122B                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        105,000           ‐    19462   MISC PASSIVE COMP       TDK                    EL0405RA‐3R3K‐2             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000           ‐    19462   MISC PASSIVE COMP       MATSUO ELECTRIC CO.    501N5002102KC               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            500           ‐    19462   MISC PASSIVE COMP       MATSUSHITA             ECQE2474B293                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000           ‐    19462   MISC PASSIVE COMP       PANASONIC              ECEA1VGE221B                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,025        (4,025) 19462   MISC PASSIVE COMP       PULSE                  BX8248WT                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000           ‐    19462   MISC PASSIVE COMP       EBY                    EB3516‐06‐9‐TR              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         13,500           ‐    19462   MISC PASSIVE COMP       MAIDA DEVELOP.COM      D61U2J101JT1                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         11,000           ‐    19462   MISC PASSIVE COMP       MALLORY SONALERT       150154J250CB                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            850           ‐    19462   MISC PASSIVE COMP       SEACOR                 69‐MMWA                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        252,000           ‐    19462   MISC PASSIVE COMP       TDK                    SPT0203A‐R15K‐72            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000       (10,000) 19462   MISC PASSIVE COMP       MATSUSHITA             ELXTV103EA                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000           ‐    19462   MISC PASSIVE COMP       ARCO ELECT.            TCD4R7C                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            960           ‐    19462   MISC PASSIVE COMP       ASC ELECTRONICA        ET155K400AA                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,888           ‐    19462   MISC PASSIVE COMP       PHILIPS                3535B4A0043A250A5           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         60,000           ‐    19462   MISC PASSIVE COMP       TDK                    CD85‐B2GA221KYNS            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,500           ‐    19462   MISC PASSIVE COMP       ARCO ELECT.            TCD‐503Z                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000           ‐    19462   MISC PASSIVE COMP       MATSUSHITA             ECQE2A223A11                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         24,000           ‐    19462   MISC PASSIVE COMP       MURATA                 DE1510B472K2K               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         32,000           ‐    19462   MISC PASSIVE COMP       NICHICON               UPF1V331MPH1TD              UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB        90,000        ‐    19462   MISC PASSIVE COMP         PANASONIC            ECQ‐E2A223A11            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        21,650        ‐    19462   MISC PASSIVE COMP         SEACOR               69‐MMDR                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000        ‐    19462   MISC PASSIVE COMP         TDK                  TSL0809RA‐330K1R2        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        36,000        ‐    19462   MISC PASSIVE COMP         THOMSON              QAF608152M               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           295        ‐    19462   MISC PASSIVE COMP         CLAROSTAT            VK‐100‐NA 1 KOHM         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           195        ‐    19462   MISC PASSIVE COMP         MURATA               PLAC1530R5R01B1          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           926        ‐    19462   MISC PASSIVE COMP         PHILIPS              3186EE363T060ANA1        UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐    19546   MISC IC                   INPAQ                TVLST2304AD0             UN
BRI008   Bristol Electronic MISC IC               NB           800        ‐    19546   MISC IC                   ON SEMICOND.         MMBZ5233BLT1G            UN
BRI008   Bristol Electronic MISC IC               NB           500        ‐    19546   MISC IC                   ON SEMICOND.         MMSZ15T1G                UN
BRI008   Bristol Electronic MISC IC               NB           200        ‐    19546   MISC IC                   RF MICRO DEVICES     RFTC‐1.5                 UN
BRI008   Bristol Electronic MISC IC               NB         1,160        ‐    19546   MISC IC                   UNIVERSAL MICROEL.   UT14769                  UN
BRI008   Bristol Electronic MISC IC               NB        16,000        ‐    19546   MISC IC                   FAIRCHILD SEMICON.   BZX84C4V7                UN
BRI008   Bristol Electronic MISC IC               NB         8,400        ‐    19546   MISC IC                   FAIRCHILD SEMICON.   MMBD4148                 UN
BRI008   Bristol Electronic MISC IC               NB         5,400        ‐    19546   MISC IC                   NATIONAL SEMICOND    BAV99                    UN
BRI008   Bristol Electronic MISC IC               NB         5,000        ‐    19546   MISC IC                   VISHAY               BZX84C24‐G3‐08           UN
BRI008   Bristol Electronic MISC IC               NB            30        ‐    19546   MISC IC                   AMP                  269051‐1                 UN
BRI008   Bristol Electronic MISC IC               NB         1,000        ‐    19546   MISC IC                   FAIRCHILD SEMICON.   BC848CLT1G               UN
BRI008   Bristol Electronic MISC IC               NB         2,200        ‐    19546   MISC IC                   ON SEMICOND.         BZX84C15LT1G             UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐    19546   MISC IC                   ON SEMICOND.         BZX84C6V2LT1             UN
BRI008   Bristol Electronic MISC IC               NB         1,300        ‐    19546   MISC IC                   ON SEMICOND.         MBR0540                  UN
BRI008   Bristol Electronic MISC IC               NB           800        ‐    19546   MISC IC                   ON SEMICOND.         MM3Z5V1ST1G              UN
BRI008   Bristol Electronic MISC IC               NB           400        ‐    19546   MISC IC                   NATIONAL SEMICOND    MMBZ5250B                UN
BRI008   Bristol Electronic MISC IC               NB           500        ‐    19546   MISC IC                   ON SEMICOND.         MMBZ5234BLT1             UN
BRI008   Bristol Electronic MISC IC               NB           450        ‐    19546   MISC IC                   ON SEMICOND.         BCP56T1                  UN
BRI008   Bristol Electronic MISC IC               NB        29,000        ‐    19546   MISC IC                   PHILIPS              BC847C                   UN
BRI008   Bristol Electronic MISC IC               NB         1,700        ‐    19546   MISC IC                   ON SEMICOND.         MMBD914LT1               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,050        ‐    19546   MISC PASSIVE COMP         DEARBORN             710P473C5800             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000        ‐    19546   MISC PASSIVE COMP         ELECTRONIC CONC.     5MC22D395K               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           350        ‐    19546   MISC PASSIVE COMP         MURATA               CFWC455C1‐TC             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,500        ‐    19546   MISC PASSIVE COMP         MURATA               DE0605E102M2KV           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,400        ‐    19546   MISC PASSIVE COMP         NICHICON             QXC2E394KTPT             UN
BRI008   Bristol Electronic MISC IC               NB         2,900        ‐    19546   MISC IC                   ALPHA & OMEGA SEMI   AO3407                   UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐    19546   MISC IC                   ON SEMICOND.         BAV99LT1G                UN
BRI008   Bristol Electronic MISC IC               NB         6,000        ‐    19546   MISC IC                   ON SEMICOND.         BZX84C5V1LT1G            UN
BRI008   Bristol Electronic MISC IC               NB         2,900        ‐    19546   MISC IC                   ON SEMICOND.         MMBZ5251BLT1             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           840        ‐    19546   MISC PASSIVE COMP         CDE                  MPD4P33K                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         6,000        ‐    19546   MISC PASSIVE COMP         HIAMEN FARATRONIC    C241J104K20A201          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        15,090        ‐    19546   MISC PASSIVE COMP         MAIDA DEVELOP.COM    D64S3L102K2KV            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        46,500        ‐    19546   MISC PASSIVE COMP         MULTI‐PROD           GB‐391K                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,500        ‐    19546   MISC PASSIVE COMP         MURATA               DE7090B681KAC125MY       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        51,000        ‐    19546   MISC PASSIVE COMP         NICHICON             UWX1A220MCR1GB           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        22,000        ‐    19546   MISC PASSIVE COMP         NISSEI ELEOTRICCO    MMT105J50AC              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000        ‐    19546   MISC PASSIVE COMP         PANASONIC            ECQ‐P1163JZ              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         8,000        ‐    19546   MISC PASSIVE COMP         ROEDERSTEIN          KP1838147634‐R           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           500        ‐    19546   MISC PASSIVE COMP         SPECTRUM CONTROL     PSM4‐402Z‐20T            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        28,000        ‐    19546   MISC PASSIVE COMP         TDK                  EL0606RA‐3R9J            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        18,000        ‐    19546   MISC PASSIVE COMP         THOMSON              5GT147KBECA              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        25,000        ‐    19546   MISC PASSIVE COMP         THOMSON              5SS310MBDCC              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         8,000        ‐    19546   MISC PASSIVE COMP         TPC                  VE09M02750K DB           UN
BRI008   Bristol Electronic MISC IC               NB         1,500        ‐    19546   MISC IC                   FAIRCHILD SEMICON.   NC7WZ32K8X               UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐    19546   MISC IC                   ON SEMICOND.         MMBT3906LT1              UN
BRI008   Bristol Electronic MISC IC               NB         3,000        ‐    19546   MISC IC                   PHILIPS              BC857B                   UN
BRI008   Bristol Electronic MISC IC               NB         3,160        ‐    19546   MISC IC                   DELTA ELECTRONICS    DT51380                  UN
BRI008   Bristol Electronic MISC IC               NB         2,800        ‐    19546   MISC IC                   ON SEMICOND.         BSR16                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         7,750        ‐    19546   MISC PASSIVE COMP         BISHOP ELECTRONICS   H21C102G                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000        ‐    19546   MISC PASSIVE COMP         MALLORY SONALERT     172102M250Y              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        60,000        ‐    19546   MISC PASSIVE COMP         TE CONNECTIVITY      63165‐2                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           320        ‐    19546   MISC PASSIVE COMP         WIMA                 MKS‐4                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           160       (160) 19546   MISC PASSIVE COMP         HANTRONIX            HDG12864L‐7‐Z10S         UN
BRI008   Bristol Electronic MISC IC               NB         2,000        ‐    19546   MISC IC                   ON SEMICOND.         MMBT2907ALT1             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,011        ‐    19546   MISC PASSIVE COMP         CARLINGSWITCH        BA2‐80‐24‐630‐121‐C      UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000        ‐    19546   MISC PASSIVE COMP         PHILIPS              BZD27‐C7V5               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         6,000        ‐    19546   MISC PASSIVE COMP         TDK                  SS45YS1E104M‐P           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,000        ‐    19546   MISC PASSIVE COMP         FORTIMING CORP       HC49SSM‐25M000‐1C30B18   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         3,250        ‐    19546   MISC PASSIVE COMP         MAIDA DEVELOP.COM    D67Z5U152Z7.5KV          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         3,000        ‐    19546   MISC PASSIVE COMP         ON SEMICOND.         MBR0530                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,500        ‐    19546   MISC PASSIVE COMP         PANASONIC            ECEV1CA221P              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         7,500        ‐    19546   MISC PASSIVE COMP         PANASONIC            ECQ‐E6563B293            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         3,000        ‐    19546   MISC PASSIVE COMP         PANASONIC            MA8150‐M                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        27,000        ‐    19546   MISC PASSIVE COMP         RMC                  TA203QMDAA440            UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB         3,300          ‐    19546   MISC PASSIVE COMP       STAR                  JA1B564M                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        30,000          ‐    19546   MISC PASSIVE COMP       TDK                   EL0607RA‐103J             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        14,000          ‐    19546   MISC PASSIVE COMP       ARCO ELECT.           CCD‐501                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        34,000          ‐    19546   MISC PASSIVE COMP       ARCO ELECT.           TCD‐223M                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           504          ‐    19546   MISC PASSIVE COMP       ASC ELECTRONICA       OT100 01UF 1200V          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        34,000          ‐    19546   MISC PASSIVE COMP       AVX                   67S103MCLCP               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        48,000          ‐    19546   MISC PASSIVE COMP       CERA‐MITE             5HKMS10‐RE                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         6,600          ‐    19546   MISC PASSIVE COMP       IMB                   LA1B273F                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000          ‐    19546   MISC PASSIVE COMP       MURATA                DE1010‐487B221KACT4K‐KD   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,000          ‐    19546   MISC PASSIVE COMP       MURATA                DEA1X3A221JN2A            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,906          ‐    19546   MISC PASSIVE COMP       NICHICON              LGX2G221MHSEEZ            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,500          ‐    19546   MISC PASSIVE COMP       VISHAY                TLMK3100‐GS08             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000          ‐    19546   MISC PASSIVE COMP       ARCO ELECT.           CCD‐910                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000          ‐    19546   MISC PASSIVE COMP       CDE                   DME2S68K                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           720          ‐    19546   MISC PASSIVE COMP       GENERAL ELEC.         97F9675                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        11,700          ‐    19546   MISC PASSIVE COMP       MURATA                DE2EKH222MN3A             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000          ‐    19546   MISC PASSIVE COMP       PANASONIC             ECKANA471MB               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        40,000          ‐    19546   MISC PASSIVE COMP       PANASONIC             ECK‐R1H103ZEX             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,700          ‐    19546   MISC PASSIVE COMP       POLYTRONICS TECHN.    SMD2920P100TS             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000          ‐    19546   MISC PASSIVE COMP       ROEDERSTEIN           KP1838215634‐R            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           800          ‐    19546   MISC PASSIVE COMP       SPRAGUE ELECTRIC      418P333010LB3             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        13,000          ‐    19546   MISC PASSIVE COMP       SPRAGUE ELECTRIC      564CZ5UBA202EF222M        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000          ‐    19546   MISC PASSIVE COMP       TDK                   TSL0809RA‐330K1R2         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           500          ‐    19546   MISC PASSIVE COMP       VISHAY                VY2472M49Y5US6TV0         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000          ‐    19546   MISC PASSIVE COMP       XICON                 CD50N5‐6R8K               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,000          ‐    19546   MISC PASSIVE COMP       PANASONIC             ECKANA152ME               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,450          ‐    19546   MISC PASSIVE COMP       PANASONIC             ECQ‐U1A334MH              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,750          ‐    19546   MISC PASSIVE COMP       S PLUS M COMPONENTS   S20K275                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         8,000          ‐    19546   MISC PASSIVE COMP       TDK                   CK45‐R3AD102K‐VR          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000          ‐    19546   MISC PASSIVE COMP       XICON                 CD500F6‐331M              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           720          ‐    19546   MISC PASSIVE COMP       ALCO                  FR‐105                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           500          ‐    19546   MISC PASSIVE COMP       ILLINOIS CAPACITOR    156PHC250K                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,300          ‐    19546   MISC PASSIVE COMP       KCK AMERICA INC.      MD250W22M                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         8,980          ‐    19546   MISC PASSIVE COMP       MALLORY SONALERT      150154J250CB              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000          ‐    19546   MISC PASSIVE COMP       NIC COMP. CORP.       NCD222K50VY5P             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        44,000          ‐    19546   MISC PASSIVE COMP       PANASONIC             ECQ‐B1H472KM3             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,500          ‐    19546   MISC PASSIVE COMP       SEACOR                105T69C330KP              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000          ‐    19546   MISC PASSIVE COMP       TECATE                PMD400P10K00B             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        21,000          ‐    19546   MISC PASSIVE COMP       TOSHIBA               F82SMF‐GI                 UN
BRI008   Bristol Electronic MISC IC               NB           800          ‐    19546   MISC IC                 FAIRCHILD SEMICON.    BSS123                    UN
BRI008   Bristol Electronic MISC IC               NB           119          ‐    19546   MISC IC                 AROMAT                NC2‐JPL2‐DC3V             UN
BRI008   Bristol Electronic MISC IC               NB           660          ‐    19546   MISC IC                 BOURNS                4310R‐102‐103             UN
BRI008   Bristol Electronic MISC IC               NB        12,000          ‐    19546   MISC IC                 DIOTEC SEMICOND.      BZX84C3V3 E9              UN
BRI008   Bristol Electronic MISC IC               NB         2,800          ‐    19546   MISC IC                 ON SEMICOND.          MMBT4401LT1               UN
BRI008   Bristol Electronic MISC IC               NB         2,000          ‐    19546   MISC IC                 ON SEMICOND.          MMBTA56LT1                UN
BRI008   Bristol Electronic MISC IC               NB         6,000          ‐    19546   MISC IC                 PHILIPS               BC847A                    UN
BRI008   Bristol Electronic MISC IC               NB         3,000          ‐    19546   MISC IC                 TOKO                  TK71721SCL                UN
BRI008   Bristol Electronic MISC IC               NB         3,000          ‐    19546   MISC IC                 ON SEMICOND.          BZX84C5V1LT1              UN
BRI008   Bristol Electronic MISC IC               NB           500          ‐    19546   MISC IC                 ON SEMICOND.          MMBTA06LT1                UN
BRI008   Bristol Electronic MISC IC               NB         6,000          ‐    19546   MISC IC                 PHILIPS               BAS16                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         3,500          ‐    19546   MISC PASSIVE COMP       ARCOTRONICS           R82EC2390KT60J            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        32,000          ‐    19546   MISC PASSIVE COMP       AVX                   5SQ102MOAAM               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,000          ‐    19546   MISC PASSIVE COMP       BEL                   0692‐4000‐01              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           173          ‐    19546   MISC PASSIVE COMP       KRONE                 6659‐2‐053‐09             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,400          ‐    19546   MISC PASSIVE COMP       MAIDA DEVELOP.COM     D65DP342M                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        16,000          ‐    19546   MISC PASSIVE COMP       MURATA                DE1510B472K2K             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        22,000          ‐    19546   MISC PASSIVE COMP       MURATA                DE1709351Y5P502K2KV       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        72,000          ‐    19546   MISC PASSIVE COMP       NIC COMP. CORP.       NCD102M3KVZ5UTR           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         3,000          ‐    19546   MISC PASSIVE COMP       PANASONIC             ECQ‐F6392JZ3              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         9,000          ‐    19546   MISC PASSIVE COMP       PHILIPS               2222‐365‐71473            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,500          ‐    19546   MISC PASSIVE COMP       ROEDERSTEIN           KP1832210204              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        54,000          ‐    19546   MISC PASSIVE COMP       ROEDERSTEIN           KP1834247062.5            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000          ‐    19546   MISC PASSIVE COMP       ROEDERSTEIN           KP1835215163              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        44,000          ‐    19546   MISC PASSIVE COMP       ROEDERSTEIN           KP1835222062.5            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000          ‐    19546   MISC PASSIVE COMP       TDK                   EL0405RA‐100K‐3           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000       (5,000) 19546   MISC PASSIVE COMP       ELPAC                 Z2A205K                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000          ‐    19546   MISC PASSIVE COMP       ARCO ELECT.           CCD‐561                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        30,000          ‐    19546   MISC PASSIVE COMP       AVX                   5NR102MEDCA               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         6,000          ‐    19546   MISC PASSIVE COMP       ELPAC                 Z2A223J                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000          ‐    19546   MISC PASSIVE COMP       HP                    QSBT‐7000                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,500          ‐    19546   MISC PASSIVE COMP       JIANGHAI              HCV1JVB560MC10FVTSWP      UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB         15,000        ‐    19546   MISC PASSIVE COMP         MALLORY SONALERT       172223K1000IE             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         29,000        ‐    19546   MISC PASSIVE COMP         MULTI PRODUCTS INT.    GH‐470K                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          5,340        ‐    19546   MISC PASSIVE COMP         SPRAGUE ELECTRIC       416P10491                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            280        ‐    19546   MISC PASSIVE COMP         SPRAGUE ELECTRIC       730P505X9400              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         55,000        ‐    19546   MISC PASSIVE COMP         TPC                    BC154G0225KEN             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         30,000        ‐    19546   MISC PASSIVE COMP         XICON                  CD50E5680K                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         23,000        ‐    19546   MISC PASSIVE COMP         ARCO ELECT.            CCD‐911                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         30,000        ‐    19546   MISC PASSIVE COMP         ILLINOIS CAPACITOR     680BCR050K                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          7,000        ‐    19546   MISC PASSIVE COMP         MURATA                 DE1010B471KACT4K‐KD       UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,000        ‐    19546   MISC PASSIVE COMP         NICHICON               QAS2E564KTP.56MF          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         35,000        ‐    19546   MISC PASSIVE COMP         NICHICON               QYP1H222JTP               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000        ‐    19546   MISC PASSIVE COMP         RUBYCON                25YXF100M‐ZTH‐T3 Y0811    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         15,000        ‐    19546   MISC PASSIVE COMP         SAMWHA CAPACITOR       CF106B1H271MF             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         16,000        ‐    19546   MISC PASSIVE COMP         SBE                    716P153910KA3             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐    19546   MISC PASSIVE COMP         SIEMENS                BAR 64‐02W E6327          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐    19546   MISC PASSIVE COMP         THOMSON                GQ15WT0471M               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,900        ‐    19546   MISC PASSIVE COMP         THOMSON                S9314E0685M               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         45,000        ‐    19546   MISC PASSIVE COMP         XICON                  CD50N5‐3R0C               UN
BRI008   Bristol Electronic MISC IC               NB          3,000        ‐    19546   MISC IC                   MOTOROLA               BZX84C5V1LT1              UN
BRI008   Bristol Electronic MISC IC               NB         30,000        ‐    19546   MISC IC                   MOTOROLA               MMBT3906LT1               UN
BRI008   Bristol Electronic MISC IC               NB            250        ‐    19546   MISC IC                   STMICROELECTRONICS     L7812C2T                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,500        ‐    19546   MISC PASSIVE COMP         CDE                    MMWA2W18K                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,800        ‐    19546   MISC PASSIVE COMP         DYNAPLAX               PF1473K100V7.047MF        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            480        ‐    19546   MISC PASSIVE COMP         ETRI                   291DH2LP 13000            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,000        ‐    19546   MISC PASSIVE COMP         IMB                    BA2A105K                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         40,000        ‐    19546   MISC PASSIVE COMP         TDK                    CK45ZP1H472KYA            UN
BRI008   Bristol Electronic MISC IC               NB          5,500        ‐    19546   MISC IC                   PHILIPS                BC808‐40                  UN
BRI008   Bristol Electronic MISC IC               NB             10        ‐    19546   MISC IC                   AMP                    269048‐1                  UN
BRI008   Bristol Electronic MISC IC               NB          4,250        ‐    19546   MISC IC                   ON SEMICOND.           MMBT3906WT1G              UN
BRI008   Bristol Electronic MISC IC               NB          2,000        ‐    19546   MISC IC                   FAIRCHILD SEMICON.     BSS138                    UN
BRI008   Bristol Electronic MISC IC               NB          1,700        ‐    19546   MISC IC                   PHILIPS                BSS84                     UN
BRI008   Bristol Electronic MISC IC               NB          3,000        ‐    19546   MISC IC                   PHILIPS                BZX84‐C5V6                UN
BRI008   Bristol Electronic MISC IC               NB         15,000        ‐    19546   MISC IC                   DIODES INCORP.         BAT54S‐7                  UN
BRI008   Bristol Electronic MISC IC               NB          3,000        ‐    19546   MISC IC                   FAIRCHILD SEMICON.     BC847C                    UN
BRI008   Bristol Electronic MISC IC               NB          2,800        ‐    19546   MISC IC                   INFINEON               BAR 15‐1 E6327            UN
BRI008   Bristol Electronic MISC IC               NB          1,000        ‐    19546   MISC IC                   TECCOR ELECTR.         P3203AB                   UN
BRI008   Bristol Electronic MISC IC               NB         26,800        ‐    19546   MISC IC                   MOTOROLA               BAS16LT1                  UN
BRI008   Bristol Electronic MISC IC               NB          1,050        ‐    19546   MISC IC                   ON SEMICOND.           SZMMBZ5242BLT1G           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        120,000        ‐    19546   MISC PASSIVE COMP         ALPS ELECTRIC          SKPFABA010                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          7,000        ‐    19546   MISC PASSIVE COMP         ARCO ELECT.            CCD‐6R8                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,500        ‐    19546   MISC PASSIVE COMP         ARCO ELECT.            TCL‐224M.22MF             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,000        ‐    19546   MISC PASSIVE COMP         HP                     QMSA‐8802‐TR1             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,600        ‐    19546   MISC PASSIVE COMP         ILLINOIS CAPACITOR     474MWR250K                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            600        ‐    19546   MISC PASSIVE COMP         MOUNTAIN SWITCH        103‐R13‐112D‐02‐EV        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         17,000        ‐    19546   MISC PASSIVE COMP         PANASONIC              ECKDNS222MFX              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐    19546   MISC PASSIVE COMP         PHILIPS                2222 365 21124            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         20,000        ‐    19546   MISC PASSIVE COMP         PHILIPS                DD30501                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          6,000        ‐    19546   MISC PASSIVE COMP         PHILIPS                UK334                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000        ‐    19546   MISC PASSIVE COMP         RMT ELECTRONICS        DC00410                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          2,500        ‐    19546   MISC PASSIVE COMP         SYLVANIA               1N450                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         10,000        ‐    19546   MISC PASSIVE COMP         TECATE INDSTR          2001‐100/472JTR0.0047MF   UN
BRI008   Bristol Electronic MISC IC               NB            700        ‐    19546   MISC IC                   FAIRCHILD SEMICON.     MMBT2222A                 UN
BRI008   Bristol Electronic MISC IC               NB          4,000        ‐    19546   MISC IC                   ON SEMICOND.           2N4401                    UN
BRI008   Bristol Electronic MISC IC               NB          6,000        ‐    19546   MISC IC                   ON SEMICOND.           BAS16LT1                  UN
BRI008   Bristol Electronic MISC IC               NB          1,200        ‐    19546   MISC IC                   ON SEMICOND.           BAT54CLT1G                UN
BRI008   Bristol Electronic MISC IC               NB          1,100        ‐    19546   MISC IC                   ON SEMICOND.           BZX84C18LT1G              UN
BRI008   Bristol Electronic MISC IC               NB          3,000        ‐    19546   MISC IC                   OSRAM OPTO SEMICOND    Q62702P5191               UN
BRI008   Bristol Electronic MISC IC               NB            196       (196) 19546   MISC IC                   OMRON                  G2V‐2                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,500        ‐    19546   MISC PASSIVE COMP         ARCO ELECT.            TCD‐333M                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         95,000        ‐    19546   MISC PASSIVE COMP         FARADAY                H07F153Z2‐YF‐1            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,800        ‐    19546   MISC PASSIVE COMP         GENERAL SEMICONDUCTO   SMAJ90A                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          4,266        ‐    19546   MISC PASSIVE COMP         OHMITE                 65518‐250                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            500        ‐    19546   MISC PASSIVE COMP         PANASONIC              ECA1EHG471B               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         28,000        ‐    19546   MISC PASSIVE COMP         PANASONIC              ECQ‐K1183KZ               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         65,000        ‐    19546   MISC PASSIVE COMP         RUTILCOM               RPU08F223Z‐L45AC          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          8,000        ‐    19546   MISC PASSIVE COMP         SPRAGUE ELECTRIC       562CX5EBA102EE201M        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          3,433        ‐    19546   MISC PASSIVE COMP         SPRAGUE ELECTRIC       562CZ5UBA101AL503M        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         50,000        ‐    19546   MISC PASSIVE COMP         TAIYO YUDEN            UAT05X103M6H46UA          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            500        ‐    19546   MISC PASSIVE COMP         TE CONNECTIVITY        1‐1879233‐8               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB            450        ‐    19546   MISC PASSIVE COMP         TE CONNECTIVITY        2213819‐9                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB          1,000        ‐    19546   MISC PASSIVE COMP         TXC CORPORATION        7Y54030001 54.000000MHZ   UN
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BRI008   Bristol Electronic MISC IC               NB           300           ‐    19546   MISC IC                 FAIRCHILD SEMICON.    BCP69                       UN
BRI008   Bristol Electronic MISC IC               NB         1,800           ‐    19546   MISC IC                 INFINEON              SMBT 3904 E6327             UN
BRI008   Bristol Electronic MISC IC               NB         1,000           ‐    19546   MISC IC                 ON SEMICOND.          MBR0530T1G                  UN
BRI008   Bristol Electronic MISC IC               NB         1,400           ‐    19546   MISC IC                 ON SEMICOND.          MMSZ5248BT1G                UN
BRI008   Bristol Electronic MISC IC               NB         1,600           ‐    19546   MISC IC                 FAIRCHILD SEMICON.    NC7SZ57P6X                  UN
BRI008   Bristol Electronic MISC IC               NB         2,800           ‐    19546   MISC IC                 NXP SEMICONDUCTOR     BAW56                       UN
BRI008   Bristol Electronic MISC IC               NB         6,000           ‐    19546   MISC IC                 PHILIPS               BYD17D                      UN
BRI008   Bristol Electronic MISC IC               NB         5,900           ‐    19546   MISC IC                 PHILIPS               BZX84‐C62                   UN
BRI008   Bristol Electronic MISC IC               NB        10,800           ‐    19546   MISC IC                 VISHAY                BAT54S‐7                    UN
BRI008   Bristol Electronic MISC IC               NB         2,700           ‐    19546   MISC IC                 PHILIPS               BZX84‐C10                   UN
BRI008   Bristol Electronic MISC IC               NB           900           ‐    19546   MISC IC                 PHILIPS               PZTA92                      UN
BRI008   Bristol Electronic MISC IC               NB         5,500           ‐    19546   MISC IC                 MOTOROLA              MMBT2907ALT1                UN
BRI008   Bristol Electronic MISC IC               NB         4,300           ‐    19546   MISC IC                 NATIONAL SEMICOND     MMBT2907A                   UN
BRI008   Bristol Electronic MISC IC               NB         1,100           ‐    19546   MISC IC                 ON SEMICOND.          BZX84C75LT1G                UN
BRI008   Bristol Electronic MISC IC               NB           400           ‐    19546   MISC IC                 STEWARD               29F0430‐4SR                 UN
BRI008   Bristol Electronic MISC IC               NB         5,000           ‐    19546   MISC IC                 ZETEX                 FZT788BTA                   UN
BRI008   Bristol Electronic MISC IC               NB           900          (900) 19546   MISC IC                 LINEAR TECH. CORP     LT1076CT                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        28,000           ‐    19546   MISC PASSIVE COMP       ARCO ELECT.           TCD‐8R2C                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000           ‐    19546   MISC PASSIVE COMP       ELECTRONIC CONC.      5MC‐9931K                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000           ‐    19546   MISC PASSIVE COMP       KOA SPEER ELEC.       CFS1/4CT52R103J             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000           ‐    19546   MISC PASSIVE COMP       MURATA                DE7100F222MVA1‐KC           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,100           ‐    19546   MISC PASSIVE COMP       PANASONIC             ECQ‐E2564JZS                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        38,000           ‐    19546   MISC PASSIVE COMP       ECI                   CDF25K0220                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000           ‐    19546   MISC PASSIVE COMP       MEPCO/CENTRALAB       U103Z20Y5TETMKM             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           250           ‐    19546   MISC PASSIVE COMP       NIPPON CHEMI‐CON      KRG25VB2200M                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        16,000           ‐    19546   MISC PASSIVE COMP       PANASONIC             ECC‐R1H391K5                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000           ‐    19546   MISC PASSIVE COMP       PANASONIC             ECW‐H8A272Y02               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000           ‐    19546   MISC PASSIVE COMP       PANASONIC             EEU‐FA1H821L                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        21,000           ‐    19546   MISC PASSIVE COMP       PHILIPS               2222‐395‐15224              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        25,000           ‐    19546   MISC PASSIVE COMP       THOMSON               MR473M250                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        15,000           ‐    19546   MISC PASSIVE COMP       XICON                 140‐CD500F‐047M             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,290           ‐    19546   MISC PASSIVE COMP       ARCO ELECT.           TCD‐102G/CL                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,000           ‐    19546   MISC PASSIVE COMP       ASELCO                KT‐121M563J100V             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,000           ‐    19546   MISC PASSIVE COMP       CTS CORP.             TS011‐S160B2H50C            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,900           ‐    19546   MISC PASSIVE COMP       DEARBORN              735P505X9100L               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000           ‐    19546   MISC PASSIVE COMP       MCC                   1N6002B‐TP                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,400           ‐    19546   MISC PASSIVE COMP       MURATA                DE7150FZ103PVA1KC           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         6,000           ‐    19546   MISC PASSIVE COMP       NIPPON CHEMI‐CON      SME50VB10RM5X11FT           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        16,000           ‐    19546   MISC PASSIVE COMP       PANASONIC             ECQ‐V1H274B29               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000           ‐    19546   MISC PASSIVE COMP       TDK                   EL0606RA‐3R3J               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        13,500           ‐    19546   MISC PASSIVE COMP       XICON                 140‐CD500Z6‐502Z            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,300        (1,300) 19546   MISC PASSIVE COMP       TYCO ELECTRONICS      1‐1718924‐1                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           500          (500) 19546   MISC PASSIVE COMP       WURTH ELEKTRONIK      74437346025                 UN
BRI008   Bristol Electronic MISC IC               NB           800          (800) 19546   MISC IC                 SILICONIX             SMP50N06‐25                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        18,000           ‐    19546   MISC PASSIVE COMP       ARCO ELECT.           TCD‐502Z                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           500           ‐    19546   MISC PASSIVE COMP       COILCRAFT             TTTRF2000                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,300           ‐    19546   MISC PASSIVE COMP       EPCOS                 B32522E6104K189             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000           ‐    19546   MISC PASSIVE COMP       MALLORY SONALERT      PVC16275                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        15,000           ‐    19546   MISC PASSIVE COMP       MULTI PRODUCTS INT.   GB‐391K                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        14,500           ‐    19546   MISC PASSIVE COMP       PANASONIC             ECQ‐P6123N263               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         9,000           ‐    19546   MISC PASSIVE COMP       PHILIPS               MKT 365                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,800           ‐    19546   MISC PASSIVE COMP       SUNRISE               SRL‐0978GF                  UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         8,000           ‐    19546   MISC PASSIVE COMP       THOMSON               5SS347MBHCA                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           312           ‐    19546   MISC PASSIVE COMP       ARCOTRONICS           C276SA35150AA1J             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         6,615           ‐    19546   MISC PASSIVE COMP       CARLINGSWITCH         TIGC51‐7S‐BL‐NBL            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        24,000           ‐    19546   MISC PASSIVE COMP       ILLINOIS CAPACITOR    104M                        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000           ‐    19546   MISC PASSIVE COMP       MURATA                DE1010B101KACT4KSMKD22‐17   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,400           ‐    19546   MISC PASSIVE COMP       NICHICON              QXC2E394KTPT.39MF           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000           ‐    19546   MISC PASSIVE COMP       PANASONIC             ECQ‐F6152JZ3                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         9,000           ‐    19546   MISC PASSIVE COMP       RFE INTERNATIONAL     1N4007SPA                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,250           ‐    19546   MISC PASSIVE COMP       SANGAMO               CP09A1KF123K3               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         9,000           ‐    19546   MISC PASSIVE COMP       TDK                   AVR‐A14D220KAPNM            UN
BRI008   Bristol Electronic MISC IC               NB            50           (50) 19546   MISC IC                 OMRON                 G4W‐2214P‐US‐HP             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         9,500           ‐    19546   MISC PASSIVE COMP       CERA‐MITE             564CAA202EM153MA42          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         2,000           ‐    19546   MISC PASSIVE COMP       DEARBORN              710P473X5800                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000           ‐    19546   MISC PASSIVE COMP       MEPCO/PHILIPS         D470J29U2JLEAAA             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        18,000           ‐    19546   MISC PASSIVE COMP       NICHICON              TDY2A683K                   UN
BRI008   Bristol Electronic MISC IC               NB        13,500       (13,500) 19546   MISC IC                 S PLUS M COMPONENTS   B39700‐X6994‐T901           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           300           ‐    19546   MISC PASSIVE COMP       IMB                   GA1G505                     UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        25,000           ‐    19546   MISC PASSIVE COMP       MURATA                DE7090B681KAC125            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        30,000           ‐    19546   MISC PASSIVE COMP       NIC COMP. CORP.       NCD150J2KVNPOTR             UN
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BRI008   Bristol Electronic MISC PASSIVE COMP     NB         4,000        ‐     19546   MISC PASSIVE COMP                          PANASONIC            ECQ‐P6223N263             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        29,000        ‐     19546   MISC PASSIVE COMP                          PHILIPS              UK16103                   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         3,000        ‐     19546   MISC PASSIVE COMP                          SARONIX              NTH48HC3‐53.1250          UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         9,000        ‐     19546   MISC PASSIVE COMP                          SIEMENS              S07K250GS3                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,400        ‐     19546   MISC PASSIVE COMP                          TECATE INDSTR        PMD250P47K00C             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         7,000        ‐     19546   MISC PASSIVE COMP                          THOMSON              5GS16KBECA                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,000        ‐     19546   MISC PASSIVE COMP                          THOMSON              QAF608152M                UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         6,000        ‐     19546   MISC PASSIVE COMP                          YAGEO                SK400M0010C5F11019        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           400       (400) 19546    MISC PASSIVE COMP                          EATON                8411K7                    UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         8,000        ‐     19546   MISC PASSIVE COMP                          BCCOMPONENTS         47UF‐50V‐13K              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        40,000        ‐     19546   MISC PASSIVE COMP                          NICHICON             UUV1H3R3MFR1GS            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        32,600        ‐     19546   MISC PASSIVE COMP                          PANASONIC            ECQ‐E1274MF               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB       226,000        ‐     19546   MISC PASSIVE COMP                          PHILIPS              U104M47Y5SCABKC           UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        18,000        ‐     19546   MISC PASSIVE COMP                          TDK                  CK45ZV1H103ZYP            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000        ‐     19546   MISC PASSIVE COMP                          THOMSON              5ST312SBDCA               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        53,000        ‐     19546   MISC PASSIVE COMP                          XICON                CD2000P5‐221K             UN
BRI008   Bristol Electronic MISC IC               NB           198        ‐     19546   MISC IC                                    GENERAL INSTRUMENT   GBPC2501W                 UN
BRI008   Bristol Electronic MISC IC               NB         1,700        ‐     19546   MISC IC                                    NATIONAL SEMICOND    FDV304P                   UN
BRI008   Bristol Electronic MISC IC               NB         2,200        ‐     19546   MISC IC                                    ON SEMICOND.         MMBT4401LT1G              UN
BRI008   Bristol Electronic MISC IC               NB         2,000        ‐     19546   MISC IC                                    ON SEMICOND.         MMSZ4703T1G               UN
BRI008   Bristol Electronic MISC IC               NB         2,500        ‐     19546   MISC IC                                    PHILIPS              BZV55‐C12                 UN
BRI008   Bristol Electronic MISC IC               NB           344       (344) 19546    MISC IC                                    HAMELEON             FRS8A‐S10DC5V             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           500        ‐     19546   MISC PASSIVE COMP                          EPCOS                B58100A612A               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,500        ‐     19546   MISC PASSIVE COMP                          NICHICON             QXJ2E474KTPT.47MF         UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,000        ‐     19546   MISC PASSIVE COMP                          PANASONIC            ECK‐R1H332KB5             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        20,000        ‐     19546   MISC PASSIVE COMP                          PANASONIC            ECW‐H7A152Z04             UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         5,000        ‐     19546   MISC PASSIVE COMP                          TECATE               914‐100/105K15            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB         1,300        ‐     19546   MISC PASSIVE COMP                          MARCON               JAD2B334K                 UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        16,000        ‐     19546   MISC PASSIVE COMP                          PANASONIC            ECA1HHG470B               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        70,000        ‐     19546   MISC PASSIVE COMP                          ROEDERSTEIN          KP1835239063‐R            UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        26,000        ‐     19546   MISC PASSIVE COMP                          SPRAGUE ELECTRIC     562CZ5UBA501AE102P        UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        65,000        ‐     19546   MISC PASSIVE COMP                          TDK                  TPT0206‐R47K              UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        10,000        ‐     19546   MISC PASSIVE COMP                          TECATE               2001‐100/472JTR0.0047MF   UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB        12,000        ‐     19546   MISC PASSIVE COMP                          THOMSON              5SS310MRDCM               UN
BRI008   Bristol Electronic MISC PASSIVE COMP     NB           100       (100) 19546    MISC PASSIVE COMP                          APEM                 IPR3SAD3                  UN
BUF001   Buffalo Compute LAPTOP‐0005              NB             1        ‐     19329   LAPTOP                                     HP                   HP PRO TABLET 10 EE G1    GRADE S
BUF001   Buffalo Compute LAPTOP‐0005              NB             1        ‐     19329   LAPTOP                                     DELL                 LATITUDE 10 ‐ ST2         GRADE S
BUF001   Buffalo Compute LAPTOP‐0005              NB             1        ‐     19329   LAPTOP                                     MICROSOFT            SURFACE RT                GRADE S
ERI002   Ericsson, Inc.     HD CONTR. CARD‐000    PB             2        ‐     17298   HD CONTROLLER CARDS                        NETAPP               6086‐000010‐07            RF
ERI002   Ericsson, Inc.     HD CONTR. CARD‐000    PB             4        ‐     17298   HD CONTROLLER CARDS                        NETAPP               0948580‐21                RF
ERI002   Ericsson, Inc.     HD CONTR. CARD‐000    PB             2        ‐     17298   HD CONTROLLER CARDS                        NETAPP               110‐00269 PLUS B1         RF
ERI002   Ericsson, Inc.     NETWORKING‐0020       PB             1        ‐     17414   NETWORKING                                 EXTREME NETWORKS     SUMMIT X460‐48T           RF
ERI002   Ericsson, Inc.     POWER SUPPLY‐0900     AMAZON         1          (1) 17418   POWER SUPPLY           SERVER              EMERSON              R48‐2000R                 NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       AMAZON         1        ‐     17418   NETWORKING                                 AVOCENT              ACS6016DDC                NOB
ERI002   Ericsson, Inc.     ACCESSORIES‐0005      PB             1        ‐     17418   ACCESSORIES                                SCHNEIDER ELECTRIC   C60N                      RF
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 JUNIPER              SRX3K‐SPC‐1‐10‐40         NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 JUNIPER              PB‐2GE‐SFP                NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 JUNIPER              M120‐FPC2                 NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 ECI TELECOM          EISMB_840                 NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 ECI TELECOM          SAM16_1B                  NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 ECI TELECOM          EISMB_804                 NOB
ERI002   Ericsson, Inc.     NETWORKING‐0100       PB             1        ‐     17418   NETWORKING                                 JUNIPER              SRX3K‐SFB‐12G             NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 JUNIPER              FEB‐M120‐C                NOB
ERI002   Ericsson, Inc.     NETWORKING‐0010       PB             1        ‐     17418   NETWORKING                                 JUNIPER              CB‐M120‐S                 NOB
ERI002   Ericsson, Inc.     HD CONTR. CARD‐000    NB             2        ‐     18642   HD CONTROLLER CARDS                        ORACLE               7047852                   RF
ERI002   Ericsson, Inc.     HD CONTR. CARD‐000    NB             2        ‐     18642   HD CONTROLLER CARDS                        ORACLE               7011559                   RF
ERI002   Ericsson, Inc.     HD CONTR. CARD‐000    NB            10        ‐     18642   HD CONTROLLER CARDS                        SUN                  375‐3641‐02               RF
ERI002   Ericsson, Inc.     HD CONTR. CARD‐000    NB             2        ‐     18642   HD CONTROLLER CARDS                        ORACLE               7047853                   RF
ERI002   Ericsson, Inc.     HD CONTR. CARD‐0070   NB             8        ‐     18642   HD CONTROLLER CARDS    PCI‐E    SAS RAID   SUN                  375‐3701‐01               RF
ERI002   Ericsson, Inc.     POWER SUPPLY‐0900     NB             2        ‐     18642   POWER SUPPLY           SERVER              DELL                 0RN442                    RF
ERI002   Ericsson, Inc.     POWER SUPPLY‐0000     NB             4        ‐     18642   POWER SUPPLY                               ORACLE               7010656                   RF
ERI002   Ericsson, Inc.     POWER SUPPLY‐0900     NB             3        ‐     18642   POWER SUPPLY           SERVER              DELL                 0XX491                    RF
ERI002   Ericsson, Inc.     POWER SUPPLY‐0900     NB             4        ‐     18642   POWER SUPPLY           SERVER              HP                   511777‐001                RF
ERI002   Ericsson, Inc.     HD CONTR. CARD‐0070   NB             1        ‐     18642   HD CONTROLLER CARDS    PCI‐E    SAS RAID   DELL                 0XXFVX                    RF
ERI002   Ericsson, Inc.     POWER SUPPLY‐0900     NB             4        ‐     18642   POWER SUPPLY           SERVER              EMC                  105‐000‐166               RF
ERI002   Ericsson, Inc.     NETWORKING‐0010       NB             1        ‐     18642   NETWORKING                                 HP                   JA110‐60001               RF
ERI002   Ericsson, Inc.     NETWORK CARD‐0097     NB             2        ‐     18642   NETWORK INTERFACE CA            PCI‐E      SUN                  511‐1422‐01               RF
ERI002   Ericsson, Inc.     NETWORK CARD‐0097     NB             1        ‐     18642   NETWORK INTERFACE CA            PCI‐E      HP                   458491‐001                RF
ERI002   Ericsson, Inc.     NETWORK CARD‐0097     NB             1        ‐     18642   NETWORK INTERFACE CA            PCI‐E      INTEL                D50228‐005                RF
ERI002   Ericsson, Inc.     NETWORK CARD‐0097     NB            14        ‐     18642   NETWORK INTERFACE CA            PCI‐E      SUN                  375‐3481‐01               RF
ERI002   Ericsson, Inc.     NETWORKING‐0020       NB             2        ‐     18642   NETWORKING                                 HP                   J9145A                    RF
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ERI002   Ericsson, Inc.   POWER SUPPLY‐0900      NB         1        ‐     18642    POWER SUPPLY           SERVER           DELL                0FJVYV                      RF
ERI002   Ericsson, Inc.   NETWORKING‐0010        NB         2        ‐     19300    NETWORKING                              CISCO               SMA‐AMDA0021                RF
ERI002   Ericsson, Inc.   ANTENNA‐0000           NB         8        ‐     19354    ANTENNA                                 COMMSCOPE           SBJAH4‐1D65C‐DL             NEW
ERI002   Ericsson, Inc.   ANTENNA‐0000           NB         1        ‐     19354    ANTENNA                                 COMMSCOPE           NNH4‐65B‐R6                 NEW
ERI002   Ericsson, Inc.   NETWORKING‐0010        NB         7        ‐     19354    NETWORKING                              COMMSCOPE           E11F01P78                   NOB
ERI002   Ericsson, Inc.   POWER SUPPLY‐0900      NB        17        ‐     19422    POWER SUPPLY           SERVER           ARTESYN             7000894‐J300                NEW
ERI002   Ericsson, Inc.   ANTENNA‐0000           NB         6        ‐     19422    ANTENNA                                 PANASONIC           CCAH32ST01                  NOB
ERI002   Ericsson, Inc.   NETWORKING‐0010        NB         4        ‐     19422    NETWORKING                              AUDIOCODES          MEDIANT 3000 VOIP GATEWAY   RF
ERI002   Ericsson, Inc.   NETWORKING‐0020        PB         2        ‐     CO1262   NETWORKING                              HP                  JG682A                      RF
ERI002   Ericsson, Inc.   POWER SUPPLY‐0900      NB        12        ‐     CO1548   POWER SUPPLY           SERVER           IBM                 98Y3579                     RF
ERI002   Ericsson, Inc.   HD CONTR. CARD‐000     PB         5        ‐     CO1829   HD CONTROLLER CARDS                     HP                  662538‐001                  RF
ERI002   Ericsson, Inc.   HD CONTR. CARD‐000     PB         4        ‐     CO1829   HD CONTROLLER CARDS                     HP                  633542‐001                  RF
ERI002   Ericsson, Inc.   NETWORK CARD‐0005      PB         5        ‐     CO1829   NETWORK INTERFACE CA                    HP                  768080‐001                  RF
ERI002   Ericsson, Inc.   NETWORK CARD‐0005      PB         4        ‐     CO1829   NETWORK INTERFACE CA                    HP                  634025‐001                  RF
ERI003   Ericsson Ecology MISC.ITEMS             PB         4        ‐     15309    MISC.ITEMS                              KATHREIN            80010764V01                 NEW
ERI003   Ericsson Ecology NETWORK CARD‐0005      PB         1        ‐     16862    NETWORK INTERFACE CA                    CISCO SYSTEMS       HWIC‐4ESW                   RF
ERI003   Ericsson Ecology NETWORK CARD‐0005      PB         1        ‐     16862    NETWORK INTERFACE CA                    CISCO SYSTEMS       VWIC‐1MFT‐E1                RF
ERI003   Ericsson Ecology MISC.ITEMS             PB         1        ‐     16963    MISC.ITEMS                              GE                  CC109165916                 NOB
EWA001   EWASTE+          16GB KIT 2X8GB‐04      EBAY       2        ‐     19490    APPLE SOMEM KIT DDR3                    SK HYNIX            HMT41GS6BFR8A‐RD            TESTED
EWA001   EWASTE+          CORE I5‐6500‐3200‐02   EBAY       1        ‐     19490    CORE I5                                 INTEL               CORRE I5‐6500               GRADE B
EWA001   EWASTE+          CORE I5‐4590S‐3000‐1   EBAY       1        ‐     19490    CORE I5                                 INTEL               CORE I5‐4590S
EWA001   EWASTE+          CORE I3‐3225‐3300‐01   EBAY       8        ‐     19490    CORE I3                                 INTEL               CORE I3‐3225                GRADE B
EWA001   EWASTE+          16GB KIT 2X8GB‐4       EBAY       1        ‐     19490    APPLE SOMEM KIT DDR4                    SK HYNIX            HMA81GS6AFR8N‐UH            TESTED
EWA001   EWASTE+          CORE I5‐3470‐3200‐01   EBAY       2        ‐     19490    CORE I5                                 INTEL               CORE I5‐3470
EWA001   EWASTE+          CORE I7‐3770S‐3100‐1   EBAY       1        ‐     19490    CORE I7                                 INTEL               CORE I7‐3770S               GRADE B
EWA001   EWASTE+          HARD‐DRIVE‐2025        EBAY       1        ‐     19490    HARD DRIVE             3.5       SATA   WESTERN DIGITAL     WD10EALX                    RF         1TB
EWA001   EWASTE+          HARD DRIVE‐000142      EBAY       4        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1837F                   RF         128GB
EWA001   EWASTE+          HARD DRIVE‐000162      EBAY       1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1959B                   RF         256GB
EWA001   EWASTE+          HARD‐DRIVE‐20315       EBAY       1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1996F                   RF         2TB
EWA001   EWASTE+          64GB KIT 4X16GB‐01     EBAY       1        ‐     19490    APPLE SOMEM KIT DDR4                    SK HYNIX            HMA82GS6CJR8N‐VK            TESTED
EWA001   EWASTE+          32GB KIT 4X8GB‐2       EBAY       1        ‐     19490    APPLE SOMEM KIT DDR4                    SK HYNIX            HMA81GS6AFR8N‐UH            TESTED
EWA001   EWASTE+          HARD DRIVE‐000162      EBAY       2        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1803A                   RF         256GB
EWA001   EWASTE+          HARD DRIVE‐000162      EBAY       1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1993B                   RF         256GB
EWA001   EWASTE+          16GB KIT 2X8GB‐3       EBAY       1        ‐     19490    APPLE SOMEM KIT DDR4                    SK HYNIX            HMA81GS6CJR8N‐VK            TESTED
EWA001   EWASTE+          CORE I5‐4670‐3400‐01   EBAY       6          (6) 19490    CORE I5                                 INTEL               CORE I5‐4670
EWA001   EWASTE+          HARD DRIVE‐000162      EBAY       2        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1803D                   RF         256GB
EWA001   EWASTE+          HARD‐DRIVE‐2025        EBAY       5        ‐     19490    HARD DRIVE             3.5       SATA   SEAGATE             ST1000DM003                 RF         1TB
EWA001   EWASTE+          HARD DRIVE‐000162      EBAY       1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1858H                   RF         256GB
EWA001   EWASTE+          16GB KIT 2X8GB‐4       EBAY       1        ‐     19490    APPLE SOMEM KIT DDR4                    MICRON              MTA8ATF1G64HZ‐2G3E2         TESTED
EWA001   EWASTE+          HARD DRIVE‐000142      EBAY       1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1837D                   RF         128GB
EWA001   EWASTE+          16GB KIT 2X8GB‐4       EBAY       1        ‐     19490    APPLE SOMEM KIT DDR4                    MICRON              MTA8ATF1G64HZ‐2G3B2         TESTED
EWA001   EWASTE+          CORE I5‐3470S‐2900‐1   EBAY       7        ‐     19490    CORE I5                                 INTEL               CORE I5‐3470S               GRADE B
EWA001   EWASTE+          1GX4 DDR3 SDRAM‐0010   NB        36        ‐     19490    1GX4 DDR3 SDRAM                         MICRON              MIX                         MOD
EWA001   EWASTE+          256X8 DDR3 SDRAM‐001   NB       192        ‐     19490    256X8 DDR3 SDRAM                        SK HYNIX            MIX                         MOD
EWA001   EWASTE+          HARD DRIVE‐000142      NB         1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1837D                   RF         128GB
EWA001   EWASTE+          256X8 DDR3 SDRAM‐001   NB        32        ‐     19490    256X8 DDR3 SDRAM                        SAMSUNG             MIX                         MOD
EWA001   EWASTE+          256X8 DDR3 SDRAM‐001   NB        64        ‐     19490    256X8 DDR3 SDRAM                        MICRON              MIX                         MOD
EWA001   EWASTE+          SYSTEM‐0005            NB         1        ‐     19490    SYSTEM                                  APPLE               A1418                       GRADE C
EWA001   EWASTE+          POWER SUPPLY‐1000      NB        19        ‐     19490    POWER SUPPLY           DESKTOP          LITEON              PA‐1311‐2A1                 RF
EWA001   EWASTE+          SYSTEM‐0005            NB        53        ‐     19490    SYSTEM                                  APPLE               A1418                       GRADE D
EWA001   EWASTE+          SYSTEM‐0005            NB         9        ‐     19490    SYSTEM                                  APPLE               A1311                       GRADE D
EWA001   EWASTE+          1GX4 DDR3 SDRAM‐0010   NB       260        ‐     19490    1GX4 DDR3 SDRAM                         SAMSUNG             MIX                         MOD
EWA001   EWASTE+          HARD DRIVE‐000142      NB         1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1857F                   RF         128GB
EWA001   EWASTE+          512X8 DDR3 SDRAM‐001   NB        16        (16) 19490     512X8 DDR3 SDRAM                        ELPIDA              MIX                         MOD
EWA001   EWASTE+          256X8 DDR3 SDRAM‐001   NB       256        ‐     19490    256X8 DDR3 SDRAM                        ELPIDA              MIX                         MOD
EWA001   EWASTE+          HARD DRIVE‐000162      NB         1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1858H                   RF         256GB
EWA001   EWASTE+          1GX16 DDR4 SDRAM       NB         4          (4) 19490    1GX16 DDR4 SDRAM                        MICRON              D9ZFW=MT40A1G16KD‐062E      MOD
EWA001   EWASTE+          HARD DRIVE‐000142      NB         1        ‐     19490    HARD DRIVE             M.2              APPLE               655‐1837B                   RF         128GB
EWA001   EWASTE+          HARD DRIVE‐00026       NB         1        ‐     19490    HARD DRIVE             M.2       NVME   SAMSUNG             MZ‐V7S500                   RF         500GB
EWA001   EWASTE+          SYSTEM‐0005            NB         1        ‐     19490    SYSTEM                                  APPLE               A1224                       GRADE C+
EWA001   EWASTE+          SYSTEM‐0005            NB         2        ‐     19490    SYSTEM                                  APPLE               A1224                       GRADE D
EWA001   EWASTE+          SYSTEM‐0005            NB        18        ‐     19490    SYSTEM                                  APPLE               A1419                       GRADE D
EWA001   EWASTE+          POWER SUPPLY‐1000      NB       101        ‐     19490    POWER SUPPLY           DESKTOP          ACBEL               APA007                      RF
EWA001   EWASTE+          POWER SUPPLY‐1000      NB        84        ‐     19490    POWER SUPPLY           DESKTOP          DELTA ELECTRONICS   ADP‐185BF T                 RF
EWA001   EWASTE+          POWER SUPPLY‐1000      NB         2        ‐     19490    POWER SUPPLY           DESKTOP          LITEON              PA‐1311‐2A                  RF
EWA001   EWASTE+          SYSTEM‐0005            NB         9        ‐     19490    SYSTEM                                  APPLE               A1312                       GRADE D
EWA001   EWASTE+          SYSTEM‐0005            NB         8        ‐     19490    SYSTEM                                  APPLE               A1418                       GRADE C+
EWA001   EWASTE+          POWER SUPPLY‐1000      NB         2        ‐     19490    POWER SUPPLY           DESKTOP          LITEON              PA‐1311‐2A2                 RF
EWA001   EWASTE+          SYSTEM‐0005            NB         3        ‐     19490    SYSTEM                                  APPLE               A1311                       GRADE C+
EWA001   EWASTE+          POWER SUPPLY‐1000      NB        29        ‐     19490    POWER SUPPLY           DESKTOP          DELTA ELECTRONICS   ADP‐300AF T                 RF
EWA001   EWASTE+          512X64‐SO DDR3‐0050    OEM        1          (1) 19490    512X64‐SODIMM DDR3                      MICRON              MT8KTF51264HZ‐1G6E2         TESTED
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EWA001   EWASTE+          8GB KIT 2X4GB‐06      OEM          1        ‐     19490   APPLE SOMEM KIT DDR3     SK HYNIX        HMT451S6BFR8A‐PB        TESTED
EWA001   EWASTE+          512X64‐SO DDR3‐0050   OEM          1          (1) 19490   512X64‐SODIMM DDR3       ELPIDA          EBJ40UG8EFU5‐GNL‐F      TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐07      OEM          1        ‐     19490   APPLE SOMEM KIT DDR3     MICRON          MT8KTF51264HZ‐1G9P2     TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐07      OEM          1        ‐     19490   APPLE SOMEM KIT DDR3     MICRON          MT8KTF51264HZ‐1G9E2     TESTED
EWA001   EWASTE+          512X64‐SO DDR3‐0050   OEM          2          (2) 19490   512X64‐SODIMM DDR3       MICRON          MT8KTF51264HZ‐1G6N1     TESTED
EWA001   EWASTE+          512X64‐SO DDR3‐0040   OEM          2          (2) 19490   512X64‐SODIMM DDR3       SK HYNIX        HMT351S6EFR8A‐PB        TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐5       OEM          9        ‐     19490   APPLE SOMEM KIT DDR4     MICRON          MTA4ATF51264HZ‐2G3B2    TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐5       OEM          2        ‐     19490   APPLE SOMEM KIT DDR4     SK HYNIX        HMA851S6AFR6N‐UH        TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐5       OEM          1        ‐     19490   APPLE SOMEM KIT DDR4     MICRON          MTA4ATF51264HZ‐2G3E2    TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐6       OEM          2        ‐     19490   APPLE SOMEM KIT DDR4     MICRON          MTA4ATF51264HZ‐2G6E3    TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐05      OEM         11        (11) 19490    APPLE SOMEM KIT DDR3     ELPIDA          EBJ41UF8BDU5‐GN‐F       TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐06      OEM         18        (18) 19490    APPLE SOMEM KIT DDR3     SK HYNIX        HMT451S6AFR8A‐PB        TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐06      OEM         13        (13) 19490    APPLE SOMEM KIT DDR3     MICRON          MT8KTF51264HZ‐1G6E2     TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐05      OEM          1          (1) 19490   APPLE SOMEM KIT DDR3     HYNIX           HMT351S6CFR8C‐PB        TESTED
EWA001   EWASTE+          16GB KIT 2X8GB‐03     OEM          2        ‐     19490   APPLE SOMEM KIT DDR3     ELPIDA          EBJ81UG8BBU5‐GNL‐F      TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐05      OEM         16        (16) 19490    APPLE SOMEM KIT DDR3     SK HYNIX        HMT351S6CFR8C‐PB        TESTED
EWA001   EWASTE+          512X64‐SO DDR3‐0040   OEM          1          (1) 19490   512X64‐SODIMM DDR3       ELPIDA          EBJ41UF8BDU5‐GN‐F       TESTED
EWA001   EWASTE+          8GB KIT 2X4GB‐05      OEM          1        ‐     19490   APPLE SOMEM KIT DDR3     MICRON          MT16JTF51264JHZ‐1G6M2   TESTED
HEW003   Hewlett Packard BGA                    NB          78        ‐     19328   BGA                      BROADCOM        PEX8764‐AB80BI G        BD
K12001   K12 Tech         NETWORK CARD‐0005     NB           2        ‐     19288   NETWORK INTERFACE CA     APPLE           653‐0008                RF
K12001   K12 Tech         NETWORK CARD‐0005     NB          12        ‐     19288   NETWORK INTERFACE CA     APPLE           607‐8821                RF
MOB003   Mobile reCell LLCAPPLE‐A1567‐C         SERVICE      1        ‐     18634   TABLETS                  APPLE           A1567                   GRADE C
MOB003   Mobile reCell LLCAPPLE‐A1863‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1863                   GRADE DD
MOB003   Mobile reCell LLCAPPLE‐A1549‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1549                   GRADE CB
MOB003   Mobile reCell LLCAPPLE‐A1549‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1549                   GRADE B
MOB003   Mobile reCell LLCAPPLE‐A2484‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A2484                   GRADE C
MOB003   Mobile reCell LLCAPPLE‐A1453‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1453                   GRADE AB
MOB003   Mobile reCell LLCAPPLE‐A1778‐C         SERVICE      2        ‐     19340   CELL PHONE               APPLE           A1778                   GRADE A
MOB003   Mobile reCell LLCAPPLE‐A1984‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1984                   GRADE D
MOB003   Mobile reCell LLCAPPLE‐A1984‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1984                   GRADE A
MOB003   Mobile reCell LLCAPPLE‐A1688‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1688                   GRADE B
MOB003   Mobile reCell LLCAPPLE‐A1660‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1660                   GRADE B
MOB003   Mobile reCell LLCAPPLE‐A1778‐C         SERVICE      1        ‐     19340   CELL PHONE               APPLE           A1778                   GRADE C
MOB003   Mobile reCell LLCAPPLE‐A1984‐C         SERVICE      1        ‐     19416   CELL PHONE               APPLE           A1984                   GRADE B
MOB003   Mobile reCell LLCAPPLE‐A1778‐C         SERVICE      1        ‐     19416   CELL PHONE               APPLE           A1778                   GRADE B
MOB003   Mobile reCell LLCAPPLE‐A1863‐C         SERVICE      1        ‐     19416   CELL PHONE               APPLE           A1863                   GRADE D
MOB003   Mobile reCell LLCMOTOROLA‐V860‐C       SERVICE      2        ‐     19416   CELL PHONE               MOTOROLA        V860                    GRADE N‐S
MOB003   Mobile reCell LLCAPPLE‐A1660‐C         SERVICE      2        ‐     19416   CELL PHONE               APPLE           A1660                   GRADE B
MOB003   Mobile reCell LLCAPPLE‐A1660‐C         SERVICE      1        ‐     19416   CELL PHONE               APPLE           A1660                   GRADE A
MOB003   Mobile reCell LLCAPPLE‐A1567‐C         SERVICE      1        ‐     19416   TABLETS                  APPLE           A1567                   GRADE B
MOB003   Mobile reCell LLCAPPLE‐A1778‐C         SERVICE      1        ‐     19416   CELL PHONE               APPLE           A1778                   GRADE C
MOB003   Mobile reCell LLCSAMSUNG‐SCH‐U680‐C    SERVICE      1        ‐     19416   CELL PHONE               SAMSUNG         SCH‐U680                GRADE N‐S
POS002   POS RemarketingAPPLE‐A1428‐C           MOBILITY     1        ‐     19302   CELL PHONE               APPLE           A1428                   GRADE C‐
SAK001   Sakon            APPLE‐A1984‐C         SERVICE‐2    1          (1) 19541   CELL PHONE               APPLE           A1984                   GRADE C
SAK001   Sakon            APPLE‐A2172‐C         SERVICE‐2    2          (2) 19541   CELL PHONE               APPLE           A2172                   GRADE A
SAK001   Sakon            APPLE‐A1984‐C         SERVICE‐2    2          (2) 19541   CELL PHONE               APPLE           A1984                   GRADE B
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2   14        (14) 19541    TABLETS                  SAMSUNG         SM‐T307U                GRADE D
SAK001   Sakon            SAMSUNG‐SM‐T387V‐C    SERVICE‐2    1          (1) 19541   TABLETS                  SAMSUNG         SM‐T387V                GRADE D
SAK001   Sakon            SAMSUNG‐SM‐T387V‐C    SERVICE‐2    5          (5) 19541   TABLETS                  SAMSUNG         SM‐T387V                GRADE A
SAK001   Sakon            SAMSUNG‐SM‐T227U‐C    SERVICE‐2   40        (40) 19541    CELL PHONE               SAMSUNG         SM‐T227U                GRADE A
SAK001   Sakon            APPLE‐A2111‐C         SERVICE‐2    1          (1) 19541   CELL PHONE               APPLE           A2111                   GRADE A
SAK001   Sakon            APPLE‐A2172‐C         SERVICE‐2    2          (2) 19541   CELL PHONE               APPLE           A2172                   GRADE B
SAK001   Sakon            SAMSUNG‐SM‐T227U‐C    SERVICE‐2    7          (7) 19541   CELL PHONE               SAMSUNG         SM‐T227U                GRADE C
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2    8          (8) 19541   TABLETS                  SAMSUNG         SM‐T307U                GRADE C
SAK001   Sakon            SAMSUNG‐SM‐T387V‐C    SERVICE‐2   10        (10) 19541    TABLETS                  SAMSUNG         SM‐T387V                GRADE B
SAK001   Sakon            SAMSUNG‐SM‐T227U‐C    SERVICE‐2    2          (2) 19541   CELL PHONE               SAMSUNG         SM‐T227U                GRADE S
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2   23        (23) 19541    TABLETS                  SAMSUNG         SM‐T307U                GRADE A
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2    8          (8) 19541   TABLETS                  SAMSUNG         SM‐T307U                GRADE DL
SAK001   Sakon            SAMSUNG‐SM‐T387V‐C    SERVICE‐2    1          (1) 19541   TABLETS                  SAMSUNG         SM‐T387V                GRADE C
SAK001   Sakon            SAMSUNG‐SM‐T227U‐C    SERVICE‐2   21        (21) 19541    CELL PHONE               SAMSUNG         SM‐T227U                GRADE B
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2   28        (28) 19541    TABLETS                  SAMSUNG         SM‐T307U                GRADE B
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2    2          (2) 19541   TABLETS                  SAMSUNG         SM‐T307U                GRADE S
SAK001   Sakon            SAMSUNG‐SM‐T227U‐C    SERVICE‐2    4          (4) 19541   CELL PHONE               SAMSUNG         SM‐T227U                GRADE D
SAK001   Sakon            SAMSUNG‐SM‐T227U‐C    SERVICE‐2    3          (3) 19541   CELL PHONE               SAMSUNG         SM‐T227U                GRADE DL
SAK001   Sakon            APPLE‐A1984‐C         SERVICE‐2    1          (1) 19552   CELL PHONE               APPLE           A1984                   GRADE D
SAK001   Sakon            APPLE‐A1984‐C         SERVICE‐2    2          (2) 19552   CELL PHONE               APPLE           A1984                   GRADE B
SAK001   Sakon            APPLE‐A2172‐C         SERVICE‐2    1          (1) 19552   CELL PHONE               APPLE           A2172                   GRADE B
SAK001   Sakon            APPLE‐A2172‐C         SERVICE‐2    1          (1) 19552   CELL PHONE               APPLE           A2172                   GRADE C
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2    1          (1) 19552   TABLETS                  SAMSUNG         SM‐T307U                GRADE S
SAK001   Sakon            SAMSUNG‐SM‐T307U‐C    SERVICE‐2    7          (7) 19552   TABLETS                  SAMSUNG         SM‐T307U                GRADE D
SAK001   Sakon            SAMSUNG‐SM‐T397U‐C    SERVICE‐2    1          (1) 19552   TABLETS                  SAMSUNG         SM‐T397U                GRADE A
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SAK001   Sakon           SAMSUNG‐SM‐T307U‐C     SERVICE‐2    4          (4) 19552   TABLETS                     SAMSUNG      SM‐T307U          GRADE B
SAK001   Sakon           SAMSUNG‐SM‐T227U‐C     SERVICE‐2    4          (4) 19552   CELL PHONE                  SAMSUNG      SM‐T227U          GRADE B
SAK001   Sakon           SAMSUNG‐SM‐T307U‐C     SERVICE‐2    5          (5) 19552   TABLETS                     SAMSUNG      SM‐T307U          GRADE A
SAK001   Sakon           SAMSUNG‐SM‐T227U‐C     SERVICE‐2    2          (2) 19552   CELL PHONE                  SAMSUNG      SM‐T227U          GRADE DL
SAK001   Sakon           SAMSUNG‐SM‐T307U‐C     SERVICE‐2    3          (3) 19552   TABLETS                     SAMSUNG      SM‐T307U          GRADE C
SAK001   Sakon           SAMSUNG‐SM‐T387V‐C     SERVICE‐2    3          (3) 19552   TABLETS                     SAMSUNG      SM‐T387V          GRADE B
SAK001   Sakon           SAMSUNG‐SM‐T227U‐C     SERVICE‐2    6          (6) 19552   CELL PHONE                  SAMSUNG      SM‐T227U          GRADE A
SAK001   Sakon           SAMSUNG‐SM‐T227U‐C     SERVICE‐2    1          (1) 19552   CELL PHONE                  SAMSUNG      SM‐T227U          GRADE C
SAK002   Sakon‐Maximus APPLE‐A2172‐C            MOBILITY     1        ‐     19421   CELL PHONE                  APPLE        A2172             GRADE D
SAK002   Sakon‐Maximus APPLE‐A1984‐C            MOBILITY     1        ‐     19421   CELL PHONE                  APPLE        A1984             GRADE A
SAK003   Sakon‐Pitney BowAPPLE‐A2111‐C          MOBILITY     1        ‐     19436   CELL PHONE                  APPLE        A2111             GRADE C
SAK003   Sakon‐Pitney BowAPPLE‐A2111‐C          SERVICE‐1    1        ‐     19436   CELL PHONE                  APPLE        A2111             GRADE B+
SAK003   Sakon‐Pitney BowAPPLE‐A1660‐C          MOBILITY     1        ‐     19447   CELL PHONE                  APPLE        A1660             GRADE C
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G970U‐C     MOBILITY     1        ‐     19466   CELL PHONE                  SAMSUNG      SM‐G970U          GRADE D
SAK003   Sakon‐Pitney BowAPPLE‐A1984‐C          MOBILITY     3        ‐     19494   CELL PHONE                  APPLE        A1984             GRADE A
SAK003   Sakon‐Pitney BowAPPLE‐A1660‐C          MOBILITY     1        ‐     19494   CELL PHONE                  APPLE        A1660             GRADE B
SAK003   Sakon‐Pitney BowAPPLE‐A1688‐C          MOBILITY     1        ‐     19494   CELL PHONE                  APPLE        A1688             GRADE C
SAK003   Sakon‐Pitney BowAPPLE‐A1984‐C          MOBILITY     1        ‐     19494   CELL PHONE                  APPLE        A1984             GRADE B
SAK003   Sakon‐Pitney BowAPPLE‐A2482‐C          MOBILITY     1        ‐     19494   CELL PHONE                  APPLE        A2482             GRADE C
SAK003   Sakon‐Pitney BowAPPLE‐A2172‐C          MOBILITY     1        ‐     19494   CELL PHONE                  APPLE        A2172             GRADE A
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G990U2‐C    MOBILITY     1        ‐     19494   CELL PHONE                  SAMSUNG      SM‐G990U2         GRADE A
SAK003   Sakon‐Pitney BowAPPLE‐A2176‐C          MOBILITY     1        ‐     19494   CELL PHONE                  APPLE        A2176             GRADE A
SAK003   Sakon‐Pitney BowAPPLE‐A1660‐C          MOBILITY     1        ‐     19494   CELL PHONE                  APPLE        A1660             GRADE C
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G970U‐C     MOBILITY     1        ‐     19494   CELL PHONE                  SAMSUNG      SM‐G970U          GRADE N‐P
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G930V‐C     MOBILITY     1        ‐     19494   CELL PHONE                  SAMSUNG      SM‐G930V          GRADE D
SAK003   Sakon‐Pitney BowAPPLE‐A1984‐C          MOBILITY     1        ‐     19514   CELL PHONE                  APPLE        A1984             GRADE C
SAK003   Sakon‐Pitney BowAPPLE‐A2172‐C          MOBILITY     1        ‐     19514   CELL PHONE                  APPLE        A2172             GRADE B
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G990U2‐C    MOBILITY     1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G990U2         GRADE A
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G960U‐C     MOBILITY     1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G960U          GRADE C+
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G950U‐C     MOBILITY     1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G950U          GRADE D
SAK003   Sakon‐Pitney BowAPPLE‐A2482‐C          MOBILITY     1        ‐     19514   CELL PHONE                  APPLE        A2482             GRADE B
SAK003   Sakon‐Pitney BowAPPLE‐A2172‐C          MOBILITY     1        ‐     19514   CELL PHONE                  APPLE        A2172             GRADE A
SAK003   Sakon‐Pitney BowAPPLE‐A2111‐C          MOBILITY     1        ‐     19514   CELL PHONE                  APPLE        A2111             GRADE A
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G781V‐C     MOBILITY     1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G781V          GRADE D
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G970U‐C     MOBILITY     1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G970U          GRADE C‐
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G950U‐C     MOBILITY     1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G950U          GRADE B
SAK003   Sakon‐Pitney BowAPPLE‐A1984‐C          SERVICE‐1    1        ‐     19514   CELL PHONE                  APPLE        A1984             GRADE B+
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G970U‐C     SERVICE‐1    1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G970U          GRADE B+
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G781V‐C     SERVICE‐1    1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G781V          GRADE B+
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G970U‐C     SERVICE‐1    1        ‐     19514   CELL PHONE                  SAMSUNG      SM‐G970U          GRADE A+
SAK003   Sakon‐Pitney BowAPPLE‐A2111‐C          MOBILITY     1        ‐     19553   CELL PHONE                  APPLE        A2111             GRADE A
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G960U‐C     MOBILITY     1        ‐     19553   CELL PHONE                  SAMSUNG      SM‐G960U          GRADE D
SAK003   Sakon‐Pitney BowAPPLE‐A2111‐C          MOBILITY     1        ‐     19553   CELL PHONE                  APPLE        A2111             GRADE C
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G970U‐C     MOBILITY     1        ‐     19553   CELL PHONE                  SAMSUNG      SM‐G970U          GRADE C+
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G970U‐C     MOBILITY     1        ‐     19553   CELL PHONE                  SAMSUNG      SM‐G970U          GRADE A
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G950U‐C     MOBILITY     1        ‐     19553   CELL PHONE                  SAMSUNG      SM‐G950U          GRADE N‐P
SAK003   Sakon‐Pitney BowSAMSUNG‐SM‐G990U2‐C    SERVICE‐1    1        ‐     19553   CELL PHONE                  SAMSUNG      SM‐G990U2         GRADE A+
SAK005   Sakon‐Omron APPLE‐A2275‐C              MOBILITY     1        ‐     19526   CELL PHONE                  APPLE        A2275             GRADE A+
SAK005   Sakon‐Omron APPLE‐A2275‐C              MOBILITY     1        ‐     19526   CELL PHONE                  APPLE        A2275             GRADE D
SAK005   Sakon‐Omron APPLE‐A2275‐C              MOBILITY     1        ‐     19555   CELL PHONE                  APPLE        A2275             GRADE A+
SCH003   Schupan Asset M ACCESSORIES‐0005       EBAY         1        ‐     19386   ACCESSORIES                 NZXT         RL‐KRX63‐01       RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1        ‐     19386   SECURITY CAMERA             AMCREST      ASH21‐B           RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         3        ‐     19386   SECURITY CAMERA             BLINK        BLINK MINI        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1        ‐     19386   SECURITY CAMERA             SWANN        PRO‐5MPMSB        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1          (1) 19386   SECURITY CAMERA             RING         B08CKHPP52        NOB
SCH003   Schupan Asset M SECURITY SYSTEM‐0010   EBAY         2        ‐     19386   SECURITY SYSTEM             ARLO         VMS4240P‐100NAR   RF
SCH003   Schupan Asset M NETWORKING‐0010        EBAY         2        ‐     19386   NETWORKING                  NETGEAR      VMB3000           NOB
SCH003   Schupan Asset M POWER SUPPLY‐1000      EBAY         1        ‐     19386   POWER SUPPLY      DESKTOP   CORSAIR      SF750             RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1          (1) 19386   SECURITY CAMERA             RING         B07GG3XXNX        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         2          (2) 19386   SECURITY CAMERA             RING         B08CKHPP52        RF
SCH003   Schupan Asset M ACCESSORIES‐0005       EBAY         1        ‐     19386   ACCESSORIES                 HONEYWELL    RTH9585WF1004     RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      EBAY         1        ‐     19386   POWER SUPPLY      DESKTOP   BE QUIET!    L11‐700W          RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1        ‐     19386   SECURITY CAMERA             EUFY         X002DSPT63        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1          (1) 19386   SECURITY CAMERA             RING         B072QLXK2T        RF
SCH003   Schupan Asset M SECURITY SYSTEM‐0010   EBAY         5        ‐     19386   SECURITY SYSTEM             BLINK        BLINK XT2         RF
SCH003   Schupan Asset M NETWORKING‐0030        EBAY         3        ‐     19386   NETWORKING                  NETGEAR      AC1600            RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1        ‐     19386   SECURITY CAMERA             AMCREST      IP2M‐841W‐V3      RF
SCH003   Schupan Asset M NETWORKING‐0010        EBAY        10        ‐     19386   NETWORKING                  NETGEAR      VMB3000           RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1          (1) 19386   SECURITY CAMERA             NETGEAR      VMC4030‐100NAR    RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1          (1) 19386   SECURITY CAMERA             RING         B0849J7W5X        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY         1        ‐     19386   SECURITY CAMERA             FOSCAM       SD2X 18X          RF
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SCH003   Schupan Asset M SECURITY SYSTEM‐0010   EBAY       1        ‐     19386   SECURITY SYSTEM                            SMART SF    HD NVR KIT        RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      EBAY       1        ‐     19386   POWER SUPPLY          DESKTOP              CORSAIR     CX550M            RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY       1        ‐     19386   SECURITY CAMERA                            NETGEAR     VMC4030‐100NAR    GRADE B+ K
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY       2          (1) 19386   SECURITY CAMERA                            NETGEAR     VMC3030           RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY       8        ‐     19386   SECURITY CAMERA                            NETGEAR     VMC4030           RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY       3        ‐     19386   SECURITY CAMERA                            NETVUE      NI‐1901           NOB
SCH003   Schupan Asset M SECURITY CAMERA‐0010   EBAY       1          (1) 19386   SECURITY CAMERA                            RING        B07GG3XXNX        NOB
SCH003   Schupan Asset M POWER SUPPLY‐1000      EBAY       1        ‐     19386   POWER SUPPLY          DESKTOP              CORSAIR     RM1000X           RF
SCH003   Schupan Asset M SECURITY SYSTEM‐0010   EBAY       2        ‐     19386   SECURITY SYSTEM                            BLINK       BLINK             RF
SCH003   Schupan Asset M HD CONTR. CARD‐0070    NB         2        ‐     19386   HD CONTROLLER CARDS   PCI‐E     SAS RAID   IBM         46C8929           RF
SCH003   Schupan Asset M HD CONTR. CARD‐0070    NB         1        ‐     19386   HD CONTROLLER CARDS   PCI‐E     SAS RAID   LSI         SAS 9271‐8I       RF
SCH003   Schupan Asset M HD CONTR. CARD‐0070    NB         3        ‐     19386   HD CONTROLLER CARDS   PCI‐E     SAS RAID   IBM         46M0861           RF
SCH003   Schupan Asset M MISC.ITEMS             NB         6        ‐     19386   MISC.ITEMS                                 KWIKSET     SMARTCODE 913     RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐     19386   NETWORKING                                 NETGEAR     MK62              RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         2        ‐     19386   NETWORKING                                 NETGEAR     R6080             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         5        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        460 BP            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        850 BS            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        1300 G2           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        850 GT            RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐     19386   SECURITY CAMERA                            RING        B087GVJ3D         RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐     19386   NETWORKING                                 NETGEAR     EAX20             RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐     19386   NETWORKING                                 NETGEAR     WAC104            RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     R6230             RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         2        ‐     19386   NETWORKING                                 NETGEAR     R6700             RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     RBK43             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              ARESGAME    AGV500            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        650 GA            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        710 BP            RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     N600              RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     RAX80             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              BE QUIET!   L11‐700W          RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB        17        ‐     19386   SECURITY CAMERA                            RING        B072QLXK2T        RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         2        ‐     19386   NETWORKING                                 NETGEAR     AC1200            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐     19386   POWER SUPPLY          DESKTOP              ARESGAME    AGV650            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         3        ‐     19386   POWER SUPPLY          DESKTOP              CORSAIR     RM750             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        1200 P3           RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐     19386   SECURITY CAMERA                            FOSCAM      SPC               RF
SCH003   Schupan Asset M NETWORKING‐0200        NB         1        ‐     19386   NETWORKING                                 NETGEAR     AC1200            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              APEVIA      ESSENCE 700W      RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              BE QUIET!   E11‐PT‐650W       RF
SCH003   Schupan Asset M NETWORKING‐0030        NB        11        ‐     19386   NETWORKING                                 ARRIS       SBG10             RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         3        ‐     19386   NETWORKING                                 ASUS        RT‐AC65           RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 LINKSYS     WRT3200ACM        RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         3        ‐     19386   POWER SUPPLY          DESKTOP              CORSAIR     RM850             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         4        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        500W              RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        750 BQ            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              NZXT        NP‐C750M          RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         4        ‐     19386   NETWORKING                                 ARRIS       S33               RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         2        ‐     19386   NETWORKING                                 ARRIS       SB6190            RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         3        ‐     19386   NETWORKING                                 ARRIS       SBG8300           RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     MR7350            RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     RBK13             RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     WNR2000           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         4        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        650 W             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        850 GA            RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐     19386   NETWORKING                                 ARLO        VMB5000 NA        RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐     19386   NETWORKING                                 NETGEAR     C7000             RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐     19386   SECURITY CAMERA                            RING        5UM5E5            RF
SCH003   Schupan Asset M ACCESSORIES‐0005       NB         7        ‐     19386   ACCESSORIES                                ECOBEE      EB‐STATE3LT‐02    RF
SCH003   Schupan Asset M ACCESSORIES‐0005       NB        14          (1) 19386   ACCESSORIES                                EMERSON     ST55              RF
SCH003   Schupan Asset M HD CONTR. CARD‐0070    NB         1        ‐     19386   HD CONTROLLER CARDS   PCI‐E     SAS RAID   IBM         46C8933           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              ASUS        850W              RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐     19386   POWER SUPPLY          DESKTOP              CORSAIR     HX1200            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              CORSAIR     HX850             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        1000 T2           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        850 G5            RF
SCH003   Schupan Asset M ACCESSORIES‐0005       NB         1        ‐     19386   ACCESSORIES                                HONEYWELL   RCHT9610WFW2003   RF
SCH003   Schupan Asset M HD CONTR. CARD‐0070    NB         2        ‐     19386   HD CONTROLLER CARDS   PCI‐E     SAS RAID   IBM         46M0851           RF
SCH003   Schupan Asset M HD CONTR. CARD‐0070    NB         1        ‐     19386   HD CONTROLLER CARDS   PCI‐E     SAS RAID   LSI         SAS 9260‐8I       RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐     19386   NETWORKING                                 NETGEAR     CM500             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐     19386   POWER SUPPLY          DESKTOP              EVGA        500 GD            RF
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SCH003   Schupan Asset M NETWORKING‐0010        NB         4        ‐   19386   NETWORKING                  NETGEAR         VMB3000           RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         LBR20             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   COOLER MASTER   V850SFX GOLD      RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         6        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         RM650X            RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐   19386   NETWORKING                  ARRIS           TM1602A           RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         C7000V2           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            1000 GQ           RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐   19386   SECURITY CAMERA             BLINK           BLINK MINI        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐   19386   SECURITY CAMERA             LOREX           C581DA‐Z          GRADE A+
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐   19386   SECURITY CAMERA             RING            8VRSLZ‐0EN0       RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB        10        ‐   19386   SECURITY CAMERA             RING            B07GG3XXNX        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐   19386   SECURITY CAMERA             RING            B08N5NQ869        RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  ASUS            RT‐AX56U          RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         2        ‐   19386   NETWORKING                  LINKSYS         EA9300            RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         R6120             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         4        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         CX650M            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            750 GQ            RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐   19386   SECURITY CAMERA             NETGEAR         VMC2030           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            450 BR            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   GIGABYTE        P850GM            RF
SCH003   Schupan Asset M SECURITY SYSTEM‐0010   NB         1        ‐   19386   SECURITY SYSTEM             NETGEAR         VMS3230‐100NAR    RF
SCH003   Schupan Asset M MISC.ITEMS             NB        15        ‐   19386   MISC.ITEMS                  SCHLAGE         BE365             RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         3        ‐   19386   NETWORKING                  LINKSYS         WHW01             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   APEXGAMING      AG‐750M           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         CV550             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB        11        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         RM850X            RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         3        ‐   19386   SECURITY CAMERA             RING            B01DM6BDA4        RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         C3700V2           RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐   19386   NETWORKING                  NETGEAR         AX1800            RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         C6250             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         CX750M            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            750W              RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         5        ‐   19386   SECURITY CAMERA             NETGEAR         VMC4030           RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         8        ‐   19386   NETWORKING                  NETGEAR         AC1600            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         RM550X            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         RM650             RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         2        ‐   19386   NETWORKING                  ARRIS           T25               RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         R6220             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            500 BQ            RF
SCH003   Schupan Asset M SECURITY SYSTEM‐0010   NB         9        ‐   19386   SECURITY SYSTEM             ARLO            VMS4240P‐100NAR   RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         3        ‐   19386   SECURITY CAMERA             RING            B07GG3XXNX        NOB
SCH003   Schupan Asset M NETWORKING‐0030        NB         2        ‐   19386   NETWORKING                  NETGEAR         LAX20             RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         4        ‐   19386   NETWORKING                  NETGEAR         R6330             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         CV650             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            550 GA            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            850 GM            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   GIGABYTE        P750GM            RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         2        ‐   19386   SECURITY CAMERA             RING            B08CKHPP52        RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         HX1000            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            1200 P2           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            600 BR            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   NZXT            C650 BRONZE       RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐   19386   SECURITY CAMERA             RING            1337143           RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            650 GT            RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         3        ‐   19386   SECURITY CAMERA             BLINK           BCM00200U         RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         1        ‐   19386   SECURITY CAMERA             EUFY            X002HX90ZF        RF
SCH003   Schupan Asset M SECURITY SYSTEM‐0010   NB         2        ‐   19386   SECURITY SYSTEM             LOREX           D861A8B‐Z         RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         2        ‐   19386   SECURITY CAMERA             LOREX           LNB8105X‐C        RF
SCH003   Schupan Asset M SECURITY CAMERA‐0010   NB         2        ‐   19386   SECURITY CAMERA             RING            5AT3T5            RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  ARRIS           SBG6580‐G228      RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         R6700V3           RF
SCH003   Schupan Asset M NETWORKING‐0030        NB         1        ‐   19386   NETWORKING                  NETGEAR         RAX50             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         2        ‐   19386   POWER SUPPLY      DESKTOP   ASUS            1200W             RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         4        ‐   19386   POWER SUPPLY      DESKTOP   CORSAIR         RM750X            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            700 BQ            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   SEASONIC        GX‐850            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   SEGOTEP         600W GOLD         RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   SEGOTEP         850W GOLD         RF
SCH003   Schupan Asset M NETWORKING‐0010        NB         1        ‐   19386   NETWORKING                  ARRIS           TM822A            RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         1        ‐   19386   POWER SUPPLY      DESKTOP   COOLER MASTER   V850 GOLD V2      RF
SCH003   Schupan Asset M POWER SUPPLY‐1000      NB         4        ‐   19386   POWER SUPPLY      DESKTOP   EVGA            650 B5            RF
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SIP001   Sipi Metals CorpoCORE I7‐3770‐3400‐01   NB         23        (23) B153    CORE I7                                   INTEL     3.4GHZ/8M        GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐1900‐0030     NB          1          (1) B153   XEON LGA                                  INTEL     1.9GHZ/20M       GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2100‐0020     NB          1          (1) B153   XEON LGA                                  INTEL     2.1GHZ/15M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐1900‐0030     NB          1          (1) B153   XEON LGA                                  INTEL     1.9GHZ/20M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0240     NB          1          (1) B153   XEON LGA                                  INTEL     2.4GHZ/30M       GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2000‐0250     NB          1          (1) B153   XEON LGA                                  INTEL     2.0GHZ/20M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0230     NB          3          (3) B153   XEON LGA                                  INTEL     2.4GHZ/15M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2800‐0080     NB          2          (2) B153   XEON LGA                                  INTEL     2.8 GHZ/25M      GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0100     NB          1          (1) B153   XEON LGA                                  INTEL     2.6 GHZ/20M      GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2000‐0250     NB          1          (1) B153   XEON LGA                                  INTEL     2.0GHZ/20M       GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0240     NB          1          (1) B153   XEON LGA                                  INTEL     2.4GHZ/30M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0230     NB          2          (2) B153   XEON LGA                                  INTEL     2.4GHZ/15M       GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐3500‐0090     NB          1          (1) B153   XEON LGA                                  INTEL     3.5GHZ/15M       GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0160     EBAY        2        ‐     B160   XEON LGA                                  INTEL     2.4 MXZ, 25M     RF
SIP001   Sipi Metals CorpoXEON LGA‐2100‐0020     EBAY        8        ‐     B160   XEON LGA                                  INTEL     2.1GHZ/15M       RF
SIP001   Sipi Metals CorpoCORE I5‐6500T‐2500‐1   NB          6          (6) B160   CORE I5                                   INTEL     2.5GHZ/6M        GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0100     NB          2          (2) B160   XEON LGA                                  INTEL     2.6 GHZ/20M      GRADE C
SIP001   Sipi Metals CorpoCORE I7‐4770‐3400‐02   NB          8          (8) B160   CORE I7                                   INTEL     3.4GHZ/8M        GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐2100‐0040     NB          1          (1) B160   XEON LGA
SIP001   Sipi Metals CorpoXEON LGA‐2000‐0290     NB          1          (1) B160   XEON LGA                                  INTEL     2.0 GHZ/35M      GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0170     NB          1          (1) B160   XEON LGA                                  INTEL     2.4GHZ/20M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2100‐0040     NB          6          (6) B160   XEON LGA                                  INTEL     2.1GHZ/40M       GRADE C‐
SIP001   Sipi Metals CorpoCORE I7‐3770‐3400‐01   NB          1          (1) B169   CORE I7                                   INTEL     3.4GHZ/8M        GRADE C‐
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          2        ‐     B184   NETWORK INTERFACE CA                      APPLE     653‐0020         RF
SIP001   Sipi Metals CorpoCORE I7‐3770‐3400‐01   NB          6          (6) B186   CORE I7                                   INTEL     3.4GHZ/8M        GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐1900‐0040     NB          2          (2) B186   XEON LGA                                  INTEL     1.9GHZ/15M       GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐3700‐0040     NB          1          (1) B186   XEON LGA                                  INTEL     3.7GHZ/10M       GRADE B
SIP001   Sipi Metals CorpoCORE I7‐3770S‐3100‐1   NB          1          (1) B186   CORE I7                                   INTEL     3.10GHZ/8M       GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐1600‐0100     NB          1          (1) B186   XEON LGA                                  INTEL     1.6GHZ/15M       GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2100‐0020     NB          1          (1) B186   XEON LGA                                  INTEL     2.1GHZ/15M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0040     NB          1          (1) B186   XEON LGA                                  INTEL     2.6GHZ/20M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐3500‐0070     NB          1          (1) B186   XEON LGA                                  INTEL     3.5GHZ/10M       GRADE B
SIP001   Sipi Metals CorpoCORE I5‐9500T‐2200‐1   NB          1          (1) B194   CORE I5                                   INTEL     2.2GHZ/9M        GRADE C‐
SIP001   Sipi Metals CorpoCORE I5‐6600‐3300‐02   NB         10        (10) B197    CORE I5                                   INTEL     3.3GHZ/6M        GRADE C‐
SIP001   Sipi Metals CorpoCORE I5‐6500T‐2500‐1   NB          4          (4) B197   CORE I5                                   INTEL     2.5GHZ/6M        GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐2100‐0040     NB          1          (1) B197   XEON LGA                                  INTEL     2.1GHZ/40M       GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐2690‐0060     NB          1          (1) B197   XEON LGA                                  INTEL     2.6GHZ/35M       GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐3700‐0030     NB          4          (4) B197   XEON LGA                                  INTEL     3.7GHZ/15M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐3700‐0030     NB          3          (3) B197   XEON LGA                                  INTEL     3.7GHZ/15M       GRADE B
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          4        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM       00AE807          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          4        ‐     B198   HD CONTROLLER CARDS    PCI     FC         EMULEX    00WT000          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         SILICOM   PEG416‐CX‐ROHS   RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         11        ‐     B198   HD CONTROLLER CARDS                       IBM       45W5690          RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   SUN       375‐3536‐02      RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          2        ‐     B198   HD CONTROLLER CARDS    PCI     FC         INTEL     D33682           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         INTEL     D33923‐003       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          6        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI       25R8071          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          3        ‐     B198   HD CONTROLLER CARDS    PCI     FC         HP        D98771‐008       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         HP        HSTNS‐BN58       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         28        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM       74Y3467          RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         18        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM       46M0861          RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          3        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI       SAS9207‐8I       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         HP        407620           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   PCI       SAS8704EM2       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM       42D0491          RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM       46M0918          RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM       81Y4494          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         SILICOM   PEG416‐CX        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B198   NETWORK INTERFACE CA           PCI‐E      HP        NC364T           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B198   NETWORK INTERFACE CA           PCI‐E      INTEL     868971           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         10        ‐     B198   HD CONTROLLER CARDS                       IBM       46K5840          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          2        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM       39Y6070          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM       74Y2113          RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B198   NETWORK INTERFACE CA           PCI‐E      HP        HSTNS‐BN58       RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          1        ‐     B198   NETWORKING                                IBM       00WT000          RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0120      NB          5        ‐     B198   NETWORK INTERFACE CA           PCI‐E      IBM       00ND485          RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0095      NB          5        ‐     B198   NETWORK INTERFACE CA           PCI        IBM       39Y6070          RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B198   NETWORK INTERFACE CA           PCI‐E      DELL      0H092P           RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          7        ‐     B198   NETWORKING                                IBM       00E1851          RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          2        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM       46C8933          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM       00Y5627          RF
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SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          3        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM        42D0500        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM        00D8543        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          2        ‐     B198   HD CONTROLLER CARDS                       IBM        98Y3175        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI        SAS9240‐4I     RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI        SAS9280‐4I4E   RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         36        ‐     B198   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM        46M0851        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          6        ‐     B198   HD CONTROLLER CARDS    PCI     FC         IBM        42D0507        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          6        ‐     B198   NETWORK INTERFACE CA           PCI‐E      IBM        49Y7949        RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         75        ‐     B198   NETWORKING                                EMULEX     0CE11102       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          2        ‐     B198   NETWORK INTERFACE CA           PCI‐E      DELL       OF169G         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B198   NETWORK INTERFACE CA           PCI‐E      HP         NC360T         RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          1        ‐     B198   NETWORKING                                IBM        74Y3467        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          9        ‐     B198   NETWORK INTERFACE CA           PCI‐E      IBM        00E0836        RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         12        ‐     B198   NETWORKING                                IBM        42D0500        RF
SIP001   Sipi Metals CorpoCORE I7‐9700‐3000‐01   NB          1          (1) B210   CORE I7                                   INTEL      3GHZ/12M       GRADE C‐
SIP001   Sipi Metals CorpoCORE I7‐3770‐3400‐01   NB          1          (1) B210   CORE I7                                   INTEL      3.4GHZ/8M      GRADE C‐
SIP001   Sipi Metals CorpoCORE I5‐8500T‐2100‐1   NB          2          (2) B210   CORE I5                                   INTEL      2.1GHZ/9M      GRADE C‐
SIP001   Sipi Metals CorpoCORE I3‐4130‐3400‐01   NB          1          (1) B213   CORE I3                                   INTEL      3.40GHZ/3M     GRADE C
SIP001   Sipi Metals CorpoCORE I7‐4770‐3400‐02   NB          4          (4) B213   CORE I7                                   INTEL      3.4GHZ/8M      GRADE C‐
SIP001   Sipi Metals CorpoCORE I7‐4765T‐2000‐1   NB         10        (10) B213    CORE I7                                   INTEL      2.0GHZ/8M      GRADE C‐
SIP001   Sipi Metals CorpoCORE I5‐4570T‐2900‐2   NB          1        ‐     B213   CORE I5                                   INTEL      2.9GHZ/4M      GRADE C
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      INTEL      6235ANHMW      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      QUALCOMM   QCNFA 344A     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          4        ‐     B214   NETWORK INTERFACE CA                      INTEL      2230BNHMW      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      INTEL      AX201NGW       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         50        ‐     B214   NETWORK INTERFACE CA                      INTEL      7260HMW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      INTEL      7260HMW BN     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          3        ‐     B214   NETWORK INTERFACE CA                      INTEL      9560NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          5        ‐     B214   NETWORK INTERFACE CA                      INTEL      622ANHMW       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          4        ‐     B214   NETWORK INTERFACE CA                      INTEL      622ANHU        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         52        ‐     B214   NETWORK INTERFACE CA                      INTEL      7265NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      INTEL      7260NGW AN     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      INTEL      3168NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          3        ‐     B214   NETWORK INTERFACE CA                      INTEL      512AN_HMW      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      INTEL      AX200NGW       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          3        ‐     B214   NETWORK INTERFACE CA                      REALTEK    RTL8821CE      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          4        ‐     B214   NETWORK INTERFACE CA                      INTEL      633ANHMW       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          5        ‐     B214   NETWORK INTERFACE CA                      INTEL      622 ANHMW      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         25        ‐     B214   NETWORK INTERFACE CA                      INTEL      7260NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      INTEL      7260NGW NB     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      INTEL      8260NGW NB     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      INTEL      7265NGW AN     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      INTEL      533AN_HMW      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      INTEL      7260NGW BN     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         31        ‐     B214   NETWORK INTERFACE CA                      INTEL      8265NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      INTEL      7260HMW AN     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B214   NETWORK INTERFACE CA                      QUALCOMM   QCA9005        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          3        ‐     B214   NETWORK INTERFACE CA                      INTEL      3160NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      INTEL      3165NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B214   NETWORK INTERFACE CA                      QUALCOMM   QCNFA 435      RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          2        ‐     B215   HD CONTROLLER CARDS    PCI     FC         IBM        46M6062        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          1        ‐     B215   HD CONTROLLER CARDS                       IBM        04N5094        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI        SAS 9271‐8I    RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          4        ‐     B215   HD CONTROLLER CARDS    PCI     FC         IBM        31P1641        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          3        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM        46M0918        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B215   HD CONTROLLER CARDS    PCI     FC         IBM        74Y3467        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B215   HD CONTROLLER CARDS    PCI     FC         IBM        42C2070        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          5        ‐     B215   HD CONTROLLER CARDS    PCI     FC         IBM        42D0491        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0015     NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SCSI       HP         439946‐001     RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B215   HD CONTROLLER CARDS    PCI     FC         QLOGIC     QLE2560        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B215   NETWORK INTERFACE CA                      IBM        47C8210        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B215   NETWORK INTERFACE CA                      INTEL      9260NGW        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI        SAS9266‐8I     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         83        ‐     B215   NETWORK INTERFACE CA                      HP         800870‐001     RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI        SAS 9271‐4I    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B215   NETWORK INTERFACE CA                      INTEL      D45774‐008     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          2        ‐     B215   NETWORK INTERFACE CA           PCI‐E      HP         412651‐001     RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   AMCC       700‐3260‐20I   RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM        43W4297        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B215   HD CONTROLLER CARDS    PCI     FC         EMULEX     LPE11000       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          1        ‐     B215   HD CONTROLLER CARDS                       AMCC       700‐3260‐20I   RF
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SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          2        ‐     B215   HD CONTROLLER CARDS    PCI     FC         IBM         42D0500        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B215   NETWORK INTERFACE CA                      FOXCONN     T77H468        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B215   NETWORK INTERFACE CA           PCI‐E      INTEL       D61407         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         12        ‐     B215   NETWORK INTERFACE CA                      INTEL       7260NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0152      NB         20        ‐     B215   NETWORK INTERFACE CA           PCI‐E      MELLANOX    MHRH2A‐XSR     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B215   NETWORK INTERFACE CA           PCI‐E      DELL        0THGMP         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B215   NETWORK INTERFACE CA           PCI‐E      IBM         74Y2113        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          8        ‐     B215   NETWORK INTERFACE CA                      INTEL       9560NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          2        ‐     B215   NETWORK INTERFACE CA           PCI‐E      INTEL       D50228‐008     RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         11        ‐     B215   HD CONTROLLER CARDS                       IBM         46K5840        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          3        ‐     B215   HD CONTROLLER CARDS    PCI     FC         HP          697889‐001     RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         46M0861        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   HP          013233‐001     RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         12        ‐     B215   HD CONTROLLER CARDS    PCI     FC         IBM         42D0507        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         90Y4449        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          2        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         46C8933        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          5        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         46M0851        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B215   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LENOVO      47C8676        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B215   NETWORK INTERFACE CA                      BROADCOM    BCM94352HMB    RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B215   NETWORKING                                SILICOM     74‐5570‐01     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          9        ‐     B215   NETWORK INTERFACE CA                      QUALCOMM    EM7455         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          7        ‐     B215   NETWORK INTERFACE CA                      FOXCONN     T77W595        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         15        ‐     B215   NETWORK INTERFACE CA                      INTEL       7260HMW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B215   NETWORK INTERFACE CA                      INTEL       8265NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B215   NETWORK INTERFACE CA           PCI‐E      IBM         39Y6138        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B215   NETWORK INTERFACE CA                      NETAPP      106‐00200 A0   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB         16        ‐     B215   NETWORK INTERFACE CA           MINI PCI   HP          851594‐001     RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B215   NETWORKING                                MELLANOX    MT50N21B02     RF
SIP001   Sipi Metals CorpoCORE I5‐7500‐3400‐01   NB          1          (1) B230   CORE I5                                   INTEL       3.40GHZ/6M     GRADE C‐
SIP001   Sipi Metals CorpoCORE I7‐7700‐3600‐01   NB          1          (1) B230   CORE I7                                   INTEL       3.6GHZ/8M      GRADE C‐
SIP001   Sipi Metals CorpoCOREI7‐4770TE‐2300‐1   NB          8          (8) B230   CORE I7                                   INTEL       2.30GHZ/8M     GRADE C‐
SIP001   Sipi Metals CorpoCORE I5‐6500T‐2500‐1   NB          1          (1) B230   CORE I5                                   INTEL       2.5GHZ/6M      GRADE C‐
SIP001   Sipi Metals CorpoCORE I5‐7500T‐2700‐1   NB          2          (2) B230   CORE I5                                   INTEL       2.70GHZ/6M     GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐1900‐0040     NB          1          (1) B230   XEON LGA                                  INTEL       1.9GHZ/15M     GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2200‐0140     NB          1          (1) B230   XEON LGA                                  INTEL       2.20GHZ/25M    GRADE C‐
SIP001   Sipi Metals CorpoXEON LGA‐2800‐0110     NB          1          (1) B230   XEON LGA                                  INTEL       2.80GHZ/10M    GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐1800‐0090     NB          1          (1) B230   XEON LGA                                  INTEL       1.80GHZ/20M    GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐3500‐0070     NB          2          (2) B230   XEON LGA                                  INTEL       3.5GHZ/10M     GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐3500‐0070     NB          6          (6) B230   XEON LGA                                  INTEL       3.5GHZ/10M     GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0090     NB          1          (1) B230   XEON LGA                                  INTEL       2.6 GHZ/30M    GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0230     NB          1          (1) B230   XEON LGA                                  INTEL       2.4GHZ/15M     GRADE C
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B233   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         46C9043        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B233   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         46C8937        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B233   NETWORK INTERFACE CA                      IBM         10N6845        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0152      NB          5        ‐     B233   NETWORK INTERFACE CA           PCI‐E      MELLANOX    MHRH2A‐XSR     RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          1        ‐     B233   NETWORKING                                IBM         42C1762        RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          1        ‐     B233   NETWORKING                                IBM         00W0043        RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          1        ‐     B233   NETWORKING                                IBM         95Y3457        RF
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0070     NB          3          (3) B236   XEON LGA                                  INTEL       2.6GHZ/25M     GRADE B
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0070     NB         35        (35) B236    XEON LGA                                  INTEL       2.6GHZ/25M     GRADE C
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          1        ‐     B237   HD CONTROLLER CARDS                       IBM         46K5812        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         16        ‐     B237   HD CONTROLLER CARDS    PCI     FC         IBM         42D0500        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          1        ‐     B237   HD CONTROLLER CARDS                       IBM         35P1649        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B237   HD CONTROLLER CARDS    PCI     FC         EMULEX      LPE11002‐E     RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          5        ‐     B237   HD CONTROLLER CARDS    PCI     FC         IBM         74Y2216        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B237   NETWORK INTERFACE CA           PCI‐E      SILICOM     PEG416‐CX      RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          6        ‐     B237   HD CONTROLLER CARDS    PCI     FC         HP          489190‐001     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B237   NETWORK INTERFACE CA                      NETAPP      106‐00200 A0   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         10        ‐     B237   NETWORK INTERFACE CA           PCI‐E      SUN         511‐1422‐01    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         71        ‐     B237   NETWORK INTERFACE CA                      INTEL       8265NGW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B237   NETWORK INTERFACE CA           PCI‐E      IBM         49Y7949        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         13        ‐     B237   NETWORK INTERFACE CA                      QUALCOMM    EM7455         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B237   NETWORK INTERFACE CA           PCI‐E      CISCO       74‐10899‐01    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          2        ‐     B237   NETWORK INTERFACE CA           PCI‐E      CISCO       74‐10521‐01    RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          6        ‐     B237   HD CONTROLLER CARDS                       IBM         46K5840        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B237   HD CONTROLLER CARDS    PCI     FC         IBM         4377336        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          5        ‐     B237   HD CONTROLLER CARDS    PCI     FC         EMC         LP1050EX‐E     RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B237   HD CONTROLLER CARDS    PCI     FC         IBM         00RX863        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          4        ‐     B237   HD CONTROLLER CARDS    PCI     FC         LSI LOGIC   LSI7204EP‐LC   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0110      NB          8        ‐     B237   NETWORK INTERFACE CA           MINIPCI    INTEL       WM3945ABG      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB         12        ‐     B237   NETWORK INTERFACE CA           MINI PCI   INTEL       622ANHMW       RF
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SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB        65        ‐     B237   NETWORK INTERFACE CA                      INTEL             7265NGW       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB        37        ‐     B237   NETWORK INTERFACE CA           MINI PCI   INTEL             7260HMW       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB        27        ‐     B237   NETWORK INTERFACE CA                      MELLANOX          MHRH2A‐XSR    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0110      NB         8        ‐     B237   NETWORK INTERFACE CA           MINIPCI    IBM               42T0873       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB        17        ‐     B237   NETWORK INTERFACE CA           MINI PCI   INTEL             6235ANHMW     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB        18        ‐     B237   NETWORK INTERFACE CA           MINI PCI   SIERRA WIRELESS   EM7355        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB        28        ‐     B237   NETWORK INTERFACE CA                      FOXCONN           T77W595       RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB        15        ‐     B237   NETWORKING                                IBM               00E1851       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         9        ‐     B237   NETWORK INTERFACE CA           PCI‐E      IBM               00E0836       RF
SIP001   Sipi Metals CorpoCORE I7 MOB‐7600U‐01   NB         1          (1) B240   CORE I7 MOB                               INTEL             2.8GHZ/4M     GRADE B
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         2        ‐     B240   HD CONTROLLER CARDS    PCI     FC         IBM               42D0500       RF
SIP001   Sipi Metals CorpoCORE I5 MOB‐7300U‐01   NB         5          (5) B240   CORE I5 MOB                               INTEL             2.6GHZ/3M     GRADE B
SIP001   Sipi Metals CorpoCORE I7 MOB‐7600U‐01   NB         4          (4) B240   CORE I7 MOB                               INTEL             2.8GHZ/4M     GRADE A
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B240   NETWORK INTERFACE CA           PCI‐E      INTEL             D50228‐006    RF
SIP001   Sipi Metals CorpoCORE I5 MOB‐6200U‐01   NB         3          (3) B240   CORE I5 MOB                               INTEL             2.3GHZ/3M     GRADE A
SIP001   Sipi Metals CorpoCORE I7 MOB‐7600U‐01   NB         1          (1) B240   CORE I7 MOB                               INTEL             2.8GHZ/4M     GRADE C
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B240   NETWORK INTERFACE CA           PCI‐E      DELL              0F169G        RF
SIP001   Sipi Metals CorpoCORE I5 MOB‐6200U‐01   NB         1          (1) B240   CORE I5 MOB                               INTEL             2.3GHZ/3M     GRADE B
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B240   NETWORK INTERFACE CA           PCI‐E      CISCO             74‐5138‐01    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         1        ‐     B240   NETWORK INTERFACE CA                      MELLANOX          MHRH2A‐XSR    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B240   NETWORK INTERFACE CA           PCI‐E      DELL              0H092P        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B240   NETWORK INTERFACE CA           PCI‐E      HP                458491‐001    RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB         1        ‐     B240   NETWORKING                                IBM               00E1851       RF
SIP001   Sipi Metals CorpoVIDEO CARD‐0237        NB         1        ‐     B240   VIDEO CARDS                    PCI‐E      DELL              0FM349        RF
SIP001   Sipi Metals CorpoVIDEO CARD‐0257        NB         1        ‐     B240   VIDEO CARDS                    PCI‐E      DELL              0KFWWP        RF
SIP001   Sipi Metals CorpoVIDEO CARD‐0237        NB         1        ‐     B240   VIDEO CARDS                    PCI‐E      DELL              0T9099        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         3        ‐     B240   HD CONTROLLER CARDS                       IBM               44W3394       RF
SIP001   Sipi Metals CorpoCORE I5 MOB‐6300U‐01   NB        31        (31) B240    CORE I5 MOB                               INTEL             2.4GHZ/3M     GRADE A
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         1        ‐     B240   HD CONTROLLER CARDS    PCI     FC         SUN               375‐3356‐02   RF
SIP001   Sipi Metals CorpoCORE I5 MOB‐6300U‐01   NB         8          (8) B240   CORE I5 MOB                               INTEL             2.4GHZ/3M     GRADE B
SIP001   Sipi Metals CorpoCORE I5 MOB‐7300U‐01   NB         3          (3) B240   CORE I5 MOB                               INTEL             2.6GHZ/3M     GRADE A
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         1        ‐     B240   HD CONTROLLER CARDS                       DELL              012DNW        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B240   HD CONTROLLER CARDS    PCI‐E   SAS RAID   CISCO             MRAID12G      RF
SIP001   Sipi Metals CorpoCORE I5 MOB‐6300U‐01   NB         4          (4) B240   CORE I5 MOB                               INTEL             2.4GHZ/3M     GRADE C
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         2        ‐     B240   NETWORKING                                MELLANOX          CX354A        RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         3        ‐     B240   NETWORKING                                MELLANOX          MHQH29B‐XSR   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B240   NETWORK INTERFACE CA           PCI‐E      DELL              0THGMP        RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB         1        ‐     B240   NETWORKING                                IBM               49Y7962       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B240   NETWORK INTERFACE CA           PCI‐E      DELL              0KH08P        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         1        ‐     B240   NETWORK INTERFACE CA                      IBM               74Y2995       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         3        ‐     B240   NETWORKING                                ORACLE            E69818        RF
SIP001   Sipi Metals CorpoVIDEO CARD‐0259        NB         1        ‐     B240   VIDEO CARDS                    PCI‐E      HP                684591‐001    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B240   NETWORK INTERFACE CA           PCI‐E      DELL              09YD6K        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B240   NETWORK INTERFACE CA           PCI‐E      IBM               49Y7947       RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB         5        ‐     B240   NETWORKING                                SUN               7046442       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B240   NETWORK INTERFACE CA           PCI‐E      DELL              0G218C        RF
SIP001   Sipi Metals CorpoVIDEO CARD‐0240        NB         1        ‐     B240   VIDEO CARDS                    PCI‐E      DELL              0R784K        RF
SIP001   Sipi Metals CorpoVIDEO CARD‐0240        NB         1        ‐     B240   VIDEO CARDS                    PCI‐E      ASUS              EAH5450       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B254   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               88Y4482       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         4        ‐     B254   HD CONTROLLER CARDS    PCI     FC         IBM               42D0516       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         2        ‐     B254   NETWORK INTERFACE CA                      MELLANOX          MHRH2A‐XSR    RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B254   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               45W9122       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB        27        ‐     B254   HD CONTROLLER CARDS    PCI     FC         IBM               42D0500       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B254   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               46M0851       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         1        ‐     B254   NETWORKING                                ORACLE            E69818        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         1        ‐     B254   HD CONTROLLER CARDS    PCI     FC         IBM               00D8543       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         3        ‐     B254   HD CONTROLLER CARDS    PCI     FC         SUN               375‐3356‐02   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B254   NETWORK INTERFACE CA           PCI‐E      INTEL             D33923‐003    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B254   NETWORK INTERFACE CA           PCI‐E      IBM               49Y4205       RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB         1        ‐     B254   NETWORKING                                IBM               00RX859       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B254   HD CONTROLLER CARDS    PCI‐E   SAS RAID   ADAPTEC           ASR‐5404Z     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0095      NB         2        ‐     B254   NETWORK INTERFACE CA           PCI        IBM               39Y6070       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         3        ‐     B254   NETWORK INTERFACE CA           PCI‐E      IBM               49Y7947       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B254   NETWORK INTERFACE CA           PCI‐E      IBM               00E0836       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         1        ‐     B254   NETWORK INTERFACE CA                      IBM               74Y8679       RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB         1        ‐     B254   NETWORKING                                IBM               00W0043       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         4        ‐     B254   NETWORK INTERFACE CA           PCI‐E      IBM               90Y9355       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         3        ‐     B254   NETWORK INTERFACE CA           PCI‐E      DELL              0F169G        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B254   NETWORK INTERFACE CA           PCI‐E      SUN               7055021       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         5        ‐     B254   NETWORKING                                IBM               49Y7962       RF
SIP001   Sipi Metals CorpoCHARGER                NB        10        ‐     B256   CHARGER                                   ATT               6351          RF
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SIP001   Sipi Metals CorpoCORE I3‐3220‐3300‐02   NB          5          (5) B262   CORE I3                                   INTEL             3.3GHZ/3M            GRADE C
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        2        ‐     B264   HARD DRIVE             M.2     NVME       SK HYNIX          HFS256GD9TNG‐62A0A   RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        1        ‐     B264   HARD DRIVE             M.2     NVME       SAMSUNG           MZ‐VLB256A           RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY       10        ‐     B264   HARD DRIVE             M.2     NVME       TOSHIBA           THNSN5256GPUK        RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY       24        (24) B264    HARD DRIVE             M.2     NVME       SK HYNIX          HFM256GDJTNG‐8310A   RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        1        ‐     B264   HARD DRIVE             M.2     NVME       TOSHIBA           KBG30ZMV256G         RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        1        ‐     B264   HARD DRIVE             M.2     NVME       SAMSUNG           MZ‐VLV256D           RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        1        ‐     B264   HARD DRIVE             M.2     NVME       TOSHIBA           KXG60ZNV256G         RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        3        ‐     B264   HARD DRIVE             M.2     NVME       TOSHIBA           THNSN5256GPU7        RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        1        ‐     B264   HARD DRIVE             M.2     NVME       WESTERN DIGITAL   SDAPNUW‐256G‐1006    RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        2        ‐     B264   HARD DRIVE             M.2     NVME       SK HYNIX          HFS256GD9MND‐5510A   RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        1        ‐     B264   HARD DRIVE             M.2     NVME       LITEON            CX2‐8B256‐Q11        RF        256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025       EBAY        8        ‐     B264   HARD DRIVE             M.2     NVME       TOSHIBA           KXG50ZNV256G         RF        256GB
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          5        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   ADAPTEC           ASR‐5405Z            RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               46C8929              RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          5        ‐     B287   HD CONTROLLER CARDS    PCI     FC         IBM               49Y7952              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          2        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               46M0918              RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0065     NB          1        ‐     B287   HD CONTROLLER CARDS            PCI        IBM               98Y3176              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          5        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               00AE807              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          2        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               46M0861              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         11        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   ADAPTEC           ASR‐71605            RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          8        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               44E8690              RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          8        ‐     B287   HD CONTROLLER CARDS    PCI     FC         EMULEX            00WT000              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          8        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               46M0851              RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B287   NETWORKING                                IBM               81Y1537              RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B287   HD CONTROLLER CARDS    PCI     FC         HP                697889‐001           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          2        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   ADAPTEC           ASR‐5805Z            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0095      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI        IBM               39Y6070              RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          4        ‐     B287   HD CONTROLLER CARDS    PCI     FC         IBM               00WT000              RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          1        ‐     B287   NETWORKING                                QLOGIC            01KR586              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B287   NETWORK INTERFACE CA                      HP                HSTNS‐BN26           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          6        ‐     B287   NETWORK INTERFACE CA                      MELLANOX          MHRH2A‐XSR           RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          4        ‐     B287   NETWORKING                                IBM               00RX859              RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B287   NETWORKING                                IBM               10N9034              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          2        ‐     B287   NETWORK INTERFACE CA                      SUPERMICRO        AOC‐STG‐I2T          RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      SUN               375‐3481‐01          RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          8        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI LOGIC         SAS9201‐8I           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B287   HD CONTROLLER CARDS    PCI     FC         IBM               482914‐001           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         30        ‐     B287   HD CONTROLLER CARDS    PCI     FC         IBM               42D0500              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          7        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               90Y4449              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          1        ‐     B287   HD CONTROLLER CARDS                       IBM               44W3394              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI               SAS 9208‐8I          RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          9        ‐     B287   HD CONTROLLER CARDS    PCI     FC         IBM               42D0516              RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          2        ‐     B287   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM               49Y4737              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          2        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               00E0838              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          7        ‐     B287   NETWORK INTERFACE CA           PCI‐E      SUPERMICRO        AOC‐SG‐I2            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               90Y9373              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      HP                HSTNS‐BN58           RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          3        ‐     B287   NETWORKING                                IBM               00W0043              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         17        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               74Y4064              RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          3        ‐     B287   NETWORKING                                IBM               00E0837              RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          8        ‐     B287   NETWORKING                                ORACLE            E69818               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0010      NB          1        ‐     B287   NETWORK INTERFACE CA           ISA        IBM               95Y3461              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0152      NB         36        ‐     B287   NETWORK INTERFACE CA           PCI‐E      MELLANOX          MHRH2A‐XSR           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B287   NETWORKING                                LENOVO            00JY848              RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          1        ‐     B287   NETWORKING                                IBM               01FT763              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          4        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               00E0836              RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          2        ‐     B287   NETWORKING                                IBM               00E1856              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      DIGI              74Y4084              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         14        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               00RX898              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      HP                436431‐001           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               49Y7947              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               74Y2113              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          6        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               39Y6138              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          3        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               45W1959              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          2        ‐     B287   NETWORK INTERFACE CA                      HP                HSTNS‐BN16           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B287   NETWORKING                                IBM               46K6602              RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          2        ‐     B287   NETWORK INTERFACE CA           PCI‐E      DELL              0G218C               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B287   NETWORK INTERFACE CA           PCI‐E      IBM               00Y2418              RF
SIP001   Sipi Metals CorpoCORE I3‐4160‐3600‐01   NB          2          (2) B311   CORE I3                                   INTEL             3.6GHZ/3M            GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0100     NB          6          (6) B311   XEON LGA                                  INTEL             2.6 GHZ/20M          GRADE C
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SIP001   Sipi Metals CorpoXEON LGA‐2000‐0290     NB          1          (1) B311   XEON LGA                                  INTEL        2.0 GHZ/35M     GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐1900‐0040     NB          3          (3) B311   XEON LGA                                  INTEL        1.9GHZ/15M      GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0090     NB          4          (4) B311   XEON LGA                                  INTEL        2.6 GHZ/30M     GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2600‐0070     NB          2          (2) B311   XEON LGA                                  INTEL        2.6GHZ/25M      GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0230     NB         10        (10) B311    XEON LGA                                  INTEL        2.4GHZ/15M      GRADE C
SIP001   Sipi Metals CorpoCORE I3‐3220‐3300‐02   NB          1          (1) B311   CORE I3                                   INTEL        3.3GHZ/3M       GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐2400‐0170     NB         16        (16) B311    XEON LGA                                  INTEL        2.4GHZ/20M      GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐3500‐0080     NB          4          (4) B311   XEON LGA                                  INTEL        3.5GHZ/15M      GRADE C
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          4        ‐     B329   HD CONTROLLER CARDS                       IBM          46C9027         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          00E1493         RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         13        ‐     B329   HD CONTROLLER CARDS    PCI     FC         IBM          42D0516         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          9        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          44E8690         RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B329   HD CONTROLLER CARDS    PCI     FC         IBM          42C1802         RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         11        ‐     B329   HD CONTROLLER CARDS    PCI     FC         HP           489190‐001      RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          81Y9993         RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          2        ‐     B329   HD CONTROLLER CARDS    PCI     FC         HP           697889‐001      RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B329   HD CONTROLLER CARDS    PCI     FC         QLOGIC       QLE2560‐HP      RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          4        ‐     B329   HD CONTROLLER CARDS    PCI     FC         IBM          42D0507         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          6        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          46M0851         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          4        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          SAS 9200‐8E     RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B329   NETWORKING                                BROCADE      84‐1000448‐01   RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          3        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          46M0861         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          4        ‐     B329   HD CONTROLLER CARDS                       IBM          46C9029         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          3        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          46C8933         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0110      NB          6        ‐     B329   NETWORK INTERFACE CA           MINIPCI    IBM          39T5578         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB          1        ‐     B329   NETWORK INTERFACE CA           MINI PCI   ATHEROS      QCWB335         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          1        ‐     B329   HD CONTROLLER CARDS                       MOLEX        98Y4072         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          6        ‐     B329   NETWORK INTERFACE CA           PCI‐E      HP           430654‐001      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B329   NETWORK INTERFACE CA                      INTEL        62205ANSFF      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B329   NETWORK INTERFACE CA                      MIC          BCM94321MC      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B329   NETWORK INTERFACE CA                      HP           HSTNS‐BN26      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          3        ‐     B329   NETWORK INTERFACE CA                      IBM          39Y6100         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          2        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM          00E0838         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB          3        ‐     B329   NETWORK INTERFACE CA           MINI PCI   INTEL        633ANHMW        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B329   NETWORK INTERFACE CA                      BROADCOM     BCM94313HMG2L   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM          74Y4064         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0110      NB          1        ‐     B329   NETWORK INTERFACE CA           MINIPCI    BROADCOM     BCM94312MCG     RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          1        ‐     B329   NETWORKING                                IBM          00E0837         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B329   NETWORK INTERFACE CA                      IBM          10N6845         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      SUPERMICRO   AOC‐SG‐I2       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB          7        ‐     B329   NETWORK INTERFACE CA           MINI PCI   INTEL        512AN_MMW       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B329   NETWORK INTERFACE CA                      BROADCOM     BCM94352HMB     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B329   NETWORK INTERFACE CA                      FOXCONN      T77H468         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   ADAPTEC      ASR‐5405Z       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB          1        ‐     B329   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          00E1599         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          1        ‐     B329   HD CONTROLLER CARDS                       IBM          46K5840         RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB          6        ‐     B329   HD CONTROLLER CARDS                       IBM          81Y4485         RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B329   HD CONTROLLER CARDS    PCI     FC         IBM          46K8088         RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          5        ‐     B329   HD CONTROLLER CARDS    PCI     FC         IBM          42D0500         RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB          1        ‐     B329   HD CONTROLLER CARDS    PCI     FC         QLOGIC       QLE2562‐E       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          9        ‐     B329   NETWORK INTERFACE CA                      QUALCOMM     MC7355          RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          2        ‐     B329   NETWORK INTERFACE CA                      SUPERMICRO   AOC‐STG‐I2T     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          6        ‐     B329   NETWORK INTERFACE CA           PCI‐E      HP           488293‐001      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B329   NETWORK INTERFACE CA                      IBM          00FW105         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM          00RX898         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM          74Y4063         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          2        ‐     B329   NETWORK INTERFACE CA                      INTEL        9560NGW         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB          1        ‐     B329   NETWORK INTERFACE CA                      IBM          74Y2987         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0095      NB          3        ‐     B329   NETWORK INTERFACE CA           PCI        IBM          39Y6070         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      HP           503827‐001      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0110      NB          1        ‐     B329   NETWORK INTERFACE CA           MINIPCI    IBM          42T0825         RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          3        ‐     B329   NETWORKING                                IBM          00RX859         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0110      NB          1        ‐     B329   NETWORK INTERFACE CA           MINIPCI    BROADCOM     BCM94312HMG     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0152      NB          7        ‐     B329   NETWORK INTERFACE CA           PCI‐E      MELLANOX     MHRH2A‐XSR      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          6        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM          00E0836         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB          8        ‐     B329   NETWORK INTERFACE CA           MINI PCI   BROADCOM     BCM943228HMB    RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB          2        ‐     B329   NETWORKING                                IBM          42C1752         RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB          2        ‐     B329   NETWORKING                                IBM          00E0839         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      HP           458491‐001      RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM          90Y9373         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB          1        ‐     B329   NETWORK INTERFACE CA                      BROADCOM     BCM92046MPCIE   RF
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SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM         74Y2113       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         4        ‐     B329   NETWORK INTERFACE CA                      INTEL       62230ANHMW    RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         1        ‐     B329   NETWORKING                                IBM         94Y5203       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         2        ‐     B329   NETWORK INTERFACE CA                      INTEL       533AN_HMW     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         4        ‐     B329   NETWORK INTERFACE CA                      HP          HSTNS‐BN16    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0113      NB         7        ‐     B329   NETWORK INTERFACE CA           MINI PCI   INTEL       533AN_MMW     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B329   NETWORK INTERFACE CA           PCI‐E      IBM         39Y6138       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0110      NB         1        ‐     B329   NETWORK INTERFACE CA           MINIPCI    DELL        0PC559        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         2        ‐     B329   NETWORK INTERFACE CA                      INTEL       18265NGW      RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B340   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         81Y9993       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         1        ‐     B340   HD CONTROLLER CARDS    PCI     FC         IBM         42D0500       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         1        ‐     B340   NETWORK INTERFACE CA                      IBM         10N6845       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         5        ‐     B340   NETWORK INTERFACE CA                      ROHS        AOC‐PG‐I2     RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         1        ‐     B340   HD CONTROLLER CARDS    PCI     FC         QLOGIC      QLE2464       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         2        ‐     B340   NETWORKING                                IBM         46K6602       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         49Y4205       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125      NB         2        ‐     B340   NETWORK INTERFACE CA                      INTEL       E46981‐008    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0150      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         95Y3766       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0095      NB         2        ‐     B340   NETWORK INTERFACE CA           PCI        IBM         39Y6070       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      DELL        0YG4N3        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         9        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         49Y4232       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         00RX898       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         3        ‐     B340   NETWORK INTERFACE CA           PCI‐E      INTEL       E99791‐005    RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         3        ‐     B340   HD CONTROLLER CARDS    PCI     FC         EMULEX      LPE1150‐E     RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         4        ‐     B340   HD CONTROLLER CARDS    PCI     FC         IBM         42D0516       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         98Y2609       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         2        ‐     B340   NETWORK INTERFACE CA                      HP          HSTNS‐BN26    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      INTEL       D50228‐005    RF
SIP001   Sipi Metals CorpoNETWORKING‐0070        NB         1        ‐     B340   NETWORKING                                IBM         01FT763       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      DELL        0F169G        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         42C2072       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0120      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         00ND485       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         00E2873       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         90Y9355       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         8        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         00E0836       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         1        ‐     B340   NETWORKING                                IBM         42C1752       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         1        ‐     B340   NETWORKING                                INTEL       E18267‐001    RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         1        ‐     B340   NETWORKING                                MELLANOX    CX314A        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         00E0838       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      DELL        0G218C        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         2        ‐     B340   NETWORK INTERFACE CA           PCI‐E      HP          458491‐001    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      INTEL       D33682        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB         1        ‐     B340   NETWORK INTERFACE CA           PCI‐E      IBM         74Y4064       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         1        ‐     B340   NETWORKING                                IBM         74Y3458       RF
SIP001   Sipi Metals CorpoCORE I5‐8500T‐2100‐1   NB         1          (1) B377   CORE I5                                   INTEL       2.1GHZ/9M     GRADE C‐
SIP001   Sipi Metals CorpoCORE I7‐4770‐3400‐02   NB         1        ‐     B377   CORE I7                                   INTEL       3.4GHZ/8M     GRADE B
SIP001   Sipi Metals CorpoXEON PLATINUM‐2100‐1   NB         1        ‐     B377   XEON PLATINUM                             INTEL       2.10GHZ/24M   GRADE C
SIP001   Sipi Metals CorpoCORE I7‐3770‐3400‐01   NB         1        ‐     B377   CORE I7                                   INTEL       3.4GHZ/8M     GRADE B
SIP001   Sipi Metals CorpoXEON GOLD‐2300‐0020    NB         3        ‐     B377   XEON GOLD                                 INTEL       2.30GHZ/16M   GRADE C
SIP001   Sipi Metals CorpoXEON GOLD‐2600‐0020    NB         1        ‐     B377   XEON GOLD                                 INTEL       2.60GHZ/25M   GRADE C
SIP001   Sipi Metals CorpoXEON LGA‐1800‐0080     NB         2          (2) B377   XEON LGA                                  INTEL       1.8 GHZ/30M   GRADE C
SIP001   Sipi Metals CorpoXEON GOLD‐2200‐0010    NB         1        ‐     B377   XEON GOLD                                 INTEL       2.20GHZ/20M   GRADE C
SIP001   Sipi Metals CorpoXEON GOLD‐2600‐0010    NB         1        ‐     B377   XEON GOLD                                 INTEL       2.60GHZ/20M   GRADE C
SIP001   Sipi Metals CorpoXEON SILVER‐2100‐001   NB         3        ‐     B377   XEON SILVER                               INTEL       2.10GHZ/8M    GRADE C
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     EBAY      52        ‐     B380   HD CONTROLLER CARDS                       HP          742006‐002    RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         81Y9993       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         1        ‐     B380   HD CONTROLLER CARDS                       ORACLE      7085209       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   DELL        0J14DC        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB        27        ‐     B380   HD CONTROLLER CARDS    PCI     FC         IBM         42D0500       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         46M0851       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         3        ‐     B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI LOGIC   SAS9201‐8I    RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         7        ‐     B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM         46C8937       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         2        ‐     B380   HD CONTROLLER CARDS    PCI     FC         IBM         96Y3766       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         1        ‐     B380   HD CONTROLLER CARDS                       IBM         00Y3541       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000     NB         1        ‐     B380   HD CONTROLLER CARDS                       IBM         00MH925       RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070    NB         1        ‐     B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI         SAS9211‐4I    RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005      NB         3        ‐     B380   NETWORK INTERFACE CA                      MELLANOX    MHQH29B‐XTR   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB        61        ‐     B380   NETWORK INTERFACE CA           PCI‐E      IBM         45W1959       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080     NB         1        ‐     B380   HD CONTROLLER CARDS    PCI     FC         IBM         42D0516       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB        11        ‐     B380   NETWORKING                                IBM         74Y3457       RF
SIP001   Sipi Metals CorpoNETWORKING‐0010        NB         1        ‐     B380   NETWORKING                                QLOGIC      QLE8262       RF
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SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB           6        ‐   B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   ADAPTEC      ASR‐71605             RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB           8        ‐   B380   HD CONTROLLER CARDS    PCI     FC         IBM          49Y7952               RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB           3        ‐   B380   HD CONTROLLER CARDS    PCI     FC         QLOGIC       QLE2560               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005     NB           1        ‐   B380   NETWORK INTERFACE CA                      IBM          00MJ027‐01            RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           4        ‐   B380   NETWORKING                                CHELSIO      110‐1088‐30A1         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          21        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          74Y4064               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005     NB           1        ‐   B380   NETWORK INTERFACE CA                      MELLANOX     MHQH19B‐XTR           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           4        ‐   B380   NETWORK INTERFACE CA           PCI‐E      HP           436431‐001            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           5        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          49Y7947               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          18        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          94Y5167               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          94Y6263               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      HITACHI      GQ‐CN7741‐R           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           2        ‐   B380   NETWORK INTERFACE CA           PCI‐E      HP           593743‐001            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          24        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          00E0836               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          24        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          46Y3512               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           3        ‐   B380   NETWORK INTERFACE CA           PCI‐E      CISCO        N2XX‐ABPCI01‐M3       RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           3        ‐   B380   NETWORK INTERFACE CA           PCI‐E      HP           NC364T                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           9        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          49Y4232               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          74Y4063               RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           5        ‐   B380   NETWORKING                                QLOGIC       QLE8242               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0095     NB           2        ‐   B380   NETWORK INTERFACE CA           PCI        IBM          39Y6070               RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB           3        ‐   B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          45W9122               RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB           2        ‐   B380   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          500605B               RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000    NB         162        ‐   B380   HD CONTROLLER CARDS                       XYRATEX      0959303‐07            RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000    NB           6        ‐   B380   HD CONTROLLER CARDS                       IBM          00MH942               RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB           2        ‐   B380   HD CONTROLLER CARDS    PCI     FC         IBM          00D8543               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           2        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          39Y6070               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125     NB           1        ‐   B380   NETWORK INTERFACE CA                      IBM          00Y2537               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           3        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          49Y4242               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           2        ‐   B380   NETWORK INTERFACE CA           PCI‐E      INTEL        D50228‐008            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0150     NB          14        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          98Y2404               RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           6        ‐   B380   NETWORKING                                IBM          00E0837               RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           4        ‐   B380   NETWORKING                                IBM          74Y3458               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005     NB           2        ‐   B380   NETWORK INTERFACE CA                      IBM          10N6845               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          14        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          00E2873               RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           4        ‐   B380   NETWORKING                                EMULEX       74Y3457YL             RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      INTEL        D50868‐003            RF
SIP001   Sipi Metals CorpoNETWORKING‐0070       NB           2        ‐   B380   NETWORKING                                IBM          00E1851               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          50        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          00E2872               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          74Y2113               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           4        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          94Y5166               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      INTEL        D50228‐009            RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           2        ‐   B380   NETWORKING                                IBM          81Y1541               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           6        ‐   B380   NETWORK INTERFACE CA           PCI‐E      SUPERMICRO   AOC‐SG‐I2             RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           6        ‐   B380   NETWORK INTERFACE CA           PCI‐E      DELL         00FCGN                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      HP           434982‐001            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          41        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          00RX892               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          13        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          90Y9355               RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           1        ‐   B380   NETWORKING                                IBM          00W0055               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005     NB          14        ‐   B380   NETWORK INTERFACE CA                      MELLANOX     MHRH2A‐XSR            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           2        ‐   B380   NETWORK INTERFACE CA           PCI‐E      DELL         0X3959                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           7        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          00E0838               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          34        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          00RX898               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           4        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          49Y4205               RF
SIP001   Sipi Metals CorpoNETWORKING‐0070       NB           1        ‐   B380   NETWORKING                                IBM          00E1493               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           3        ‐   B380   NETWORK INTERFACE CA           PCI‐E      INTEL        D28207‐005            RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           3        ‐   B380   NETWORKING                                EMULEX       OCE11102              RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           7        ‐   B380   NETWORKING                                IBM          46K6602               RF
SIP001   Sipi Metals CorpoNETWORKING‐0070       NB           1        ‐   B380   NETWORKING                                IBM          00E1856               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           9        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          39Y6138               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           7        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          74Y2116               RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB           1        ‐   B380   NETWORKING                                INTEL        E18267‐004            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      INTEL        D50868‐004            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0120     NB           1        ‐   B380   NETWORK INTERFACE CA           PCI‐E      IBM          00ND485               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125     NB           2        ‐   B380   NETWORK INTERFACE CA                      INTEL        E46981‐008            RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          15        ‐   B380   NETWORKING                                SILICOM      PE210G2SPI9A‐XR‐CX1   RF
SIP001   Sipi Metals CorpoVIDEO CARD‐0259       NB           6        ‐   B380   VIDEO CARDS                    PCI‐E      HP           910486‐002            RF
SIP001   Sipi Metals CorpoHARD DRIVE‐00027      EBAY         1        ‐   B392   HARD DRIVE             M.2     NVME       TOSHIBA      THNSN5512GPU7         RF   512GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025      EBAY         1        ‐   B392   HARD DRIVE             M.2     NVME       SAMSUNG      MZ‐VLV256D            RF   256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025      EBAY         1        ‐   B392   HARD DRIVE             M.2     NVME       SK HYNIX     HFS256GD9MND‐5510A    RF   256GB
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          11        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          SAS 9271‐8I           RF
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SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          2        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          00AE811           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          2        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          45W9122           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          4        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          SAS 9200‐8E       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          81Y1665           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          5        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          46M0861           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         INTEL        E43709‐007        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB         18        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          500605B           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000    NB          1        ‐   B392   HD CONTROLLER CARDS                       SUPERMICRO   AOC‐S3008L‐L8E    RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          00VJ255           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0152     NB          6        ‐   B392   NETWORK INTERFACE CA           PCI‐E      MELLANOX     MHRH2A‐XSR        RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          3        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          00E3496           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          4        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   HP           660087‐001        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          2        ‐   B392   NETWORK INTERFACE CA           PCI‐E      DELL         0HM9JY            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB         21        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          00E2872           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          2        ‐   B392   NETWORKING                                IBM          41T8135           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          1        ‐   B392   NETWORKING                                IBM          49Y7962           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          2        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          SAS 9266‐8I       RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          39Y6070           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          74Y4064           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          1        ‐   B392   NETWORKING                                IBM          46K6602           RF
SIP001   Sipi Metals CorpoNETWORKING‐0070       NB          4        ‐   B392   NETWORKING                                IBM          49Y7962           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005     NB          2        ‐   B392   NETWORK INTERFACE CA                      INTEL        D50228‐011        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      DELL         C57721‐004        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          3        ‐   B392   NETWORK INTERFACE CA           PCI‐E      SILICOM      PEG216‐LP         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005     NB          2        ‐   B392   NETWORK INTERFACE CA                      IBM          74Y2987           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB         12        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          39Y6138           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          2        ‐   B392   NETWORKING                                IBM          00RY004           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          3        ‐   B392   NETWORKING                                IBM          46W0573           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          3        ‐   B392   NETWORKING                                SOLARFLARE   SF329‐9021        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          4        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          49Y4242           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      INTEL        C57721‐005        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          98Y7971           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          2        ‐   B392   NETWORKING                                IBM          00E0837           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          3        ‐   B392   NETWORKING                                IBM          47C9963           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      DELL         01P8D1            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      DELL         0X3959            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          4        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          00E2715           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          6        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          00E2873           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          9        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          00RX898           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          3        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          46K6601           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      INTEL        I350‐T2           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          1        ‐   B392   NETWORKING                                BROADCOM     BCM957810A1006G   RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          1        ‐   B392   NETWORKING                                MELLANOX     MCX312B‐XCCT      RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          00D8543           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000    NB          3        ‐   B392   HD CONTROLLER CARDS                       IBM          46C9111           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          3        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          49Y7952           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000    NB          1        ‐   B392   HD CONTROLLER CARDS                       IBM          00MH925           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          1        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   DELL         047MCV            RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          1        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          00E1599           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          3        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          46C8933           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          7        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI LOGIC    SAS9201‐8I        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          1        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          81Y9993           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000    NB         20        ‐   B392   HD CONTROLLER CARDS                       IBM          00YM720           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          3        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          SAS9207‐8I        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐000    NB          2        ‐   B392   HD CONTROLLER CARDS                       IBM          46C9029           RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          2        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   LSI          SAS9211‐8I        RF
SIP001   Sipi Metals CorpoHD CONTR. CARD‐0070   NB          2        ‐   B392   HD CONTROLLER CARDS    PCI‐E   SAS RAID   IBM          46C8937           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          01FT704           RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080    NB          1        ‐   B392   HD CONTROLLER CARDS    PCI     FC         IBM          94Y5166           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          3        ‐   B392   NETWORK INTERFACE CA           PCI‐E      IBM          49Y4232           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125     NB          2        ‐   B392   NETWORK INTERFACE CA                      LENOVO       03T8163           RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          4        ‐   B392   NETWORKING                                IBM          74Y3457           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          3        ‐   B392   NETWORK INTERFACE CA           PCI‐E      INTEL        D50868‐006        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      INTEL        D50868‐009        RF
SIP001   Sipi Metals CorpoNETWORKING‐0010       NB          1        ‐   B392   NETWORKING                                IBM          00FW827           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      HP           436431‐001        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB          1        ‐   B392   NETWORK INTERFACE CA           PCI‐E      HP           NC360T            RF
SIP001   Sipi Metals CorpoMISC. CARDS           NB         15        ‐   B392   MISC. CARDS                               IBM          00E2931           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005     NB          1        ‐   B392   NETWORK INTERFACE CA                      IBM          00D9692           RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125     NB          1        ‐   B392   NETWORK INTERFACE CA                      INTEL        E46981‐008        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097     NB         17        ‐   B392   NETWORK INTERFACE CA           PCI‐E      INTEL        E99791‐005        RF
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SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   SILICOM        PE2G4BPI35LA‐SD        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0125    NB            1        ‐     B392   NETWORK INTERFACE CA                 BROADCOM       BCM957810A1008G        RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0150    NB            2        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            98Y2404                RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            1        ‐     B392   NETWORKING                           SILICOM        PE210G2SPI9A‐XR‐CX     RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005    NB            1        ‐     B392   NETWORK INTERFACE CA                 SUPERMICRO     AOC‐STG‐I2T            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            4        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            00E0838                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            90Y9355                RF
SIP001   Sipi Metals CorpoNETWORKING‐0070      NB            1        ‐     B392   NETWORKING                           LENOVO         00D9552                RF
SIP001   Sipi Metals CorpoMISC. CARDS          NB            6        ‐     B392   MISC. CARDS                          IBM            00E2932                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            7        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            49Y7947                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            74Y2113                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0150    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   INTEL          X520‐DA2               RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            2        ‐     B392   NETWORK INTERFACE CA         PCI‐E   HP             D50868‐005             RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            5        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            00E0836                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            42C1782                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            46Y3512                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            P006932‐21D            RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            4        ‐     B392   NETWORKING                           EMULEX         OCE11102               RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            4        ‐     B392   NETWORKING                           IBM            00AR319                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005    NB            1        ‐     B392   NETWORK INTERFACE CA                 IBM            00FW105                RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            1        ‐     B392   NETWORKING                           IBM            00RX873                RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            7        ‐     B392   NETWORKING                           IBM            73Y9696                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB           11        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            00RX892                RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            1        ‐     B392   NETWORKING                           MELLANOX       CX314A                 RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005    NB            1        ‐     B392   NETWORK INTERFACE CA                 IBM            02JD574                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            3        ‐     B392   NETWORK INTERFACE CA         PCI‐E   DELL           0KH08P                 RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            6        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            94Y5166                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   INTEL          I340‐T4                RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            1        ‐     B392   NETWORKING                           IBM            46C8935                RF
SIP001   Sipi Metals CorpoNETWORKING‐0070      NB            1        ‐     B392   NETWORKING                           IBM            00E1493                RF
SIP001   Sipi Metals CorpoNETWORKING‐0070      NB            1        ‐     B392   NETWORKING                           IBM            00E1851                RF
SIP001   Sipi Metals CorpoNETWORKING‐0070      NB            3        ‐     B392   NETWORKING                           IBM            00RX859                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            4        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            90Y9373                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            6        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            94Y5167                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            3        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            45W1959                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   CISCO          74‐10900‐01 A0         RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            4        ‐     B392   NETWORK INTERFACE CA         PCI‐E   IBM            74Y4064                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   INTEL          D64202‐005             RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B392   NETWORK INTERFACE CA         PCI‐E   INTEL          E84075‐005             RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            1        ‐     B392   NETWORKING                           INTEL          X520‐DA1               RF
SIP001   Sipi Metals CorpoMISC IC              NB        8,300        ‐     B404   MISC IC                              ON SEMICOND.   20429‐002‐XTP          UN
SIP001   Sipi Metals CorpoMISC IC              NB        7,500        ‐     B404   MISC IC                              COILCRAFT      HA3685‐AL              UN
SIP001   Sipi Metals CorpoMISC PASSIVE COMP    NB      345,000        ‐     B404   MISC PASSIVE COMP                    AVX            CXZ49GFA28636H0HZZ01   UN
SIP001   Sipi Metals CorpoMISC PASSIVE COMP    NB       22,000        ‐     B404   MISC PASSIVE COMP                    COILCRAFT      HA4056‐AL              UN
SIP001   Sipi Metals CorpoMISC PASSIVE COMP    NB      146,000        ‐     B404   MISC PASSIVE COMP                    AVX            CXZ49GFA20000H0KPS02   UN
SIP001   Sipi Metals CorpoMISC PASSIVE COMP    NB      230,000        ‐     B404   MISC PASSIVE COMP                    TDK            CCR4.0MUC8WT           UN
SIP001   Sipi Metals CorpoHARD DRIVE‐00025     EBAY          3        ‐     B497   HARD DRIVE             M.2   NVME    SK HYNIX       HFS256GD9MND‐5510A     RF   256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025     EBAY          2        ‐     B497   HARD DRIVE             M.2   NVME    TOSHIBA        THNSN5256GPUK          RF   256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025     EBAY          1        ‐     B497   HARD DRIVE             M.2   NVME    TOSHIBA        KXG50ZNV256G           RF   256GB
SIP001   Sipi Metals CorpoHARD DRIVE‐00025     EBAY          1          (1) B497   HARD DRIVE             M.2   NVME    SK HYNIX       HFM256GDJTNG‐8310A     RF   256GB
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080   NB            5        ‐     B497   HD CONTROLLER CARDS    PCI   FC      IBM            00E3496                RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080   NB            1        ‐     B497   HD CONTROLLER CARDS    PCI   FC      LENOVO         00Y3344                RF
SIP001   Sipi Metals CorpoNETWORKING‐0010      NB            8        ‐     B497   NETWORKING                           DELL           0RXNT1                 RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            3        ‐     B497   NETWORK INTERFACE CA         PCI‐E   IBM            39Y6138                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B497   NETWORK INTERFACE CA         PCI‐E   IBM            10N6845                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            2        ‐     B497   NETWORK INTERFACE CA         PCI‐E   IBM            00RX898                RF
SIP001   Sipi Metals CorpoNETWORKING‐0070      NB            2        ‐     B497   NETWORKING                           IBM            49Y7962                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B497   NETWORK INTERFACE CA         PCI‐E   HP             458491‐001             RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            2        ‐     B497   NETWORK INTERFACE CA         PCI‐E   DELL           0F169G                 RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            9        ‐     B497   NETWORK INTERFACE CA         PCI‐E   IBM            46K6601                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B497   NETWORK INTERFACE CA         PCI‐E   IBM            94Y6263                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B497   NETWORK INTERFACE CA         PCI‐E   INTEL          D50228‐008             RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080   NB            1        ‐     B497   HD CONTROLLER CARDS    PCI   FC      IBM            81Y1665                RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080   NB            1        ‐     B497   HD CONTROLLER CARDS    PCI   FC      EMULEX         00D8546                RF
SIP001   Sipi Metals CorpoHD CONTR.CARD‐0080   NB            2        ‐     B497   HD CONTROLLER CARDS    PCI   FC      EMULEX         00JY849                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B497   NETWORK INTERFACE CA         PCI‐E   HP             649871‐001             RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            2        ‐     B497   NETWORK INTERFACE CA         PCI‐E   IBM            49Y7949                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            2        ‐     B497   NETWORK INTERFACE CA         PCI‐E   IBM            46Y3512                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B497   NETWORK INTERFACE CA         PCI‐E   SUN            501‐7606‐06            RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0005    NB            1        ‐     B497   NETWORK INTERFACE CA                 IBM            00D9692                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097    NB            1        ‐     B497   NETWORK INTERFACE CA         PCI‐E   INTEL          G15138‐002             RF
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SIP001   Sipi Metals CorpoNETWORKING‐0070        NB           2        ‐   B497    NETWORKING                     LENOVO      00D9552                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB           2        ‐   B497    NETWORK INTERFACE CA   PCI‐E   IBM         49Y7972                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB           2        ‐   B497    NETWORK INTERFACE CA   PCI‐E   IBM         94Y5166                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          16        ‐   B497    NETWORK INTERFACE CA   PCI‐E   IBM         00AG512                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB           2        ‐   B497    NETWORK INTERFACE CA   PCI‐E   IBM         74Y4064                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB           3        ‐   B497    NETWORK INTERFACE CA   PCI‐E   IBM         00E0836                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB           7        ‐   B497    NETWORK INTERFACE CA   PCI‐E   IBM         90Y9355                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB           2        ‐   B497    NETWORK INTERFACE CA   PCI‐E   INTEL       E99791‐005                RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB          69        ‐   B497    NETWORK INTERFACE CA   PCI‐E   IBM         49Y4232                   RF
SIP001   Sipi Metals CorpoNETWORK CARD‐0097      NB           1        ‐   B497    NETWORK INTERFACE CA   PCI‐E   INTEL       D64202‐003                RF
SIP001   Sipi Metals CorpoNETWORKING‐0300        NB         566        ‐   B498    NETWORKING                     AVAGO       AFCT‐57F3TMZ‐I6           RF
SIP001   Sipi Metals CorpoNETWORKING‐0300        NB          29        ‐   B498    NETWORKING                     MELLANOX    MMA2P00                   RF
SIP001   Sipi Metals CorpoNETWORKING‐0300        NB          42        ‐   B498    NETWORKING                     AVAGO       AFBR‐57F5MZ‐IB2           RF
SIP001   Sipi Metals CorpoNETWORKING‐0300        NB          96        ‐   B498    NETWORKING                     FINISAR     FTLF1429P3BCV‐IB          RF
SIP001   Sipi Metals CorpoNETWORKING‐0300        NB         709        ‐   B498    NETWORKING                     FINISAR     FTLF1429P3BCV‐IC          RF
SIP001   Sipi Metals Corpo1GX4 DDR3 SDRAM‐0010   NB          18        ‐   B510    1GX4 DDR3 SDRAM                MICRON      MIX                       MOD
SIP001   Sipi Metals Corpo2GX4 DDR3 SDRAM‐0010   NB          54        ‐   B510    2GX4 DDR3 SDRAM                MICRON      MIX                       MOD
SIP001   Sipi Metals Corpo2GX4 DDR3 SDRAM‐0010   NB          36        ‐   B510    2GX4 DDR3 SDRAM                SK HYNIX    H5TQ8G43AMR‐RDC           MOD
SIP001   Sipi Metals Corpo2GX4 DDR3 SDRAM‐0010   NB          36        ‐   B535    2GX4 DDR3 SDRAM                MICRON      MIX                       MOD
SIP001   Sipi Metals Corpo1GX4 DDR3 SDRAM‐0010   NB         144        ‐   B535    1GX4 DDR3 SDRAM                ELPIDA      MIX                       MOD
SIP001   Sipi Metals Corpo2GX4 DDR3 SDRAM‐0010   NB       1,260        ‐   B535    2GX4 DDR3 SDRAM                SAMSUNG     MIX                       MOD
SIP001   Sipi Metals Corpo1GX4 DDR3 SDRAM‐0010   NB         252        ‐   B535    1GX4 DDR3 SDRAM                KINGSTON    MIX                       MOD
SIP001   Sipi Metals Corpo2GX4 DDR3 SDRAM‐0010   NB         576        ‐   B535    2GX4 DDR3 SDRAM                MICRON      D9PZB=MT41K2G4TRF‐125:E   MOD
SIP001   Sipi Metals Corpo4GX4 DDR3 SDRAM‐0010   NB       1,188        ‐   B535    4GX4 DDR3 SDRAM                SAMSUNG     MIX                       MOD
SIP001   Sipi Metals Corpo256X16 DDR4 SDRAM‐01   NB           8        ‐   B581    256X16 DDR4 SDRAM              SAMSUNG     K4A4G165WE‐BCRC           MOD
TAN001   Jason Tang       MOTHERBOARD‐DT         PB          10        ‐   14377   MOTHERBOARD                    HP          681957‐001                NEW
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                                                                                    Belmont Trading Co., Inc.
                                                                                           Liquidation values


Sys No             Description          DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr     Depr This Run   Current YTD Depr   Current Accum Depr   Liquidation Values
G/L Accum Acct No = 160009
000370 Laptop for Alex Y                MT200      10/01/11      05 00       $ 1,771.21                           $ 1,771.21          $ 0.00             $ 0.00           $ 1,771.21
000378 Storage for new NAV serv         MT200      10/01/11      05 00        10,343.53                            10,343.53            0.00               0.00            10,343.53
000434 Avaya phone system               MT200      03/15/14      05 00        27,629.38                            27,629.38            0.00               0.00            27,629.38
000440 Various items for Security       MT200      03/15/14      05 00        11,909.73                            11,909.73            0.00               0.00            11,909.73
000443 Handheld reader and scan         MT200      06/30/14      05 00           544.44                               544.44            0.00               0.00               544.44
000493 HP D6000 Disk enclosure          MT200      09/30/15      05 00         6,804.01                             6,804.01            0.00               0.00             6,804.01
000496 HP D6000 I/O Module Op           MT200      10/31/15      05 00         1,629.84                             1,629.84            0.00               0.00             1,629.84
000567 HPE ProLiant BL460c Ge           MT200      08/31/16      05 00         5,566.67                             5,566.67            0.00               0.00             5,566.67
000598 HPE ProLiant BL460c Ge           MT200      10/31/16      05 00         5,076.53                             5,076.53            0.00               0.00             5,076.53
000608 Batteries for UPS                MT200      11/30/16      05 00         7,815.00                             7,815.00            0.00               0.00             7,815.00
001161 HP 727021-B21, NEW BL            MT200      06/30/20      05 00         6,000.00                             3,120.00           96.00             288.00             3,408.00
001258 APC Smart UPS X 3000 (2          MT200      12/31/21      05 00         4,090.33                               818.07          109.08             327.23             1,145.30
= 160009                                                                    $ 89,180.67                          $ 83,028.41        $ 205.08           $ 615.23          $ 83,643.64            25,000.00
 transfers                                                                         0.00                                 0.00                                                    0.00

Count = 0
t Subtotal                                                                  $ 89,180.67                          $ 83,028.41        $ 205.08           $ 615.23          $ 83,643.64
ount = 12


G/L Accum Acct No = 160019
000160 Anne's Office Furniture          MT200      10/01/98      07 00        $ 5,528.00                          $ 5,528.00          $ 0.00             $ 0.00           $ 5,528.00
000164 F&F Office Furniture             MT200      01/01/99      07 00          5,728.00                            5,728.00            0.00               0.00             5,728.00
000168 Furniture for Frances' Offi      MT200      08/01/99      07 00          2,343.00                            2,343.00            0.00               0.00             2,343.00
000169 Credenza for Anne's Offic        MT200      10/01/99      07 00            787.00                              787.00            0.00               0.00               787.00
000172 4 Shelf Wire Cart                MT200      01/01/00      07 00          1,899.00                            1,899.00            0.00               0.00             1,899.00
000175 4 Drawer Lateral File Cab        MT200      02/01/00      07 00            423.00                              423.00            0.00               0.00               423.00
000176 File Drawer Cabinet              MT200      02/01/00      07 00            336.00                              336.00            0.00               0.00               336.00
000183 Furniture for Dave & Mary        MT200      12/01/00      07 00          2,450.55                            2,450.55            0.00               0.00             2,450.55
000184 Shelf trucks                     MT200      01/01/01      07 00            598.49                              598.49            0.00               0.00               598.49
000187 Poly strapping machine           MT200      05/01/01      07 00          1,395.62                            1,395.25            0.00               0.00             1,395.25
000251 Battery for Crown SC30           MT200      05/03/03      07 00          2,693.75                            2,693.75            0.00               0.00             2,693.75
000252 Memory tester                    MT200      08/31/03      07 00          3,642.70                            3,642.70            0.00               0.00             3,642.70
000253 Rebuild motor for Crown 3        MT200      10/03/03      07 00          3,040.31                            3,040.31            0.00               0.00             3,040.31
000256 Parts counter PC250              MT200      12/01/04      07 00          1,795.00                            1,794.75            0.00               0.00             1,794.75
000257 Nexel wire shelving              MT200      12/01/04      07 00          2,232.36                            2,232.36            0.00               0.00             2,232.36
000261 Garrett PD6500i metal de         MT200      10/05/05      07 00          4,274.44                            4,274.22            0.00               0.00             4,274.22
000262 Lease # 35082                    MT200      02/01/06      07 00         23,856.42                           23,856.42            0.00               0.00            23,856.42
000264 DDR2 adapter w/universa          MT200      05/01/06      07 00          6,600.00                            6,599.52            0.00               0.00             6,599.52
000265 DDR2 tester set w/univers        MT200      07/01/06      07 00          6,095.00                            6,095.00            0.00               0.00             6,095.00
000266 Office cresent shaped tab        MT200      08/01/06      07 00          1,867.54                            1,867.31            0.00               0.00             1,867.31
000273 DDR2+1 memory tester             MT200      05/01/07      07 00          4,345.00                            4,264.35            0.00               0.00             4,264.35
000275 Storage cabinets wire she        MT200      02/01/08      07 00          3,795.15                            3,795.15            0.00               0.00             3,795.15
000276 Furniture for Alex G/Alex C      MT200      02/01/08      07 00          2,973.78                            2,973.78            0.00               0.00             2,973.78
000277 Weigh scale                      MT200      10/01/08      07 00          1,530.00                            1,530.00            0.00               0.00             1,530.00
000344 Furniture for Era Dr whse        MT200      10/31/09      07 00          3,596.52                            3,596.52            0.00               0.00             3,596.52
000347 Viper Battery Floor Scrubb       MT200      10/31/09      07 00          3,211.86                            3,211.86            0.00               0.00             3,211.86
000363 Crown lift truck SC4520-3        MT200      11/01/10      07 00         31,418.00                           31,418.00            0.00               0.00            31,418.00
000373 Work benches for PB (2)          MT200      07/01/11      07 00          1,961.55                            1,961.55            0.00               0.00             1,961.55
000403 Battery for forklift - SN 020    MT200      12/31/12      07 00          2,748.25                            2,748.25            0.00               0.00             2,748.25
000418 New work benches for 900         MT200      01/31/14      07 00         12,260.75                           12,260.75            0.00               0.00            12,260.75
000419 Walkie pallet truck              MT200      01/31/14      07 00          4,358.91                            4,358.91            0.00               0.00             4,358.91
000420 Battery for Clark lift truck     MT200      01/31/14      07 00          2,268.12                            2,268.12            0.00               0.00             2,268.12
000423 Production stools (20)           MT200      02/28/14      07 00          2,182.45                            2,182.45            0.00               0.00             2,182.45
000425 Cubicles and furniture           MT200      03/15/14      07 00         75,999.93                           75,999.93            0.00               0.00            75,999.93
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                                                                                    Belmont Trading Co., Inc.
                                                                                           Liquidation values


Sys No             Description          DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr     Current Accum Depr    Liquidation Values
000427 Crown Reach Trucks (2)           MT200      03/17/14      07 00         56,106.00                            56,106.00             0.00                 0.00             56,106.00
000435 Stools and workbenches           MT200      04/30/14      07 00          3,239.16                             3,239.16             0.00                 0.00              3,239.16
000436 Conf room chairs, misc fur       MT200      04/30/14      07 00          3,529.03                             3,529.03             0.00                 0.00              3,529.03
000437 New office chairs                MT200      04/30/14      07 00          2,280.89                             2,280.89             0.00                 0.00              2,280.89
000444 Conveyor 24" x 96"               MT200      04/30/14      07 00          9,393.24                             9,393.24             0.00                 0.00              9,393.24
000447 Office chairs (4), door for L    MT200      07/31/14      07 00          2,218.60                             2,218.60             0.00                 0.00              2,218.60
000448 Used misc ReCellular equ         MT200      07/31/14      07 00          2,580.00                             2,580.00             0.00                 0.00              2,580.00
000451 Two pc sectional, two brow       MT200      09/30/14      07 00          4,639.98                             4,639.98             0.00                 0.00              4,639.98
000453 Lockers - double tier            MT200      10/31/14      07 00          1,091.50                             1,091.50             0.00                 0.00              1,091.50
000475 J Morrow cubicle upgrade         MT200      05/31/15      07 00          3,097.55                             2,959.39            23.03                69.08              3,028.47
000490 Cage by docks                    MT200      08/31/15      07 00          6,995.60                             6,683.60            52.00               156.00              6,839.60
000500 Refrigerators - 4                MT200      11/30/15      07 00          6,385.81                             6,101.01            47.47               142.41              6,243.42
000513 Cubicle expansion                MT200      01/31/16      07 00         31,412.09                            27,206.02           233.76               701.28             27,907.30
000514 Benches, stools, etc. for E      MT200      01/31/16      07 00          7,143.76                             6,187.21            53.17               159.49              6,346.70
000531 Whiteboards                      MT200      04/30/16      07 00          9,302.95                             8,057.27            69.23               207.69              8,264.96
000545 Copper wire stripping mac        MT200      05/31/16      07 00          1,499.99                             1,299.15            11.16                33.49              1,332.64
000609 HD floor scrubber 20"            MT200      11/30/16      07 00          4,939.00                             4,277.66            36.75               110.26              4,387.92
000636 Battery for Crown lift truck     MT200      02/28/17      07 00          4,544.65                             3,530.75            33.79               101.35              3,632.10
000678 Rebuild motor                    MT200      04/30/17      07 00          1,408.47                             1,094.25            10.47                31.41              1,125.66
000713 Plastice shelf bins              MT200      07/31/17      07 00          2,638.78                             2,050.05            19.62                58.85              2,108.90
000714 Wire shelf trucks                MT200      07/31/17      07 00          3,771.43                             2,930.02            28.03                84.10              3,014.12
000750 Additions to the IP CCTV         MT200      09/30/17      07 00         11,372.00                             8,834.90            84.54               253.60              9,088.50
000968 Battery Model 18-85-17           MT200      10/31/18      07 00          5,053.92                             3,475.08            37.61               112.83              3,587.91
001110 Phillips Onsite CPR/AED          MT200      07/31/19      07 00          1,315.00                               739.94            13.69                41.06                781.00
001152 13 new cameras for the w         MT200      04/30/20      07 00          4,745.00                             1,840.11            69.16               207.48              2,047.59
001198 Fix compactor - 555 Heuh         MT200      03/31/21      07 00          7,811.50                             1,116.26           159.42               478.26              1,594.52
001203 Apex racking for 555 Hueh        MT200      04/30/21      07 00       127,140.00                             18,168.31         2,594.72             7,784.15             25,952.46
001221 Carpeting and installation       MT200      12/31/21      07 00         77,244.29                            11,038.21         1,576.42             4,729.28             15,767.49   leased
001228 Apex floor mounts for 555        MT200      08/31/21      07 00          5,347.00                               764.09           109.12               327.37              1,091.46
001229 Refrigerator, 2 dishwashe        MT200      08/31/21      07 00          2,980.83                               425.96            60.83               182.50                608.46
001239 Compressor                       MT200      10/31/21      07 00         15,567.70                             2,224.63           317.71               953.13              3,177.76
001259 Furniture and flooring           SLMM       12/31/21      07 00          7,355.97                                 0.00            87.57               262.71                262.71
= 160019                                                                   $ 664,388.14                          $ 436,236.52      $ 5,729.27          $ 17,187.78           $ 453,424.30            200,000.00
 transfers                                                                          0.00                                 0.00                                                        0.00

Count = 0
t Subtotal                                                                 $ 664,388.14                         $ 436,236.52       $ 5,729.27          $ 17,187.78           $ 453,424.30
ount = 66


G/L Accum Acct No = 160039
000441 Reception sign                   SLFM       05/31/14     07 00         $ 1,861.08                          $ 1,861.08           $ 0.00                $ 0.00            $ 1,861.08
000442 Outside signage                  SLFM       05/31/14     07 00           2,900.66                            2,900.66             0.00                  0.00              2,900.66
000449 Picture framing - shipping       SLFM       07/31/14     07 00           1,393.39                            1,393.39             0.00                  0.00              1,393.39
000450 Picture framing - general o      SLFM       08/31/14     07 00           5,067.78                            5,067.78             0.00                  0.00              5,067.78
000569 New Mitsubishi unit for se       SLFM       08/31/16     04 07          11,970.00                           11,970.00             0.00                  0.00             11,970.00
001211 Warehouse lights at 555 H        SLFM       06/30/21     07 00           4,890.00                              407.50            58.22                174.64                582.14
001212 HVAC units at 555 Huehl          SLFM       06/30/21     07 00          39,552.00                            3,296.00           470.86              1,412.57              4,708.57
001213 Security system at 555 Hu        SLFM       06/30/21     07 00          43,836.00                            3,653.00           521.86              1,565.57              5,218.57
001230 Fire alarm installation          SLFM       10/31/21     07 00          14,784.00                              528.00           176.00                528.00              1,056.00
001231 2nd floor tile                   SLFM       10/31/21     07 00          18,968.60                              677.45           225.82                677.45              1,354.90
001232 Seal and finish concrete fl      SLFM       10/31/21     07 00          12,500.00                              446.43           148.81                446.43                892.86
001233 Electrical lines, receptable     SLFM       10/31/21     07 00           8,520.00                              304.29           101.43                304.28                608.57
001240 Fix pipe and reroute concr       SLFM       10/31/21     07 00           6,771.00                              241.82            80.61                241.82                483.64
001241 Electrical work - WH switc       SLFM       10/31/21     07 00           5,582.00                              199.36            66.45                199.35                398.71
001246 New locks and keys for 55        SLFM       11/30/21     07 00           5,215.10                              124.17            62.08                186.25                310.42
                                                                                           Exhibit D
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                                                                                         Liquidation values


Sys No             Description        DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr     Current Accum Depr    Liquidation Values
001247 Link 2 doors to fire system    SLFM       11/30/21      07 00          2,330.00                                55.48            27.74                83.21                138.69
001248 Security system at 555         SLFM       11/30/21      07 00         39,170.00                               932.62           466.31             1,398.93              2,331.55
001249 Electrical work                SLFM       11/30/21      07 00          2,800.00                                66.67            33.34               100.00                166.67
001256 NB - new compressor RTU        SLFM       11/30/21      07 00          6,743.00                               160.55            80.28               240.82                401.37
001260 Electrical work - NB exit s    SLMM       12/31/21      07 00          7,520.00                                 0.00            89.53               268.57                268.57
001261 Electrical work - whse ligh    SLMM       12/31/21      07 00          7,515.00                                 0.00            89.47               268.39                268.39
001262 Add'l flooring                 SLMM       12/31/21      07 00          2,610.08                                 0.00            31.07                93.21                 93.21
001263 Fire alarm equipment           SLMM       12/31/21      07 00          8,612.00                                 0.00           102.53               307.57                307.57
001264 Add'l locks and keys for 55    SLFM       12/31/21      07 00          1,916.50                                22.82            22.81                68.44                 91.26
001265 Update bathrooms               SLFM       12/31/21      07 00          1,572.00                                18.72            18.72                56.14                 74.86
001266 Dock door                      SLFM       12/31/21      07 00          3,400.00                                40.48            40.48               121.43                161.91
001267 Painting                       SLFM       12/31/21      07 00         32,835.00                               390.89           390.90             1,172.68              1,563.57
001268 Lightbulbs for whse            SLFM       12/31/21      07 00          8,497.50                               101.16           101.16               303.48                404.64
= 160039                                                                 $ 309,332.69                           $ 34,860.32      $ 3,406.48          $ 10,219.23            $ 45,079.55            50,000.00
 transfers                                                                        0.00                                 0.00                                                        0.00

Count = 0
t Subtotal                                                               $ 309,332.69                          $ 34,860.32       $ 3,406.48          $ 10,219.23            $ 45,079.55
ount = 28


G/L Accum Acct No = 160049
000293 Add'l Citrix licenses (5)      SLFM       06/03/03     03 00         $ 1,419.44                          $ 1,419.44           $ 0.00               $ 0.00             $ 1,419.44
000296 FAS 100 Asset 1/2              SLFM       08/01/08     03 00           1,607.58                            1,607.58             0.00                 0.00               1,607.58
000297 Studebaker                     SLFM       11/01/99     05 00          97,860.00                           97,860.00             0.00                 0.00              97,860.00
000298 Studebaker                     SLFM       12/01/99     05 00           5,631.00                            5,631.00             0.00                 0.00               5,631.00
000299 Studebaker                     SLFM       01/01/00     05 00          19,418.00                           19,418.00             0.00                 0.00              19,418.00
000300 Studebaker                     SLFM       02/01/00     05 00          19,819.00                           19,819.00             0.00                 0.00              19,819.00
000301 Studebaker                     SLFM       03/01/00     05 00          21,807.00                           21,807.00             0.00                 0.00              21,807.00
000302 Studebaker                     SLFM       04/01/00     05 00          11,306.00                           11,306.00             0.00                 0.00              11,306.00
000304 Studebaker                     SLFM       05/01/00     05 00             475.00                              475.00             0.00                 0.00                 475.00
000305 Studebaker                     SLFM       06/01/00     05 00           3,775.00                            3,775.00             0.00                 0.00               3,775.00
000306 Studebaker                     SLFM       07/01/00     05 00           7,556.00                            7,556.00             0.00                 0.00               7,556.00
000307 Studebaker                     SLFM       09/01/00     05 00           3,753.75                            3,753.75             0.00                 0.00               3,753.75
000308 Studebaker                     SLFM       10/01/00     05 00           5,917.50                            5,917.50             0.00                 0.00               5,917.50
000309 Studebaker                     SLFM       11/01/00     05 00          17,315.00                           17,315.00             0.00                 0.00              17,315.00
000310 Studebaker                     SLFM       12/01/00     05 00           7,206.25                            7,206.25             0.00                 0.00               7,206.25
000311 ICS                            SLFM       01/01/01     05 00           2,175.00                            2,175.00             0.00                 0.00               2,175.00
000312 ICS                            SLFM       02/01/01     05 00           7,876.25                            7,876.25             0.00                 0.00               7,876.25
000313 ICS (Adjust = -4488.45)        SLFM       03/01/01     05 00           2,025.30                            2,025.30             0.00                 0.00               2,025.30
000314 ICS add'l sessions - 4         SLFM       08/01/01     05 00           6,164.40                            6,164.40             0.00                 0.00               6,164.40
000315 ICS add'l sessions - 2         SLFM       12/01/01     05 00           3,216.40                            3,216.40             0.00                 0.00               3,216.40
000316 ICS                            SLFM       04/02/02     05 00           3,440.00                            3,440.00             0.00                 0.00               3,440.00
000317 ICS add'l sessions - 3         SLFM       06/02/02     05 00           4,351.60                            4,351.60             0.00                 0.00               4,351.60
000318 ICS                            SLFM       07/01/02     05 00          12,699.10                           12,699.10             0.00                 0.00              12,699.10
000319 ICS                            SLFM       08/01/02     05 00           2,371.25                            2,371.25             0.00                 0.00               2,371.25
000320 ICS                            SLFM       09/01/02     05 00           1,100.00                            1,100.00             0.00                 0.00               1,100.00
000321 ICS                            SLFM       03/31/03     05 00           5,024.50                            5,024.50             0.00                 0.00               5,024.50
000322 ICS                            SLFM       05/03/03     05 00           4,203.25                            4,203.25             0.00                 0.00               4,203.25
000323 ICS                            SLFM       07/03/03     05 00           7,098.75                            7,098.75             0.00                 0.00               7,098.75
000324 ICS                            SLFM       08/03/03     05 00           1,841.88                            1,841.88             0.00                 0.00               1,841.88
000325 ICS                            SLFM       09/03/03     05 00           2,516.25                            2,516.25             0.00                 0.00               2,516.25
000326 ICS                            SLFM       05/01/05     05 00           2,475.00                            2,475.00             0.00                 0.00               2,475.00
000327 ICS add'l sessions - 2         SLFM       05/01/05     05 00           3,564.49                            3,564.49             0.00                 0.00               3,564.49
000328 Navision 3.7 upgrade - in      SLFM       08/01/05     05 00          35,798.67                           35,798.67             0.00                 0.00              35,798.67
000329 Add'l upgrade costs - in sv    SLFM       12/01/05     05 00          15,311.50                           15,311.50             0.00                 0.00              15,311.50
                                                                                             Exhibit D
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                                                                                    Belmont Trading Co., Inc.
                                                                                           Liquidation values


Sys No               Description        DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr    Current Accum Depr    Liquidation Values
000330   Tables reports and forms       SLFM       03/01/06      05 00          1,415.32                             1,415.32             0.00                0.00              1,415.32
000331   ICS                            SLFM       04/01/06      05 00          2,211.25                             2,211.25             0.00                0.00              2,211.25
000332   ICS                            SLFM       01/31/07      05 00          3,045.00                             3,045.00             0.00                0.00              3,045.00
000333   ICS - MPN enhancements         SLFM       03/01/07      05 00          2,805.00                             2,805.00             0.00                0.00              2,805.00
000334   ICS - MPN enhancements         SLFM       04/01/07      05 00          3,145.00                             3,145.00             0.00                0.00              3,145.00
000335   ICS - MPN enhancements         SLFM       05/01/07      05 00          2,635.00                             2,634.67             0.00                0.00              2,634.67
000336   ICS - MPN enhancements         SLFM       08/01/07      05 00          2,210.00                             2,209.83             0.00                0.00              2,209.83
000337   ICS - various projects         SLFM       10/01/07      05 00          1,275.00                             1,275.00             0.00                0.00              1,275.00
000338   ICS - MPN enhancements         SLFM       11/01/07      05 00            850.00                               849.67             0.00                0.00                849.67
000340   Navision Support & Devel       SLMM       12/15/08      05 00          1,225.00                             1,225.00             0.00                0.00              1,225.00
000341   Symantec backup Exec S         SLFM       05/07/09      03 00          1,214.61                             1,214.61             0.00                0.00              1,214.61
000342   Various projects               SLMM       06/15/09      05 00          7,110.00                             7,110.00             0.00                0.00              7,110.00
000343   Various projects               SLMM       08/31/09      05 00          1,080.00                             1,080.00             0.00                0.00              1,080.00
000346   Various projects               SLFM       10/31/09      05 00          1,125.00                             1,125.00             0.00                0.00              1,125.00
000349   Misc and Labor exp projec      SLFM       12/31/09      05 00          2,385.00                             2,385.00             0.00                0.00              2,385.00
000351   Add'l misc and labor proje     SLFM       01/01/10      05 00          1,890.00                             1,890.00             0.00                0.00              1,890.00
000353   Cert of Erasure project        SLFM       02/01/10      05 00          1,341.25                             1,341.25             0.00                0.00              1,341.25
000357   Lot settlement project         SLFM       05/15/10      05 00          1,110.00                             1,110.00             0.00                0.00              1,110.00
000360   Xen App/Office                 SLFM       10/31/10      03 00          9,314.25                             9,314.25             0.00                0.00              9,314.25
000361   AP to AP transfer              SLFM       08/31/10      05 00          1,110.00                             1,110.00             0.00                0.00              1,110.00
000362   Belmont takeback - websi       SLFM       09/30/10      05 00          1,950.00                             1,950.00             0.00                0.00              1,950.00
000364   Inventory report for Alex C    SLFM       01/31/11      05 00          1,017.50                             1,017.50             0.00                0.00              1,017.50
000365   SQL server/Windows serv        SLFM       07/01/11      03 00         15,932.99                            15,932.99             0.00                0.00             15,932.99
000367   XenApp Advanced                SLFM       04/01/11      03 00          1,377.10                             1,377.10             0.00                0.00              1,377.10
000368   Work order request             SLFM       04/01/11      05 00          5,320.00                             5,320.00             0.00                0.00              5,320.00
000369   Excel part inquiry update      SLFM       04/01/11      05 00          1,235.00                             1,235.00             0.00                0.00              1,235.00
000374   Work order project             SLFM       07/01/11      05 00          1,045.00                             1,045.00             0.00                0.00              1,045.00
000375   Various projects               SLFM       07/01/11      05 00          2,517.50                             2,517.50             0.00                0.00              2,517.50
000376   Flextronics modifications      SLFM       07/01/11      05 00          1,710.00                             1,710.00             0.00                0.00              1,710.00
000377   Work order project             SLFM       07/01/11      05 00          1,710.00                             1,710.00             0.00                0.00              1,710.00
000380   Various projects               SLFM       07/31/11      05 00          1,282.50                             1,282.50             0.00                0.00              1,282.50
000383   Citrix upgrade                 SLFM       09/30/11      03 00          3,182.21                             3,182.21             0.00                0.00              3,182.21
000398   BTC go-live support costs      SLFM       09/30/12      05 00          3,430.00                             3,430.00             0.00                0.00              3,430.00
000400   BTC go-live support costs      SLFM       12/31/12      05 00          8,122.00                             8,122.00             0.00                0.00              8,122.00
000401   BTC go-live support costs      SLFM       12/31/12      05 00          2,387.50                             2,387.50             0.00                0.00              2,387.50
000405   BTC go-live support costs      SLFM       02/28/13      05 00          3,470.00                             3,470.00             0.00                0.00              3,470.00
000407   Various projects               SLFM       05/31/13      05 00          3,778.25                             3,778.25             0.00                0.00              3,778.25
000408   Various projects               SLFM       05/31/13      05 00          6,303.00                             6,303.00             0.00                0.00              6,303.00
000409   Lot settlement to Excel        SLFM       05/31/13      05 00          2,575.50                             2,575.50             0.00                0.00              2,575.50
000410   Work order/reassing lot en     SLFM       05/31/13      05 00          2,171.50                             2,171.50             0.00                0.00              2,171.50
000411   Automate PDF/Lot summ          SLFM       06/30/13      05 00          4,150.50                             4,150.50             0.00                0.00              4,150.50
000412   Automate PDF/Work Orde         SLFM       06/30/13      05 00          4,696.50                             4,696.50             0.00                0.00              4,696.50
000413   Various projects               SLFM       06/30/13      05 00          2,144.25                             2,144.25             0.00                0.00              2,144.25
000414   Various projects               SLFM       07/31/13      05 00          4,090.50                             4,090.50             0.00                0.00              4,090.50
000415   Work order revisions           SLFM       09/30/13      05 00          1,464.50                             1,464.50             0.00                0.00              1,464.50
000416   Work order/void check          SLFM       09/30/13      05 00          6,282.50                             6,282.50             0.00                0.00              6,282.50
000417   Work order revisions/Sale      SLFM       10/31/13      05 00          3,282.50                             3,282.50             0.00                0.00              3,282.50
000452   Cell phone project             SLFM       09/30/14      05 00          6,783.52                             6,783.52             0.00                0.00              6,783.52
000455   Problem to reverse transa      SLFM       12/31/14      05 00          3,674.25                             3,674.25             0.00                0.00              3,674.25
000456   Work orders vs. cell phone     SLFM       01/31/15      05 00          1,230.50                             1,230.50             0.00                0.00              1,230.50
000457   Modify work orders w/purc      SLFM       01/31/15      05 00          1,337.50                             1,337.50             0.00                0.00              1,337.50
000458   Added vendor # to salesp       SLFM       02/28/15      05 00          1,177.00                             1,177.00             0.00                0.00              1,177.00
000459   Add Cust + Due dates to W      SLFM       02/28/15      05 00          1,070.00                             1,070.00             0.00                0.00              1,070.00
000460   Excel part inquiry improve     SLFM       02/28/15      05 00          1,765.50                             1,765.50             0.00                0.00              1,765.50
000461   Import function enhancem       SLFM       02/28/15      05 00          1,337.50                             1,337.50             0.00                0.00              1,337.50
000462   Minimum pricing changes        SLFM       02/28/15      05 00          1,123.50                             1,123.50             0.00                0.00              1,123.50
000463   New bins function              SLFM       02/28/15      05 00          1,123.50                             1,123.50             0.00                0.00              1,123.50
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                                                                                             Liquidation values


Sys No               Description          DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr     Current Accum Depr    Liquidation Values
000464   Production entry import 1        SLFM       02/28/15      05 00          2,942.50                             2,942.50             0.00                 0.00              2,942.50
000465   Adj work order priorities +      SLFM       02/28/15      05 00          2,033.00                             2,033.00             0.00                 0.00              2,033.00
000466   Codeunits (100) and Tabl         SLFM       02/28/15      05 00          1,929.63                             1,929.63             0.00                 0.00              1,929.63
000467   BDIR/DIR                         SLFM       03/31/15      05 00          2,568.00                             2,568.00             0.00                 0.00              2,568.00
000468   Item ledger Entry - vendor       SLFM       03/31/15      05 00          1,498.00                             1,498.00             0.00                 0.00              1,498.00
000469   Price quoted by                  SLFM       03/31/15      05 00          1,123.50                             1,123.50             0.00                 0.00              1,123.50
000470   Excel Part Inquiry               SLFM       03/31/15      05 00          1,284.00                             1,284.00             0.00                 0.00              1,284.00
000471   Cost adjustments                 SLFM       04/30/15      05 00          1,765.50                             1,765.50             0.00                 0.00              1,765.50
000472   Excel Part Inquiry               SLFM       04/30/15      05 00          1,337.50                             1,337.50             0.00                 0.00              1,337.50
000473   Lot Control List                 SLFM       04/30/15      05 00          7,062.00                             7,062.00             0.00                 0.00              7,062.00
000474   Inventory costs                  SLFM       04/30/15      05 00          5,510.50                             5,510.50             0.00                 0.00              5,510.50
000477   Labor time                       SLFM       05/31/15      05 00          1,979.50                             1,979.50             0.00                 0.00              1,979.50
000478   Sales inquiry pricing            SLFM       05/31/15      05 00          2,193.50                             2,193.50             0.00                 0.00              2,193.50
000481   Database cleanup                 SLFM       07/31/15      05 00          1,712.00                             1,712.00             0.00                 0.00              1,712.00
000482   Lot control - list speed         SLFM       07/31/15      05 00          1,551.50                             1,551.50             0.00                 0.00              1,551.50
000483   Lot control - list calculated    SLFM       07/31/15      05 00          1,444.50                             1,444.50             0.00                 0.00              1,444.50
000505   Whse rec., pick and shipm        SLFM       12/31/15      05 00          4,465.23                             4,465.23             0.00                 0.00              4,465.23
000506   Scrap cost/revenue chang         SLFM       12/31/15      05 00          3,852.00                             3,852.00             0.00                 0.00              3,852.00
000518   IL various NAV projects          SLFM       05/31/13      05 00         17,926.21                            17,926.21             0.00                 0.00             17,926.21
000562   Various projects                 SLFM       07/31/16      05 00          5,886.75                             5,886.75             0.00                 0.00              5,886.75
000572   PB report changes                SLFM       08/31/16      05 00          1,349.50                             1,349.50             0.00                 0.00              1,349.50
000573   Salesperson sales by lot r       SLFM       08/31/16      05 00          2,099.50                             2,099.50             0.00                 0.00              2,099.50
000574   Process-design work              SLFM       08/31/16      05 00         19,720.00                            19,720.00             0.00                 0.00             19,720.00
000575   Lobby application                SLFM       08/31/16      05 00         17,000.00                            17,000.00             0.00                 0.00             17,000.00
000576   Process work                     SLFM       08/31/16      05 00          9,158.75                             9,158.75             0.00                 0.00              9,158.75
000577   Process work                     SLFM       08/31/16      05 00          2,040.00                             2,040.00             0.00                 0.00              2,040.00
000578   training docs                    SLFM       08/31/16      05 00          7,458.75                             7,458.75             0.00                 0.00              7,458.75
000580   BA work                          SLFM       09/30/16      05 00          4,313.75                             4,313.75             0.00                 0.00              4,313.75
000581   Add entry nos. to lot ledge      SLFM       09/30/16      05 00          2,762.50                             2,762.50             0.00                 0.00              2,762.50
000582   Hist data maintenance se         SLFM       09/30/16      05 00          2,820.75                             2,820.75             0.00                 0.00              2,820.75
000583   Non-serialized inventory r       SLFM       09/30/16      05 00          1,964.50                             1,964.50             0.00                 0.00              1,964.50
000584   COA revision                     SLFM       09/30/16      05 00          1,270.75                             1,270.75             0.00                 0.00              1,270.75
000585   S/U resourceson sales inv        SLFM       09/30/16      05 00          6,464.25                             6,464.25             0.00                 0.00              6,464.25
000586   Salesperson sales by lot r       SLFM       09/30/16      05 00          3,701.75                             3,701.75             0.00                 0.00              3,701.75
000587   PB inv report changes            SLFM       09/30/16      05 00          1,105.00                             1,105.00             0.00                 0.00              1,105.00
000588   Resource to lot ledger rev       SLFM       09/30/16      05 00          1,160.25                             1,160.25             0.00                 0.00              1,160.25
000589   Default dimension value a        SLFM       09/30/16      05 00          3,960.00                             3,960.00             0.00                 0.00              3,960.00
000599   Various projects                 SLFM       10/31/16      05 00          8,520.00                             8,520.00             0.00                 0.00              8,520.00
000600   Various projects                 SLFM       10/31/16      05 00          2,377.50                             2,377.50             0.00                 0.00              2,377.50
000601   Various projects                 SLFM       10/31/16      05 00         17,183.75                            17,183.75             0.00                 0.00             17,183.75
000602   Lobby work                       SLFM       10/31/16      05 00          3,000.00                             3,000.00             0.00                 0.00              3,000.00
000617   Price discrepancy adj            SLFM       12/31/16      05 00          1,768.00                             1,768.00             0.00                 0.00              1,768.00
000618   Misc projects                    SLFM       12/31/16      05 00          6,947.00                             6,947.00             0.00                 0.00              6,947.00
000637   Flex report modifications        SLFM       02/28/17      05 00          2,793.00                             2,746.45             0.00                46.55              2,793.00
000679   Purch commission report          SLFM       05/31/17      05 00          1,596.00                             1,489.60            26.60                79.80              1,569.40
000680   New Ericsson settlement          SLFM       05/31/17      05 00          2,223.00                             2,074.80            37.05               111.15              2,185.95
000681   General journal import           SLFM       05/31/17      05 00          1,239.00                             1,156.40            20.65                61.95              1,218.35
000682   Portal, KPI changes              SLFM       05/31/17      05 00          4,142.05                             3,865.91            69.03               207.10              4,073.01
000683   Portal, Opa and selling KP       SLFM       05/31/17      05 00          2,960.00                             2,762.67            49.33               147.99              2,910.66
000684   Portal, data whse changes        SLFM       05/31/17      05 00          8,918.75                             8,324.17           148.64               445.93              8,770.10
000698   Portal, data whse and KPI        SLFM       06/30/17      05 00          6,587.50                             6,038.54           109.79               329.37              6,367.91
000699   BRL NAV sessions (10)            SLFM       06/30/17      05 00         34,500.61                            31,625.55           575.01             1,725.03             33,350.58
000700   Portal, data whse and KPI        SLFM       06/30/17      05 00          9,540.00                             8,745.00           159.00               477.00              9,222.00
000701   Portal, data whse and KPI        SLFM       06/30/17      05 00          7,318.75                             6,708.86           121.98               365.94              7,074.80
000702   Portal, data whse and KPI        SLFM       06/30/17      05 00          4,265.00                             3,909.58            71.09               213.25              4,122.83
000703   Bomgar license                   SLFM       06/30/17      05 00          2,645.58                             2,425.13            44.10               132.28              2,557.41
000716   Portal, data whse and KPI        SLFM       07/31/17      05 00          6,858.75                             6,172.88           114.32               342.94              6,515.82
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                                                                                        Liquidation values


Sys No             Description       DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr     Current Accum Depr    Liquidation Values
000717 Portal, data whse             SLFM       07/31/17      05 00          7,260.00                             6,534.00           121.00               363.00              6,897.00
000718 Portal                        SLFM       07/31/17      05 00         12,060.00                            10,854.00           201.00               603.00             11,457.00
000719 KPI changes                   SLFM       07/31/17      05 00          4,621.25                             4,159.13            77.02               231.06              4,390.19
000720 OPS and Sales KPI chang       SLFM       07/31/17      05 00          4,162.50                             3,746.25            69.37               208.12              3,954.37
000721 Documentation                 SLFM       07/31/17      05 00         13,175.00                            11,857.50           219.59               658.75             12,516.25
000807 EU improvements - scrap       SLFM       11/30/17      05 00          3,933.00                             3,277.50            65.55               196.65              3,474.15
000808 BRL NAV sessions (20)         SLFM       11/30/17      05 00         74,811.63                            62,343.04         1,246.86             3,740.58             66,083.62
000822 Add currency/bank info to     SLFM       01/31/18      05 00          2,996.25                             2,397.00            49.94               149.81              2,546.81
000858 Add'l tables (100) and pag    SLFM       03/31/18      05 00          1,905.48                             1,460.88            31.76                95.27              1,556.15
000881 EU - Tables (10)              SLFM       04/30/18      05 00          1,778.85                             1,334.14            29.65                88.94              1,423.08
000882 UK ITAM improvements          SLFM       04/30/18      05 00         20,033.75                            15,025.31           333.89             1,001.68             16,026.99
000914 UK ITAM settlement work       SLFM       06/28/18      05 00          2,643.75                             1,894.69            44.06               132.18              2,026.87
000923 BA Work                       SLFM       07/31/18      05 00          2,720.00                             1,904.00            45.34               136.00              2,040.00
000924 BA Work                       SLFM       07/31/18      05 00          2,720.00                             1,904.00            45.34               136.00              2,040.00
000925 BA Work                       SLFM       07/31/18      05 00          1,360.00                               952.00            22.67                68.00              1,020.00
000926 BA Work                       SLFM       07/31/18      05 00          2,040.00                             1,428.00            34.00               102.00              1,530.00
000927 BA Work                       SLFM       07/31/18      05 00          2,040.00                             1,428.00            34.00               102.00              1,530.00
000945 BA Work                       SLFM       08/31/18      05 00         13,600.00                             9,293.33           226.67               680.00              9,973.33
000965 BA Work                       SLFM       10/31/18      05 00          2,720.00                             1,768.00            45.34               136.00              1,904.00
000966 BA Work                       SLFM       10/31/18      05 00          2,040.00                             1,326.00            34.00               102.00              1,428.00
000967 BA Work                       SLFM       10/31/18      05 00          3,400.00                             2,210.00            56.67               170.00              2,380.00
000982 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000983 BA Work                       SLFM       12/31/18      05 00          2,040.00                             1,258.00            34.00               102.00              1,360.00
000984 BA Work                       SLFM       12/31/18      05 00          2,720.00                             1,677.33            45.34               136.00              1,813.33
000985 BA Work                       SLFM       12/31/18      05 00          2,720.00                             1,677.33            45.34               136.00              1,813.33
000986 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000987 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000988 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000989 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000990 BA Work                       SLFM       12/31/18      05 00          3,060.00                             1,887.00            51.00               153.00              2,040.00
000991 BA Work                       SLFM       12/31/18      05 00          2,040.00                             1,258.00            34.00               102.00              1,360.00
000992 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000993 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000994 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000995 BA Work                       SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
000996 BA Work                       SLFM       12/31/18      05 00          2,040.00                             1,258.00            34.00               102.00              1,360.00
001058 BA Work                       SLFM       01/31/19      05 00          2,720.00                             1,632.00            45.34               136.00              1,768.00
001059 BA Work                       SLFM       01/31/19      05 00          3,400.00                             2,040.00            56.67               170.00              2,210.00
001060 BA Work                       SLFM       01/31/19      05 00          3,400.00                             2,040.00            56.67               170.00              2,210.00
001061 BA Work                       SLFM       01/31/19      05 00          3,400.00                             2,040.00            56.67               170.00              2,210.00
001083 BA Work                       SLFM       03/31/19      05 00         28,657.50                            16,239.25           477.62             1,432.87             17,672.12
001092 BA Work                       SLFM       04/30/19      05 00         17,237.50                             9,480.63           287.29               861.87             10,342.50
001106 BA Work                       SLFM       06/30/19      05 00         18,080.00                             9,341.33           301.34               904.00             10,245.33
001111 BA Work                       SLFM       07/31/19      05 00         19,040.00                             9,520.00           317.34               952.00             10,472.00
001117 BA Work                       SLFM       08/31/19      05 00         17,000.00                             8,216.67           283.34               850.00              9,066.67
001123 BA Work                       SLFM       11/30/19      05 00         16,320.00                             7,072.00           272.00               816.00              7,888.00
001130 BA Work                       SLFM       12/31/19      05 00         37,800.00                            15,750.00           630.00             1,890.00             17,640.00
001137 BA Work                       SLFM       01/31/20      05 00         12,920.00                             5,168.00           215.34               646.00              5,814.00
001141 BA Work                       SLFM       02/29/20      05 00          6,800.00                             2,606.67           113.34               340.00              2,946.67
001145 BA Work                       SLFM       03/31/20      05 00         10,200.00                             3,740.00           170.00               510.00              4,250.00
001150 BA Work                       SLFM       04/30/20      05 00          3,400.00                             1,190.00            56.67               170.00              1,360.00
001156 BA Work                       SLFM       06/30/20      05 00         13,000.00                             4,116.67           216.67               650.00              4,766.67
001179 BA Work                       SLFM       12/31/20      05 00          1,600.00                               346.67            26.67                80.00                426.67
001188 BA Work                       SLFM       01/31/21      05 00          3,600.00                               720.00            60.00               180.00                900.00
001192 BA Work                       SLFM       02/28/21      05 00          1,600.00                               293.33            26.67                80.00                373.33
001214 BA Work                       SLFM       06/30/21      05 00         18,400.00                             2,146.67           306.67               920.00              3,066.67
= 160049                                                               $ 1,273,484.38                       $ 1,078,806.99      $ 9,310.33          $ 27,977.06         $ 1,106,784.05
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Sys No             Description        DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr     Depr This Run   Current YTD Depr    Current Accum Depr    Liquidation Values
transfers                                                                         0.00                                0.00                                                      0.00

Count = 0
t Subtotal                                                              $ 1,273,484.38                      $ 1,078,806.99      $ 9,310.33         $ 27,977.06        $ 1,106,784.05
unt = 204


G/L Accum Acct No = 160069
000402 NAV Project                    SLFM       12/31/12      05 00     $ 327,809.45                         $ 327,492.98          $ 0.00             $ 0.00           $ 327,492.98
000406 Add'l NAV Project allocate     SLFM       04/30/13      05 00        11,046.06                            11,046.06            0.00               0.00              11,046.06
000519 BT CO NAV project              SLFM       01/01/13      05 00        78,647.90                            78,647.90            0.00               0.00              78,647.90
= 160069                                                                 $ 417,503.41                         $ 417,186.94          $ 0.00             $ 0.00           $ 417,186.94
 transfers                                                                       0.00                                 0.00                                                      0.00

Count = 0
t Subtotal                                                               $ 417,503.41                         $ 417,186.94          $ 0.00             $ 0.00           $ 417,186.94
Count = 3


G/L Accum Acct No = 160079
000479 Conveyor 24" x 96"             MT200      06/30/15      07 00       $ 8,637.80                           $ 8,252.56         $ 64.21           $ 192.63             $ 8,445.19
000489 24 work benches w/drawe        MT200      10/31/15      07 00        33,395.13                            31,905.72          248.24              744.71             32,650.43
000494 Sloped flow shelving + fre     MT200      10/31/15      07 00        11,345.15                            10,839.16           84.34              253.00             11,092.16
000495 Overhead light kits            MT200      10/31/15      07 00         3,230.16                             3,086.04           24.02               72.06              3,158.10
000501 Startech rugged 7 port US      MT200      11/30/15      05 00         2,568.47                             2,568.47            0.00                0.00              2,568.47
000502 Startech rugged 7 port US      MT200      11/30/15      05 00         1,239.26                             1,239.26            0.00                0.00              1,239.26
000503 HP Elitedesk 800 G1 Tow        MT200      11/30/15      05 00         1,699.12                             1,699.12            0.00                0.00              1,699.12
000504 HP Elitedesk 800 SFF i7-4      MT200      11/30/15      05 00         4,499.05                             4,499.05            0.00                0.00              4,499.05
000520 HPE Proliant BL460c Gen        MT200      01/31/16      05 00         7,535.84                             7,535.84            0.00                0.00              7,535.84
000748 12 work benches w/drawe        MT200      09/30/17      07 00        12,700.75                             9,867.21           94.41              283.23             10,150.44
000749 Add'l sloped shelving (19)     MT200      09/30/17      07 00         9,406.16                             7,307.65           69.92              209.76              7,517.41
000981 Sentry Airhawk 30 hood w       MT200      12/31/18      07 00         4,100.00                             2,819.15           30.51               91.53              2,910.68
= 160079                                                                 $ 100,356.89                          $ 91,619.23        $ 615.65          $ 1,846.92           $ 93,466.15            25,000.00
 transfers                                                                       0.00                                 0.00                                                      0.00

Count = 0
t Subtotal                                                               $ 100,356.89                          $ 91,619.23        $ 615.65          $ 1,846.92           $ 93,466.15
ount = 12


G/L Accum Acct No = 160089
000484 NAV Mobility proposal #1       SLFM       07/31/15      05 00       $ 10,005.65                         $ 10,005.65          $ 0.00             $ 0.00            $ 10,005.65
000485 NAV Mobility proposal #2       SLFM       07/31/15      05 00         10,272.50                           10,272.50            0.00               0.00              10,272.50
000486 NAV Mobility proposal #3       SLFM       07/31/15      05 00          4,388.50                            4,388.50            0.00               0.00               4,388.50
000497 NAV Mobility Project           SLFM       11/30/15      05 00        390,822.54                          390,822.54            0.00               0.00             390,822.54
000498 Vendor parsing logic           SLFM       11/30/15      05 00          1,500.00                            1,500.00            0.00               0.00               1,500.00
000499 Assurant Ztag production       SLFM       11/30/15      05 00          2,500.00                            2,500.00            0.00               0.00               2,500.00
000507 BidMatch - aliases             SLFM       12/31/15      05 00          7,900.00                            7,900.00            0.00               0.00               7,900.00
000508 BidMatch - parsing logic c     SLFM       12/31/15      05 00          2,200.00                            2,200.00            0.00               0.00               2,200.00
000509 BidMatch - misc changes        SLFM       12/31/15      05 00          1,800.00                            1,800.00            0.00               0.00               1,800.00
000510 Additional sessions - 15       SLFM       12/31/15      05 00         48,164.59                           48,164.59            0.00               0.00              48,164.59
000511 Jet Essentials Corporate P     SLFM       12/31/15      05 00          7,458.38                            7,458.38            0.00               0.00               7,458.38
000512 Additional cell phone proje    SLFM       12/31/15      05 00         25,000.00                           25,000.00            0.00               0.00              25,000.00
000515 Additional cell phone proje    SLFM       01/31/16      05 00         25,000.00                           25,000.00            0.00               0.00              25,000.00
000516 BRL NAV sessions (10)          SLFM       01/31/16      05 00         36,140.00                           36,140.00            0.00               0.00              36,140.00
000517 T-Mobile Bod match settle      SLFM       01/30/16      05 00          4,800.00                            4,800.00            0.00               0.00               4,800.00
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                                                                                    Belmont Trading Co., Inc.
                                                                                           Liquidation values


Sys No               Description        DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr    Current Accum Depr    Liquidation Values
000521   Misc upgrades                  SLFM       01/31/16      05 00          1,733.00                             1,733.00             0.00                0.00              1,733.00
000522   Main database and logs re      SLFM       02/29/16      05 00          1,875.00                             1,875.00             0.00                0.00              1,875.00
000523   T-Mobile settlement            SLFM       02/29/16      05 00          2,000.00                             2,000.00             0.00                0.00              2,000.00
000524   Additional cell phone proje    SLFM       02/29/16      05 00         25,000.00                            25,000.00             0.00                0.00             25,000.00
000525   Misc upgrades                  SLFM       02/29/16      05 00          5,621.00                             5,621.00             0.00                0.00              5,621.00
000526   Misc upgrades                  SLFM       02/29/16      05 00          2,888.50                             2,888.50             0.00                0.00              2,888.50
000527   T-Mobile settlement est pr     SLFM       03/31/16      05 00          2,200.00                             2,200.00             0.00                0.00              2,200.00
000528   T-Mobile settlement            SLFM       03/31/16      05 00          1,600.00                             1,600.00             0.00                0.00              1,600.00
000529   Additional cell phone proje    SLFM       03/31/16      05 00        100,000.00                           100,000.00             0.00                0.00            100,000.00
000530   Additional cell phone proje    SLFM       03/31/16      05 00         75,000.00                            75,000.00             0.00                0.00             75,000.00
000532   Bid Match final developme      SLFM       04/30/16      05 00         18,000.00                            18,000.00             0.00                0.00             18,000.00
000533   Bid match process - phase      SLFM       04/30/16      05 00         20,500.00                            20,500.00             0.00                0.00             20,500.00
000534   Belmont BA work                SLFM       04/30/16      05 00          3,867.50                             3,867.50             0.00                0.00              3,867.50
000535   Belmont BA work                SLFM       04/30/16      05 00          2,762.50                             2,762.50             0.00                0.00              2,762.50
000536   Bid Match misc changes         SLFM       04/30/16      05 00          4,750.00                             4,750.00             0.00                0.00              4,750.00
000537   Belmont BA work                SLFM       04/30/16      05 00          3,612.50                             3,612.50             0.00                0.00              3,612.50
000538   Bidmatch bid sheet2            SLFM       04/30/16      05 00          5,400.00                             5,400.00             0.00                0.00              5,400.00
000539   T-Mobile settlement misc       SLFM       04/30/16      05 00          1,400.00                             1,400.00             0.00                0.00              1,400.00
000540   Inventory inquiry              SLFM       04/30/16      05 00          3,500.00                             3,500.00             0.00                0.00              3,500.00
000541   ERP reports                    SLFM       04/30/16      05 00          2,750.00                             2,750.00             0.00                0.00              2,750.00
000542   Additional cell phone proje    SLFM       04/30/16      05 00         75,000.00                            75,000.00             0.00                0.00             75,000.00
000543   Put away granule               SLFM       04/30/16      05 00          1,408.63                             1,408.63             0.00                0.00              1,408.63
000544   Development fees               SLFM       04/30/16      05 00         35,000.00                            35,000.00             0.00                0.00             35,000.00
000546   Additional cell phone proje    SLFM       05/31/16      05 00         75,000.00                            75,000.00             0.00                0.00             75,000.00
000547   Additional cell phone proje    SLFM       05/31/16      05 00         25,000.00                            25,000.00             0.00                0.00             25,000.00
000548   Inventory inquiry              SLFM       05/31/16      05 00          3,700.00                             3,700.00             0.00                0.00              3,700.00
000549   Misc changes to BidMatch       SLFM       05/31/16      05 00          1,200.00                             1,200.00             0.00                0.00              1,200.00
000550   Process work                   SLFM       05/31/16      05 00          6,077.50                             6,077.50             0.00                0.00              6,077.50
000551   Process work                   SLFM       05/31/16      05 00          5,673.75                             5,673.75             0.00                0.00              5,673.75
000552   Documentation                  SLFM       05/31/16      05 00          1,361.50                             1,361.50             0.00                0.00              1,361.50
000553   Process work                   SLFM       05/31/16      05 00          7,225.00                             7,225.00             0.00                0.00              7,225.00
000554   WO dimension conflict          SLFM       05/31/16      05 00          2,652.00                             2,652.00             0.00                0.00              2,652.00
000555   Scanned asset developme        SLFM       05/31/16      05 00          4,431.75                             4,431.75             0.00                0.00              4,431.75
000557   Process work                   SLFM       06/30/16      05 00         11,092.50                            11,092.50             0.00                0.00             11,092.50
000558   Jet reports setup, etc.        SLFM       06/30/16      05 00         18,000.00                            18,000.00             0.00                0.00             18,000.00
000559   Process work                   SLFM       06/30/16      05 00         11,050.00                            11,050.00             0.00                0.00             11,050.00
000560   Process work                   SLFM       06/30/16      05 00          8,093.75                             8,093.75             0.00                0.00              8,093.75
000561   Misc updates                   SLFM       06/30/16      05 00          6,178.00                             6,178.00             0.00                0.00              6,178.00
000563   Additional cell phone proje    SLFM       07/31/16      05 00         25,000.00                            25,000.00             0.00                0.00             25,000.00
000564   Process work                   SLFM       07/31/16      05 00          5,333.75                             5,333.75             0.00                0.00              5,333.75
000565   Process work                   SLFM       07/31/16      05 00          2,337.50                             2,337.50             0.00                0.00              2,337.50
000566   Process work                   SLFM       07/31/16      05 00          5,567.50                             5,567.50             0.00                0.00              5,567.50
000579   Additional cell phone proje    SLFM       08/31/16      05 00         25,000.00                            25,000.00             0.00                0.00             25,000.00
000590   Various projects               SLFM       09/30/16      05 00          9,750.00                             9,750.00             0.00                0.00              9,750.00
000591   BA work                        SLFM       09/30/16      05 00          4,611.25                             4,611.25             0.00                0.00              4,611.25
000592   BA work                        SLFM       09/30/16      05 00          6,630.00                             6,630.00             0.00                0.00              6,630.00
000593   Date whse phase I              SLFM       09/30/16      05 00          2,047.50                             2,047.50             0.00                0.00              2,047.50
000594   Ongoing changes                SLFM       09/30/16      05 00          2,421.25                             2,421.25             0.00                0.00              2,421.25
000595   ERP reports                    SLFM       09/30/16      05 00          1,577.50                             1,577.50             0.00                0.00              1,577.50
000596   Ongoing changes                SLFM       09/30/16      05 00          4,167.50                             4,167.50             0.00                0.00              4,167.50
000597   BA work                        SLFM       09/30/16      05 00          3,527.50                             3,527.50             0.00                0.00              3,527.50
000603   Additional cell phone proje    SLFM       10/31/16      05 00         25,000.00                            25,000.00             0.00                0.00             25,000.00
000604   BA work                        SLFM       10/31/16      05 00          3,421.25                             3,421.25             0.00                0.00              3,421.25
000605   BA work                        SLFM       10/31/16      05 00          6,162.50                             6,162.50             0.00                0.00              6,162.50
000606   BA work                        SLFM       10/31/16      05 00          2,975.00                             2,975.00             0.00                0.00              2,975.00
000607   Jet reports setup, etc.        SLFM       10/31/16      05 00         18,000.00                            18,000.00             0.00                0.00             18,000.00
000610   Portal work                    SLFM       11/30/16      05 00         11,070.00                            11,070.00             0.00                0.00             11,070.00
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000611   BA work                        SLFM       11/30/16      05 00          6,120.00                             6,120.00             0.00                 0.00              6,120.00
000612   BA work                        SLFM       11/30/16      05 00          5,248.75                             5,248.75             0.00                 0.00              5,248.75
000613   BA work                        SLFM       11/30/16      05 00          8,223.75                             8,223.75             0.00                 0.00              8,223.75
000614   BA work                        SLFM       11/30/16      05 00          9,781.25                             9,781.25             0.00                 0.00              9,781.25
000615   Additional cell phone proje    SLFM       11/30/16      05 00         25,000.00                            25,000.00             0.00                 0.00             25,000.00
000619   Various project                SLFM       12/31/16      05 00         20,570.00                            20,570.00             0.00                 0.00             20,570.00
000622   Portal work                    SLFM       12/31/16      05 00          3,260.00                             3,260.00             0.00                 0.00              3,260.00
000623   Portal work                    SLFM       12/31/16      05 00         15,806.25                            15,806.25             0.00                 0.00             15,806.25
000625   Portal work                    SLFM       12/31/16      05 00          8,287.50                             8,287.50             0.00                 0.00              8,287.50
000626   Additional cell phone proje    SLFM       01/31/17      05 00         25,000.00                            25,000.00             0.00                 0.00             25,000.00
000627   OPS KPI Reporting              SLFM       01/31/17      05 00          3,160.00                             3,160.00             0.00                 0.00              3,160.00
000628   Portal work                    SLFM       01/31/17      05 00          3,598.75                             3,598.75             0.00                 0.00              3,598.75
000634   Portal work                    SLFM       01/31/17      05 00          3,315.00                             3,315.00             0.00                 0.00              3,315.00
000638   Flip lots change               SLFM       02/28/17      05 00          2,095.00                             2,060.08             0.00                34.92              2,095.00
000639   Data whse                      SLFM       02/28/17      05 00          4,026.25                             3,959.15             0.00                67.10              4,026.25
000640   Bidsheet work                  SLFM       02/28/17      05 00          1,653.75                             1,626.19             0.00                27.56              1,653.75
000641   Data whse and KPI              SLFM       02/28/17      05 00          7,802.50                             7,672.46             0.00               130.04              7,802.50
000648   Additional cell phone proje    SLFM       03/31/17      05 00         25,000.00                            24,166.67             0.00               833.33             25,000.00
000649   Additional cell phone proje    SLFM       03/31/17      05 00         25,000.00                            24,166.67             0.00               833.33             25,000.00
000650   Data whse and KPI              SLFM       03/31/17      05 00          8,381.25                             8,101.88             0.00               279.37              8,381.25
000651   Data whse and KPI              SLFM       03/31/17      05 00          6,366.25                             6,154.04             0.00               212.21              6,366.25
000652   Data whse and KPI              SLFM       03/31/17      05 00         10,958.75                            10,593.46             0.00               365.29             10,958.75
000653   Data whse and portal           SLFM       03/31/17      05 00         14,866.25                            14,370.71             0.00               495.54             14,866.25
000654   Data whse, portal and KP       SLFM       03/31/17      05 00         12,017.50                            11,616.92             0.00               400.58             12,017.50
000655   Data whse, portal and KP       SLFM       03/31/17      05 00          7,330.00                             7,085.67             0.00               244.33              7,330.00
000665   Data whse and portal           SLFM       04/30/17      05 00         10,410.00                             9,889.50           173.50               520.50             10,410.00
000666   Data whse and portal           SLFM       04/30/17      05 00          8,068.75                             7,665.31           134.48               403.44              8,068.75
000667   Data whse and portal           SLFM       04/30/17      05 00          9,862.50                             9,369.38           164.37               493.12              9,862.50
000668   Data whse and portal           SLFM       04/30/17      05 00         12,475.00                            11,851.25           207.92               623.75             12,475.00
000669   Data whse and portal           SLFM       04/30/17      05 00          7,618.75                             7,237.81           126.98               380.94              7,618.75
000685   Additional cell phone proje    SLFM       05/31/17      05 00         25,000.00                            23,333.33           416.67             1,250.00             24,583.33
000696   Portal, data whse changes      SLFM       05/31/17      05 00          3,537.50                             3,301.67            58.96               176.87              3,478.54
000722   Additional cell phone proje    SLFM       07/31/17      05 00         25,000.00                            22,500.00           416.67             1,250.00             23,750.00
000723   Additional cell phone proje    SLFM       07/31/17      05 00         25,000.00                            22,500.00           416.67             1,250.00             23,750.00
000724   Various color shelf bins       SLFM       07/31/17      05 00          4,728.36                             4,255.52            78.81               236.42              4,491.94
000725   Fin data whse                  SLFM       07/31/17      05 00          4,550.00                             4,095.00            75.84               227.50              4,322.50
000726   Portal, fin data whse          SLFM       07/31/17      05 00          5,616.25                             5,054.63            93.60               280.81              5,335.44
000727   Portal, fin data whse          SLFM       07/31/17      05 00          4,221.25                             3,799.13            70.35               211.06              4,010.19
000739   Additional cell phone proje    SLFM       08/31/17      05 00         25,000.00                            22,083.33           416.67             1,250.00             23,333.33
000740   Portal, fin data whse          SLFM       08/31/17      05 00          6,602.50                             5,832.21           110.04               330.12              6,162.33
000741   Portal, fin data whse          SLFM       08/31/17      05 00          3,637.50                             3,213.13            60.62               181.87              3,395.00
000742   Portal, fin data whse          SLFM       08/31/17      05 00          3,416.25                             3,017.69            56.94               170.81              3,188.50
000751   Additional cell phone proje    SLFM       09/30/17      05 00         25,000.00                            21,666.67           416.66             1,249.99             22,916.66
000752   Additional cell phone proje    SLFM       09/30/17      05 00         25,000.00                            21,666.67           416.66             1,249.99             22,916.66
000753   EU improvements                SLFM       09/30/17      05 00          2,907.00                             2,519.40            48.45               145.35              2,664.75
000754   EU improvements                SLFM       09/30/17      05 00          6,384.00                             5,532.80           106.40               319.20              5,852.00
000755   Portal, fin data whse          SLFM       09/30/17      05 00          5,100.00                             4,420.00            85.00               255.00              4,675.00
000756   Portal, fin data whse          SLFM       09/30/17      05 00          8,176.25                             7,086.08           136.27               408.81              7,494.89
000757   Portal, fin data whse          SLFM       09/30/17      05 00          8,355.00                             7,241.00           139.25               417.75              7,658.75
000758   Portal, fin data whse          SLFM       09/30/17      05 00         12,905.00                            11,184.33           215.09               645.25             11,829.58
000759   Portal, fin data whse          SLFM       09/30/17      05 00         12,485.00                            10,820.33           208.09               624.25             11,444.58
000771   Fin data whse, KPI, BER,       SLFM       10/31/17      05 00         17,722.50                            15,064.13           295.37               886.12             15,950.25
000772   Fin data whse, KPI, BER,       SLFM       10/31/17      05 00         20,986.25                            17,838.31           349.77             1,049.31             18,887.62
000773   Fin data whse, KPI, portal     SLFM       10/31/17      05 00         23,026.25                            19,572.31           383.77             1,151.31             20,723.62
000774   Fin data whse, KPI, portal     SLFM       10/31/17      05 00         21,476.25                            18,254.81           357.94             1,073.81             19,328.62
000775   Whse Mgt Systems - Colo        SLFM       10/31/17      05 00          6,096.53                             5,182.07           101.61               304.82              5,486.89
000776   Additional cell phone proje    SLFM       10/31/17      05 00         25,000.00                            21,250.00           416.67             1,250.00             22,500.00
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000783   Additional cell phone proje    SLFM       11/30/17      05 00         25,000.00                            20,833.33           416.67             1,250.00             22,083.33
000784   Additional cell phone proje    SLFM       11/30/17      05 00         25,000.00                            20,833.33           416.67             1,250.00             22,083.33
000785   Consulting services for Ve     SLFM       11/30/17      05 00          3,440.00                             2,866.00            57.33               171.99              3,037.99
000786   BA Work, data whse., port      SLFM       11/30/17      05 00          3,400.00                             2,833.33            56.67               170.00              3,003.33
000787   BA Work, data whse., port      SLFM       11/30/17      05 00          4,790.00                             3,991.67            79.83               239.49              4,231.16
000788   BA Work, data whse., port      SLFM       11/30/17      05 00         13,768.75                            11,473.96           229.48               688.43             12,162.39
000789   BA Work, data whse., port      SLFM       11/30/17      05 00         16,215.00                            13,512.50           270.25               810.75             14,323.25
000790   BA Work, data whse., port      SLFM       11/30/17      05 00         10,393.75                             8,661.46           173.23               519.68              9,181.14
000791   BA Work, data whse., port      SLFM       11/30/17      05 00         18,001.25                            15,001.04           300.02               900.06             15,901.10
000792   BA Work, data whse., port      SLFM       11/30/17      05 00         23,503.75                            19,586.46           391.73             1,175.18             20,761.64
000793   BA Work, data whse., port      SLFM       11/30/17      05 00         19,791.25                            16,492.71           329.86               989.56             17,482.27
000794   BA Work, data whse., port      SLFM       11/30/17      05 00          5,841.25                             4,867.71            97.36               292.06              5,159.77
000795   BA Work, data whse., port      SLFM       11/30/17      05 00          2,750.00                             2,291.67            45.83               137.49              2,429.16
000796   BA Work, data whse., port      SLFM       11/30/17      05 00          4,125.00                             3,437.50            68.75               206.25              3,643.75
000809   Additional cell phone proje    SLFM       12/31/17      05 00         25,000.00                            20,416.67           416.66             1,249.99             21,666.66
000810   BA Work, data whse., port      SLFM       12/31/17      05 00         11,675.00                             9,534.58           194.59               583.75             10,118.33
000811   BA Work, data whse., port      SLFM       12/31/17      05 00         16,795.00                            13,715.92           279.91               839.74             14,555.66
000812   BA Work, data whse., port      SLFM       12/31/17      05 00         17,267.50                            14,101.79           287.79               863.37             14,965.16
000813   BA Work, data whse., port      SLFM       12/31/17      05 00          9,822.50                             8,021.71           163.71               491.12              8,512.83
000823   Additional cell phone proje    SLFM       01/31/18      05 00         25,000.00                            20,000.00           416.67             1,250.00             21,250.00
000824   Additional cell phone proje    SLFM       01/31/18      05 00         25,000.00                            20,000.00           416.67             1,250.00             21,250.00
000825   BA Work, data whse., port      SLFM       01/31/18      05 00         12,927.50                            10,342.00           215.46               646.37             10,988.37
000826   BA Work, data whse., port      SLFM       01/31/18      05 00         13,472.50                            10,778.00           224.54               673.62             11,451.62
000827   BA Work, data whse., port      SLFM       01/31/18      05 00          2,720.00                             2,176.00            45.34               136.00              2,312.00
000828   BA Work, data whse., port      SLFM       01/31/18      05 00          3,400.00                             2,720.00            56.67               170.00              2,890.00
000829   BA Work, data whse., port      SLFM       01/31/18      05 00          3,400.00                             2,720.00            56.67               170.00              2,890.00
000830   BA Work, data whse., port      SLFM       01/31/18      05 00          3,400.00                             2,720.00            56.67               170.00              2,890.00
000831   BA Work, data whse., port      SLFM       01/31/18      05 00          3,400.00                             2,720.00            56.67               170.00              2,890.00
000832   BA Work, data whse., port      SLFM       01/31/18      05 00         18,064.75                            14,451.80           301.08               903.23             15,355.03
000842   Additional cell phone proje    SLFM       02/28/18      05 00         25,000.00                            19,583.33           416.67             1,250.00             20,833.33
000843   Additional cell phone proje    SLFM       02/28/18      05 00         25,000.00                            19,583.33           416.67             1,250.00             20,833.33
000844   BA Work, data whse., port      SLFM       02/28/18      05 00         19,310.00                            15,126.17           321.84               965.50             16,091.67
000845   BA Work, data whse., port      SLFM       02/28/18      05 00         16,818.75                            13,174.69           280.31               840.93             14,015.62
000846   BA Work, data whse., port      SLFM       02/28/18      05 00          3,400.00                             2,663.33            56.67               170.00              2,833.33
000847   BA Work, data whse., port      SLFM       02/28/18      05 00          3,400.00                             2,663.33            56.67               170.00              2,833.33
000848   BA Work, data whse., port      SLFM       02/28/18      05 00         16,718.75                            13,096.36           278.64               835.93             13,932.29
000849   BA Work, data whse., port      SLFM       02/28/18      05 00          1,700.00                             1,331.67            28.34                85.00              1,416.67
000850   BA Work, data whse., port      SLFM       02/28/18      05 00         13,735.00                            10,759.08           228.92               686.75             11,445.83
000859   Additional cell phone proje    SLFM       03/31/18      05 00         25,000.00                            19,166.67           416.67             1,250.00             20,416.67
000860   Additional cell phone proje    SLFM       03/31/18      05 00         25,000.00                            19,166.67           416.67             1,250.00             20,416.67
000861   BA Work, data whse., port      SLFM       03/31/18      05 00         12,570.00                             9,637.00           209.50               628.50             10,265.50
000862   BA Work, data whse., port      SLFM       03/31/18      05 00         16,512.50                            12,659.58           275.21               825.62             13,485.20
000863   BA Work, data whse., port      SLFM       03/31/18      05 00          3,527.50                             2,704.42            58.79               176.37              2,880.79
000864   BA Work, data whse., port      SLFM       03/31/18      05 00          1,360.00                             1,042.67            22.67                68.00              1,110.67
000865   BA Work, data whse., port      SLFM       03/31/18      05 00          2,720.00                             2,085.33            45.34               136.00              2,221.33
000866   BA Work, data whse., port      SLFM       03/31/18      05 00          2,720.00                             2,085.33            45.34               136.00              2,221.33
000867   BA Work, data whse., port      SLFM       03/31/18      05 00         16,558.75                            12,695.04           275.98               827.93             13,522.97
000868   BA Work, data whse., port      SLFM       03/31/18      05 00         14,907.50                            11,429.08           248.46               745.37             12,174.45
000869   BA Work, data whse., port      SLFM       03/31/18      05 00         15,281.25                            11,715.63           254.69               764.06             12,479.69
000870   BA Work, data whse., port      SLFM       03/31/18      05 00          3,400.00                             2,606.67            56.67               170.00              2,776.67
000883   Additional cell phone proje    SLFM       04/30/18      05 00         25,000.00                            18,750.00           416.67             1,250.00             20,000.00
000884   BA Work, data whse., port      SLFM       04/30/18      05 00          3,230.00                             2,422.50            53.84               161.50              2,584.00
000885   BA Work, data whse., port      SLFM       04/30/18      05 00         13,002.50                             9,751.88           216.71               650.12             10,402.00
000886   BA Work, data whse., port      SLFM       04/30/18      05 00         15,146.25                            11,359.69           252.44               757.31             12,117.00
000887   BA Work, data whse., port      SLFM       04/30/18      05 00         15,708.75                            11,781.56           261.81               785.43             12,566.99
000888   BA Work, data whse., port      SLFM       04/30/18      05 00          3,230.00                             2,422.50            53.84               161.50              2,584.00
000889   BA Work, data whse., port      SLFM       04/30/18      05 00          3,400.00                             2,550.00            56.67               170.00              2,720.00
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Sys No              Description         DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr     Current Accum Depr    Liquidation Values
000890   BA Work, data whse., port      SLFM       04/30/18      05 00          1,530.00                             1,147.50            25.50                76.50              1,224.00
000891   BA Work, data whse., port      SLFM       04/30/18      05 00         14,863.75                            11,147.81           247.73               743.18             11,890.99
000892   BA Work, data whse., port      SLFM       04/30/18      05 00          3,400.00                             2,550.00            56.67               170.00              2,720.00
000893   BA Work, data whse., port      SLFM       04/30/18      05 00          1,615.00                             1,211.25            26.92                80.75              1,292.00
000903   Additional cell phone proje    SLFM       05/31/18      05 00         25,000.00                            18,333.33           416.67             1,250.00             19,583.33
000904   Additional cell phone proje    SLFM       05/31/18      05 00         25,000.00                            18,333.33           416.67             1,250.00             19,583.33
000905   BA Work, data whse., port      SLFM       05/31/18      05 00          7,427.50                             5,446.83           123.79               371.37              5,818.20
000906   BA Work, data whse., port      SLFM       05/31/18      05 00         16,620.00                            12,188.00           277.00               831.00             13,019.00
000907   BA Work, data whse., port      SLFM       05/31/18      05 00          3,400.00                             2,493.33            56.67               170.00              2,663.33
000908   BA Work, data whse., port      SLFM       05/31/18      05 00          2,805.00                             2,057.00            46.75               140.25              2,197.25
000909   BA Work, data whse., port      SLFM       05/31/18      05 00          3,400.00                             2,493.33            56.67               170.00              2,663.33
000910   BA Work, data whse., port      SLFM       05/31/18      05 00         18,657.50                            13,682.17           310.96               932.87             14,615.04
000915   Prepayment                     SLFM       06/30/18      05 00         18,500.00                            13,258.33           308.34               925.00             14,183.33
000916   Additional cell phone proje    SLFM       06/30/18      05 00         25,000.00                            17,916.67           416.67             1,250.00             19,166.67
000917   BA Work, data whse., port      SLFM       06/30/18      05 00         18,595.00                            13,326.42           309.92               929.75             14,256.17
000928   Additional cell phone proje    SLFM       07/31/18      05 00         25,000.00                            17,500.00           416.67             1,250.00             18,750.00
000929   BA Work, data whse., port      SLFM       07/31/18      05 00         10,218.75                             7,153.13           170.31               510.93              7,664.06
000930   BA Work, data whse., port      SLFM       07/31/18      05 00          8,570.00                             5,999.00           142.84               428.50              6,427.50
000931   BA Work, data whse., port      SLFM       07/31/18      05 00         12,005.00                             8,403.50           200.09               600.25              9,003.75
000932   BA Work, data whse., port      SLFM       07/31/18      05 00         13,625.00                             9,537.50           227.09               681.25             10,218.75
000933   BA Work, data whse., port      SLFM       07/31/18      05 00          9,345.00                             6,541.50           155.75               467.25              7,008.75
000944   Additional cell phone proje    SLFM       08/31/18      05 00         25,000.00                            17,083.33           416.67             1,250.00             18,333.33
000946   Additional cell phone proje    SLFM       09/30/18      05 00         25,000.00                            16,666.67           416.67             1,250.00             17,916.67
000947   BA Work, data whse., port      SLFM       09/30/18      05 00         14,840.00                             9,893.33           247.34               742.00             10,635.33
000948   BA Work, data whse., port      SLFM       09/30/18      05 00         11,281.25                             7,520.83           188.02               564.06              8,084.89
000949   BA Work, data whse., port      SLFM       09/30/18      05 00         15,555.00                            10,370.00           259.25               777.75             11,147.75
000950   BA Work, data whse., port      SLFM       09/30/18      05 00         19,351.25                            12,900.83           322.52               967.56             13,868.39
000951   BA Work, data whse., port      SLFM       09/30/18      05 00         13,072.50                             8,715.00           217.87               653.62              9,368.62
000952   BA Work, data whse., port      SLFM       09/30/18      05 00         19,126.25                            12,750.83           318.77               956.31             13,707.14
000969   Additional cell phone proje    SLFM       10/31/18      05 00         25,000.00                            16,250.00           416.67             1,250.00             17,500.00
000970   Additional cell phone proje    SLFM       10/31/18      05 00         25,000.00                            16,250.00           416.67             1,250.00             17,500.00
000971   Data whse., portal             SLFM       10/31/18      05 00         18,667.50                            12,133.88           311.12               933.37             13,067.25
000972   Data whse., portal             SLFM       10/31/18      05 00         18,035.00                            11,722.75           300.59               901.75             12,624.50
000973   Data whse., portal             SLFM       10/31/18      05 00         21,783.75                            14,159.44           363.06             1,089.18             15,248.62
000980   Additional cell phone proje    SLFM       11/30/18      05 00         25,000.00                            15,833.33           416.67             1,250.00             17,083.33
000997   Data whse., portal             SLFM       12/31/18      05 00         18,985.00                            11,707.42           316.42               949.25             12,656.67
000998   Data whse., portal             SLFM       12/31/18      05 00         17,845.00                            11,004.42           297.42               892.25             11,896.67
000999   Data whse., portal             SLFM       12/31/18      05 00         17,290.00                            10,662.17           288.17               864.50             11,526.67
001000   Data whse., portal             SLFM       12/31/18      05 00         15,281.25                             9,423.44           254.69               764.06             10,187.50
001001   Data whse., portal             SLFM       12/31/18      05 00         15,856.25                             9,778.02           264.27               792.81             10,570.83
001002   Data whse., portal             SLFM       12/31/18      05 00          6,955.00                             4,288.92           115.92               347.75              4,636.67
001003   Data whse., portal             SLFM       12/31/18      05 00          5,727.50                             3,531.96            95.46               286.37              3,818.33
001004   Data whse., portal             SLFM       12/31/18      05 00          4,292.50                             2,647.04            71.54               214.62              2,861.66
001005   Data whse., portal             SLFM       12/31/18      05 00          3,875.00                             2,389.58            64.59               193.75              2,583.33
001006   Data whse., portal             SLFM       12/31/18      05 00          2,147.50                             1,324.29            35.79               107.37              1,431.66
001007   Data whse., portal             SLFM       12/31/18      05 00         26,181.25                            16,145.11           436.36             1,309.06             17,454.17
001008   Data whse., portal             SLFM       12/31/18      05 00         25,030.00                            15,435.17           417.17             1,251.50             16,686.67
001009   Data whse., portal             SLFM       12/31/18      05 00         26,600.00                            16,403.33           443.34             1,330.00             17,733.33
001010   Data whse., portal             SLFM       12/31/18      05 00         20,660.00                            12,740.33           344.34             1,033.00             13,773.33
001011   Data whse., portal             SLFM       12/31/18      05 00         14,757.50                             9,100.46           245.96               737.87              9,838.33
001012   Data whse., portal             SLFM       12/31/18      05 00         13,717.50                             8,459.13           228.62               685.87              9,145.00
001013   Data whse., portal             SLFM       12/31/18      05 00         12,195.00                             7,520.25           203.25               609.75              8,130.00
001014   Data whse., portal             SLFM       12/31/18      05 00         14,705.00                             9,068.08           245.09               735.25              9,803.33
001015   Data whse., portal             SLFM       12/31/18      05 00         16,055.00                             9,900.58           267.59               802.75             10,703.33
001016   Data whse., portal             SLFM       12/31/18      05 00         16,785.00                            10,350.75           279.75               839.25             11,190.00
001017   Data whse., portal             SLFM       12/31/18      05 00         17,712.50                            10,922.71           295.21               885.62             11,808.33
001018   Data whse., portal             SLFM       12/31/18      05 00         13,350.00                             8,232.50           222.50               667.50              8,900.00
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                                                                                              Liquidation values


Sys No               Description           DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr     Current Accum Depr    Liquidation Values
001019   Additional cell phone proje       SLFM       12/31/18      05 00         25,000.00                            15,416.67           416.67             1,250.00             16,666.67
001020   Report portals for T-Mobil        SLFM       12/31/18      05 00          1,085.00                               669.08            18.09                54.25                723.33
001051   Data whse., portal                SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67               170.00              2,266.67
001062   Data whse., portal                SLFM       01/31/19      05 00         12,300.00                             7,380.00           205.00               615.00              7,995.00
001063   Data whse., portal                SLFM       01/31/19      05 00         16,142.50                             9,685.50           269.04               807.12             10,492.62
001064   Data whse., portal                SLFM       01/31/19      05 00         21,007.50                            12,604.50           350.12             1,050.37             13,654.87
001065   Data whse., portal                SLFM       01/31/19      05 00         26,417.50                            15,850.50           440.29             1,320.87             17,171.37
001066   Report portals for T-Mobil        SLFM       01/31/19      05 00          3,022.50                             1,813.50            50.37               151.12              1,964.62
001067   Report portals for T-Mobil        SLFM       01/31/19      05 00          9,300.00                             5,580.00           155.00               465.00              6,045.00
001068   Report portals for T-Mobil        SLFM       01/31/19      05 00         14,105.00                             8,463.00           235.09               705.25              9,168.25
001069   Report portals for T-Mobil        SLFM       01/31/19      05 00         17,515.00                            10,509.00           291.92               875.75             11,384.75
001078   Additional cell phone proje       SLFM       02/28/19      05 00         25,000.00                            14,583.33           416.67             1,250.00             15,833.33
001079   Report portals for T-Mobil        SLFM       02/28/19      05 00         14,880.00                             8,680.00           248.00               744.00              9,424.00
001080   Report portals for T-Mobil        SLFM       02/28/19      05 00         15,345.00                             8,951.25           255.75               767.25              9,718.50
001081   Report portals for T-Mobil        SLFM       02/28/19      05 00         15,500.00                             9,041.67           258.34               775.00              9,816.67
001082   Report portals for T-Mobil        SLFM       02/28/19      05 00         13,795.00                             8,047.08           229.92               689.75              8,736.83
001084   Additional cell phone proje       SLFM       03/31/19      05 00         25,000.00                            14,166.67           416.67             1,250.00             15,416.67
001085   Report portals for T-Mobil        SLFM       03/31/19      05 00         15,965.00                             9,046.83           266.09               798.25              9,845.08
001086   Report portals for T-Mobil        SLFM       03/31/19      05 00         15,500.00                             8,783.33           258.34               775.00              9,558.33
001087   Report portals for T-Mobil        SLFM       03/31/19      05 00         16,585.00                             9,398.17           276.42               829.25             10,227.42
001088   Report portals for T-Mobil        SLFM       03/31/19      05 00         16,740.00                             9,486.00           279.00               837.00             10,323.00
001089   Report portals for T-Mobil        SLFM       03/31/19      05 00         17,825.00                            10,100.83           297.09               891.25             10,992.08
001090   Data whse., portal                SLFM       03/31/19      05 00        127,087.50                            72,016.25         2,118.12             6,354.37             78,370.62
001093   Additional cell phone proje       SLFM       04/30/19      05 00         25,000.00                            13,750.00           416.67             1,250.00             15,000.00
001094   Report portals for T-Mobil        SLFM       04/30/19      05 00         13,485.00                             7,416.75           224.75               674.25              8,091.00
001095   Report portals for T-Mobil        SLFM       04/30/19      05 00         12,787.50                             7,033.13           213.12               639.37              7,672.50
001096   Report portals for T-Mobil        SLFM       04/30/19      05 00         15,500.00                             8,525.00           258.34               775.00              9,300.00
001097   Report portals for T-Mobil        SLFM       04/30/19      05 00         15,500.00                             8,525.00           258.34               775.00              9,300.00
001098   Data whse., portal                SLFM       04/30/19      05 00        110,320.00                            60,676.00         1,838.67             5,516.00             66,192.00
001100   Additional cell phone proje       SLFM       05/31/19      05 00         25,000.00                            13,333.33           416.67             1,250.00             14,583.33
001101   Additional cell phone proje       SLFM       05/31/19      05 00         25,000.00                            13,333.33           416.67             1,250.00             14,583.33
001102   Report portals for T-Mobil        SLFM       05/31/19      05 00         15,500.00                             8,266.67           258.34               775.00              9,041.67
001103   Report portals for T-Mobil        SLFM       05/31/19      05 00         14,802.50                             7,894.67           246.71               740.12              8,634.79
001104   Report portals for T-Mobil        SLFM       05/31/19      05 00         11,237.50                             5,993.33           187.29               561.87              6,555.20
001108   Additional cell phone proje       SLFM       06/30/19      05 00         25,000.00                            12,916.67           416.67             1,250.00             14,166.67
001109   Data whse., portal                SLFM       07/31/19      05 00        108,595.50                            54,297.75         1,809.92             5,429.77             59,727.52
001112   Additional cell phone proje       SLFM       07/31/19      05 00         25,000.00                            12,500.00           416.67             1,250.00             13,750.00
001113   Report portals for T-Mobil        SLFM       07/31/19      05 00          7,130.00                             3,565.00           118.84               356.50              3,921.50
001114   Report portals for T-Mobil        SLFM       07/31/19      05 00          9,920.00                             4,960.00           165.34               496.00              5,456.00
001115   Data whse., portal                SLFM       06/30/19      05 00        110,692.50                            57,191.13         1,844.87             5,534.62             62,725.75
001118   Additional cell phone proje       SLFM       08/31/19      05 00         25,000.00                            12,083.33           416.67             1,250.00             13,333.33
001119   Infrastructure, portal, settle    SLFM       08/31/19      05 00         73,882.50                            35,709.88         1,231.37             3,694.12             39,404.00
001120   Report portals for T-Mobil        SLFM       08/31/19      05 00         25,662.50                            12,403.54           427.71             1,283.12             13,686.66
001122   Report portals for T-Mobil        SLFM       09/30/19      05 00         24,877.50                            11,609.50           414.62             1,243.87             12,853.37
001124   Report portals for T-Mobil        SLFM       11/30/19      05 00         96,450.00                            41,795.00         1,607.50             4,822.50             46,617.50
001125   Architecture - portal             SLFM       11/30/19      05 00         93,875.00                            40,679.17         1,564.59             4,693.75             45,372.92
001126   Additional cell phone proje       SLFM       11/30/19      05 00         25,000.00                            10,833.33           416.67             1,250.00             12,083.33
001127   Additional cell phone proje       SLFM       11/30/19      05 00         25,000.00                            10,833.33           416.67             1,250.00             12,083.33
001131   Report portals for T-Mobil        SLFM       12/31/19      05 00         15,500.00                             6,458.33           258.34               775.00              7,233.33
001132   Additional cell phone proje       SLFM       12/31/19      05 00         25,000.00                            10,416.67           416.67             1,250.00             11,666.67
001133   Architecture - portal             SLFM       12/31/19      05 00        165,982.50                            69,223.13         2,766.37             8,299.12             77,522.25
001135   Report portals for T-Mobil        SLFM       12/31/19      05 00          3,720.00                             1,550.00            62.00               186.00              1,736.00
001136   Additional cell phone proje       SLFM       01/31/20      05 00         25,000.00                            10,000.00           416.67             1,250.00             11,250.00
001138   Report portals for T-Mobil        SLFM       01/31/20      05 00         23,405.00                             9,362.00           390.09             1,170.25             10,532.25
001139   Architecture - portal             SLFM       01/31/20      05 00         25,512.50                            10,205.00           425.21             1,275.62             11,480.62
001142   Additional cell phone proje       SLFM       02/29/20      05 00         25,000.00                             9,583.33           416.67             1,250.00             10,833.33
001143   High level architecture           SLFM       02/29/20      05 00         35,262.50                            13,517.29           587.71             1,763.12             15,280.41
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                                                                                           Liquidation values


Sys No              Description         DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr     Current Accum Depr    Liquidation Values
001146   Additional cell phone proje    SLFM       03/31/20      05 00         25,000.00                             9,166.67           416.67             1,250.00             10,416.67
001147   High level architecture        SLFM       03/31/20      05 00         13,562.50                             4,972.92           226.04               678.12              5,651.04
001148   Architecture - portal          SLFM       03/31/20      05 00         37,115.00                            13,608.83           618.59             1,855.75             15,464.58
001153   High level architecture        SLFM       04/30/20      05 00         34,797.50                            12,179.13           579.96             1,739.87             13,919.00
001154   High level architecture        SLFM       05/31/20      05 00         11,160.00                             3,720.00           186.00               558.00              4,278.00
001155   Additional cell phone proje    SLFM       05/31/20      05 00         50,000.00                            16,666.67           833.34             2,500.00             19,166.67
001158   High level architecture        SLFM       06/30/20      05 00          6,587.50                             2,086.04           109.79               329.37              2,415.41
001159   Architecture - portal          SLFM       06/30/20      05 00         47,025.00                            14,891.25           783.75             2,351.25             17,242.50
001162   High level architecture        SLFM       07/31/20      05 00         26,737.50                             8,021.25           445.62             1,336.87              9,358.12
001163   Architecture - portal          SLFM       07/31/20      05 00         10,165.00                             3,049.50           169.42               508.25              3,557.75
001165   Additional cell phone proje    SLFM       08/31/20      05 00         50,000.00                            14,166.67           833.34             2,500.00             16,666.67
001166   Architecture - portal          SLFM       08/31/20      05 00          2,095.00                               593.58            34.92               104.75                698.33
001167   Modify T-Mobile reports        SLFM       08/31/20      05 00          6,200.00                             1,756.67           103.34               310.00              2,066.67
001169   Modify T-Mobile reports        SLFM       09/30/20      05 00          2,480.00                               661.33            41.34               124.00                785.33
001170   Architecture - portal          SLFM       09/30/20      05 00          7,577.00                             2,020.53           126.29               378.85              2,399.38
001172   Architecture - portal          SLFM       10/31/20      05 00         23,225.00                             5,806.25           387.09             1,161.25              6,967.50
001173   Additional cell phone proje    SLFM       10/31/20      05 00         25,000.00                             6,250.00           416.67             1,250.00              7,500.00
001174   Additional cell phone proje    SLFM       10/31/20      05 00         25,000.00                             6,250.00           416.67             1,250.00              7,500.00
001175   Additional cell phone proje    SLFM       11/30/20      05 00         25,000.00                             5,833.33           416.67             1,250.00              7,083.33
001176   Architecture - portal          SLFM       11/30/20      05 00         54,440.00                            12,702.67           907.34             2,722.00             15,424.67
001180   Architecture - portal          SLFM       12/31/20      05 00         22,795.00                             4,938.92           379.92             1,139.75              6,078.67
001181   Modify T-Mobile reports        SLFM       12/31/20      05 00          5,610.00                             1,215.50            93.50               280.50              1,496.00
001182   Additional cell phone proje    SLFM       12/31/20      05 00         25,000.00                             5,416.67           416.67             1,250.00              6,666.67
001189   Architecture - portal          SLFM       01/31/21      05 00         14,695.00                             2,939.00           244.92               734.75              3,673.75
001190   Modify T-Mobile reports        SLFM       01/31/21      05 00         37,592.50                             7,518.50           626.54             1,879.62              9,398.12
001193   Modify T-Mobile reports        SLFM       02/28/21      05 00          1,072.50                               196.63            17.87                53.62                250.25
001194   Additional cell phone proje    SLFM       02/28/21      05 00         25,000.00                             4,583.33           416.67             1,250.00              5,833.33
001195   Architecture - portal          SLFM       02/28/21      05 00         34,795.00                             6,379.08           579.92             1,739.75              8,118.83
001199   Modify T-Mobile reports        SLFM       03/31/21      05 00            825.00                               137.50            13.75                41.25                178.75
001200   Additional cell phone proje    SLFM       03/31/21      05 00         25,000.00                             4,166.67           416.67             1,250.00              5,416.67
001201   Additional cell phone proje    SLFM       03/31/21      05 00         25,000.00                             4,166.67           416.67             1,250.00              5,416.67
001204   Modify T-Mobile reports        SLFM       04/30/21      05 00            387.50                                58.13             6.46                19.37                 77.50
001206   New T-Mobile reports           SLFM       05/31/21      05 00          2,805.00                               374.00            46.75               140.25                514.25
001209   Additional cell phone proje    SLFM       05/31/21      05 00         25,000.00                             3,333.33           416.67             1,250.00              4,583.33
001210   Additional cell phone proje    SLFM       05/31/21      05 00         25,000.00                             3,333.33           416.67             1,250.00              4,583.33
001215   Additional cell phone proje    SLFM       06/30/21      05 00         25,000.00                             2,916.67           416.67             1,250.00              4,166.67
001216   Architecture - portal          SLFM       06/30/21      05 00         21,200.00                             2,473.33           353.34             1,060.00              3,533.33
001217   Architecture - portal          SLFM       06/30/21      05 00         94,652.50                            11,042.79         1,577.54             4,732.62             15,775.41
001222   Architecture - portal          SLFM       07/31/21      05 00         12,800.00                             1,280.00           213.34               640.00              1,920.00
001223   Architecture - portal          SLFM       07/31/21      05 00         11,400.00                             1,140.00           190.00               570.00              1,710.00
001224   Modify T-Mobile reports        SLFM       07/31/21      05 00            495.00                                49.50             8.25                24.75                 74.25
001226   Operations platform Aug 2      SLFM       08/31/21      05 00         15,000.00                             1,250.00           250.00               750.00              2,000.00
001234   Additional cell phone proje    SLFM       09/30/21      05 00         14,606.25                               973.75           243.44               730.31              1,704.06
001235   Operations platform Sep 2      SLFM       09/30/21      05 00         44,747.50                             2,983.17           745.79             2,237.37              5,220.54
001242   Operations platform Oct 2      SLFM       10/31/21      05 00         41,450.00                             2,072.50           690.84             2,072.50              4,145.00
001243   Architecture - portal          SLFM       10/31/21      05 00         27,965.00                             1,398.25           466.09             1,398.25              2,796.50
001250   Architecture - portal          SLFM       11/30/21      05 00         16,480.00                               549.33           274.67               824.00              1,373.33
001251   Additional cell phone proje    SLFM       11/30/21      05 00         20,518.75                               683.96           341.98             1,025.93              1,709.89
001252   Operations platform Nov 2      SLFM       11/30/21      05 00         21,950.00                               731.67           365.84             1,097.50              1,829.17
001257   Additional cell phone proje    SLMM       12/31/21      05 00         20,061.78                                 0.00           334.37             1,003.09              1,003.09
001269   Architecture - portal          SLFM       12/31/21      05 00         20,765.00                               346.08           346.09             1,038.25              1,384.33
001270   Additional cell phone proje    SLFM       12/31/21      05 00         31,482.50                               524.71           524.71             1,574.12              2,098.83
001271   Operations platform Dec 2      SLFM       12/31/21      05 00         39,350.00                               655.83           655.84             1,967.50              2,623.33
001277   Additional cell phone proje    SLFM       01/31/22      05 00         11,500.00                                 0.00           191.67               575.00                575.00
001278   Operations platform Jan 2      SLFM       01/31/22      05 00         36,800.00                                 0.00           613.34             1,840.00              1,840.00
001279   Operations platform Feb 2      SLFM       02/28/22      05 00         41,350.00                                 0.00           689.17             1,378.33              1,378.33
001282   Operations platform Mar 2      SLFM       03/31/22      05 00         41,200.00                                 0.00           686.66               686.66                686.66
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001283 Additional cell phone proje    SLFM       03/31/22      05 00          6,818.20                                 0.00           113.63              113.63                113.63
= 160089                                                                $ 6,715,860.91                       $ 4,194,562.46     $ 85,464.44         $ 258,025.14        $ 4,452,587.60
 transfers                                                                        0.00                                 0.00                                                       0.00

Count = 0
t Subtotal                                                              $ 6,715,860.91                      $ 4,194,562.46      $ 85,464.44         $ 258,025.14        $ 4,452,587.60
unt = 358


G/L Accum Acct No = 160099
000620 Apple project software         SLFM       12/31/16     05 00         $ 2,460.00                          $ 2,460.00           $ 0.00               $ 0.00            $ 2,460.00
000621 Apple project - BA work        SLFM       12/31/16     05 00           8,375.00                            8,375.00             0.00                 0.00              8,375.00
000624 Apple project                  SLFM       12/31/16     05 00           8,720.00                            8,720.00             0.00                 0.00              8,720.00
000629 Apple project                  SLFM       01/31/17     05 00          13,000.00                           13,000.00             0.00                 0.00             13,000.00
000630 Apple project                  SLFM       01/31/17     05 00          13,350.00                           13,350.00             0.00                 0.00             13,350.00
000631 Apple project                  SLFM       01/31/17     05 00           3,527.50                            3,527.50             0.00                 0.00              3,527.50
000632 Apple project                  SLFM       01/31/17     05 00          12,150.00                           12,150.00             0.00                 0.00             12,150.00
000633 Apple project                  SLFM       01/31/17     05 00           4,377.50                            4,377.50             0.00                 0.00              4,377.50
000635 Apple project                  SLFM       01/31/17     05 00          14,632.50                           14,632.50             0.00                 0.00             14,632.50
000642 Apple project                  SLFM       02/28/17     05 00           4,972.50                            4,889.63             0.00                82.87              4,972.50
000643 Apple project                  SLFM       02/28/17     05 00           8,812.50                            8,665.63             0.00               146.87              8,812.50
000644 Apple project                  SLFM       02/28/17     05 00          16,777.50                           16,497.88             0.00               279.62             16,777.50
000645 Apple project                  SLFM       02/28/17     05 00          13,805.00                           13,574.92             0.00               230.08             13,805.00
000646 Apple project                  SLFM       02/28/17     05 00           3,655.00                            3,594.08             0.00                60.92              3,655.00
000647 Apple project                  SLFM       02/28/17     05 00          11,537.50                           11,345.21             0.00               192.29             11,537.50
000656 Apple project                  SLFM       03/31/17     05 00           3,995.00                            3,861.83             0.00               133.17              3,995.00
000657 Apple project                  SLFM       03/31/17     05 00           6,825.00                            6,597.50             0.00               227.50              6,825.00
000658 Apple project                  SLFM       03/31/17     05 00           6,497.50                            6,280.92             0.00               216.58              6,497.50
000659 Apple project                  SLFM       03/31/17     05 00           3,485.00                            3,368.83             0.00               116.17              3,485.00
000660 Apple project                  SLFM       03/31/17     05 00           3,740.00                            3,615.33             0.00               124.67              3,740.00
000661 Apple project                  SLFM       03/31/17     05 00           3,740.00                            3,615.33             0.00               124.67              3,740.00
000662 Apple project                  SLFM       03/31/17     05 00           2,295.00                            2,218.50             0.00                76.50              2,295.00
000663 Apple project                  SLFM       03/31/17     05 00           3,710.80                            3,587.11             0.00               123.69              3,710.80
000664 Apple project                  SLFM       03/31/17     05 00           6,065.00                            5,862.83             0.00               202.17              6,065.00
000670 Apple project                  SLFM       04/30/17     05 00           4,335.00                            4,118.25            72.25               216.75              4,335.00
000671 Apple project                  SLFM       04/30/17     05 00           7,692.50                            7,307.88           128.20               384.62              7,692.50
000672 Apple project                  SLFM       04/30/17     05 00           4,442.50                            4,220.38            74.04               222.12              4,442.50
000673 Apple project                  SLFM       04/30/17     05 00           8,280.00                            7,866.00           138.00               414.00              8,280.00
000674 Apple project                  SLFM       04/30/17     05 00           3,548.75                            3,371.31            59.15               177.44              3,548.75
000675 Apple project                  SLFM       04/30/17     05 00           2,205.00                            2,094.75            36.75               110.25              2,205.00
000676 Apple project                  SLFM       04/30/17     05 00           4,080.00                            3,876.00            68.00               204.00              4,080.00
000677 Apple project                  SLFM       04/30/17     05 00           2,250.00                            2,137.50            37.50               112.50              2,250.00
000686 Apple project                  SLFM       05/31/17     05 00           3,612.50                            3,371.67            60.21               180.62              3,552.29
000687 Apple project                  SLFM       05/31/17     05 00           7,840.00                            7,317.33           130.67               392.00              7,709.33
000688 Apple project                  SLFM       05/31/17     05 00           2,975.00                            2,776.67            49.58               148.74              2,925.41
000689 Apple project                  SLFM       05/31/17     05 00          12,637.50                           11,795.00           210.62               631.87             12,426.87
000690 Apple project                  SLFM       05/31/17     05 00           3,145.00                            2,935.33            52.42               157.25              3,092.58
000691 Apple project                  SLFM       05/31/17     05 00           6,822.50                            6,367.67           113.71               341.12              6,708.79
000692 Apple project                  SLFM       05/31/17     05 00           3,570.00                            3,332.00            59.50               178.50              3,510.50
000693 Apple project                  SLFM       05/31/17     05 00           3,170.00                            2,958.67            52.83               158.49              3,117.16
000694 Apple project                  SLFM       05/31/17     05 00           4,277.50                            3,992.33            71.29               213.87              4,206.20
000695 Apple project                  SLFM       05/31/17     05 00           7,657.50                            7,147.00           127.62               382.87              7,529.87
000704 Apple project                  SLFM       06/30/17     05 00           3,612.50                            3,311.46            60.21               180.62              3,492.08
000705 Apple project                  SLFM       06/30/17     05 00           3,655.00                            3,350.42            60.91               182.74              3,533.16
000706 Apple project                  SLFM       06/30/17     05 00           4,002.50                            3,668.96            66.71               200.12              3,869.08
000707 Apple project                  SLFM       06/30/17     05 00           1,162.52                            1,065.63            19.37                58.12              1,123.75
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000708   Apple project             SLFM       06/30/17      05 00          2,987.50                             2,738.54            49.79              149.37              2,887.91
000709   Apple project             SLFM       06/30/17      05 00          7,082.50                             6,492.29           118.04              354.12              6,846.41
000710   Apple project             SLFM       06/30/17      05 00          4,080.00                             3,740.00            68.00              204.00              3,944.00
000711   Apple project             SLFM       06/30/17      05 00          3,825.00                             3,506.25            63.75              191.25              3,697.50
000712   Apple project             SLFM       06/30/17      05 00          3,485.00                             3,194.58            58.09              174.25              3,368.83
000715   Apple project             SLFM       07/31/17      05 00          4,530.00                             4,077.00            75.50              226.50              4,303.50
000728   Apple project             SLFM       07/31/17      05 00          4,207.50                             3,786.75            70.12              210.37              3,997.12
000729   Apple project             SLFM       07/31/17      05 00          4,237.50                             3,813.75            70.62              211.87              4,025.62
000730   Apple project             SLFM       07/31/17      05 00          2,975.00                             2,677.50            49.59              148.75              2,826.25
000731   Apple project             SLFM       07/31/17      05 00          3,017.50                             2,715.75            50.29              150.87              2,866.62
000732   Apple project             SLFM       07/31/17      05 00          1,250.00                             1,125.00            20.84               62.50              1,187.50
000733   Apple project             SLFM       07/31/17      05 00          3,952.50                             3,557.25            65.87              197.62              3,754.87
000734   Apple project             SLFM       07/31/17      05 00          3,400.00                             3,060.00            56.67              170.00              3,230.00
000735   Apple project             SLFM       07/31/17      05 00          3,910.00                             3,519.00            65.17              195.50              3,714.50
000736   Apple project             SLFM       07/31/17      05 00          2,180.00                             1,962.00            36.34              109.00              2,071.00
000737   Apple project             SLFM       07/31/17      05 00          3,847.50                             3,462.75            64.12              192.37              3,655.12
000738   Apple project             SLFM       07/31/17      05 00          5,627.50                             5,064.75            93.79              281.37              5,346.12
000743   Apple project             SLFM       08/31/17      05 00          8,202.50                             7,245.54           136.71              410.12              7,655.66
000744   Apple project             SLFM       08/31/17      05 00          4,165.00                             3,679.08            69.42              208.25              3,887.33
000745   Apple project             SLFM       08/31/17      05 00          4,530.00                             4,001.50            75.50              226.50              4,228.00
000746   Apple project             SLFM       08/31/17      05 00          8,060.00                             7,119.67           134.33              402.99              7,522.66
000747   Apple project             SLFM       08/31/17      05 00          7,777.50                             6,870.13           129.62              388.87              7,259.00
000760   Apple project             SLFM       09/30/17      05 00          4,792.50                             4,153.50            79.87              239.62              4,393.12
000761   Apple project             SLFM       09/30/17      05 00          1,977.50                             1,713.83            32.96               98.87              1,812.70
000762   Apple project             SLFM       09/30/17      05 00          1,540.00                             1,334.67            25.66               76.99              1,411.66
000763   Apple project             SLFM       09/30/17      05 00          1,232.50                             1,068.17            20.54               61.62              1,129.79
000764   Apple project             SLFM       09/30/17      05 00          3,697.50                             3,204.50            61.62              184.87              3,389.37
000765   Apple project             SLFM       09/30/17      05 00          5,057.50                             4,383.17            84.29              252.87              4,636.04
000766   Apple project             SLFM       09/30/17      05 00          4,760.00                             4,125.33            79.34              238.00              4,363.33
000767   Apple project             SLFM       09/30/17      05 00          7,012.50                             6,077.50           116.87              350.62              6,428.12
000768   Apple project             SLFM       09/30/17      05 00          2,875.00                             2,491.67            47.91              143.74              2,635.41
000769   Apple project             SLFM       09/30/17      05 00          7,220.00                             6,257.33           120.34              361.00              6,618.33
000770   Apple project             SLFM       09/30/17      05 00          1,592.50                             1,380.17            26.54               79.62              1,459.79
000777   Apple project             SLFM       10/31/17      05 00          1,250.00                             1,062.50            20.84               62.50              1,125.00
000778   Apple project             SLFM       10/31/17      05 00          7,905.00                             6,719.25           131.75              395.25              7,114.50
000779   Apple project             SLFM       10/31/17      05 00          7,905.00                             6,719.25           131.75              395.25              7,114.50
000780   Apple project             SLFM       10/31/17      05 00         10,200.00                             8,670.00           170.00              510.00              9,180.00
000781   Apple project             SLFM       10/31/17      05 00          1,105.00                               939.25            18.42               55.25                994.50
000782   Apple project             SLFM       10/31/17      05 00          2,157.50                             1,833.88            35.96              107.87              1,941.75
000797   Apple project             SLFM       11/30/17      05 00          7,565.00                             6,304.17           126.08              378.24              6,682.41
000798   Apple project             SLFM       11/30/17      05 00          2,887.50                             2,406.25            48.12              144.37              2,550.62
000799   Apple project             SLFM       11/30/17      05 00          1,042.50                               868.75            17.37               52.12                920.87
000800   Apple project             SLFM       11/30/17      05 00          3,797.50                             3,164.58            63.29              189.87              3,354.45
000801   Apple project             SLFM       11/30/17      05 00          6,885.00                             5,737.50           114.75              344.25              6,081.75
000802   Apple project             SLFM       11/30/17      05 00          1,500.00                             1,250.00            25.00               75.00              1,325.00
000803   Apple project             SLFM       11/30/17      05 00          3,657.50                             3,047.92            60.96              182.87              3,230.79
000804   Apple project             SLFM       11/30/17      05 00          5,227.50                             4,356.25            87.12              261.37              4,617.62
000805   Apple project             SLFM       11/30/17      05 00          6,800.00                             5,666.67           113.33              339.99              6,006.66
000806   Apple project             SLFM       11/30/17      05 00          6,417.50                             5,347.92           106.96              320.87              5,668.79
000814   Apple project             SLFM       12/31/17      05 00          7,990.00                             6,525.17           133.16              399.49              6,924.66
000815   Apple project             SLFM       12/31/17      05 00          5,822.50                             4,755.04            97.04              291.12              5,046.16
000816   Apple project             SLFM       12/31/17      05 00          6,970.00                             5,692.17           116.16              348.49              6,040.66
000817   Apple project             SLFM       12/31/17      05 00          5,525.00                             4,512.08            92.09              276.25              4,788.33
000818   Apple project             SLFM       12/31/17      05 00         13,410.00                            10,951.50           223.50              670.50             11,622.00
000819   Apple project             SLFM       12/31/17      05 00         11,250.00                             9,187.50           187.50              562.50              9,750.00
000820   Apple project             SLFM       12/31/17      05 00         12,018.75                             9,815.31           200.31              600.93             10,416.24
000821   Apple project             SLFM       12/31/17      05 00         10,087.50                             8,238.13           168.12              504.37              8,742.50
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000833   Apple project             SLFM       01/31/18      05 00         10,072.50                             8,058.00           167.87              503.62              8,561.62
000834   Apple project             SLFM       01/31/18      05 00         14,052.50                            11,242.00           234.21              702.62             11,944.62
000835   Apple project             SLFM       01/31/18      05 00          2,975.00                             2,380.00            49.59              148.75              2,528.75
000836   Apple project             SLFM       01/31/18      05 00          3,655.00                             2,924.00            60.92              182.75              3,106.75
000837   Apple project             SLFM       01/31/18      05 00          3,995.00                             3,196.00            66.59              199.75              3,395.75
000838   Apple project             SLFM       01/31/18      05 00         14,752.50                            11,802.00           245.87              737.62             12,539.62
000839   Apple project             SLFM       01/31/18      05 00         13,071.25                            10,457.00           217.86              653.56             11,110.56
000840   Apple project             SLFM       01/31/18      05 00          4,080.00                             3,264.00            68.00              204.00              3,468.00
000841   Apple project             SLFM       01/31/18      05 00          3,102.50                             2,482.00            51.71              155.12              2,637.12
000851   Apple project             SLFM       02/28/18      05 00         11,246.25                             8,809.56           187.44              562.31              9,371.87
000852   Apple project             SLFM       02/28/18      05 00         13,852.50                            10,851.13           230.87              692.62             11,543.75
000853   Apple project             SLFM       02/28/18      05 00          4,590.00                             3,595.50            76.50              229.50              3,825.00
000854   Apple project             SLFM       02/28/18      05 00          3,995.00                             3,129.42            66.59              199.75              3,329.17
000855   Apple project             SLFM       02/28/18      05 00         12,862.50                            10,075.63           214.37              643.12             10,718.75
000856   Apple project             SLFM       02/28/18      05 00         16,665.00                            13,054.25           277.75              833.25             13,887.50
000857   Apple project             SLFM       02/28/18      05 00          2,635.00                             2,064.08            43.92              131.75              2,195.83
000871   Apple project             SLFM       03/31/18      05 00         16,075.00                            12,324.17           267.92              803.75             13,127.92
000872   Apple project             SLFM       03/31/18      05 00         16,420.00                            12,588.67           273.67              821.00             13,409.67
000873   Apple project             SLFM       03/31/18      05 00          4,292.50                             3,290.92            71.54              214.62              3,505.54
000874   Apple project             SLFM       03/31/18      05 00          4,250.00                             3,258.33            70.84              212.50              3,470.83
000875   Apple project             SLFM       03/31/18      05 00          6,545.00                             5,017.83           109.09              327.25              5,345.08
000876   Apple project             SLFM       03/31/18      05 00          4,335.00                             3,323.50            72.25              216.75              3,540.25
000877   Apple project             SLFM       03/31/18      05 00          4,845.00                             3,714.50            80.75              242.25              3,956.75
000878   Apple project             SLFM       03/31/18      05 00         14,227.50                            10,907.75           237.12              711.37             11,619.12
000879   Apple project             SLFM       03/31/18      05 00         12,990.00                             9,959.00           216.50              649.50             10,608.50
000880   Apple project             SLFM       03/31/18      05 00         15,997.50                            12,264.75           266.62              799.87             13,064.62
000894   Apple project             SLFM       04/30/18      05 00          3,825.00                             2,868.75            63.75              191.25              3,060.00
000895   Apple project             SLFM       04/30/18      05 00         17,805.00                            13,353.75           296.75              890.25             14,244.00
000896   Apple project             SLFM       04/30/18      05 00          4,547.50                             3,410.63            75.79              227.37              3,638.00
000897   Apple project             SLFM       04/30/18      05 00          2,295.00                             1,721.25            38.25              114.75              1,836.00
000898   Apple project             SLFM       04/30/18      05 00         16,407.50                            12,305.63           273.46              820.37             13,126.00
000899   Apple project             SLFM       04/30/18      05 00         13,940.00                            10,455.00           232.34              697.00             11,152.00
000900   Apple project             SLFM       04/30/18      05 00         10,825.00                             8,118.75           180.42              541.25              8,660.00
000901   Apple project             SLFM       04/30/18      05 00          2,677.50                             2,008.13            44.62              133.87              2,142.00
000902   Apple project             SLFM       04/30/18      05 00          2,252.50                             1,689.38            37.54              112.62              1,802.00
000911   Trade-in project          SLFM       05/31/18      05 00         10,475.00                             7,681.67           174.59              523.75              8,205.42
000912   Trade-in project          SLFM       05/31/18      05 00          4,200.00                             3,080.00            70.00              210.00              3,290.00
000913   Trade-in project          SLFM       05/31/18      05 00          3,825.00                             2,805.00            63.75              191.25              2,996.25
000918   Trade-in project          SLFM       06/30/18      05 00          7,807.50                             5,595.38           130.12              390.37              5,985.75
000919   Trade-in project          SLFM       06/30/18      05 00          9,315.00                             6,675.75           155.25              465.75              7,141.50
000920   Trade-in project          SLFM       06/30/18      05 00          7,370.00                             5,281.83           122.84              368.50              5,650.33
000921   Trade-in project          SLFM       06/30/18      05 00          7,650.00                             5,482.50           127.50              382.50              5,865.00
000922   Trade-in project          SLFM       06/30/18      05 00          7,437.50                             5,330.21           123.96              371.87              5,702.08
000934   Trade-in project          SLFM       07/31/18      05 00          5,440.00                             3,808.00            90.67              272.00              4,080.00
000935   Trade-in project          SLFM       07/31/18      05 00          3,740.00                             2,618.00            62.34              187.00              2,805.00
000936   Trade-in project          SLFM       07/31/18      05 00          4,122.50                             2,885.75            68.71              206.12              3,091.87
000937   Trade-in project          SLFM       07/31/18      05 00          3,357.50                             2,350.25            55.96              167.87              2,518.12
000938   Trade-in project          SLFM       07/31/18      05 00          3,102.50                             2,171.75            51.71              155.12              2,326.87
000939   Trade-in project          SLFM       07/31/18      05 00         11,712.50                             8,198.75           195.21              585.62              8,784.37
000940   Trade-in project          SLFM       07/31/18      05 00         13,410.00                             9,387.00           223.50              670.50             10,057.50
000941   Trade-in project          SLFM       07/31/18      05 00         12,902.50                             9,031.75           215.04              645.12              9,676.87
000942   Trade-in project          SLFM       07/31/18      05 00         10,305.00                             7,213.50           171.75              515.25              7,728.75
000943   Trade-in project          SLFM       07/31/18      05 00         11,610.00                             8,127.00           193.50              580.50              8,707.50
000953   Trade-in project          SLFM       09/30/18      05 00          4,930.00                             3,286.67            82.17              246.50              3,533.17
000954   Trade-in project          SLFM       09/30/18      05 00          5,227.50                             3,485.00            87.12              261.37              3,746.37
000955   Trade-in project          SLFM       09/30/18      05 00          5,142.50                             3,428.33            85.71              257.12              3,685.45
000956   Trade-in project          SLFM       09/30/18      05 00          4,165.00                             2,776.67            69.42              208.25              2,984.92
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                                                                                      Liquidation values


Sys No              Description    DeprMeth   In Svc Date EstLife   Acquired Value                   Prior Accum Depr      Depr This Run    Current YTD Depr    Current Accum Depr    Liquidation Values
000957   Trade-in project          SLFM       09/30/18      05 00          5,397.50                             3,598.33            89.96              269.87              3,868.20
000958   Trade-in project          SLFM       09/30/18      05 00         10,832.50                             7,221.67           180.54              541.62              7,763.29
000959   Trade-in project          SLFM       09/30/18      05 00          9,337.50                             6,225.00           155.62              466.87              6,691.87
000960   Trade-in project          SLFM       09/30/18      05 00         10,365.00                             6,910.00           172.75              518.25              7,428.25
000961   Trade-in project          SLFM       09/30/18      05 00          4,335.00                             2,890.00            72.25              216.75              3,106.75
000962   Trade-in project          SLFM       09/30/18      05 00          8,072.50                             5,381.67           134.54              403.62              5,785.29
000963   Trade-in project          SLFM       09/30/18      05 00          9,232.50                             6,155.00           153.87              461.62              6,616.62
000964   Trade-in project          SLFM       09/30/18      05 00          7,730.00                             5,153.33           128.84              386.50              5,539.83
000974   Trade-in project          SLFM       10/31/18      05 00          3,782.50                             2,458.63            63.04              189.12              2,647.75
000975   Trade-in project          SLFM       10/31/18      05 00          3,357.50                             2,182.38            55.96              167.87              2,350.25
000976   Trade-in project          SLFM       10/31/18      05 00          3,825.00                             2,486.25            63.75              191.25              2,677.50
000977   Trade-in project          SLFM       10/31/18      05 00          7,252.50                             4,714.13           120.87              362.62              5,076.75
000978   Trade-in project          SLFM       10/31/18      05 00          4,655.00                             3,025.75            77.59              232.75              3,258.50
000979   Trade-in project          SLFM       10/31/18      05 00          6,097.50                             3,963.38           101.62              304.87              4,268.25
001021   Trade-in project          SLFM       12/31/18      05 00          3,782.50                             2,332.54            63.04              189.12              2,521.66
001022   Trade-in project          SLFM       12/31/18      05 00          4,675.00                             2,882.92            77.92              233.75              3,116.67
001023   Trade-in project          SLFM       12/31/18      05 00          4,590.00                             2,830.50            76.50              229.50              3,060.00
001024   Trade-in project          SLFM       12/31/18      05 00          6,055.00                             3,733.92           100.92              302.75              4,036.67
001025   Trade-in project          SLFM       12/31/18      05 00          6,075.00                             3,746.25           101.25              303.75              4,050.00
001026   Trade-in project          SLFM       12/31/18      05 00          8,200.00                             5,056.67           136.67              410.00              5,466.67
001027   Trade-in project          SLFM       12/31/18      05 00          4,885.00                             3,012.42            81.42              244.25              3,256.67
001028   Trade-in project          SLFM       12/31/18      05 00         11,552.50                             7,124.04           192.54              577.62              7,701.66
001029   Trade-in project          SLFM       12/31/18      05 00          7,725.00                             4,763.75           128.75              386.25              5,150.00
001030   Trade-in project          SLFM       12/31/18      05 00          5,762.50                             3,553.54            96.04              288.12              3,841.66
001031   Trade-in project          SLFM       12/31/18      05 00            750.00                               462.50            12.50               37.50                500.00
001032   Trade-in project          SLFM       12/31/18      05 00          3,782.50                             2,332.54            63.04              189.12              2,521.66
001033   Trade-in project          SLFM       12/31/18      05 00          3,740.00                             2,306.33            62.34              187.00              2,493.33
001034   Trade-in project          SLFM       12/31/18      05 00          3,357.50                             2,070.46            55.96              167.87              2,238.33
001035   Trade-in project          SLFM       12/31/18      05 00          4,335.00                             2,673.25            72.25              216.75              2,890.00
001036   Trade-in project          SLFM       12/31/18      05 00          4,547.50                             2,804.29            75.79              227.37              3,031.66
001037   Trade-in project          SLFM       12/31/18      05 00          4,165.00                             2,568.42            69.42              208.25              2,776.67
001038   Trade-in project          SLFM       12/31/18      05 00          2,465.00                             1,520.08            41.09              123.25              1,643.33
001039   Trade-in project          SLFM       12/31/18      05 00          3,527.50                             2,175.29            58.79              176.37              2,351.66
001040   Trade-in project          SLFM       12/31/18      05 00          4,505.00                             2,778.08            75.09              225.25              3,003.33
001041   Trade-in project          SLFM       12/31/18      05 00          3,825.00                             2,358.75            63.75              191.25              2,550.00
001042   Trade-in project          SLFM       12/31/18      05 00          3,612.50                             2,227.71            60.21              180.62              2,408.33
001043   Trade-in project          SLFM       12/31/18      05 00          2,125.00                             1,310.42            35.42              106.25              1,416.67
001044   Trade-in project          SLFM       12/31/18      05 00          1,665.00                             1,026.75            27.75               83.25              1,110.00
001045   Trade-in project          SLFM       12/31/18      05 00          4,857.50                             2,995.46            80.96              242.87              3,238.33
001046   Trade-in project          SLFM       12/31/18      05 00          5,065.00                             3,123.42            84.42              253.25              3,376.67
001047   Trade-in project          SLFM       12/31/18      05 00          9,567.50                             5,899.96           159.46              478.37              6,378.33
001048   Trade-in project          SLFM       12/31/18      05 00          9,812.50                             6,051.04           163.54              490.62              6,541.66
001049   Trade-in project          SLFM       12/31/18      05 00          8,070.00                             4,976.50           134.50              403.50              5,380.00
001050   Trade-in project          SLFM       12/31/18      05 00         10,450.00                             6,444.17           174.17              522.50              6,966.67
001052   Trade-in project          SLFM       12/31/18      05 00         11,645.00                             7,181.08           194.09              582.25              7,763.33
001053   Trade-in project          SLFM       12/31/18      05 00          3,400.00                             2,096.67            56.67              170.00              2,266.67
001054   Trade-in project          SLFM       12/31/18      05 00          1,190.00                               733.83            19.84               59.50                793.33
001055   Trade-in project          SLFM       12/31/18      05 00         19,307.50                            11,906.29           321.79              965.37             12,871.66
001056   Trade-in project          SLFM       12/31/18      05 00         16,743.75                            10,325.31           279.06              837.18             11,162.49
001070   Trade-in project          SLFM       01/31/19      05 00          3,645.00                             2,187.00            60.75              182.25              2,369.25
001071   Trade-in project          SLFM       01/31/19      05 00          1,445.00                               867.00            24.09               72.25                939.25
001072   Trade-in project          SLFM       01/31/19      05 00          3,400.00                             2,040.00            56.67              170.00              2,210.00
001073   Trade-in project          SLFM       01/31/19      05 00          1,927.50                             1,156.50            32.12               96.37              1,252.87
001074   Trade-in project          SLFM       01/31/19      05 00          3,800.00                             2,280.00            63.34              190.00              2,470.00
001075   Trade-in project          SLFM       01/31/19      05 00          1,262.50                               757.50            21.04               63.12                820.62
001076   Trade-in project          SLFM       01/31/19      05 00          3,800.00                             2,280.00            63.34              190.00              2,470.00
001077   Trade-in project          SLFM       01/31/19      05 00          3,645.50                             2,187.30            60.76              182.27              2,369.57
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001091 Trade-in project                SLFM       03/31/19      05 00        103,280.50                            58,525.62         1,721.34             5,164.02             63,689.64
001099 Trade-in project                SLFM       04/30/19      05 00         26,237.50                            14,430.63           437.29             1,311.87             15,742.50
001107 Trade-in project                SLFM       06/30/19      05 00         35,420.00                            18,300.33           590.34             1,771.00             20,071.33
001116 Trade-in project                SLFM       07/31/19      05 00         68,462.50                            34,231.25         1,141.04             3,423.12             37,654.37
001121 Trade-in project, BA work       SLFM       08/31/19      05 00         77,852.50                            37,628.71         1,297.54             3,892.62             41,521.33
001128 Trade-in project, BA work       SLFM       11/30/19      05 00         50,577.50                            21,916.92           842.96             2,528.87             24,445.79
001134 Trade-in project, BA work       SLFM       12/31/19      05 00        160,998.00                            67,082.50         2,683.30             8,049.90             75,132.40
001140 Architecture, trade-in proje    SLFM       01/31/20      05 00         67,915.00                            27,166.00         1,131.92             3,395.75             30,561.75
001144 Architecture, trade-in proje    SLFM       02/29/20      05 00         23,285.00                             8,925.92           388.09             1,164.25             10,090.17
001149 Architecture, trade-in proje    SLFM       03/31/20      05 00         46,165.00                            16,927.17           769.42             2,308.25             19,235.42
001151 BA work                         SLFM       04/30/20      05 00          4,180.00                             1,463.00            69.67               209.00              1,672.00
001160 Architecture, trade-in proje    SLFM       06/30/20      05 00         41,880.00                            13,262.00           698.00             2,094.00             15,356.00
001164 Architecture, trade-in proje    SLFM       07/31/20      05 00          9,695.00                             2,908.50           161.59               484.75              3,393.25
001168 Trade-in project, BA work       SLFM       08/31/20      05 00          4,170.00                             1,181.50            69.50               208.50              1,390.00
001171 Trade-in project, BA work       SLFM       09/30/20      05 00         10,390.00                             2,770.67           173.17               519.50              3,290.17
001177 Trade-in project, BA work       SLFM       11/30/20      05 00          7,085.00                             1,653.17           118.09               354.25              2,007.42
001178 Trade-in project                SLFM       11/30/20      05 00         48,406.00                            11,294.73           806.77             2,420.30             13,715.03
001183 Trade-in project, BA work       SLFM       12/31/20      05 00          8,531.00                             1,848.38           142.19               426.55              2,274.93
001184 Trade-in project                SLFM       12/31/20      05 00         48,406.00                            10,487.97           806.77             2,420.30             12,908.27
001185 Trade-in project                SLFM       12/31/20      05 00          9,918.75                             2,149.06           165.31               495.93              2,644.99
001186 Trade-in project                SLFM       12/31/20      05 00        457,679.00                            99,163.78         7,627.99            22,883.95            122,047.73
001187 Trade-in project                SLFM       12/31/20      05 00        101,002.50                            21,883.88         1,683.37             5,050.12             26,934.00
001191 Trade-in project, BA work       SLFM       01/31/21      05 00         20,076.00                             4,015.20           334.60             1,003.80              5,019.00
001196 Trade-in project                SLFM       02/28/21      05 00         98,263.00                            18,014.88         1,637.72             4,913.15             22,928.03
001197 Trade-in project, BA work       SLFM       02/28/21      05 00         16,181.00                             2,966.52           269.69               809.05              3,775.57
001202 Trade-in project                SLFM       03/31/21      05 00         48,406.00                             8,067.67           806.77             2,420.30             10,487.97
001205 Trade-in project                SLFM       04/30/21      05 00         48,406.00                             7,260.90           806.77             2,420.30              9,681.20
001207 Trade-in project                SLFM       05/31/21      05 00         48,406.00                             6,454.13           806.77             2,420.30              8,874.43
001208 Trade-in project                SLFM       05/31/21      05 00         20,980.00                             2,797.33           349.67             1,049.00              3,846.33
001218 Trade-in project                SLFM       06/30/21      05 00          3,867.50                               451.21            64.46               193.37                644.58
001219 Trade-in project                SLFM       06/30/21      05 00         48,406.00                             5,647.37           806.77             2,420.30              8,067.67
001220 Trade-in, BA work               SLFM       06/30/21      05 00         94,056.00                            10,973.20         1,567.60             4,702.80             15,676.00
001225 Trade-in project                SLFM       07/31/21      05 00          2,065.00                               206.50            34.42               103.25                309.75
001227 Trade-in project                SLFM       08/31/21      05 00         48,406.00                             4,033.83           806.77             2,420.30              6,454.13
001236 Trade-in project                SLFM       09/30/21      05 00         96,812.00                             6,454.13         1,613.54             4,840.60             11,294.73
001237 Trade-in project                SLFM       09/30/21      05 00         17,650.00                             1,176.67           294.17               882.50              2,059.17
001238 Trade-in project                SLFM       09/30/21      05 00          2,607.50                               173.83            43.46               130.37                304.20
001244 Trade-in project                SLFM       10/31/21      05 00         15,675.00                               783.75           261.25               783.75              1,567.50
001245 Trade-in project                SLFM       10/31/21      05 00         48,406.00                             2,420.30           806.77             2,420.30              4,840.60
001253 Trade-in project                SLFM       11/30/21      05 00          1,312.50                                43.75            21.87                65.62                109.37
001254 Trade-in project                SLFM       11/30/21      05 00          3,814.00                               127.13            63.57               190.70                317.83
001255 Trade-in project                SLFM       11/30/21      05 00         48,406.00                             1,613.53           806.77             2,420.30              4,033.83
001272 Trade-in project                SLFM       12/31/21      05 00          1,557.50                                25.96            25.96                77.87                103.83
001273 Trade-in project                SLFM       12/31/21      05 00          9,285.00                               154.75           154.75               464.25                619.00
001274 Trade-in project                SLFM       12/31/21      05 00         48,406.00                               806.77           806.77             2,420.30              3,227.07
001275 Trade-in project                SLFM       01/31/22      05 00         48,406.00                                 0.00           806.77             2,420.30              2,420.30
001276 Trade-in project                SLFM       01/31/22      05 00          1,452.50                                 0.00            24.21                72.62                 72.62
001280 Trade-in project                SLFM       02/28/22      05 00         48,406.00                                 0.00           806.77             1,613.53              1,613.53
001281 Trade-in project                SLFM       02/28/22      05 00          2,467.50                                 0.00            41.13                82.25                 82.25
001284 Trade-in project                SLFM       03/31/22      05 00         30,968.00                                 0.00           516.13               516.13                516.13
001285 Trade-in project                SLFM       03/31/22      05 00          4,340.00                                 0.00            72.33                72.33                 72.33
= 160099                                                                 $ 3,707,384.32                       $ 1,639,963.19     $ 58,781.48         $ 176,656.27         $ 1,816,619.46
 transfers                                                                         0.00                                 0.00                                                        0.00

Count = 0
t Subtotal                                                               $ 3,707,384.32                      $ 1,639,963.19      $ 58,781.48         $ 176,656.27         $ 1,816,619.46
unt = 268
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                                                                        Belmont Trading Co., Inc.
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and Total                                                    $ 13,277,491.41                      $ 7,976,264.06    $ 163,512.73        $ 492,527.63        $ 8,468,791.69
 transfers                                                              0.00                                0.00                                                      0.00
Count = 0
and Total                                                    $ 13,277,491.41                      $ 7,976,264.06    $ 163,512.73        $ 492,527.63        $ 8,468,791.69        $ 300,000.00
unt = 951
                                  Case 23-12083           Doc 1        Filed 09/12/23 Entered 09/12/23 17:45:54                        Desc Main
Aged Accounts Receivable                                                                E                                                                                        9/11/2023
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                                                                                                                                                                                    Page 1
Customer No.   Name                     Aging Date (Document Date)   Description           Document Type   Document No. Balance Due Current      31 ‐ 60 Days 61 ‐ 90 Days Over 90 Days
ACACIA         ACACIA COMPONENTS                           5/18/2023 ACACIA COMPONENTS     Payment         COD              (213.72)        ‐             ‐        (213.72)         ‐
ACACIA         ACACIA COMPONENTS                           6/29/2023 Order 128424          Invoice               239257        61.50        ‐           61.50          ‐            ‐
ACACIA         ACACIA COMPONENTS                           7/21/2023 Order 128813          Invoice               239646      108.78      108.78           ‐            ‐            ‐
ACACIA         ACACIA COMPONENTS                            8/9/2023 Order 129164          Invoice               240000      216.94      216.94           ‐            ‐            ‐
AIPCO          AIPCO, INC.                                 7/24/2023 Order 128422          Invoice               239669      690.57      690.57           ‐            ‐            ‐
ALINC          ALINC TECHNOLOGIES LLC                      6/21/2023 Return Order BT6881   Credit Memo           120558     (500.00)        ‐         (500.00)         ‐            ‐
AMAZ           AMAZON                                       7/6/2023 Return Order BT6928   Credit Memo           120571     (594.00)        ‐         (594.00)         ‐            ‐
AMAZ           AMAZON                                      7/11/2023 Order 128642          Invoice               239439        96.00        ‐           96.00          ‐            ‐
AMAZ           AMAZON                                      7/11/2023 Order 128643          Invoice               239440        96.00        ‐           96.00          ‐            ‐
AMAZ           AMAZON                                      7/11/2023 Order 128630          Invoice               239470        22.99        ‐           22.99          ‐            ‐
AMAZ           AMAZON                                      7/11/2023 Order 128631          Invoice               239471         9.99        ‐            9.99          ‐            ‐
AMAZ           AMAZON                                      7/11/2023 Order 128632          Invoice               239472        59.00        ‐           59.00          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Return Order BT6936   Credit Memo           120580       (37.98)       ‐          (37.98)         ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128668          Invoice               239499      192.00         ‐          192.00          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128672          Invoice               239500        96.00        ‐           96.00          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128647          Invoice               239505        68.00        ‐           68.00          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128648          Invoice               239506        68.97        ‐           68.97          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128649          Invoice               239507        75.00        ‐           75.00          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128665          Invoice               239511      132.00         ‐          132.00          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128667          Invoice               239512        22.99        ‐           22.99          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128669          Invoice               239513        22.99        ‐           22.99          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128670          Invoice               239514        22.99        ‐           22.99          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128671          Invoice               239515         9.99        ‐            9.99          ‐            ‐
AMAZ           AMAZON                                      7/13/2023 Order 128675          Invoice               239516        66.00        ‐           66.00          ‐            ‐
AMAZ           AMAZON                                      7/14/2023 Order 128700          Invoice               239531        40.00        ‐           40.00          ‐            ‐
AMAZ           AMAZON                                      7/14/2023 Order 128701          Invoice               239542        80.00        ‐           80.00          ‐            ‐
AMAZ           AMAZON                                      7/17/2023 Order 128715          Invoice               239551        96.00      96.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/17/2023 Order 128716          Invoice               239552        96.00      96.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/17/2023 Order 128713          Invoice               239573        64.00      64.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/17/2023 Order 128714          Invoice               239574         9.99       9.99           ‐            ‐            ‐
AMAZ           AMAZON                                      7/18/2023 Order 128749          Invoice               239593        21.00      21.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/18/2023 Order 128750          Invoice               239594        96.00      96.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/18/2023 Order 128752          Invoice               239595        22.00      22.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/18/2023 Order 128751          Invoice               239596      192.00      192.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/19/2023 Return Order BT6940   Credit Memo           120585       (96.00)    (96.00)          ‐            ‐            ‐
AMAZ           AMAZON                                      7/20/2023 Order 128784          Invoice               239621        21.00      21.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/20/2023 Order 128789          Invoice               239622        96.00      96.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/20/2023 Order 128790          Invoice               239623        96.00      96.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/20/2023 Order 128791          Invoice               239636        22.00      22.00           ‐            ‐            ‐
AMAZ           AMAZON                                      7/27/2023 Return Order BT6950   Credit Memo           120595        (8.99)     (8.99)          ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129112          Invoice               239948      198.00      198.00           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129111          Invoice               239961        19.98      19.98           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129115          Invoice               239962        19.99      19.99           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129116          Invoice               239963        59.43      59.43           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129117          Invoice               239964        22.00      22.00           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129118          Invoice               239965        29.52      29.52           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129119          Invoice               239966        34.00      34.00           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129120          Invoice               239967        49.99      49.99           ‐            ‐            ‐
AMAZ           AMAZON                                       8/7/2023 Order 129121          Invoice               239968        34.00      34.00           ‐            ‐            ‐
AMAZ           AMAZON                                       8/8/2023 Order 129155          Invoice               239991      198.00      198.00           ‐            ‐            ‐
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AMAZ           AMAZON                                 8/9/2023 Order 129160                 Invoice                 240001       38.03        38.03         ‐            ‐            ‐
AMAZ           AMAZON                                 8/9/2023 Order 129170                 Invoice                 240010       29.52        29.52         ‐            ‐            ‐
AMAZ           AMAZON                                 8/9/2023 Order 129175                 Invoice                 240012        9.99         9.99         ‐            ‐            ‐
AMAZ           AMAZON                                8/10/2023 Return Order BT6963          Credit Memo             120612      (96.00)      (96.00)        ‐            ‐            ‐
AMAZ           AMAZON                                8/10/2023 Return Order BT6965          Credit Memo             120613      (21.00)      (21.00)        ‐            ‐            ‐
AMAZ           AMAZON                                8/10/2023 Order 129193                 Invoice                 240030        9.99         9.99         ‐            ‐            ‐
AMAZ           AMAZON                                8/10/2023 Order 129176                 Invoice                 240031       22.00        22.00         ‐            ‐            ‐
AMAZ           AMAZON                                8/10/2023 Order 129192                 Invoice                 240032       66.00        66.00         ‐            ‐            ‐
AMAZ           AMAZON                                8/11/2023 Order 129213                 Invoice                 240047        4.81         4.81         ‐            ‐            ‐
AMAZ           AMAZON                                8/11/2023 Order 129211                 Invoice                 240048       34.00        34.00         ‐            ‐            ‐
AMAZ           AMAZON                                8/11/2023 Order 129212                 Invoice                 240049       19.99        19.99         ‐            ‐            ‐
AMAZ           AMAZON                                8/11/2023 Order 129209                 Invoice                 240050    1,345.00     1,345.00         ‐            ‐            ‐
AMAZ           AMAZON                                8/14/2023 Order 129228                 Invoice                 240059      109.80       109.80         ‐            ‐            ‐
AMAZ           AMAZON                                8/14/2023 Order 129229                 Invoice                 240060       50.00        50.00         ‐            ‐            ‐
AMAZ           AMAZON                                8/14/2023 Order 129230                 Invoice                 240077        9.99         9.99         ‐            ‐            ‐
AMAZ           AMAZON                                8/14/2023 Order 129225                 Invoice                 240080       19.99        19.99         ‐            ‐            ‐
AMAZ           AMAZON                                8/14/2023 Order 129221                 Invoice                 240081       49.99        49.99         ‐            ‐            ‐
AMAZ           AMAZON                                8/14/2023 Order 129226                 Invoice                 240082       49.99        49.99         ‐            ‐            ‐
AMORELE        AMOR ELECTRONICS, INC.                3/31/2023 Order 126792                 Invoice                 237632    1,338.00          ‐           ‐            ‐       1,338.00
AMORELE        AMOR ELECTRONICS, INC.                8/14/2023 Return Order BT6968          Credit Memo             120617     (510.00)     (510.00)        ‐            ‐            ‐
BRIELE         BRISTOL ELECTRONICS                    6/6/2023 Cons Sales May 2023          Payment       DEPOSIT              (127.42)         ‐           ‐        (127.42)         ‐
BRIELE         BRISTOL ELECTRONICS                   7/11/2023 BRISTOL ELECTRONICS ‐ Cons PPayment        DEPOSIT               (50.62)         ‐        (50.62)         ‐            ‐
BRIELE         BRISTOL ELECTRONICS                   8/10/2023 BRISTOL ELECTRONICS ‐ Cons SPayment        DEPOSIT              (172.69)     (172.69)        ‐            ‐            ‐
BTC            BELMONT TRADING CO., INC.             1/13/2023 Order 125647                 Invoice                 236447       60.00          ‐           ‐            ‐          60.00
BTC            BELMONT TRADING CO., INC.             2/13/2023 Order 126020                 Invoice                 236834        0.07          ‐           ‐            ‐           0.07
BTC            BELMONT TRADING CO., INC.             5/17/2023 Order 127670                 Invoice                 238469      128.00          ‐           ‐         128.00          ‐
BTC            BELMONT TRADING CO., INC.             6/27/2023 Order 127331                 Invoice                 239208       92.00          ‐         92.00          ‐            ‐
BTC            BELMONT TRADING CO., INC.             6/27/2023 Order 127524                 Invoice                 239209      446.00          ‐        446.00          ‐            ‐
BTC            BELMONT TRADING CO., INC.              8/7/2023 Order 128919                 Invoice                 239940      136.17       136.17         ‐            ‐            ‐
BTREC          BT Recycling Solutions S de RL d       4/4/2023 Invoice 14293                Invoice                 237884   27,768.53          ‐           ‐            ‐      27,768.53
BTREC          BT Recycling Solutions S de RL d       8/7/2023 Invoice 14337                Invoice                 239986   14,708.96    14,708.96         ‐            ‐            ‐
COMPSYSIN      COMPUTER SYSTEMS INSTITUTE             6/9/2023 Order 128131                 Invoice                 238950      188.00          ‐           ‐         188.00          ‐
COMPSYSIN      COMPUTER SYSTEMS INSTITUTE            7/11/2023 Order 128579                 Invoice                 239432    1,515.80          ‐      1,515.80          ‐            ‐
CSCDEV         CSC DEVICES, LLC                      2/22/2022 Return Order BT6545          Credit Memo             120045   (4,474.00)         ‐           ‐            ‐      (4,474.00)
CSCDEV         CSC DEVICES, LLC                      2/28/2022 Return Order BT6548          Credit Memo             120062   (3,715.00)         ‐           ‐            ‐      (3,715.00)
CSCDEV         CSC DEVICES, LLC                       8/2/2023 Order 129050                 Invoice                 239865      938.31       938.31         ‐            ‐            ‐
DATSER         DATAMAX SERVICES, INC.                5/24/2023 Invoice 14305                Invoice                 238630   16,237.00          ‐           ‐      16,237.00          ‐
DATSER         DATAMAX SERVICES, INC.                7/31/2023 Invoice 14330                Invoice                 239834    5,294.99     5,294.99         ‐            ‐            ‐
DELUXE         DELUXE COMPUTER CORP.                 6/30/2023 Order 128464                 Invoice                 239285    4,085.00          ‐      4,085.00          ‐            ‐
DELUXE         DELUXE COMPUTER CORP.                 7/25/2023 Order 128873                 Invoice                 239706    1,909.00     1,909.00         ‐            ‐            ‐
DERF           DERF ELECTRONIC CORPORATIO             8/9/2023 Order 129167                 Invoice                 240019      600.64       600.64         ‐            ‐            ‐
EBAY5          EBAY5                                 5/25/2023 Return Order BT6883          Credit Memo             120522       (1.00)         ‐           ‐          (1.00)         ‐
EBAY5          EBAY5                                 7/27/2023 Order 03‐10229‐58778 ‐ hold oRefund        EBAY                  109.95       109.95         ‐            ‐            ‐
EBAY5          EBAY5                                  8/7/2023 Order 129136                 Invoice                 239949       87.10        87.10         ‐            ‐            ‐
EBAY5          EBAY5                                  8/7/2023 Order 129134                 Invoice                 239954      135.22       135.22         ‐            ‐            ‐
EBAY5          EBAY5                                  8/7/2023 Order 129135                 Invoice                 239955      266.32       266.32         ‐            ‐            ‐
EBAY5          EBAY5                                  8/7/2023 Order 129132                 Invoice                 239958      270.28       270.28         ‐            ‐            ‐
EBAY5          EBAY5                                  8/7/2023 Order 129148                 Invoice                 239982      283.32       283.32         ‐            ‐            ‐
EBAY5          EBAY5                                  8/8/2023 Order 129139                 Invoice                 239990       72.80        72.80         ‐            ‐            ‐
EBAY5          EBAY5                                  8/8/2023 Order 129156                 Invoice                 239992       75.85        75.85         ‐            ‐            ‐
EBAY5          EBAY5                                  8/8/2023 Order 129159                 Invoice                 239993      519.80       519.80         ‐            ‐            ‐
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EBAY5          EBAY5                        8/8/2023 Order 129163                Invoice          239994     193.74       193.74    ‐   ‐      ‐
EBAY5          EBAY5                        8/8/2023 Order 129157                Invoice          239995      47.95        47.95    ‐   ‐      ‐
EBAY5          EBAY5                        8/8/2023 Order 129158                Invoice          239996      47.95        47.95    ‐   ‐      ‐
EBAY5          EBAY5                        8/8/2023 Order 129161                Invoice          239997   1,016.76     1,016.76    ‐   ‐      ‐
EBAY5          EBAY5                        8/8/2023 Order 129162                Invoice          239998     915.68       915.68    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129171                Invoice          240002   1,091.38     1,091.38    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129174                Invoice          240003     236.83       236.83    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129187                Invoice          240004     113.61       113.61    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129186                Invoice          240005      90.35        90.35    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129173                Invoice          240006      93.07        93.07    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129180                Invoice          240007      93.22        93.22    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129185                Invoice          240008      20.00        20.00    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129188                Invoice          240009     616.69       616.69    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129172                Invoice          240011      99.99        99.99    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129177                Invoice          240013      35.95        35.95    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129179                Invoice          240014     350.00       350.00    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129181                Invoice          240015     240.00       240.00    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129182                Invoice          240016     480.00       480.00    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129183                Invoice          240017      35.95        35.95    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 Order 129184                Invoice          240018      75.96        75.96    ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 canceled ‐ 27‐10364‐29040   Payment   EBAY              (47.00)      (47.00)   ‐   ‐      ‐
EBAY5          EBAY5                        8/9/2023 canceled ‐ 07‐10374‐97210   Payment   EBAY              (47.00)      (47.00)   ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129198                Invoice          240020     122.18       122.18    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129205                Invoice          240021      16.00        16.00    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129168                Invoice          240022     136.65       136.65    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129199                Invoice          240023      32.20        32.20    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129201                Invoice          240024     147.80       147.80    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129202                Invoice          240025     199.58       199.58    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129203                Invoice          240026     208.52       208.52    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129197                Invoice          240027     440.00       440.00    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129200                Invoice          240028     215.35       215.35    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129206                Invoice          240029      16.22        16.22    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129194                Invoice          240033     512.70       512.70    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129195                Invoice          240034      27.00        27.00    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129196                Invoice          240035     100.00       100.00    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129204                Invoice          240036   1,190.05     1,190.05    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129189                Invoice          240037     323.80       323.80    ‐   ‐      ‐
EBAY5          EBAY5                       8/10/2023 Order 129190                Invoice          240038     323.80       323.80    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129219                Invoice          240039     128.82       128.82    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129207                Invoice          240040     248.47       248.47    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129220                Invoice          240041     239.35       239.35    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129218                Invoice          240042     558.90       558.90    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129036                Invoice          240043      64.43        64.43    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129215                Invoice          240044      58.82        58.82    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129217                Invoice          240045     587.64       587.64    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129214                Invoice          240046     102.45       102.45    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129216                Invoice          240051       9.95         9.95    ‐   ‐      ‐
EBAY5          EBAY5                       8/11/2023 Order 129208                Invoice          240052   1,096.92     1,096.92    ‐   ‐      ‐
EBAY5          EBAY5                       8/14/2023 Order 129251                Invoice          240055      51.20        51.20    ‐   ‐      ‐
EBAY5          EBAY5                       8/14/2023 Order 129241                Invoice          240056   1,359.15     1,359.15    ‐   ‐      ‐
EBAY5          EBAY5                       8/14/2023 Order 129243                Invoice          240057   1,359.15     1,359.15    ‐   ‐      ‐
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EBAY5          EBAY5                             8/14/2023 Order 129238          Invoice              240058        16.60      16.60         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129254          Invoice              240061        42.20      42.20         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129250          Invoice              240062        63.41      63.41         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129240          Invoice              240063        99.33      99.33         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129255          Invoice              240064        82.07      82.07         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129256          Invoice              240065       309.28     309.28         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129252          Invoice              240066       224.35     224.35         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129247          Invoice              240067        41.86      41.86         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129253          Invoice              240068       369.53     369.53         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129222          Invoice              240069        61.97      61.97         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129235          Invoice              240070       360.00     360.00         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129232          Invoice              240071       260.00     260.00         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129239          Invoice              240072       170.00     170.00         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129244          Invoice              240073        85.00      85.00         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129236          Invoice              240074       136.65     136.65         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129233          Invoice              240075        24.83      24.83         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129234          Invoice              240076        24.83      24.83         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129257          Invoice              240078        35.95      35.95         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129258          Invoice              240079        35.95      35.95         ‐            ‐           ‐
EBAY5          EBAY5                             8/14/2023 Order 129259          Invoice              240083       206.75     206.75         ‐            ‐           ‐
EBAY5          EBAY5                             8/15/2023 Order 129237          Invoice              240088       136.65     136.65         ‐            ‐           ‐
EBAY5          EBAY5                             8/15/2023 Order 129242          Invoice              240089       233.05     233.05         ‐            ‐           ‐
EBAY5          EBAY5                             8/15/2023 Order 129246          Invoice              240090        32.20      32.20         ‐            ‐           ‐
EBAY5          EBAY5                             8/15/2023 Order 129231          Invoice              240091       137.64     137.64         ‐            ‐           ‐
EBAY5          EBAY5                             8/15/2023 Order 129248          Invoice              240092       152.26     152.26         ‐            ‐           ‐
EBAY5          EBAY5                             8/15/2023 Order 129249          Invoice              240093       135.14     135.14         ‐            ‐           ‐
EBAY5          EBAY5                             8/15/2023 Order 129245          Invoice              240094        58.82      58.82         ‐            ‐           ‐
ERICSSON       Ericsson AB (EAB)                 7/24/2023 Invoice 14334         Invoice              239946    17,037.38  17,037.38         ‐            ‐           ‐
ERICSSON       Ericsson AB (EAB)                 7/24/2023 Invoice 14336         Invoice              239947    17,267.09  17,267.09         ‐            ‐           ‐
ERICSSON       Ericsson AB (EAB)                  8/7/2023 Invoice 14335         Invoice              239945   104,595.61 104,595.61         ‐            ‐           ‐
ERICSSON EUR   Ericsson AB EUR                   5/30/2023 Invoice 14340         Invoice              240086    37,253.47        ‐           ‐      37,253.47         ‐
ERICSSON EUR   Ericsson AB EUR                    7/5/2023 Invoice 14332         Invoice              239943     5,220.88        ‐      5,220.88          ‐           ‐
ERICSSON EUR   Ericsson AB EUR                   7/24/2023 Invoice 14333         Invoice              239944    21,343.70  21,343.70         ‐            ‐           ‐
ERICSSON EUR   Ericsson AB EUR                    8/7/2023 Invoice 14341         Invoice              240087    26,951.30  26,951.30         ‐            ‐           ‐
EXCTEC         EXCESSCHIP TECHNOLOGY, LIM         7/6/2023 07/6/23 OVERPYMT      Payment       WIRE                (57.00)       ‐        (57.00)         ‐           ‐
EXPTEC         EXPRESS TECHNOLOGY, INC.          7/14/2023 Order 128706          Invoice              239521       170.00        ‐        170.00          ‐           ‐
GRACITY        GRAND CITY TELECOM                6/21/2023 Return Order BT6897   Credit Memo          120555    (1,635.00)       ‐     (1,635.00)         ‐           ‐
HONOR          HONORFOIL TECHNOLOGIES LTD         5/9/2022 Return Order BT6573   Credit Memo          120096      (294.72)       ‐           ‐            ‐       (294.72)
HYLTA          Hylta Ecopark AB                  5/11/2023 Invoice 14306         Invoice              238654     1,837.92        ‐           ‐            ‐      1,837.92
HYLTA          Hylta Ecopark AB                  5/17/2023 Invoice 14307         Invoice              238655     2,049.24        ‐           ‐       2,049.24         ‐
HYLTA          Hylta Ecopark AB                  5/24/2023 Invoice 14308         Invoice              238656       216.52        ‐           ‐         216.52         ‐
HYLTA          Hylta Ecopark AB                   6/1/2023 Invoice 14316         Invoice              239231     3,658.26        ‐           ‐       3,658.26         ‐
HYLTA          Hylta Ecopark AB                   6/8/2023 Invoice 14317         Invoice              239232     1,326.58        ‐           ‐       1,326.58         ‐
HYLTA          Hylta Ecopark AB                  6/15/2023 Invoice 14318         Invoice              239233     1,394.00        ‐           ‐       1,394.00         ‐
HYLTA          Hylta Ecopark AB                  6/30/2023 Invoice 14321         Invoice              239310       505.66        ‐        505.66          ‐           ‐
HYLTA          Hylta Ecopark AB                   7/6/2023 Invoice 14324         Invoice              239493     1,658.80        ‐      1,658.80          ‐           ‐
HYLTA          Hylta Ecopark AB                  7/13/2023 Invoice 14325         Invoice              239494     1,964.96        ‐      1,964.96          ‐           ‐
HYLTA          Hylta Ecopark AB                  7/27/2023 Invoice 14328         Invoice              239800       296.78     296.78         ‐            ‐           ‐
HYLTA          Hylta Ecopark AB                   8/3/2023 Invoice 14338         Invoice              240084     2,092.81   2,092.81         ‐            ‐           ‐
HYLTA          Hylta Ecopark AB                  8/10/2023 Invoice 14339         Invoice              240085     1,592.13   1,592.13         ‐            ‐           ‐
MLGVEN         MLG VENTURES INC.                 1/31/2022 Return Order BT6543   Credit Memo          120029    (2,350.00)       ‐           ‐            ‐     (2,350.00)
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Aged Accounts Receivable                                                       E                                                                                     9/11/2023
Belmont Trading Co.
                                                              Document Exhibit
                                                                            Page 77 of 104                                                                              galinab
                                                                                                                                                                        Page 5
OEMEX          OEM EXCESS LIMITED                 5/20/2022 OEMEX CTA             Payment       WIRE               (164.00)        ‐            ‐            ‐       (164.00)
OEMEX          OEM EXCESS LIMITED                 9/28/2022 Return Order BT6682   Credit Memo          120256      (353.70)        ‐            ‐            ‐       (353.70)
PPMREC         PPM RECYCLING LLC                  8/10/2023 PPM RECYCLING LLC     Payment       WIRE            (48,246.00) (48,246.00)         ‐            ‐           ‐
PRISELE        PRISM ELECTRONICS                  6/30/2022 PRISELE CTA           Payment       WIRE             (2,501.88)        ‐            ‐            ‐     (2,501.88)
RAKI           R.A.K.I COMPUTERS                   5/3/2022 RAKI CTA              Payment       WIRE             (1,554.64)        ‐            ‐            ‐     (1,554.64)
RITEIN         RINCON TECHNOLOGY, Inc             7/28/2023 Order 128953          Invoice              239782       550.00      550.00          ‐            ‐           ‐
SAKON          SAKON                              7/12/2023 Invoice 14322         Invoice              239475    11,109.00         ‐      11,109.00          ‐           ‐
SAKON          SAKON                              8/15/2023 Invoice 14342         Invoice              240097    11,465.50   11,465.50          ‐            ‐           ‐
SELIMA         SECOND LIFE MAC                    7/31/2023 Invoice 14329         Invoice              239823    13,710.50   13,710.50          ‐            ‐           ‐
SWJUN          SWJ UNIPESSOAL LDA                  8/2/2023 SWJ UNIPESSOAL LDA    Payment       WIRE             (1,372.58)  (1,372.58)         ‐            ‐           ‐
SYNIND         SYNERGY INDUSTRIAL CORP.            7/7/2023 Order 128436          Invoice              239415     2,190.00         ‐       2,190.00          ‐           ‐
SYNIND         SYNERGY INDUSTRIAL CORP.           7/25/2023 Order 128780          Invoice              239707     9,570.50    9,570.50          ‐            ‐           ‐
SYNIND         SYNERGY INDUSTRIAL CORP.           7/27/2023 Return Order BT6949   Credit Memo          120596    (1,176.00)  (1,176.00)         ‐            ‐           ‐
TECHER         TECH HERDS LLC                      6/1/2023 Order 127952          Invoice              238785        20.00         ‐            ‐          20.00         ‐
VALUTRADE      Valu‐Trade Inc                      8/2/2023 Invoice 14331         Invoice              239863     2,300.00    2,300.00          ‐            ‐           ‐
VOLKOVSKY      VOLKOVSKY, VLADISLAV               7/13/2023 Order 127787          Invoice              239496     1,000.00         ‐       1,000.00          ‐           ‐
VT             VIBRANT TECHNOLOGIES, INC          7/13/2023 Order 128674          Invoice              239495       600.00         ‐         600.00          ‐           ‐
                                                                                                                332,730.95 226,079.53     28,925.91    62,128.93   15,596.58




                                                                                                                                                      317,134.37
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Fill in this information to identify the case:

Debtor name         Belmont Trading Co., Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1   KASSEL FINANCING LLC                         Describe debtor's property that is subject to a lien                $3,453,702.14             $2,679,853.31
      Creditor's Name                              All tangible and intangible personal property,
                                                   including, but not limited to: (a) inventory, (b)
                                                   equipment, (c) instruments,
      C/O ALHADEFF & ROUSSO                        including promissory notes (d) chattel paper,
      LAW, P.A.                                    including tangible chattel paper and
      11900 BISCAYNE BLVD 289                      electronic chattel paper
      Miami, FL 33181
      Creditor's mailing address                   Describe the lien
                                                   UCC Lien, Mortgage
                                                   Is the creditor an insider or related party?
      sree@rothreddy.com                               No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      May 1, 2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                           Contingent
          Yes. Specify each creditor,                  Unliquidated
      including this creditor and its relative         Disputed
      priority.



      U.S. Small Business
2.2                                                                                                                      $350,000.00             $2,679,853.31
      Administration                               Describe debtor's property that is subject to a lien
      Creditor's Name                              All tangible and intangible personal property,
                                                   including, but not limited to: (a) inventory, (b)
                                                   equipment, (c) instruments,
                                                   including promissory notes (d) chattel paper,
                                                   including tangible chattel paper and
      2 North Street Suite 320                     electronic chattel paper
      Birmingham, AL 35203
      Creditor's mailing address                   Describe the lien
                                                   UCC Lien
                                                   Is the creditor an insider or related party?
      David.DeCelles@usdoj.gov                         No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      June 14, 2020                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
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            Name

      Last 4 digits of account number
      7903
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




                                                                                                                           $3,803,702.1
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       4

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Kate O'Loughlin
       US Small Business Administration                                                                   Line   2.2
       500 W. Madison Suite 1150
       Chicago, IL 60661

       Keevan Morgan
       Morgan & Bley Ltd.                                                                                 Line   2.1
       900 Jackson Blvd Suite 4
       Chicago, IL 60601-1000

       U.S. Small Business Administration
       409 3rd St SW,                                                                                     Line   2.2
       Washington, DC 20024

       United States Attorney
       Civil Process Clerk                                                                                Line   2.2
       219 South Dearborn Street, Room 500
       Chicago, IL 60604
       David.DeCelles@usdoj.gov




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
                Case 23-12083                 Doc 1          Filed 09/12/23 Entered 09/12/23 17:45:54                                              Desc Main
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Fill in this information to identify the case:

Debtor name        Belmont Trading Co., Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $26,011.13         $26,011.13
          AXA                                                  Check all that apply.
          1290 Avenue of the Americas                             Contingent
          4th Floor                                               Unliquidated
          New York, NY                                            Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Second Quarter 2023 Employee retirement
                                                               match
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $115,541.55
          American Express                                                       Contingent
          P.O. Box 981537                                                        Unliquidated
          El Paso, TX 79998                                                      Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim: Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $37,117.62
          Applied Ergonomics                                                     Contingent
          3401 Madison St,                                                       Unliquidated
          Skokie, IL 60076                                                       Disputed
          Date(s) debt was incurred 12/1/2021
                                                                             Basis for the claim: Furniture and Flooring for office
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 8
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3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $45,003.32
         AT&T                                                         Contingent
         PO Box 5014                                                  Unliquidated
         Skokie, IL 60077                                             Disputed
         Date(s) debt was incurred 4/1/2023
                                                                   Basis for the claim: Network Security Service - VM Scanning IntPen &
         Last 4 digits of account number                           RNA Device
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11,375.00
         Awara IT Consulting                                          Contingent
         Bolshaya Sadovaya St., 10                                    Unliquidated
         Moscow, RU 12300-1000                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Microsoft Dynamics srvcs EU and CO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $937.00
         Blancco US                                                   Contingent
         PO Box 120620                                                Unliquidated
         East Troy, WI 53120                                          Disputed
         Date(s) debt was incurred 7/31/2023
                                                                   Basis for the claim: software provider
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $532,451.05
         BT Recycling Solutions S de RL deCV
         Paseo del Valle 4915, Parque Ind.                            Contingent
         Guadalajara Technology Park 45010                            Unliquidated
         Zapopan, Jalisco, Mexico, MX                                 Disputed
         Date(s) debt was incurred 7/11/2022                       Basis for the claim: raw materials
         Last 4 digits of account
         number ConsueloV@belmont-reading.com                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $192,300.00
         Coherent Solutions                                           Contingent
         1600 Utica Ave S Ste 120,                                    Unliquidated
         Minneapolis, MN 55416                                        Disputed
         Date(s) debt was incurred 11/15/2021
                                                                   Basis for the claim: consulting services for Belmont Russia Operations
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $24,857.12
         COMCAST                                                      Contingent
         PO Box 8587                                                  Unliquidated
         Philadelphia, PA 19101                                       Disputed
         Date(s) debt was incurred 07/27/2023
                                                                   Basis for the claim: IT services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,614.41
         Comimtel Sociedad Anonima Cerrada                            Contingent
         Av. Alfredo Mendiola 8016,                                   Unliquidated
         San Martín de Porres 15314                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: recycling services transportation
         Last 4 digits of account
         number info@comimtel.com                                  Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 8
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            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $432,930.38
         Commnet Telecom Ltd                                          Contingent
         9 Hung To Rd                                                 Unliquidated
         Kwun Tong, Kwun Tong District                                Disputed
         Hong Kong
                                                                   Basis for the claim: Loan for purchase of materials
         Date(s) debt was incurred 8/26/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,250.69
         CSC DEVICES, LLC                                             Contingent
         7123 AZALEA LN                                               Unliquidated
         jjohnson@cscdevices.com                                      Disputed
         Dallas, TX 75230
                                                                   Basis for the claim: Funds for Returned Merchandise
         Date(s) debt was incurred Febrauary 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,166.34
         CW Worldwide                                                 Contingent
         24560 Kings Rd,                                              Unliquidated
         Crete, IL 60417                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: shipping services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,825.20
         Databank Holdings                                            Contingent
         PO Box 732200                                                Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred 5/3/2023
                                                                   Basis for the claim: Equipment order
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,825.00
         DSS Logistics                                                Contingent
         PO Box 1404                                                  Unliquidated
         Lyman, SC 29365                                              Disputed
         Date(s) debt was incurred 8/25/2023
                                                                   Basis for the claim: transportation
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $597,686.70
         Eastlink Intl Industrial Ltd.                                Contingent
         Unit 803-04, 8/F Nanyang Plaza                               Unliquidated
         Hung To Rd,                                                  Disputed
         Kwun Tong, Hong Kong
                                                                   Basis for the claim: Loan for material purchases
         Date(s) debt was incurred 09/01/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $153,580.93
         Ericsson AB EUR                                              Contingent
         Torshamnsgatan 21                                            Unliquidated
         164 83 Stockholm                                             Disputed
         164 83 Stockholm, Sweeden
                                                                   Basis for the claim: Amounts owed from processing materials
         Date(s) debt was incurred 3/10/2023-06/16/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 8
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Debtor      Belmont Trading Co., Inc.                                                       Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $53,072.14
         Ericsson, Inc.                                               Contingent
         1300 Woodfield Rd                                            Unliquidated
         Schaumburg, IL 60173                                         Disputed
         Date(s) debt was incurred 4/4/23
                                                                   Basis for the claim: Amounts owed from processing materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $56,246.25
         EWASTE+                                                      Contingent
         7318 Victor Mendon Rd                                        Unliquidated
         Victor, NY 14564                                             Disputed
         Date(s) debt was incurred 4/30/2023 to5/4/2023
                                                                   Basis for the claim: Amounts owed from processing materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,638.35
         Fed Ex Freight                                               Contingent
         C T CORPORATION SYSTEM                                       Unliquidated
         208 SO LASALLE ST, SUITE 814                                 Disputed
         Chicago, IL 60604
                                                                   Basis for the claim: Shipping services
         Date(s) debt was incurred 6/29/2023 to 8/2/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $105,550.00
         FGMK, LLC                                                    Contingent
         2801 Lakeside Dr                                             Unliquidated
         Deerfield, IL 60015                                          Disputed
         Date(s) debt was incurred 11/19/2021 to 1/25/2023
                                                                   Basis for the claim: Prepare International Taxes Inc., Tax Planning and
         Last 4 digits of account number                           Projection Income Tax Planning , Prep of Income Tax Return 2021,
                                                                   Preparation of Income Tax Returns, Assistance with IRS Transcript
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,017.80
         GALAXY TELECOM (HK) LTD.                                     Contingent
         12-22, 26/F, 1 Hung To Road,                                 Unliquidated
         Kwun Tong                                                    Disputed
         Hong Kong
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number hk@gsmtele.com            Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $259,850.13
         GameStop, Inc.                                               Contingent
         625 Westport Pkwy.                                           Unliquidated
         Grapevine, TX 76051                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: proceeds from equipment processing
         Last 4 digits of account number 2002
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,030.25
         Gruppo Mercantile Servizi s.r.l.                             Contingent
          Via Francesco Cherubini 6,                                  Unliquidated
         20145 Milano                                                 Disputed
         MI, Italy
                                                                   Basis for the claim: technology recycling
         Date(s) debt was incurred 5/31/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Belmont Trading Co., Inc.                                                       Case number (if known)
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,590.00
         GSMA Ltd.                                                    Contingent
         1000 Abernathy Road Suite 450                                Unliquidated
         Atlanta, GA 30328                                            Disputed
         Date(s) debt was incurred 2/1/2022 to 7/1/2022
                                                                   Basis for the claim: Device Checks
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,819.31
         Integrity Law Group, PLLC                                    Contingent
         6th Ave #920                                                 Unliquidated
         jmishkin@ilgseattle.com                                      Disputed
         Seattle, WA 98121
                                                                   Basis for the claim: Litigation Counsel in Tmobile Lawsuit
         Date(s) debt was incurred 6/23/23 to 8/8/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $105,250.00
         Jacob Kassel LLC                                             Contingent
         1060 Brickell Ave.                                           Unliquidated
         Miami, FL 33131                                              Disputed
         Date(s) debt was incurred 3/9/2023 to 4/14/2023
                                                                   Basis for the claim: Loan for purchase of materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,225.00
         Kuehne+Nagel                                                 Contingent
         Exchange Place 10                                            Unliquidated
         Jersey City, NJ 07302                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account
         number info.usa@nacora.com                                Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $57,205.04
         Microsoft Corporation                                        Contingent
         One Microsoft Way                                            Unliquidated
         Redmond, WA 98052                                            Disputed
         Date(s) debt was incurred 9/30/2021 to 3/7/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,528.71
         PalAmerican Security Inc.                                    Contingent
         1000 Jorie Blvd Suite 42                                     Unliquidated
         Oak Brook, IL 60523                                          Disputed
         Date(s) debt was incurred 6/17/23-8/5/23
                                                                   Basis for the claim: security service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $56,840.71
         Piceasoft Ltd                                                Contingent
         Polttimonkatu 3, 33210                                       Unliquidated
         Tampere Finland                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Software for trading business for foreign subsidary
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,330.30
         Pitney Bowes Global                                          Contingent
         PO Box 371887                                                Unliquidated
         Pittsburgh, PA 15250                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: mail system lease
         Last 4 digits of account number 8201
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,210.00
         Quench USA, Inc.                                             Contingent
         630 Allendale Rd Ste 200,                                    Unliquidated
         King of Prussia, PA 19406                                    Disputed
         Date(s) debt was incurred 1/1/23 to 6/30/23
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,392.65
         Recipero Ltd                                                 Contingent
         720 S. Colorado Blvd                                         Unliquidated
         Denver, CO 80246                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Software
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $41,958.01
         Sarnoff & Baccash                                            Contingent
         2 N La Salle St # 1000                                       Unliquidated
         Chicago, IL 60602                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 2020 Real Estate Taxes and Asses.
         Last 4 digits of account number 2022                      2021 Real Estate Assessment and Taxes
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,316.50
         Schupan Asset Management                                     Contingent
         216 Peekstok Dr,                                             Unliquidated
         Kalamazoo, MI 49001                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: IT asset disposable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $515,939.50
         SCT Alternative, Inc.                                        Contingent
         1655 Barclay Blvd                                            Unliquidated
         Buffalo Grove, IL 60089                                      Disputed
         Date(s) debt was incurred 3/8/20 to 12/18/2021
                                                                   Basis for the claim: software company
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,000,000.00
         Shmouel Yaari                                                Contingent
         252 E 57th St 42D                                            Unliquidated
         New York, NY 10022                                           Disputed
         Date(s) debt was incurred 4/30/2020    to 5/1/2020        Basis for the claim: Shareholder Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 8
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Debtor       Belmont Trading Co., Inc.                                                              Case number (if known)
             Name

3.38      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $61,625.00
          Sikich LLP                                                           Contingent
          1415 W Diehl Rd STE 400                                              Unliquidated
          Naperville, IL 60563                                                 Disputed
          Date(s) debt was incurred 11/29/21 to 7/15/2022
                                                                           Basis for the claim: Business consulting
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.39      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $550,490.75
          Sipi Metals Corp                                                     Contingent
          1720 N Elston Ave                                                    Unliquidated
          Chicago, IL 60642                                                    Disputed
          Date(s) debt was incurred 4/1/2023 to 5/31/2023
                                                                           Basis for the claim: Prossesing of Materials
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.40      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $6,592,434.66
          T-Mobile USA, Inc                                                    Contingent
          12920 Se 38th St.                                                    Unliquidated
          Bellevue, WA 98006                                                   Disputed
          Date(s) debt was incurred 10/29/2021 to 1/20/2022
                                                                           Basis for the claim: amounts due from refurbishing phones for resale
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.41      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,003.83
          TForce Freight                                                       Contingent
          710 Belden Ave                                                       Unliquidated
          Addison, IL 60101                                                    Disputed
          Date(s) debt was incurred 01/11/2022
                                                                           Basis for the claim: freight transportation
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.42      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $222,387.00
          Veridic Technologies PVT. LTD                                        Contingent
          2 Broadwater Way,                                                    Unliquidated
          Worthing,                                                            Disputed
          West Sussex BN BN149LP
                                                                           Basis for the claim: technology consultant
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.43      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $14,977.42
          Veritiv Operating Company                                            Contingent
          2000 Deerpath Road                                                   Unliquidated
          Suite 100                                                            Disputed
          Aurora, IL 60502
                                                                           Basis for the claim: Cell Partitions & Boxes
          Date(s) debt was incurred 2/17/2022
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 8
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Debtor      Belmont Trading Co., Inc.                                                   Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.1       Bernick Lifson, P.A.
          600 Highway 169 South, Suite 1700                                            Line     3.7                                  3678
          Minneapolis, MN 55426
                                                                                              Not listed. Explain

4.2       David I Swan
          Hirschler                                                                    Line     3.40                                 erla
          8270 Greensboro Drive, Suite 700
                                                                                              Not listed. Explain
          Mc Lean, VA 22102


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                    26,011.13
5b. Total claims from Part 2                                                              5b.    +     $                11,943,391.62

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                   11,969,402.75




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 8 of 8
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Fill in this information to identify the case:

Debtor name       Belmont Trading Co., Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            4 year term lease
           lease is for and the nature of        Guarantor of
           the debtor's interest                 equipment lease for
                                                 built dividers and
                                                 cages more fully
                                                 descibed as of the
                                                 following

                                                 30 KT32D-048-AA 48"
                                                 long x 3-1/4" Teardrop
                                                 Beam Slotted Int.
                                                 Orange
                                                 1,184 KT36D-096-AA
                                                 96" long x 3-3/4"
                                                 Teardrop Beam Slotted
                                                 Int. Orange
                                                 232
                                                 UT42192NDCT0AN0 16'
                                                 high x 42" deep
                                                 Teardrop Upright Lt
                                                 Green
                                                 168 AFRS3-12 12" Row
                                                 Spacer Galv
                                                 232 BP2-34-50-13 Shim
                                                 Plate, 3 1/2" Wide x 5"
                                                 Deep, 1/8" Thick Galv
                                                 464 H607 1/2" x 4-1/2"
                                                 Concrete Anchor Bolt
                                                 Galv
                                                 1,184
                                                 ND4246S3SC254046A0
                                                 0P Wire Mesh Deck 42"
                                                 deep x 46" wide Galv
               State the term remaining          2 year
                                                                                    APEX Capital Partners
           List the contract number of any                                          391 Charles Court
                 government contract                                                West Chicago, IL 60185




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
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Debtor 1 Belmont Trading Co., Inc.                                               Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.2.      State what the contract or        555 Huehl Road
          lease is for and the nature of    Northbrook, IL 60062
          the debtor's interest             Approximtly 78,483
                                            sqaure foot building
                                            with warehouse and
                                            office space.
                                            Triple net rent of
                                            $16,000 per month 2
                                            year tem lease begining
                                            on July 17, 2020 and
                                            auto renewal for an
                                            additional 2 year term.
             State the term remaining
                                                                        IBYS Partners, LLC
          List the contract number of any                               555 HUEHL ROAD
                government contract                                     Northbrook, IL 60062


2.3.      State what the contract or        postage meter 12
          lease is for and the nature of    month agreement at
          the debtor's interest             11.99 per moth

             State the term remaining       8 monts
                                                                        Quadient
          List the contract number of any                               3130 W. Maple Loop, Suite 202
                government contract                                     Lehi, UT 84043




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
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Fill in this information to identify the case:

Debtor name      Belmont Trading Co., Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Igor Boguslavsky            15811 Collins Ave Spt 1404                                U.S. Small Business                D   2.2
                                      North Miami Beach, FL 33160                               Administration                     E/F
                                                                                                                                   G




   2.2    Shmouel Yaari               252 E 57th St 42D                                         U.S. Small Business                D   2.2
                                      New York, NY 10022                                        Administration                     E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Belmont Trading Co., Inc.                                                                        Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 30,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                 10,000.00

2.   $      1,738.00       of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods. Representation of the debtors in any dischargeability
             actions, judicial lien avoidances, relief from stay actions or any other adversary proceeding.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 12, 2023                                                       /s/ O. Allan Fridman
     Date                                                                     O. Allan Fridman 6274954
                                                                              Signature of Attorney
                                                                              Law Office of Allan Fridman
                                                                              555 Skokie Blvd 500
                                                                              Northbrook, IL 60062
                                                                              847-412-0788 Fax: 847-412-0898
                                                                              allan@fridlg.com
                                                                              Name of law firm
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                         RETAINER AGREEMENT
                     BETWEEN O. ALLAN FRIDMAN,
         AS ATTORNEYS, AND BELMONT TRADING CO., INC. AS CLIENT


                                            Preambles

         Whereas, s BELMONT TRADING CO., INC (“the Debtor”) has experienced financial
 difficulties and cannot currently pay its creditors according to the terms of installment
 agreements; and

       Whereas, due to the financial difficulties the Client has determined to file a Chapter
 11 Bankruptcy;

       Whereas the Client and the Attorneys desire to reduce to writing the terms of the
 Agreement regarding the Attorneys' representation of the Client in relation to the Chapter 11
 case;

         Now therefore, in consideration of the obligations of the Attorneys and the Client set
 forth herein, the Parties hereby agree as follows:

                                Article 1. The Attorneys' Duties
         1.1 The Attorneys shall represent generally the Client in the workout/Chapter 11
 proceeding, including negotiating a plan of reorganization, drafting of a disclosure statement,
 and the various administrative duties attendant to such a case. The Client understands that some
 of the matters involved may be complex. Client understands that further investigation by the
 Attorneys and/or other future events may from time to time change the Attorneys' advice
 regarding any and all matters brought to them, perhaps materially so. The Attorneys are not
 obligated to begin or to continue to prosecute or defend any claim that in their sole professional
 judgment is or becomes objectively or subjectively frivolous, can only be brought in bad faith,
 or whose continued prosecution comes to constitute bad faith, violates or comes to violate any
 rule or code of professional ethics, or has or comes to have so little chance of success on the
 merits that it is not reasonable to expect the Attorneys to continue to invest their time in the
 prosecution thereof. The Attorneys may advise Client to settle any or all of Client's particular
 matters in which they become involved.

         1.2 If the Client should not act with absolute honesty and integrity with the Attorneys,
 then the Attorneys may either decline to represent the Client or discontinue such representation
 immediately and in either such case, the Client agrees not to object to the Attorneys' withdrawal
 for such reasons in any way.

         1.3 Nothing in this Agreement shall prohibit either of the Parties from describing or
 clarifying the Attorneys' representation regarding a particular matter.


                          Article 2. The Attorneys' Authority To Act
 2.1 In matters of professional responsibility, the Attorneys shall act in their own discretion as
 they deem proper under the applicable rules of court and the Illinois Code of Professional
 Responsibility and/or the Rules of the United States District Court/Bankruptcy Court for the
 Northern District of Illinois, or such other court(s) wherein the Attorneys may come to

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 represent the Client (collectively "ICPR"), and without any direction from the Client. However,
 the Client remains free to comment on any aspect of the Attorneys' professional conduct and is
 encouraged by the Attorneys to do so at any time.


         2.2 The Attorneys recognize that it is the Attorneys' general duty to carry out the
 directions of their principal, the Client, but the Client recognizes that their agents, the
 Attorneys, are possessed of special skills and training in legal matters beyond those of the
 Client. Therefore, in matters of general strategy, the Attorneys shall follow the general
 directions of the Client where such direction does not impinge upon the Attorneys professional
 responsibilities in any or all matters, or the Attorneys' professional judgment in matters
 concerning which a full consultation with the Client is not practical-for example, and certainly
 without limitation, how to proceed in open court, when Client cannot be reached, or when
 immediate action is needed.
         2.3 Anything herein to the contrary notwithstanding, nothing herein shall be construed
 to limit the Attorneys ' responsibilities under the ICPR, but it is the Parties ' desire that the
 provisions hereof be liberally construed to the extent possible to conform to said [ICPR. Should
 any provision hereof be found to violate the said [CPR, such finding shall not affect the
 remaining provisions hereof unless such finding would substantially and materially affect the
 basic purposes hereof, which are to provide the Client with legal representation and to provide
 for reasonable payment to the Attorneys.


                                 Article 3. The Attorneys' Fees

         3.1 The Debtor has agreed to pay the Attorneys a retainer of Thirty Thousand Dollars
 ($30,000.00) plus filing fees subject to court approval. The Bankruptcy Court may award
 future retainers and fees.

         3.2. All retainers described herein, including all future retainers, are expressly agreed
 to be "advance payment retainers" as described in In re Production Associates, Ltd. , 264 B.R.
 180 (Bkrtcy.N.D.I11.2001) and Dowling v. Chicago Options Associates, Inc., 2007 WL
 1288279 (111.). The Attorneys will commingle the retainer and any future retainer(s)
 immediately upon receipt with their general funds being obligated only to refund an amount
 equal to the unearned portion thereof, if any (and not the actual retainer funds themselves),
 promptly after the termination of the Attorneys ' services. Ordinarily, Client has the option to
 request that the retainer be considered a "security retainer" where Client continues to have an
 interest in the funds, but Client recognizes and agrees that the Attorneys would not undertake
 the representation on that basis. The Attorneys are obligated by the Dowling case to advise
 Client of the reason they would decline to represent Client on a security retainer bases, and that
 reason is the Attorneys do not desire even potentially to compete with the creditors of the
 debtor-Client. This is advantageous to Client in the Attorneys' opinion because the Dowling
 case makes specific reference to creditor problems as a reason justifying the advance payment
 retainer over the security retainer.

         3.3. The Parties hereto understand and acknowledge that the amount of services to be
 provided by the Attorneys and the outcome of the representation are extremely difficult to
 predict. Compensation will be paid to the Attorneys at their customary hourly rates (including
 all para-professional staff) as they exist from time to time. The rates are currently $450.00 for


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 O. Allan Fridman changes in rates will be shown on statements sent to the Client by showing
 each hourly rate being charged for the period involved in the bill.

         3.4 All costs charged to the Client, all expenses incurred, and disbursements made by
 the Attorneys on the Client's behalf in connection with this matter will be payable by the Client
 in addition to the professional fees. Such expenses typically include but are not limited to:
 accountants or other expert witnesses and consultants, transcripts, long distance telephone
 calls, photocopying, messengers, travel costs (both local and longer distances), and electronic
 mail services. The foregoing list is by way of example only, and the omission of any charge,
 expense, or disbursement from said list is not intended as a limitation for such possible charges.
 The Client is responsible for, and shall pay immediately when billed, for the Attorneys' out of
 pocket costs and for certain expenses billed at standard rates without an exact computation of
 the Attorneys' costs (such as photocopies not sent to an outside service).

        3.5 The Attorneys will be paid through the presentation of applications for
 compensation presented to and subject to the approval of the bankruptcy court. The Client may
 be heard regarding any requested fees and reimbursement of requested expenses.

         3.6 Client acknowledges s/he/it understands that:

 A.     This is NOT a “flat fee” case, but rather the lawyer’s fees are calculated on the
 basis of the number of hours the lawyer works times the lawyer’s hourly rate.

 _______ [Please Initial]

 B.     Depending on how many hours the lawyer works, the lawyer’s bill may be greater
 than the initial retainer and even subsequent retainers, perhaps substantially so.

 _______ [Please Initial]

 C.    All retainers called for in this Agreement become solely the lawyer’s property
 when paid, subject to the return to the Client of any unused hourly portion thereof after
 payment of the Client’s costs, all as more fully described above.

 ______ [Please Initial]


 D.     The Client’s costs described above are IN ADDITION TO the lawyer’s fees.

 _______ [Please Initial]

 E.    If the lawyer’s fees and costs are approved by a Bankruptcy Court, the
 Bankruptcy Court generally also allows the lawyer to charge for the preparation of the
 Court papers and Court papers and other work necessary to obtain payment of the
 lawyer’s fees and costs.

 _______[Please Initial]




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                                 Article 4. General Provisions

         4.1 This Agreement shall be construed under a rule of reasonableness at the time it was
 entered, examining any provision thereof with a mind that the Parties hereto were acting in
 good faith and without oppression, attempting to reach a fair and equitable means on which the
 Attorneys could pursue the Client's interests on behalf of the Client and be paid the reasonable
 fees provided for herein. All actions taken in accordance herewith shall be construed under a
 rule of reasonableness as of the time they were taken.

         4.2 This Agreement shall be construed according to the laws of the State of Illinois,
 where it arose, and where it shall substantially or totally be performed. For these reasons, also,
 venue of any dispute arising out of this Agreement is hereby set exclusively in any Court having
 subject matter jurisdiction located in Cook County, Illinois, and the Parties agree to submit to
 the jurisdiction of any such Court.

 4.3 The Client may discharge the Attorneys at will.

 4.4 This Agreement may be signed in Counterparts.

                     Article 5. Legal Advice Regarding This Agreement

         5.1 The Attorneys are not representing the Client regarding its entering this Agreement,
 nor are they rendering any legal advice to the Client regarding same.

          5.2 The Client acknowledges and represents that the Attorneys have advised it that it
 should
 retain its own independent legal opinion (meaning from legal counsel other than the attorneys)
 regarding it entering this Agreement with the Attorneys, and that the Client has indeed obtained
 that independent legal advice or has knowingly waived its right to obtain such independent
 advice.
          The Client is strongly urged and entreated by the Attorneys to obtain such outside,
 independent, legal opinion of the lawyer or lawyers of its choice before entering this
 Agreement, and to have said independent attorneys make any inquiries regarding this
 Agreement as they may so desire.


 AGREED
 Belmont Trading Co., Inc.
 ___________________________________             _____________________________________
 Igor Boguslavsky, Its President                           O. Allan Fridman




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                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re    Belmont Trading Co., Inc.                                                                               Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Igor Boguslavsky as Trustee                                 Common                500
Boguslavsky Declaaration of Trust
15811 Collins Ave. Apt 2901
Miami, FL 33163

Shmouel Yaari                                               Common                500
252 E 57th St 42D
New York, NY 10022


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 12, 2023                                                  Signature /s/ Igor Boguslavsky
                                                                                        Igor Boguslavsky

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                         Debtor(s)              Chapter    11




                                    VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                             56




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   September 12, 2023                    /s/ Igor Boguslavsky
                                              Igor Boguslavsky/President
                                              Signer/Title
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                      American Express
                      P.O. Box 981537
                      El Paso, TX 79998


                      APEX Capital Partners
                      391 Charles Court
                      West Chicago, IL 60185


                      Applied Ergonomics
                      3401 Madison St,
                      Skokie, IL 60076


                      AT&T
                      PO Box 5014
                      Skokie, IL 60077


                      Awara IT Consulting
                      Bolshaya Sadovaya St., 10
                      Moscow, RU 12300-1000


                      AXA
                      1290 Avenue of the Americas
                      4th Floor
                      New York, NY


                      Bernick Lifson, P.A.
                      600 Highway 169 South, Suite 1700
                      Minneapolis, MN 55426


                      Blancco US
                      PO Box 120620
                      East Troy, WI 53120


                      BT Recycling Solutions S de RL deCV
                      Paseo del Valle 4915, Parque Ind.
                      Guadalajara Technology Park 45010
                      Zapopan, Jalisco, Mexico, MX


                      Coherent Solutions
                      1600 Utica Ave S Ste 120,
                      Minneapolis, MN 55416


                      COMCAST
                      PO Box 8587
                      Philadelphia, PA 19101
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                  Comimtel Sociedad Anonima Cerrada
                  Av. Alfredo Mendiola 8016,
                  San Martín de Porres 15314


                  Commnet Telecom Ltd
                  9 Hung To Rd
                  Kwun Tong, Kwun Tong District
                  Hong Kong


                  CSC DEVICES, LLC
                  7123 AZALEA LN
                  jjohnson@cscdevices.com
                  Dallas, TX 75230


                  CW Worldwide
                  24560 Kings Rd,
                  Crete, IL 60417


                  Databank Holdings
                  PO Box 732200
                  Dallas, TX 75373


                  David I Swan
                  Hirschler
                  8270 Greensboro Drive, Suite 700
                  Mc Lean, VA 22102


                  DSS Logistics
                  PO Box 1404
                  Lyman, SC 29365


                  Eastlink Intl Industrial Ltd.
                  Unit 803-04, 8/F Nanyang Plaza
                  Hung To Rd,
                  Kwun Tong, Hong Kong


                  Ericsson AB EUR
                  Torshamnsgatan 21
                  164 83 Stockholm
                  164 83 Stockholm, Sweeden


                  Ericsson, Inc.
                  1300 Woodfield Rd
                  Schaumburg, IL 60173
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                  EWASTE+
                   7318 Victor Mendon Rd
                  Victor, NY 14564


                  Fed Ex Freight
                  C T CORPORATION SYSTEM
                  208 SO LASALLE ST, SUITE 814
                  Chicago, IL 60604


                  FGMK, LLC
                  2801 Lakeside Dr
                  Deerfield, IL 60015


                  GALAXY TELECOM (HK) LTD.
                  12-22, 26/F, 1 Hung To Road,
                  Kwun Tong
                  Hong Kong


                  GameStop, Inc.
                  625 Westport Pkwy.
                  Grapevine, TX 76051


                  Gruppo Mercantile Servizi s.r.l.
                   Via Francesco Cherubini 6,
                  20145 Milano
                  MI, Italy


                  GSMA Ltd.
                  1000 Abernathy Road Suite 450
                  Atlanta, GA 30328


                  IBYS Partners, LLC
                  555 HUEHL ROAD
                  Northbrook, IL 60062


                  Igor Boguslavsky
                  15811 Collins Ave Spt 1404
                  North Miami Beach, FL 33160


                  Integrity Law Group, PLLC
                  6th Ave #920
                  jmishkin@ilgseattle.com
                  Seattle, WA 98121
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                  Jacob Kassel LLC
                  1060 Brickell Ave.
                  Miami, FL 33131


                  KASSEL FINANCING LLC
                  C/O ALHADEFF & ROUSSO LAW, P.A.
                  11900 BISCAYNE BLVD 289
                  Miami, FL 33181


                  Kate O'Loughlin
                  US Small Business Administration
                  500 W. Madison Suite 1150
                  Chicago, IL 60661


                  Keevan Morgan
                  Morgan & Bley Ltd.
                  900 Jackson Blvd Suite 4
                  Chicago, IL 60601-1000


                  Kuehne+Nagel
                  Exchange Place 10
                  Jersey City, NJ 07302


                  Microsoft Corporation
                  One Microsoft Way
                  Redmond, WA 98052


                  PalAmerican Security Inc.
                  1000 Jorie Blvd Suite 42
                  Oak Brook, IL 60523


                  Piceasoft Ltd
                  Polttimonkatu 3, 33210
                  Tampere Finland


                  Pitney Bowes Global
                  PO Box 371887
                  Pittsburgh, PA 15250


                  Quadient
                  3130 W. Maple Loop, Suite 202
                  Lehi, UT 84043
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                  Quench USA, Inc.
                  630 Allendale Rd Ste 200,
                  King of Prussia, PA 19406


                  Recipero Ltd
                  720 S. Colorado Blvd
                  Denver, CO 80246


                  Sarnoff & Baccash
                   2 N La Salle St # 1000
                  Chicago, IL 60602


                  Schupan Asset Management
                   216 Peekstok Dr,
                  Kalamazoo, MI 49001


                  SCT Alternative, Inc.
                  1655 Barclay Blvd
                  Buffalo Grove, IL 60089


                  Shmouel Yaari
                  252 E 57th St 42D
                  New York, NY 10022


                  Sikich LLP
                   1415 W Diehl Rd STE 400
                  Naperville, IL 60563


                  Sipi Metals Corp
                  1720 N Elston Ave
                  Chicago, IL 60642


                  T-Mobile USA, Inc
                  12920 Se 38th St.
                  Bellevue, WA 98006


                  TForce Freight
                  710 Belden Ave
                  Addison, IL 60101


                  U.S. Small Business Administration
                  2 North Street Suite 320
                  Birmingham, AL 35203
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                  U.S. Small Business Administration
                  409 3rd St SW,
                  Washington, DC 20024


                  United States Attorney
                  Civil Process Clerk
                  219 South Dearborn Street, Room 500
                  Chicago, IL 60604


                  Veridic Technologies PVT. LTD
                  2 Broadwater Way,
                  Worthing,
                  West Sussex BN BN149LP


                  Veritiv Operating Company
                  2000 Deerpath Road
                  Suite 100
                  Aurora, IL 60502
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                                         United States Bankruptcy Court
                                              Northern District of Illinois
 In re   Belmont Trading Co., Inc.                                                  Case No.
                                                            Debtor(s)               Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Belmont Trading Co., Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 12, 2023                             /s/ O. Allan Fridman
Date                                           O. Allan Fridman 6274954
                                               Signature of Attorney or Litigant
                                               Counsel for Belmont Trading Co., Inc.
                                               Law Office of Allan Fridman
                                               555 Skokie Blvd 500
                                               Northbrook, IL 60062
                                               847-412-0788 Fax:847-412-0898
                                               allan@fridlg.com
